Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 1 of 366
                                                                                        1


  1                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
  2                           WEST PALM BEACH DIVISION
                              CASE NO. 9:18-cv-80176-BB
  3
       IRA KLEIMAN, as the personal representative
  4    of the Estate of David Kleiman, and W&K Info
       Defense Research, LLC,
  5
                   Plaintiffs,                                       November 8, 2021
  6                                                                  9:58 a.m.
                  vs.
  7
       CRAIG WRIGHT,
  8
                 Defendant.                    Pages 1 THROUGH 255
  9    ______________________________________________________________
                          TRANSCRIPT OF TRIAL DAY 6
10                     BEFORE THE HONORABLE BETH BLOOM
                        UNITED STATES DISTRICT JUDGE
11                            And a Jury of 10

12     Appearances:
       FOR THE PLAINTIFF:      ROCHE FREEDMAN, LLP
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                               KYLE ROCHE, ESQ.
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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 2 of 366
                                                                                            2


  1                                     I N       D     E     X

  2    Certificate.....................................                                    255

  3                          W I T                 N     E     S     S
       ON BEHALF OF THE PLAINTIFF:                                                        PAGE
  4    RAMONA WATTS
       (via deposition)                                                                         9
  5
       ANDREW O'HAGAN
  6    (via video deposition)                                                               83

  7    CRAIG WRIGHT
       DIRECT EXAMINATION BY MR. FREEDMAN                                                   86
  8
                                    E X H I B I T S
  9    GOVERNMENT'S EX. NO.:                                                 OFFERED   ADMITTED
       Plaintiffs' 748                                                          91           91
10     Plaintiffs' 459                                                         149          149
       Plaintiffs' 464                                                         158          158
11     Plaintiffs' 172                                                         167          167
       Plaintiffs' 200                                                         172          172
12     Plaintiffs' 439                                                         175          175
       Plaintiffs' 167                                                         178          178
13     Plaintiffs' 149                                                         188          188
       Plaintiffs' 189                                                         199          200
14     Plaintiffs' 305                                                         204          204
       Plaintiffs' 76                                                          213          213
15     Plaintiffs' 101                                                         214          214
       Plaintiffs' 102                                                         214          215
16     Plaintiffs' 43                                                          215          215
       Plaintiffs' 183                                                         216          217
17     Defendant's 221                                                         218          218
       Plaintiffs' 240                                                         218          223
18     Plaintiffs' 261                                                         223          223
       Plaintiffs' 299                                                         223          224
19     Plaintiffs' 332                                                         224          225
       Plaintiffs' 636                                                         225          226
20     Plaintiffs' 169                                                         226          227
       Plaintiffs' 51                                                          228          231
21     Plaintiffs' 54                                                          233          233
       Plaintiffs' 452                                                         233          233
22     Plaintiffs' 638                                                         240          241
       Plaintiffs' 403                                                         241          242
23     Plaintiffs' 457                                                         246          247
       Joint       114                                                         247          247
24     Plaintiffs' 75                                                          247          247
       Plaintiffs' 78                                                          247          247
25     Plaintiffs' 91                                                          247          247

                                 Yvette Hernandez, Official Court Reporter
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                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 3 of 366
                                                                                            3


  1                         E X H I B I T S (Continued)

  2    EX. NO.:                                                              OFFERED   ADMITTED
       Plaintiffs'    92                                                       247          247
  3    Plaintiffs'    94                                                       247          247
       Plaintiffs'    96                                                       247          247
  4    Plaintiffs'    97                                                       247          247
       Joint           9                                                       247          247
  5    Plaintiffs'   291                                                       247          247
       Plaintiffs'   305                                                       247          247
  6    Defendant's     3                                                       247          247
       Joint           3                                                       247          247
  7    Joint          24                                                       247          247
       Plaintiffs'    52                                                       247          247
  8    Plaintiffs'    53                                                       247          247
       Plaintiffs'    57                                                       247          247
  9    Joint          10                                                       247          247
       Joint          11                                                       247          247
10     Plaintiffs'    33                                                       247          247
       Plaintiffs'   349                                                       247          247
11     Plaintiffs'   356                                                       247          247
       Plaintiffs'   361                                                       247          247
12     Plaintiffs'   392                                                       247          247
       Plaintiffs'   405                                                       247          247
13     Plaintiffs'   406                                                       247          247
       Plaintiffs'   407                                                       247          247
14     Plaintiffs'   408                                                       247          247
       Plaintiffs'   410                                                       247          247
15

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20

21

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24

25

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 4 of 366
                                                                                              4


  1         (Call to order of the Court, 9:58 a.m.)

  2               THE COURTROOM DEPUTY:              Calling Civil Case Number

  3    18-80176, Ira Kleiman v. Craig Wright.

  4               Counsel, please state your appearances for the record,

  5    starting with Plaintiffs' counsel.

  6               MR. FREEDMAN:      Good morning, Your Honor.                     Vel Freedman

  7    for the Plaintiffs.

  8               MR. ROCHE:    Good morning, Your Honor.                       Kyle Roche for

  9    Plaintiffs.

10                MR. BRENNER:     Morning, Your Honor.                      Andrew Brenner for

11     the Plaintiffs.

12                MR. ZACK:    Morning, Your Honor.                      Stephen Zack for the

13     Plaintiffs.

14                MR. FREEDMAN:      Your Honor, we also have Stephen Lagos

15     for the Plaintiffs and Samantha Licata for the Plaintiffs, Joe

16     Delich for the Plaintiffs, as well as Mr. Ira Kleiman.

17                THE COURT:    All right.             Good morning to each of you.

18                MS. MCGOVERN:      Good morning, Your Honor.                     Amanda

19     McGovern for the Defendant Craig Wright.                          We also have Mr.

20     Zalman Kass for the Defendant Craig Wright, Amit Shah, who is

21     the IT for Craig Wright, Sara Gonzalez, who is our paralegal

22     for Craig Wright.      Of course, Dr. Wright is here as well.

23     Andres Rivero stepped out to the restroom.                            He'll be right

24     back.

25                THE COURT:    And I see Mr. Rivero here as well.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 5 of 366
                                                                                           5


  1               Good morning to each of you.

  2               I recognize that we were to make argument with regard

  3    to the objections.      Let me ask -- and first let me apologize

  4    that our criminal proceeding did take a little bit longer than

  5    I anticipated.     However, would you be willing to stay this

  6    afternoon, since I don't believe that any of the objections

  7    relate to any of the testimony this morning?                          Is that correct?

  8               MR. BRENNER:     Sort of.            So the way we have been doing

  9    the testimony so far, whether it's Plaintiffs' exhibits or

10     Defense exhibits, if they were part of the deposition we showed

11     them to the jury.      We'll do that again with Ms. Watts this

12     morning subject to the Court later when the exhibits formally

13     get admitted.     As far as this afternoon, I think that's fine.

14                I just wanted to give you a report on the meet and

15     confer.    Just really briefly.

16                THE COURT:    All right.             Certainly.

17                MR. BRENNER:     So Ms. McGovern and I had a productive

18     conversation Saturday, at which time the Defendant agreed to

19     withdraw objections to -- my count is it is 29 of the exhibits,

20     and then I went back and reviewed our exhibits.                         I then

21     withdrew 10 of them.      So we're left with 32, maybe 33.

22     Ms. McGovern, she just has to confirm.                        I believe one of those

23     has already been admitted.

24                So I have a list of those, which I sent to Ms.

25     McGovern last night, that should replace the list you had

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 6 of 366
                                                                                             6


  1    before.    The first section says Continuing Dispute.                       Those are

  2    the documents that are still at issue.

  3               THE COURT:    All right.             Why don't you provide the list

  4    to Liz and then we can address that after court today.                         Since

  5    we do have all 10 jurors, it is 10:00, so I would like to

  6    proceed and not waste their time.

  7               MS. MCGOVERN:      Your Honor, if I could just say quickly

  8    that we would simply like the opportunity to state our

  9    objections to the remaining.

10                THE COURT:    Yes.       Of course.              Of course.

11                MS. MCGOVERN:      Perfect.

12                MR. BRENNER:     Can I approach, Your Honor?

13                THE COURT:    Yes.

14                Can you advise the witnesses that will be testifying

15     today?

16                MR. BRENNER:     Your Honor, we will start the day by

17     reading the deposition testimony of Ms. Ramona Watts, who is

18     Dr. Wright's wife.      Then we'll play the video deposition

19     testimony of Andrew O'Hagan.

20                It's always impossible to estimate exactly how long a

21     read is going to take.        My best estimate is somewhere between

22     an hour and 15 and an hour 30.                The video, I think, is 50, low

23     50s, is my recollection.          It's under an hour but more than 50.

24                Then we will put on Dr. Wright.                        So that either is

25     going to be -- it should be right around the lunch hour.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 7 of 366
                                                                                    7


  1               THE COURT:    Okay.

  2               MR. BRENNER:     Depending how things play out.

  3               THE COURT:    All right.             Is there anything further we

  4    need to address before we bring the jury in?

  5               MS. MCGOVERN:      Your Honor, one quick thing.            I don't

  6    know if it is helpful for recording this, but we don't have the

  7    microphones that we had last week.

  8               THE COURT:    Oh.      The lavaliers.

  9               Alex, can we provide the attorneys with the lavaliers?

10                COURTROOM DEPUTY:          Of course.

11                MR. FREEDMAN:      Your Honor, one last thing.             I suspect,

12     though I may be wrong, that we might have a little bit more

13     people in attendance than usual.                  It's a big day for the

14     Plaintiffs.     Could we just reserve either that first bench or

15     the second bench for the Plaintiffs' team?

16                THE COURT:    Do you want to just -- maybe we could let

17     the other court security officer that's coming just know not to

18     seat anybody there.

19                Thank you.

20                MR. FREEDMAN:      Thank you, Your Honor.

21                THE COURT:    All right.             Both sides, we have lavaliers

22     being handed out now.

23                Both sides ready to proceed?

24                MR. FREEDMAN:      Yes, Your Honor.

25                MR. BRENNER:     Yes, Your Honor.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 8 of 366
                                                                                              8


  1               THE COURT:    Okay.        Let's bring in the jury.

  2         (Before the Jury, 10:03 a.m.)

  3               THE COURT:    Good morning, Members of the Jury.

  4               Please be seated, everyone.

  5               It's so good to see each of you.                           Thank you once again

  6    for being so prompt.      I trust that each of you had a pleasant

  7    weekend in this beautiful weather that we've been able to enjoy

  8    and ready to get back to work.                Most importantly, I am glad to

  9    see that everybody is here and is healthy, and we'll continue

10     with the Plaintiffs' case.

11                Go ahead and have a seat, everyone.

12                MR. FREEDMAN:      Good morning, Your Honor.                      The

13     Plaintiffs are ready to call Ms. Ramona Watts, which will be

14     read deposition testimony.

15                THE COURT:    All right.             Is there someone that's going

16     to take the witness stand for that reading?

17                MR. FREEDMAN:      Yes, Your Honor.                    Ms. Samantha Licata

18     will take the witness stand for Ms. Watts and Mr. Stephen Lagos

19     will be the lawyer asking the questions.

20                THE COURT:    Let me remind you, Ladies and Gentlemen,

21     that the deposition of Ramona Watts will be read.                            Deposition

22     testimony is entitled to the same consideration as live

23     testimony.    You must evaluate and judge it as if the witness

24     were testifying in court.           Do not place any significance on the

25     behavior or tone or voice of any person reading the questions

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 9 of 366
                                                                             9


  1    or the answers.

  2               MR. LAGOS:    May I begin, Your Honor?

  3               THE COURT:    Yes.       Of course.

  4               MR. LAGOS:    Thank you.

  5          (As read:)

  6    "Q.   Thank you, Ms. Watts.           Can you please state your full name

  7    for the record and spell your last name.

  8    "A.   I'm Ramona Watts.       W-A-T-T-S.

  9    "Q.   And, Ms. Watts, where is your permanent place of

10     residence?

11     "A.   Currently, I reside in Cobham, Surrey, in London.

12     "Q.   You are, in fact, married to Dr. Craig Wright?

13     "A.   I am.

14     "Q.   And how long have you two been married?

15     "A.   We were married in 2013.

16     "Q.   Okay.   When did you meet Dr. Wright?

17     "A.   At the end of 2010.

18     "Q.   When you met him, what were the circumstances in your

19     meeting?

20     "A.   We started as business associates in 2011.

21     "Q.   Okay.   Then sometime after that, obviously the

22     relationship changed and you ultimately got married in 2013?

23     "A.   Yes.

24     "Q.   And you have remained married since then?

25     "A.   Yes.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 10 of 366
                                                                                           10


  1     "Q.   Okay.   And it purports to be from Dr. Wright to

  2     Ms. Nguyen, correct?"

  3               MR. LAGOS:     Can you show Exhibit 4, please.

  4               Thank you.

  5               THE COURT:     Can everyone see it on your screen?

  6               All right.

  7           (Continued:)

  8     "A.   I don't know.    I really don't know.                       We had quite a few

  9     problems in 2014.     We had our computers hacked, our personal

 10     computers at home, and the computers in the office.                         So quite

 11     frankly, there are lots of emails back and forth even to me,

 12     even from me, that were not mine.                   We discovered that in 2014,

 13     2015, I think.

 14     "Q.   Do you believe what I have shown you as Exhibit 4, I

 15     believe, is a hacked document?

 16           "You can answer.

 17     "A.   I really don't know.

 18     "Q.   Okay.

 19     "A.   As I said, I have reason to doubt many documents because

 20     we were hacked so -- and I didn't write this one, so I really

 21     don't know.

 22     "Q.   Okay.   So let me go back to the trust formation, 2011.                          Do

 23     you know if there was a trust document drawn up at the time?

 24     "A.   Yes.

 25     "Q.   Was there?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 11 of 366
                                                                                 11


  1     "A.   Yes.    Definitely.

  2     "Q.   Okay.    And did that -- that named you as a trustee,

  3     correct?

  4     "A.   Yes.

  5     "Q.   Did it also name Dave Kleiman as a trustee?

  6     "A.   No.    Dave Kleiman was never a trustee.

  7     "Q.   Okay.    For the Tulip Trusts?

  8     "A.   No.    Never.

  9     "Q.   Did Dave, Dave Kleiman -- when I say Dave, I will try to

 10     say Dave Kleiman.     Did Dave Kleiman hold any keys to any of the

 11     Bitcoin?

 12     "A.   To the Bitcoin, no.          He held keys, but they weren't to

 13     Bitcoin.

 14     "Q.   What were the keys to?

 15     "A.   So he held key slices that were associated with -- it's

 16     quite complicated.       So these are cryptographic keys, I believe.

 17     They are key slices to a key.                And this key would actually open

 18     electronic files.     So I know that Craig had tasked Dave with

 19     sort of these key slices to be returned to him, but the key

 20     slices were opening electronic files, and in the files there

 21     were I think Craig's notes, algorithms, formula, that sort of

 22     stuff.

 23     "Q.   So Dave's keys were not to unlock any Bitcoin?

 24     "A.   No."

 25                 THE COURT:    Can I ask both readers to just slow down

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 12 of 366
                                                                                        12


  1     if you could just a little bit.

  2               Thank you.

  3               MR. LAGOS:    Of course.              Thank you.

  4           (Continued:)

  5     "A.   Correct.   Dave's keys were not to unlock Bitcoin, no."

  6               MR. LAGOS:    Exhibit 5 was marked for identification.

  7           (Continued:)

  8     "Q.   Ms. Watts, do you have that in front of you?

  9     "A.   I do.

 10     "Q.   That is a one-page document.

 11           "Do you see that?

 12     "A.   I do.

 13     "Q.   Okay.   This one was in the documents I have given to you.

 14     Actually, it was Watts 1, the first document.

 15     "A.   Okay.

 16     "Q.   Okay.   So this is -- first of all, is this an email that

 17     you -- or a copy of an email that you wrote on or about May 28,

 18     2012?

 19     "A.   Frankly, it was eight years ago.                      I'm looking at the date.

 20     I don't recall the exact writing of it, but I am reading it now

 21     and I recall the content definitely.                      I don't recall writing it

 22     then, but I recall having a huge fight with Craig in 2012 about

 23     this exact topic.

 24     "Q.   Okay.   So tell me what the fight was about.

 25     "A.   I didn't understand what he was trying to do.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 13 of 366
                                                                                           13


  1     "Q.    What didn't you understand?

  2     "A.    So in 2012, I was working two jobs.                        We didn't have a lot

  3     of money.      He was working day and night, and I was -- and it

  4     was financially very difficult for us.                        I had no idea really

  5     what Bitcoin was all about.             We discussed the trust.              He said:

  6     'You know, this is my life's work.                     We're going to have -- make

  7     sure there are certain rules to this trust so that the Bitcoin

  8     can only be spent for certain things.'

  9           "In 2012, here I am not being able to put decent food on

 10     the table for my kids and I'm saying, you know:                         'If there's

 11     Bitcoin, why can't we just spend it?'

 12     "Q.    Okay.   So in 2011, you were already the trustee for Tulip

 13     Trust, which is holding shares in the company called Wright

 14     International, which has a substantial amount of Bitcoin; is

 15     that fair?

 16     "A.    Yes.    It is fair.    But you have to understand that in 2011

 17     I really didn't understand what Bitcoin was.                          He said to me it

 18     was some sort of digital cash and it was his thing and he said:

 19     'This is, you know, something that we'll be using in the future

 20     to fund other companies, to promote Bitcoin, to make it legal

 21     again.'    Because it was used for nefarious purposes in 2011.

 22     But in 2012, as I said, things were getting pretty desperate

 23     and I said:      'Whatever it is that's in there, you know, you are

 24     telling me you cannot touch it.                 It's ridiculous.          So give me

 25     some sort of explanation.'

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 14 of 366
                                                                                            14


  1     "Q.   Let's go to the actual email.                    Okay.

  2     "A.   Yes.

  3     "Q.   I'm going to focus on -- I guess it is technically the

  4     third photograph that starts with the word 'so.'

  5     "A.   Yes.

  6     "Q.   Your understanding when you wrote this email was that

  7     there was a lot of money in the trust and that Dave holds keys

  8     and others do as well, correct?

  9     "A.   But my understanding was wrong.                     That's the thing.      So I

 10     didn't actually understand.             I was just spewing out whatever I

 11     felt at the time.     I was very angry.

 12     "Q.   Okay.   At this point you thought your husband had money in

 13     a trust, correct?

 14     "A.   No.    I don't know what I thought.                     To be honest with you,

 15     I really don't know what I thought.                     I just didn't understand.

 16     I don't know if you have ever been in a fight with your wife,

 17     but your wife, I am sure, will have said things that she

 18     doesn't mean and doesn't understand, and that is exactly what

 19     this is about.     He set me straight, though.                        We had many, many

 20     conversations after this, many more fights.

 21     "Q.   Okay.   And how did he set you straight?

 22     "A.   Well, he explained exactly what was going on.

 23     "Q.   And he explained that --

 24     "A.   Okay.   So he --

 25     "Q.   Go ahead.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 15 of 366
                                                                                             15


  1     "A.    He explained that the keys that Dave had were actually

  2     keys to -- they were key slices to another key, and if you had

  3     all the key slices together, then you would have this one key,

  4     this key that would be able to unlock an electronic file.                           I

  5     believe there were several of these, so there would be several

  6     electronic files.

  7           "He said in these electronic files there was his notes, all

  8     his notes that he had written about Bitcoin.                           So the start of

  9     Bitcoin, how it started, why, the purposes behind it.                           It had

 10     formula and algorithms.         The formula and algorithms would allow

 11     him to then calculate the private keys to the Bitcoin that was

 12     in Wright International.

 13     "Q.   At Wright International?

 14     "A.   Basically what he was saying was that he didn't have

 15     access to it because he didn't have the private keys.                           Because

 16     he and Dave had had an understanding where Dave had the keys to

 17     the electronic file and so Craig didn't have the formula to

 18     calculate the keys for the Bitcoin.                     Then he said:        'And even

 19     if I did, I couldn't do anything about it because it doesn't

 20     fit the purpose of this trust.'

 21     "Q.   Okay.   Let's talk about Dave Kleiman.                          Did you ever meet

 22     Dave Kleiman?

 23     "A.   Not in person, no.

 24     "Q.   Did you ever speak with Dave Kleiman?

 25     "A.   Yes, I did.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 16 of 366
                                                                                             16


  1     "Q.    Was that by telephone or by some sort of video connection,

  2     or both?

  3     "A.    I think mostly Skype.          I don't know if it was Skype, but

  4     yes, a video connection.

  5     "Q.    In your mind, you recall what he looks like?

  6     "A.    Yes.

  7     "Q.    Okay.   Dave Kleiman was a close friend of your husband's?

  8     "A.    Yes.    He was his best friend.

  9     "Q.    Was he a partner of your husband's?

 10     "A.    In terms of work, no.

 11     "Q. Is it your testimony that they did -- strike that.

 12           "Did they work together?

 13     "A.    I think so, yes.     I mean, Dave edited a lot of Craig's

 14     papers.    I think they wrote a book together.                        Yes, I think they

 15     did.    They must have.     They wrote a book together.                    I think

 16     they wrote several books together, but I can't remember.

 17     "Q.    So when you answered my question that they were not

 18     partners in a work sense, what did you mean?

 19     "A.    Well, I suppose it depends on what a partner means.                       They

 20     could have been.     I mean, I just said to someone the other day:

 21     'Do you want to partner up and go to Costco and buy toilet

 22     paper and split it up between us?'                     Depends how you use the

 23     word.

 24     "Q.    The work that your husband and Mr. Kleiman did together

 25     was not really analogous with going to Costco and buying toilet

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 17 of 366
                                                                                            17


  1     paper, is it?

  2     "A.   No, but I'm saying I use that word loosely.

  3     "Q.   Okay.   Fair enough.

  4     "A.   I use the word partner very loosely.

  5     "Q.   They did work together on matters related to Bitcoin,

  6     correct?

  7     "A.   I don't think that the book they wrote together had

  8     anything to do with Bitcoin.              I think it was more of a forensic

  9     one, but I'm not sure.

 10     "Q.   Go ahead.

 11           That is not my question.            Not asking about the book.               I --

 12     my question is, and I will try to be clear.                           Your husband and

 13     Dave did work together on matters relating to Bitcoin?

 14     "A.   I don't know.    Can you be more specific?

 15     "Q.   No, I cannot.

 16     "A.   Well, then I cannot answer the question.

 17     "Q.   Did your husband write the Bitcoin Whitepaper?

 18     "A.   Yes, he did.

 19     "Q.   Did Dave help him with that?

 20     "A.   No, he didn't.

 21     "Q.   How do you know that?

 22     "A.   Craig told me.    When I met him in 2010, he said:                       'I've

 23     written something.     I have created something.                       I've done

 24     something.'    Plus, I have had many conversations with Dave.

 25     "Q.   Maybe my word 'work' is bad.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 18 of 366
                                                                                            18


  1           "Do you know if Dave helped edit the Bitcoin Whitepaper?

  2     "A.    I don't know if he edited it, no.                      I don't know.

  3     "Q.    Sure.   Did he ever say to you that he had no involvement

  4     in Bitcoin?     Did Dave ever say that?

  5     "A.    Well, that would be a very strange thing to say to me.

  6     Hi, Ramona, I have no involvement in Bitcoin.

  7     "Q.    I agree.

  8     "A.    That would be a very strange thing to say to me.                       No.

  9     "Q.    It would be great if I can remember it.                        My question was:

 10     Did Craig ever tell you why Dave would ask to hold key slices

 11     related to the trust?

 12     "A.    The key slices were not related to the trust at all.                         The

 13     key slices were related to electronic files that had Craig's

 14     notes in it.      It had nothing to do with the trust.

 15     "Q.    Okay.   So the key slices only were to files that included

 16     Craig's notes?

 17     "A.    Yes.

 18     "Q.    And did those notes have anything to do with the ability

 19     to access Bitcoin?

 20     "A.    So those notes were the beginnings of Bitcoin and how he

 21     had written it and why he had written it and all his research.

 22     In those notes were the formulas and algorithms on how you

 23     calculate private keys.

 24     "Q.    Right, but in those notes was the ability to -- was it in

 25     those notes the private keys to the Bitcoin that had been mined

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 19 of 366
                                                                                         19


  1     that was now part of Wright International?

  2     "A.    Those notes had nothing to do with private keys.                   Those

  3     notes were all his notes on how he created Bitcoin and all of

  4     the research and all of the formula and algorithms.

  5     "Q.    Did you witness Dr. Wright's receipt of the file

  6     containing the public addresses?

  7     "A.    Well, I received files.            I don't know what they were.           So

  8     if there were public addresses in them, then he would have had

  9     them.

 10     "Q.    The truth is, you don't know if those files contained the

 11     public addresses?

 12     "A.    Mr. Brenner, do you know that my husband has Asperger's

 13     and struggles a great deal, actually, to express himself and to

 14     interpret himself?     I have troubles with him all the time.                    I

 15     have fights with him all the time.

 16           "In the 10 years that we've been together, we used to fight

 17     every day initially --

 18     "Q.   Okay.

 19     "A.   -- because he has an inability to express himself simply

 20     and succinctly.     So sometimes when he writes things and

 21     sometimes when he says things, it's not what we perceive it to

 22     be; it is how he perceives it to be.                      He is literal beyond

 23     anything.     So if he thinks that I -- if he thinks that I knew

 24     something just because he knew something, he would say that

 25     exactly in this sort of case.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 20 of 366
                                                                                          20


  1           "We had so many troubles.             When he was supposed to pick a

  2     child -- pick up a child and he didn't pick the child up

  3     because of certain things that he said.                         You're asking me to

  4     interpret what he said.         I wasn't even a party to this.                 I have

  5     never read this before.         I am just telling the truth of what I

  6     have seen and what I have heard.

  7           "What I have seen and what I have sent or what I have not

  8     sent, he really struggles with expressing himself correctly.                           I

  9     think that is probably why he gets into so many problems, with

 10     me primarily, but everyone else.                  He struggles with looking at

 11     you in the eye when he talks to you.                      It has taken me 10 years,

 12     and I live with him -- it has taken me 10 years for him to look

 13     me in the eye when he talks to me.

 14     "Q.   Did any of the companies that you were a director of ever

 15     use intellectual property that had been developed by W&K Info

 16     Defense?

 17     "A.   I don't recall.

 18     "Q.    You don't recall or the answer is -- that is it, you don't

 19     recall?

 20     "A.   Yes.   I really don't remember.

 21     "Q.   Do you know if W&K Info Defense ever had Bitcoin?

 22     "A.   Well, I wasn't part of W&K.                 So I actually really don't

 23     know.

 24     "Q.   Do you think -- do you know if your husband was ever

 25     involved with W&K Info Defense?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 21 of 366
                                                                                  21


  1     "A.   I don't know.

  2     "Q.   Do you know if Dave Kleiman was ever involved with W&K

  3     Info Defense?

  4     "A.   I think so, because I'm sure Craig had said that it was

  5     Lynn's company with Dave."

  6               MR. LAGOS:    Exhibit 8 was marked for identification.

  7           (Continued:)

  8     "Q.   When it says:    'IP deed of assignment,' do you understand

  9     that 'IP' means intellectual property?

 10     "A.   I do.

 11     "Q.   Do you recognize this document?

 12     "A.   It's familiar.

 13     "Q.   Okay.    Turn to Page 8 for me, please.

 14     "A.   Yes.

 15     "Q.   There are two signatures there, are there not?

 16     "A.   Yes.

 17     "Q.   The first signature, it purports to be from you.                Is that

 18     your signature?

 19     "A.   It looks like it is my signature.

 20     "Q.   Then the second signature, I think it is fair to say it

 21     purports to be Dr. Wright; is that correct?

 22     "A.   That is what it says.

 23     "Q.   Okay.    And you were signing on behalf of DeMorgan,

 24     correct, as the assignor?

 25     "A.   Yes.    It would say -- yes, that is right.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 22 of 366
                                                                                    22


  1     "Q.   So you think this is another company you were an

  2     authorized signatory for?

  3     "A.   No.     I think this would be the representative of the Tulip

  4     Trust, but, as I said, because I don't have all the paperwork

  5     in front of me, I cannot confirm that.

  6     "Q.   Okay.     Whatever the company is you are signing on its

  7     behalf, correct?

  8     "A.   Yes.

  9     "Q.   And it is purporting to assign certain intellectual

 10     property, correct?

 11     "A.   Can you point me to the page where it says --

 12     "Q.   It is Page 3.

 13     "A.   Yes.

 14     "Q.   Do you see that?

 15     "A.   I do.

 16     "Q.   It says that the assignor owns the intellectual property

 17     and intellectual property rights in the core technology.

 18           "Do you see that?

 19     "A.    Yes.

 20     "Q.    What is the core technology?

 21     "A.    I don't recall what the actual core technology was.                It's

 22     not described in here.        It's not in detail.

 23     "Q.    Yes, it is.    Let's go to page -- unfortunately, these are

 24     not page numbered.      It is the sixth page of the document.

 25           "The core technology is defined there, correct?                 It has to

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 23 of 366
                                                                                           23


  1     do with certain banking technology?

  2     "A.   Sure.   Okay.   Yes.

  3     "Q.   If you go back to Page 3, please.                       The assignee is

  4     Coin-Exch. Party Limited?"

  5               MS. LICATA:     I want to make sure we're not waiting on

  6     a document.

  7           (Pause in proceedings.)

  8               MR. LAGOS:    Going to resume here.

  9           (Continued:)

 10     "Q.   If you go back to Page 3, please.                       The assignee is

 11     Coin-Exch. Party Limited?

 12     A.    That's right.

 13     "Q.   That is also a company that you were a director for?

 14     "A.   Yes.

 15     "Q.   Also a company that Dr. Wright was a director for?

 16     "A.   I don't know if he was a director.                        I know I was.

 17     "Q.   Okay.   This assignment is dated -- if you look at the

 18     front page, it is September 15th, 2013.                         Do you see that?

 19     "A.   Yes.

 20     "Q.   And that also coincides -- so you know, it is the same

 21     date that the signatures are -- same date at least typed on the

 22     signature page.

 23     "A.   Sure.

 24     "Q.   So September 15th, 2013 is how long after Dave Kleiman

 25     dies?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 24 of 366
                                                                                         24


  1     "A.    I don't remember when he died.                   I know he died in 2013.

  2     "Q.    You don't recall he died in April of 2013?

  3     "A.    No.

  4     "Q.    I represent to you, then, that he dies in April 2013.

  5     "A.    Yes.

  6     "Q.    This is five months later, right?

  7     "A.    Sure.

  8     "Q.    Let us see what the Wright Family Trust de Morgan,

  9     whatever that company is -- let us see what it is claiming is

 10     the IP that it holds.       Okay.

 11           "Do you see that -- do you follow with me, that is what I'm

 12     going to do with you?       Okay?

 13     "A.   Okay.

 14     "Q.   If you look at Paragraph 3B -- I'm sorry.                       Page 3.

 15     "A.   Yes.

 16     "Q.   It says:    'the IP held in total by DeMorgan' -- describing

 17     what IP de Morgan holds, correct?

 18     "A.   Yes.

 19     "Q. -- 'consists of source code, algorithms, and technical

 20     materials that have been obtained by Craig Wright R&D.'

 21           "Do you see that?

 22     "A.    I do.

 23     "Q.    That is your husband's company?

 24     "A.    Craig Wright R&D, I don't know what it is.                     It was a

 25     company.      I'm not sure if it was his.                   It was a company.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 25 of 366
                                                                                               25


  1     "Q.   You are not sure Craig Wright R&D is Craig Wright's

  2     company?

  3     "A.   They are all documented in corporate records, so there are

  4     different assignments for different things.                           I really don't

  5     know.

  6     "Q.   Okay.    Then it says -- it describes how Craig Wright R&D

  7     obtained the IP, does it not?

  8     "A.   It doesn't say that that is how it is obtained, but --

  9     yes, it actually does:        'Obtained by Craig Wright R&D.'

 10     "Q.   Yes.    It says it was obtained by Craig Wright from three

 11     sources, Craig Wright R&D by three sources?

 12     "A.   Yes.

 13     "Q.   One of the sources we talked about earlier was MJF Mining

 14     Services, correct?

 15     "A.   That's right.

 16     "Q.   That was something that was actually paid for using

 17     Bitcoin, correct?

 18     "A.   I believe so.

 19     "Q.   Then there was a second purchase from MJF Mining Services,

 20     also paid for using Bitcoin, correct?

 21     "A.   You see, I don't know, because I wasn't involved with

 22     these purchases.     So I actually don't know.

 23     "Q.   Well, you were -- it actually is you.                           You are the

 24     authorized signatory for this document.                         Are you not?

 25     "A.   But I was not involved with the purchase of MJF Mining

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 26 of 366
                                                                                              26


  1     when he purchased -- when Craig Wright R&D purchased those,

  2     whatever he purchased from these people.

  3     "Q.   Let me rephrase it.         This is an assignment of certain IP

  4     by a company that you are the authorized signatory.

  5     "A.   That is correct.

  6     "Q.   Sure.    I'm just asking, in this assignment, when you're

  7     assigning intellectual property on behalf of de Morgan, did you

  8     confirm that you actually -- the company actually had what it

  9     was assigning?

 10     "A.   I had our accountants do that.

 11     "Q.   Okay.    And you were comfortable enough to sign your name

 12     to it, correct?

 13     "A.   Yes.

 14     "Q.   Then the third place you got that de Morgan, got IP, was

 15     from W&K Info Defense Research, LLC; is that right?

 16     "A.   That's what it says here.               But as I said, we had financial

 17     controllers and accountants at that time.                             So I got a lot of my

 18     advice from them.

 19     "Q.   But you trust them, correct?

 20     "A.   Of course I do.     Yes.

 21     "Q.   Right.    And they confirmed to you that you have this IP to

 22     assign it?

 23     "A.   They did, yes.

 24     "Q.   And they confirmed to you it was accurate that in part the

 25     IP had been obtained from W&K Info Defense Research, LLC,

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 27 of 366
                                                                                        27


  1     correct?

  2     "A.    I believe so.   I'm not quite sure if this was actually

  3     carried out.    That's the problem.

  4           "We did a lot of -- there were lots of deeds and there were

  5     lots of contracts and some of them were in draft form.                      I'm not

  6     sure if this was actually carried out, to be perfectly honest

  7     with you.    I don't know.

  8     "Q.   It was signed by two parties, correct?

  9     "A.   Yes.

 10     "Q.   Both parties to the contract, correct?

 11     "A.   Yes.

 12     "Q.   And you just don't know if the assignment actually took

 13     place, correct?

 14     "A.   I cannot confirm that it did.                    I really cannot.   Unless I

 15     actually saw some corporate documents that said it actually

 16     occurred.

 17     "Q.   When it was through or not, you have no reason to dispute

 18     as of September 15th, 2013 DeMorgan, the Wright Family Trust,

 19     was claiming IP that was once held by W&K Info Defense

 20     Research, LLC, do you?

 21     "A.   I don't know the details.               I really don't.         As I said, I

 22     had my accountants, my financial controllers give me advice on

 23     that.    So I don't know.

 24     "Q.   My only question is:          Do you have any reason to dispute

 25     the accuracy of this document?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 28 of 366
                                                                                                28


  1     "A.   Currently, I have a lot of reason to doubt, actually,

  2     because I said to you before we had -- our computers were

  3     hacked.     So I'm very jaded.          I really don't know what is real

  4     and what's not anymore.

  5     "Q.   So when was the computer hacked?

  6     "A.   In 2014, we knew that our computer was hacked.                          I don't

  7     know whether it was hacked in 2013 or not.                            But in 2014, we

  8     were getting very, very strange messages.

  9     "Q.   So you think it is possible that someone hacked your

 10     computer, made a document, dated it to 2013, forged your

 11     signature, forged Dr. Wright's signature, and therefore you

 12     doubt the authenticity of this exhibit.                         Is that your

 13     testimony?

 14     "A.   No.   I didn't say that at all.                   You asked me whether I

 15     doubt the authenticity of this document, and I really don't

 16     know.   As I said, I really don't know.                       It could be perfectly

 17     valid and it might not be.            I do not know.                  You are asking me

 18     to tell the truth.     I am telling you the truth.

 19     "Q.   Of course.    Putting aside the document, do you doubt that

 20     various entities of which you were a director obtained IP once

 21     held by W&K Information Defense?                  Do you doubt that?

 22     "A.   I don't know, because I don't have the actual records in

 23     front of me.    If I did, if I could see the actual assignments

 24     and if I knew that they were actually carried out, that is a

 25     different story.     But I don't.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 29 of 366
                                                                                             29


  1           "These are photocopies.           These are things that might -- I

  2     don't know who handed these ones in.                      They could have been from

  3     our computers that were hacked.                 So I don't know.             If I went

  4     straight directly to our corporate secretary, who could give me

  5     all the corporate records, then I could answer your question.

  6     "Q.   Who is your corporate secretary?

  7     "A.   In Australia.     I do not remember.                    We had a corporate

  8     secretary in Brisbane.        I don't remember the names.

  9     "Q.   If I were sitting here and I wanted to know if this

 10     document was authentic, are you telling me that you cannot

 11     answer that question?

 12     "A.   Yes.    I don't know.

 13     "Q.   Are you telling me that you don't know who can answer that

 14     question?

 15     "A.   I don't know.

 16     "Q.   Okay.   Let's look at another one.                      Let's go to Tab 30.

 17           "Are you there?

 18     "A.   Yes.

 19     "Q.   Do you recognize this document?

 20     "A.   I recognize something similar to this.                          Yes.

 21     "Q.   Okay.   It is a document that is produced by a company

 22     called Business Reports and Values, correct?

 23     "A.   Yes.

 24     "Q.   That was a company that was retained by entities you were

 25     affiliated with to do evaluation of certain engineering,

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 30 of 366
                                                                                            30


  1     correct?

  2     "A.   That is right.

  3     "Q.   The companies of which the valuations were being done, one

  4     was called Cloudcroft; is that right?

  5     "A.   Yes.

  6     "Q.   You were a director of that company, correct?

  7     "A.   I don't remember.

  8     "Q.   Shall we call this Exhibit 9."

  9                MR. LAGOS:   Exhibit 9 was marked for identification.

 10           (Continued:)

 11     "Q.   You don't recall whether you were a director of Cloudcroft

 12     at any point?

 13     "A.   So, Mr. Brenner, as I explained to you before, I was a

 14     director of many companies over many years.                           At some point I

 15     was a director and at other points I wasn't a director of

 16     different companies.      So you're asking me to recall now if I

 17     was a director of a particular company seven years ago, eight

 18     years ago.    I don't recall.           No.

 19     "Q.   So my question may have been imprecise.                         I'm not asking on

 20     this date.    I'm asking at any point were you a contractor of

 21     Cloudcroft?

 22     "A.   I don't remember.       I was a director for many different

 23     companies at many different times.

 24     "Q.   If you turn to Page 7 of the document.                          Do you see that?

 25     "A.   I do.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 31 of 366
                                                                                         31


  1     "Q.   Okay.   It says:    'the valuation report is concerned with

  2     valuing source code at the -- of four separate companies.'

  3           "Do you see that?

  4     "A.   Yes.

  5     "Q.   And that is consistent with your recollection that over

  6     the years you did valuations for various companies that you

  7     were involved with, correct?

  8     "A.   Yes, we did.

  9     "Q.   Let's see if the next paragraph refreshes your

 10     recollection of whether you are a director.                           It says:

 11     'ownership and capital structure.'

 12           "Do you see that?

 13     "A.   Yes.

 14     "Q.   It says:   'the controlling entity for the above, which is

 15     the four companies, is DeMorgan, Limited.'

 16           "Do you see that?

 17     "A.   Yes.

 18     "Q.   So these are four companies that were controlled by de

 19     Morgan, Limited, correct?

 20     "A.   That is correct.

 21     "Q.   And those companies, the directors of those companies,

 22     there is a grand total of two people, correct?

 23     "A.   That is what it says here.

 24     "Q.   One is Dr. Craig Steven Wright, correct?

 25     "A.   That is what it says here, yes.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 32 of 366
                                                                                           32


  1     "Q.    And one is Ramona Watts.             That is you, correct?

  2     "A.    That is what it says.

  3     "Q.    Okay.   Let us look at -- give me one second.

  4           "Turn to Page 15.     Are you there?

  5     "A.    Yes.

  6     "Q.    Okay.   Then it says that Hotwire purchased the package

  7     relating to the Bitcoin banking system from that entity,

  8     correct?

  9     "A.    That is what it says here.

 10     "Q.    You have no reason to dispute that, correct?

 11     "A.    No, I don't.   But I don't know.

 12     "Q.    If you go to the end of that page.                       Do you see that?

 13     "A.    Yes.

 14     "Q.    The last paragraph?

 15     "A.    Yes.

 16     "Q.    It says -- in the last sentence it says:                       'Hotwire will be

 17     able to develop an internationally recognized Bitcoin banking

 18     system based on the W&K ID software.'

 19           "Do you have any reason to dispute the accuracy of that?

 20     "A.    No.    I don't think so.         No.

 21     "Q.    The next page is -- we finished Page 15.                       We are on Page

 22     16.    Okay?

 23     "A.    Yes.

 24     "Q.    That is a discussion of Cloudcroft, right?

 25     "A.    Yes.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 33 of 366
                                                                                           33


  1     "Q.   It says it is an Australian company specializing in

  2     developing and researching systems preventing cyber criminal

  3     attacks, correct?

  4     "A.   That is what it says, yes.

  5     "Q.   Do you have any reason to dispute that?

  6     "A.   I don't have all my company records on me.                      So I don't

  7     currently.     But if I did, it might be different.                   I didn't

  8     write this so I really don't know.

  9     "Q.   Okay.

 10     "A.   I do not know if it is accurate.

 11     "Q.   If you go to the bottom of that page, where it describes

 12     what percentage of the source code used by Cloudcroft is coming

 13     from W&K.

 14           "Do you see that?

 15     "A.   Yes.

 16     "Q.   And it says:    'w&K source accounted for 46 percent of the

 17     source for Cloudcroft,' correct?

 18     "A.   That is what it says.           I do not know what it means

 19     exactly.     As I said, I didn't write this.

 20     "Q.   Then it says at the end:              'w&K source will enable research

 21     activities associated with a virtual universe.'

 22           "Do you see that?

 23     "A.   I see what it says.

 24     "Q.   Any reason to dispute it?

 25     "A.   As I said, I didn't write it.                    So I don't know where it

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                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 34 of 366
                                                                              34


  1     came from.

  2     "Q.   My question is:     Regardless of what the document says, do

  3     you have any reason to dispute, based on you being a director

  4     of de Morgan, Limited, which was the controlling entity of

  5     Cloudcroft, the description that Cloudcroft was using -- was

  6     obtaining 46 percent of its source share from W&K?

  7     "A.   Well, I don't have the company records in front of me to

  8     check, so I don't know.

  9     "Q.   Let us go to the next one, which is Hotwire PE.

 10     "A.   Uh-huh.

 11     "Q.   That one you actually have better recollection because you

 12     actually worked for that company too, correct?

 13     "A.   I did.

 14     "Q.   You were the people officer?

 15     "A.   I was.

 16     "Q.   What is that?

 17     "A.   It's an HR role, really.

 18     "Q.   Good name.

 19           "It says:   'Hotwire PE accelerates early-stage

 20     technological and scientific research programs creating

 21     world-class solution platforms.'

 22           "Do you see that?

 23     "A.   Yes.

 24     "Q.   Do you think that a fair description, at least on a

 25     general basis, of what Hotwire was doing?

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                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 35 of 366
                                                                                            35


  1     "A.    That one, yes.    I would say it was, yes.

  2     "Q.    'The primary focus is on high-leverage automated systems

  3     with potential to change how the world operates on a day-to-day

  4     basis.'

  5           "Do you agree with that statement?

  6     "A.    I do.

  7     "Q.    You agree with that.         Do you understand and agree that

  8     that in part had to do with using Bitcoin?

  9     "A.    No, it does not say that.

 10     "Q.    I'm not asking if it says that.                    Do you understand that

 11     'to change how the world operates on a day-to-day basis' was in

 12     part relating to the use of crypto coin?

 13     "A.    No.

 14     "Q.    Then it says:    'working with both government and

 15     commercial partners, the company seeks to leverage the

 16     opportunities of a globally interconnected cyberspace, thereby

 17     opening opportunities for commerce and trade.'

 18           "Is that a fair description of what Hotwire was doing?

 19     "A.    Yes.

 20     "Q.    Okay.   Then if you can scroll down, it also allocates and

 21     says that 32 percent of the source shares come from W&K.

 22           "Do you see that?

 23     "A.    Well, I don't know what it means.                      As I said, I didn't

 24     write this.

 25     "Q.    Do you have any reason to dispute that?

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                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 36 of 366
                                                                                                36


  1     "A.    I don't have any company records in front of me so I

  2     cannot really say if this is accurate or not.

  3     "Q.    By the way, do you have any doubt -- the authenticity of

  4     this document?

  5     "A.    I don't know.

  6     "Q.    You don't know one way or another?

  7     "A.    I don't.

  8     "Q.    Okay.   Do you have an independent recollection of

  9     retaining Business Reports and Values for anything?

 10     "A.    I know we did do something very similar.                         It could very

 11     well be this document.        I really don't know.                     We did a

 12     valuation, and I believe it was with -- is it BRV?                           I think

 13     that was one of the companies.                So I know we did a valuation.

 14     I don't know if this was the final report.                            I don't know if

 15     there were several reports.             I don't know if this is a draft.

 16     I don't know.

 17     "Q.    Okay.   It is BRV, just for the record.                        Business Reports

 18     and Values.

 19     "A.    Sure.   Yes.

 20     "Q.    You recognize that company.                You just don't remember this

 21     particular report?

 22     "A.    I don't remember this particular report.                         I remember

 23     receiving reports from them.              I do not know whether it is this

 24     one.    I don't know if this one is the first or the final or the

 25     draft.    I don't know.

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                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 37 of 366
                                                                                              37


  1           "This could be incorrect and we could have pulled them up

  2     and said:      'Look, you know, this is wrong.                        Do it again.'

  3     Because a lot of times it was our accountant who actually dealt

  4     with them, and if our accountant did not understand something

  5     and sent something off, then it would not have been correct and

  6     we would have had to correct them.

  7     "Q.    Page 4.    I will keep going.              On the bottom of Page 17, it

  8     says:    'w&K source will enable the creation of world-class

  9     solution platforms in support to research activities undertaken

 10     as part of Coin-Exch., CO1N, and Cloudcroft.'

 11           "Do you see that?

 12     "A.    I see that that was written, yes.

 13     "Q.    Any reason to dispute it?

 14     "A.    As I have said, again, and I will say it again, I do not

 15     have any of my corporate records in front of me, so I cannot

 16     check.    I do not know if this is a draft, first draft, second

 17     draft, or the tenth draft.

 18     "Q.    Okay.

 19     "A.    Our accountants liaised with these people.                         Our

 20     accountants often made -- sometimes made mistakes or didn't

 21     understand something.       They would come to us to check.                      We

 22     would then go with our corporate records, with our corporate

 23     secretary, and say this is wrong or this is right.                           But I would

 24     then have all of my records in front of me so I could check.

 25           "You are asking me to authenticate something and I have

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                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 38 of 366
                                                                                            38


  1     nothing to do -- and I have nothing in front of me to check.

  2     So I cannot do that.

  3     "Q.    Okay.   I'm not sure you have nothing, but let's see if

  4     this helps you.     Let's go to Page 23.

  5           "This is not a draft, is it, ma'am?                       This is a signed

  6     document, isn't it?

  7     "A.    I can see a signature, but I do not know if it is a draft

  8     or not.

  9     "Q.    Let's go back again.         Go back to Page 7.                Do you see that?

 10     Do you see that?     It is an evaluation of four companies.

 11     Cloudcroft, Hotwire, Coin-Exch. and CO1N, correct?

 12     "A.    That is what the document says.

 13     "Q.    According to the document, those are all part of the

 14     holding company and controlled by something called de Morgan

 15     Limited, correct?

 16     A.    Well, it is according to this document, that I didn't

 17     write.    And as I said to you before, we have had many drafts of

 18     different documents and have perhaps gone back and said:                           'This

 19     is not right' or 'This is incorrect.' I do not know if this is

 20     the first draft or the final draft.

 21     "Q.    Okay.   And you are identified as a director of DeMorgan,

 22     Limited, correct?

 23     "A.    I have always said that I am a director of DeMorgan, yes.

 24     "Q.    Thank you.   Let's go back to Page 18 now.

 25           This is Coin-Exch., correct?

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                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 39 of 366
                                                                                             39


  1     "A.   That is right.

  2     "Q.   This one clearly has to do with Bitcoin.                        Does it?

  3     "A.   It was an exchange platform, so yes.

  4     "Q.   'Coin-Exch. will offer exchanges in trades between

  5     Australia dollars and Bitcoins,' correct?

  6     "A.   Yes.

  7     "Q.   'It will also offer trading products with the ability to

  8     exchange Bitcoin with other national currencies, commodities,

  9     and Bitcoin derivatives,' correct?

 10     "A.   You see, this is what it says, but you understand that

 11     Coin-Exch. never did that in the end.

 12     "Q.   Okay.   Did I read it correctly?

 13     "A.   You read it correctly, and the wording here is correct,

 14     but it's not -- it did not actually do that in the end.                           We did

 15     not have the right staff.           We didn't have enough resources to

 16     do it.   So a lot of what it says here in this document, they

 17     are lovely words, but a lot of it didn't actually happen.

 18     "Q.   Okay.   It say that Coin-Exch. is also using W&K source,

 19     does it not?

 20     "A.   That is what it says on this piece of paper.                        I actually

 21     don't even know if it is using it to source.                          It says:   'source

 22     share,' and I actually really do not understand that.                            I don't

 23     know what it means because I didn't write it.

 24     "Q.   Okay.   Then the next -- at the end it says:                       'w&K source

 25     will enable the creating of a fast and stable trading platform,

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 40 of 366
                                                                                              40


  1     trade Bitcoin as fundamental currency to buy and sell

  2     traditional assets and securities,' correct?

  3     "A.   That is what is written on this piece of paper.

  4     "Q.   The last one is CO1N.           Am I pronouncing that right?

  5     Because it is a number.

  6           "Do you refer to it as CO1N?

  7     "A.   It is CO1N, yes.

  8     "Q.   This one, this company also had to do with Bitcoin, does

  9     it not?

 10     "A.   It does not have to do with Bitcoin.                            This was a wallet

 11     that we were trying to produce.

 12     "Q.   'CO1N is offering an online scalable eWallet solution with

 13     secure vault technology for the Bitcoin market,' correct?

 14     "A.   It does not have to do with Bitcoin.

 15     "Q.   Okay.   Has to do with Bitcoin wallets?

 16     "A.   It is a wallet.     It is a Bitcoin wallet, yes.

 17     "Q.   Yes, ma'am.    Again, the same thing, using W&K source,

 18     correct?

 19     "A.   I don't know.    I do not know what it means when it -- as

 20     source share because I didn't write this.                             I did not provide

 21     the information for any of this.

 22     "Q.   Okay.   It says:    'w&K source will enable the development

 23     of transaction protocols and the rule-based algorithms to

 24     significantly reduce transaction times and design novel

 25     security protocols and encryption algorithms without

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 41 of 366
                                                                                             41


  1     compromising transaction times or scalability.'

  2           "Do you have any reason to dispute that?

  3     "A.    I don't know whether this actually happened or not.                       I

  4     know that we never finished the wallet.                         As with Coin-Exch., we

  5     did have the resources and we did not have the people.                         So I

  6     can tell you that this was not finished.                          It wasn't even half

  7     done, I don't think, which is very disappointing because when

  8     we started this, there was so much potential.

  9     "Q.    At the very end there, there is a conclusion about the

 10     valuation, is there not?          Page 23.             It is near the very end.

 11     Not the very end.

 12     "A.    That's right.

 13     "Q.    For those four companies, it assigns the value of the

 14     software, which used in part W&K source, at $378,475,713,

 15     correct?

 16     "A.    That is what is written there, but I do not understand

 17     when it says using W&K source.                I did not provide the

 18     information.     I don't know if any of this information is

 19     correct.

 20     "Q.    Ms. Watts, there came a time after Mr. Kleiman, Dave

 21     Kleiman, passed away, that you had communications with Ira

 22     Kleiman.      Do you recall that?

 23     "A.    I do, yes.

 24     "Q.    Do you know why Craig was reaching out to Louis?

 25     "A.    Yes.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 42 of 366
                                                                                            42


  1     "Q.    Why is that?

  2     "A.    Because Craig had offered Dave shares in -- I think it was

  3     Coin-Exch., for Dave to do some work for Coin-Exch.                        The work

  4     was not done, though, because Dave actually died, but Craig

  5     said that it was the right thing to do, to give it to his

  6     father.

  7     "Q.    So let me see if I can summarize that a little bit.                      I

  8     think you did a pretty good job.

  9           "Before Dave died, it is your understanding that Dave was

 10     going to do certain work for Coin-Exch. in exchange for shares

 11     in that company?

 12     "A.   Yes.    Well, it was not my understanding.                      I mean, we were

 13     all at a meeting.     So there was -- I cannot remember when we

 14     had this meeting, but we had several people on board.                        I do not

 15     think it was other directors because I don't think there were

 16     other directors at the time.              But we had -- I cannot remember

 17     who they are now, but I recall having a Coin-Exch. meeting

 18     where Dave was supposed to have done some work, yes.

 19     "Q.   Okay.    Am I right in assuming that Dave was not physically

 20     present at that meeting?

 21     "A.   No.    He dialed in remotely.

 22     "Q.   Do you recall at least part of his remuneration was going

 23     to be shares in Coin-Exch.?

 24     "A.    I do not even know if it was a remuneration, but yes, it

 25     was an agreement that he would get shares in Coin-Exch. for

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                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 43 of 366
                                                                                         43


  1     certain work that he was supposed to have done.

  2     "Q.    You said that Dave died before the work was done, and I'm

  3     just making sure I understand.

  4           "Were the contracts done but the work was not completed yet

  5     or the contracts didn't get done before Dave died?

  6     "A.    I think the contract was actually done.

  7     "Q.    Okay.   And Dave, because -- whether it is because of his

  8     illness and ultimately his passing, or whatever else the

  9     reason, by the time he dies the work was not complete?

 10     "A.    No, not at all.

 11     "Q.    Was it started?

 12     "A.    I do not think it was even started.

 13     "Q.    And now to bring us back to where we were.                     Your

 14     understanding is Craig reached out to Louis, Louis Kleiman, to

 15     make sure that he got the shares in Coin-Exch. that Dave was

 16     supposed to get.

 17     "A.    Well, not so much him, but Dave's estate, I suppose,

 18     whoever was meant to get the shares.

 19     "Q.    So we were talking about Exhibit 8.

 20           "Thank you so much.

 21           "This was the de Morgan IP deed of assignment.                    Do you

 22     recall that?

 23     "A.    I recall you and I having a conversation about this.

 24     "Q.    Sure.   That is all I'm asking at this point.

 25           "Can you go to Page 3 of that document.

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                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 44 of 366
                                                                                            44


  1     "A.   Yes.

  2     "Q.   I'm focused on Paragraph D.                 Do you see that?

  3     "A.   Uh-huh.

  4     "Q.   'it is noted that although the contract with W&K Info

  5     Defense Research, LLC' -- that is what we've been referring to

  6     as W&K, correct?

  7     "A.   I don't know.    I do not know how many W&Ks there are.                       I

  8     really don't know.

  9     "Q.   Okay.

 10     "A.   I have noticed there are several, actually.                       So there's a

 11     W&K Information Defense Research, there's W&K ID.                        Is there

 12     just something called W&K?            I do not know of -- I'm sure they

 13     are all separate.     I do not think they are all one entity.

 14     "Q.   You don't think W&K ID is short for W&K Information

 15     Defense?     That doesn't make sense to you?

 16     "A.   I don't know.    I didn't set this up, so I don't know.

 17     "Q.   Which one did you think was Dave and Lynn's company, then?

 18     Which one are you talking about?

 19     "A.   Definitely W&K.     But is it W&K Information Defense?                    I'm

 20     not sure it is W&K Information Defense.                         I did not realize it

 21     has a research and an LLC at the end, so I do not know.

 22     "Q.   You don't know in this document if this is the one that is

 23     a company associated with Dave Kleiman?

 24     "A.   I can only assume because there's a W&K in there, but I do

 25     not know.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 45 of 366
                                                                                           45


  1     "Q.    This document talks about a lawsuit that was filed against

  2     W&K Information Defense.          A statement of claim.                 I will use the

  3     proper terminology.

  4     "A.    Yes.

  5     "Q.    You know that your husband brought a lawsuit or a

  6     statement of claim against W&K Information Defense.                         You know

  7     that, don't you, ma'am?

  8     "A.    I know that he did something.                   I didn't realize it was a

  9     lawsuit.      It is called a statement of claim, which is quite

 10     different.

 11     "Q.    Well, we can debate whether it is different.                       What he did

 12     was, is he made a claim in the courts in Australia saying that

 13     W&K Information Defense owed him a whole lot of money, did he

 14     not?

 15     "A.    I don't know.    I wasn't there.

 16     "Q.    This is your time.       What do you mean by you were not

 17     there?

 18     "A.    I was not there at the court with him.

 19     "Q.    So as you sit here today, you do not know that your

 20     husband brought a statement of claim against W&K Information

 21     Defense for tens of millions of dollars?                          That is something you

 22     don't know?

 23     "A.    I know that he brought a statement of claim against W&K.

 24     "Q.    You know he got what is called a default judgment against

 25     them, meaning he got the court to award him a tremendous amount

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 46 of 366
                                                                                        46


  1     of money from W&K.     You know that, don't you, ma'am?

  2     "A.   I know that he got a default judgment, yes.

  3     "Q.   Ma'am, you know that based on that default judgment your

  4     husband obtained all of the intellectual property that was

  5     owned by W&K Information Defense; isn't that correct?

  6     "A.   No, that is not correct at all.

  7     "Q.   What is incorrect about it?

  8     "A.   Well, my husband does a lot of things for the company or

  9     through the company, with the company, so I don't have all the

 10     details.    I know that he had a statement of claim and I know

 11     that he had a default judgment and he hasn't gone into details

 12     about everything else.

 13     "Q.   But this is your company.               This is the Morgan Wright

 14     Family Trust.    How did it get W&K Information -- how did your

 15     company, DeMorgan, get W&K's intellectual property which you

 16     are assigning in Paragraph 8?               How did they get it?

 17     "A.   I don't know.    I don't have any economy records in front

 18     of me.   If I did have it in front of me, I might be able to

 19     tell you.    If I had access to my company's secretary and had

 20     all of my records, I would be able to tell you.                       You are just

 21     telling me things now that supposedly happened and I do not

 22     have any of those records.

 23     "Q.   You do not know that?

 24     "A.   Sorry.

 25     "Q.   You do not know that.           This is something that you claim

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 47 of 366
                                                                                                47


  1     not to have knowledge of, correct?

  2     "A.    What exactly do I claim not to have knowledge about?

  3     "Q.    That your husband and his companies got all of W&K's

  4     intellectual property vis-a-vis a statement of claim he filed

  5     in Australia.      You know that --

  6     "A.    I said that I know he had a statement of claim and I know

  7     that he had a default judgment.                 Now, in the company records

  8     there are so many assignments, there are so many different

  9     assignments from different companies.                       I couldn't say to you I

 10     know this happened and I do not know this happened.                           I really

 11     couldn't.      If I could have access to my company secretary and

 12     if I had everything directly from them, I would go through the

 13     list and say:      'Oh, yes, this did happen because this was

 14     accounted for,' or:      'that happened because that was accounted

 15     for.'

 16           "Now you are asking me if I do or do not know.                          I don't

 17     even know if I can answer that question because I do not have

 18     any records in front of me.

 19     "Q.    Ms. Watts, I just want to follow up on the very last thing

 20     we were talking about, which is at -- or at least partly talk

 21     about authentic and inauthentic documents.                            Okay?

 22     "A.    Sure.

 23     "Q.    You made a reference a few times that if you could see

 24     your corporate records you would be able to answer with better

 25     clarity some of the things I have asked you today.                            Is that

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 48 of 366
                                                                                           48


  1     true?

  2     "A.   I believe so, yes.

  3     "Q.   And you told me today that although you have referenced

  4     your corporate secretary on a few occasions, you do not know

  5     who that is, correct?

  6     "A.   I don't know the name of the corporate secretary.                        They're

  7     in Brisbane.

  8     "Q.   Okay.    Do you know how to contact them?

  9     "A.   So my secretary used to do that.                      My assistant used to do

 10     that.   I could find a way of contacting my assistant, but I

 11     haven't contacted her in five years.

 12     "Q.   You haven't contacted your assistant in five years?

 13     "A.   Yes.    This was the companies in Australia.

 14     "Q.   As you sit here today, you would not know how to get in

 15     contact with the corporate secretary that you have referenced;

 16     is that fair?

 17     "A.   I don't know.    I think I would have to try and find the

 18     search -- I might be able to.               I don't know.             I haven't tried.

 19     "Q.   Are you aware of any accusations that have ever been made

 20     that DeMorgan, Limited submitted false documents to the

 21     Australian Tax Office?        Are you familiar with that allegation?

 22     "A.   I'm familiar that the Australian Tax Office might have

 23     mentioned that.     But the thing is, we were actually hacked.                      So

 24     I would not be surprised if some of our stuff -- some of our

 25     staff, excuse me, changed some of our documents.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 49 of 366
                                                                                         49


  1     "Q.   Documents that were submitted by the Australian Tax

  2     Office?   Is it your testimony that if they were false, it was

  3     someone else that did it?

  4     "A.   Well, I certainly didn't do it.

  5     "Q.   What about your husband?

  6     "A.   He -- would doubt very much that he would have done

  7     something like that.

  8     "Q.   Who is Andrew Sommer?

  9     "A.   He was our lawyer in Australia.

 10     "Q.   Do you trust him?

 11     "A.   I don't know him personally.                  He's a lawyer.

 12     "Q.   Do you remember the name of his law firm?

 13     "A.   Clayton Utz.

 14     "Q.   Did they -- Clayton Utz represent DeMorgan, in connection

 15     with -- well, did Clayton Utz ever represent de Morgan

 16     Limited??

 17     "A.   I do not know if he represented the companies.                      I actually

 18     really don't know the relationship, whether he represented

 19     Craig personally or represented the companies.                        It probably was

 20     the companies.     I'm not sure which one in particular.

 21     "Q.   Okay.   If you could go to Tab 32.                      Let me know when you

 22     are there.

 23     "A.   Yes."

 24               MR. LAGOS:    Exhibit 10 marked for identification.

 25           (Continued:)

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 50 of 366
                                                                                  50


  1     "Q.   Ms. Watts, do you see what I have marked as Exhibit 10?

  2     "A.   I do.

  3     "Q.   Is that a letter from Clayton Utz?

  4     "A.   Yes.

  5     "Q.   Is it an authentic letter?

  6     "A.   I do not know, but I recognize it.

  7     "Q.   It is emailed to you, correct?

  8     "A.   Yes.

  9     "Q.   As a director of what company?

 10     "A.   As a director of DeMorgan.

 11     "Q.   It has your email address.                Was that your Hotwire email

 12     address?

 13     "A.   It was, but we worked across several companies, as I said

 14     to you before.

 15     "Q.   Sure.   I'm just saying that that was a correct email

 16     address for you, right?

 17     "A.   Yes.

 18     "Q.   Does that refresh your recollection that Clayton Utz was

 19     representing DeMorgan, Limited??

 20     "A.   It does now, yes.

 21     "Q.   Okay.   Very well.      Does it refresh your recollection that

 22     at some point in time Clayton Utz determined that they could no

 23     longer represent de Morgan Limited?

 24     "A.   Yes.

 25     "Q.   Did Clayton Utz determine that the documents that your

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                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 51 of 366
                                                                                           51


  1     husband has submitted, both to its offices and to the

  2     Australian Tax Office, has serious questions about their

  3     integrity?

  4     "A.   That's what it says here, but I also had a phone call with

  5     Andrew because before he sent me this letter, he called me.

  6     "Q.   And what did he tell you?

  7     "A.   Pretty much the same as this letter, but he said:                       'I was

  8     going to send you this letter.'                 He said that the ATO contacted

  9     him saying that there were some documents that had been

 10     modified.    He said he didn't believe Craig did it and all

 11     because we had already told him that we had been hacked.                        He

 12     said:   'But I'm under instruction not to be able to represent

 13     you because it does not look good for my company.'                        He was

 14     hugely apologetic.

 15     "Q.   Right.   The company -- Clayton Utz was not only concerned

 16     that there were questions about the integrity of documents

 17     submitted to the Australian Tax Office, but also documents that

 18     were submitted to the law firm, correct?

 19     "A.   Well, that is not what he told me.                        I know that it is what

 20     is written here, and he said:               'I'll be sending you a letter

 21     that's quite standard, and it's going to sound awful, but this

 22     is my position because I have been told from the top.'

 23     "Q.   Did your husband ever tell you that Dave Kleiman was his

 24     partner?

 25     "A.   He -- Craig has used the term partner very, very loosely.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 52 of 366
                                                                                                52


  1     "Q.    You can answer.

  2     "A.    So as I said, Craig has used the term partner very, very

  3     loosely.    I think he would consider his best friend his

  4     partner.    Dave did a lot of editing for him.                          I think he would

  5     say:    'Hey, that is my partner who has edited my book for me.

  6     We have written a book together.'                   I think he would consider

  7     that a partner too.      So it depends on what you mean by partner.

  8     "Q.    Excuse me.   Did your husband ever tell you that Dave was

  9     not his business partner?

 10     "A.    Well, Craig never said to me, just to let you know:                          'Dave

 11     is not my business partner.'              He has never actually said that

 12     to my face, no.

 13     "Q.    Okay.   Let's talk about the -- sure.                          I am just trying to

 14     reset where we were.

 15           "You told me earlier that there was a contact -- contract

 16     sometime after Dave passed away between your husband and Louis

 17     Kleiman where your husband was trying to get certain shares in

 18     Coin-Exch. to Dave's estate after his death?

 19     "A.    That is correct, yes.

 20     "Q.    Okay.   Then at some point Ira became involved in the

 21     negotiations.     You were not sure if it was between -- because

 22     of his father dying, but at some point his father passes away

 23     and Ira is involved in the negotiations?

 24     "A.    That's correct.

 25     "Q.    Explain to me, what were those negotiations?                          What was

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 53 of 366
                                                                                              53


  1     being negotiated?

  2     "A.    I don't really have all the details.                           I think it started

  3     off with Craig saying:        'I've got -- your brother's got shares,

  4     or to Dave's father it would be:                  'Your son has shares in this

  5     company and we'd like you to have that.'                          I don't have all the

  6     conversation in front of me.

  7           "I think it got to a stage where Ira came in and said,

  8     basically, if they were to sell it, how much.                            I know we

  9     offered Ira the directorship because Dave was also supposed to

 10     be a director of Coin-Exch.             We had offered that to Ira and he

 11     said:    'Well, I don't want that directorship.                          How much is the

 12     shares worth?      Can we sell it and can I have some money and

 13     just make sure that I don't have to pay tax on it?'

 14     "Q.    Okay.   When you and your husband were in contact with Ira

 15     Kleiman, by that point, which we just went over in a previous

 16     document -- by that point your husband had already filed his

 17     statement of claim against W&K, correct?

 18     "A.    I don't remember when he filed it and I don't remember

 19     when we started talking to Ira.

 20     "Q.    Okay.   Do you know when you were negotiating -- and I said

 21     both you and your husband -- whether you were negotiating with

 22     Ira, whether either of you told him there had been a statement

 23     of claim filed against W&K in Australia?

 24     "A.    I didn't.    Craig might have.               I don't know.

 25     "Q.    In those discussions, were you or your husband asking Ira

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 54 of 366
                                                                                              54


  1     for anything in return or were you just trying to give him

  2     shares in a coin -- I'm going to ask that again.                           It was a bad

  3     question.

  4           "I understood from a previous answer that the shares we're

  5     talking about, that originally your husband wanted to get to

  6     the estate through Louis Kleiman and then discussions with Ira

  7     were shares in Coin-Exch.; is that right?

  8     "A.    That's correct.

  9     "Q.   When you spoke with Ira and communicated with Ira, both

 10     you and your husband, were you asking anything from him in

 11     exchange for giving him those shares?

 12     "A.   I wasn't.    I don't know if Craig did.                         I don't think he

 13     did at all.

 14     "Q.   You don't recall asking for his cooperation in the

 15     Australian Tax Office proceeding?

 16     "A.   Oh, I suppose at the end when they were asking questions,

 17     I might have.     I don't remember.               I might have.

 18     "Q.   Why did you and your husband need to negotiate with Ira if

 19     you were just going to give him shares?                         I don't understand the

 20     negotiation.

 21     "A.   Because he didn't actually want the shares.                          So he wanted

 22     the money.    So the negotiation was really how much is it worth.

 23     So we offered him a figure.             He said that that was not enough.

 24     We offered another figure, and he said:                         'Well, that is not

 25     enough.'    It was not shares that he wanted.                         He wanted the

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 55 of 366
                                                                                             55


  1     money and he wanted it right away.

  2     "Q.   I'm asking about the negotiations.                        I have the emails.    I

  3     want to know what was taking place that I could not see in the

  4     emails about those negotiations.

  5     "A.   I think we had some Skype calls.                      I just remember not

  6     having a very good impression of Ira after some conversations I

  7     had with him.

  8     "Q.   That is great.    What was the sentiment?

  9     "A.   He just wanted money and he wanted more money and more

 10     money.   He wanted it now.          He didn't want to be a director.                  He

 11     wasn't interested in what Coin-Exch. was doing, and he was very

 12     specific when he said:        'I don't want to pay tax.'                  I remember

 13     that because Craig was very, very, very angry when Ira said

 14     that.

 15     "Q.   Okay.   Anything else about the sentiment that you can

 16     remember other than -- we will go through some emails that I

 17     have, but anything else?

 18     "A.   That was the final sentiment.                    Initially, when we started,

 19     it was very cordial and very pleasant."

 20               MR. LAGOS:    Exhibit 12 was marked for identification.

 21           (Continued:)

 22     "Q.   Are you there?

 23     "A.   I am.

 24     "Q.   So if you go to the page that has 287 on the bottom.

 25     "A.   Yes.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 56 of 366
                                                                                       56


  1     "Q.   That is -- correct me if I am wrong, that is an email from

  2     you to your husband, correct?

  3     "A.   Yes.

  4     "Q.   Are you -- do you recall this email?

  5     "A.   As I said with the other ones, I don't recall writing that

  6     five years ago.     It looks familiar, though.

  7     "Q.   Is this an address to Ira -- is this a copy of something

  8     you had sent to Ira or a draft of what you were intending?

  9     "A.   I don't remember.

 10     "Q.   You write:    'Currently, we are having major battles with

 11     the tax office, ATO, the Australian Tax Office.'                      That was a

 12     correct statement, right?

 13     "A.   Yes.

 14     "Q.   'They,' meaning the tax office, 'do not believe that what

 15     we have is viable.'

 16           "Do you see that?

 17     "A.   Uh-huh.

 18     "Q.   'They do not see it as an enterprise,' right?

 19     "A.   Yes.

 20     "Q.   'They are arguing that the work Dave and Craig has been

 21     doing is a hobby or purely academic research,' right?

 22     "A.   Yes.

 23     "Q.   'Dave and Craig were working together on the issues that

 24     we are fighting out with the Australian Tax Office.'                     Is that

 25     not true?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 57 of 366
                                                                                              57


  1     "A.    Well, Dave was working on Coin-Exch.                           He was supposed to

  2     be working on Coin-Exch., and Coin-Exch. was one of the

  3     companies that the Australian Tax Office had audited.                            So Dave

  4     was supposed to be setting up systems for Coin-Exch.                            But --

  5     "Q.    The fight with the -- I'm sorry?

  6     "A.    But we only found out much later on that that wasn't done.

  7     I was under the assumption that Dave had been working on

  8     Coin-Exch.

  9     "Q.    Actually, the fight with the ATO was whether the mining of

 10     Bitcoin was a hobby; isn't that true?

 11     "A.    No.    No, because the fight with the ATO was with all of

 12     the companies, with -- any of the companies were enterprises,

 13     any of the research that was being done was an enterprise.

 14     "Q.    Okay.    Go to the second page, which has an 88 at the

 15     bottom.

 16           "Just so we are clear, the only thing you have told me

 17     before today, before right now, that Dave and Craig did

 18     together in a business side was when Dave helped Craig edit

 19     certain papers, right?

 20     "A.    Yes.

 21     "Q.    He helped him write a book, or was it more than one book?

 22     "A.    I don't know.

 23     "Q.    And he had this contract with Coin-Exch. which he ended up

 24     not doing any work on, right?

 25     "A.    That's right.    And I've just remembered one, that I wasn't

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 58 of 366
                                                                                             58


  1     any part of, but I remember Craig telling me that they either

  2     did or were supposed to do something with.                            I think it was the

  3     Department of Defense in the U.S.                   I was not involved with that

  4     one, but I remember Craig telling me about that.

  5           "So as I said, when you generalize things like that and

  6     say:    'Tell me everything,' I cannot always recall.                         But if you

  7     ask me something very specific, I might be able to answer the

  8     question.

  9     "Q.    We'll each do our best.

 10           "And the paragraph starts with 'currently we need to.'

 11     This is either a draft of a communication to Ira or one that

 12     was sent to Ira, or you are just not sure?

 13     "A.    I cannot remember.

 14     "Q.    The addresses of this, whether it was sent or not, is Ira,

 15     correct?

 16     "A.    Yes.

 17     "Q.    You write:   'Craig and I' -- you were talking about

 18     yourself, right?      'Craig and I have put our entire life savings

 19     into this business'?

 20     "A.    Yes.

 21     "Q.    What business was that?

 22     "A.    Everything, everything that we did.

 23     "Q.    Then read the next three words.

 24     "A.    As did Dave.

 25     "Q.    Right.   Dave also put his entire life savings into the

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 59 of 366
                                                                                              59


  1     business.     Isn't that what you wrote?

  2     "A.   Dave was supposed to put the Bitcoin that he had into

  3     Coin-Exch.     That was part of the deal as well.

  4     "Q.   Okay.    When did you learn that he didn't?

  5     "A.   I think it just wasn't there.                    I don't know.         Craig had

  6     told me that it wasn't and the accountant said that it wasn't

  7     in there.     I don't know.

  8     "Q.   It says:    'Craig and I have put our entire life savings

  9     into this business, as did Dave.'                   That is what you wrote,

 10     correct?

 11     "A.   Yes.    But as I said to you before, Dave was supposed to

 12     put the Bitcoin that he had into Coin-Exch. and that is why he

 13     got the shares, that and the work that he was supposed to have

 14     done.   So that was the deal that was with Coin-Exch.

 15     "Q.   And when he died -- I'm sorry.                    Go on.

 16     "A.   So the -- in order to capitalize the company, Craig put in

 17     a lot of money or Bitcoin -- I'm not sure what he did there --

 18     and Dave was supposed to put another bit.                             We only found out

 19     much later on from our accountants that that wasn't the case.

 20     "Q.   Ma'am, is it your testimony that two years after Dave

 21     died, you still didn't -- you were still waiting for his

 22     Bitcoin to be deposited?          Is that your testimony?

 23     "A.   No.    My -- my tell is that at the time we probably were

 24     running eight companies and at that time we were being audited

 25     constantly on the eight companies.                     I don't know if you have

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 60 of 366
                                                                                              60


  1     ever run several companies at a time before, Mr. Brenner.                            It

  2     is very stressful.     We worked long hours.                          I had three children

  3     that I did not see.     We had accountants after accountants.                         I

  4     was not responsible for the accounting.                         I had financial

  5     controllers and accountants who did that.                             They would give me

  6     the information.     If you have a new accountant or a new

  7     financial controller, sometimes it takes them six months to

  8     actually understand the accounts, especially when some of the

  9     accounts involve Bitcoin.

 10           "So if after two years Dave dies, my accountant comes and

 11     says to me:    'By the way, in Coin-Exch., I just want to let you

 12     know that there's X amount here,' and then I say:                            'Oh, my God.

 13     Is that what there is' -- we had at least eight companies,

 14     perhaps even more.     At the same time, three children at home,

 15     two of us, 50 staff, perhaps even more, being audited day and

 16     night by the tax office.          I didn't sleep very much.                    I worked

 17     18-hour days.    So did my husband.

 18     "Q.    All I am asking, ma'am, is two years after Dave Kleiman

 19     died --

 20     "A.    And I have answered your question, sir.

 21     "Q.    May I finish my question?

 22           "Two years after Dave Kleiman died, you were writing to his

 23     brother telling him that his brother and Craig had both put

 24     their life savings into their business.                         Isn't that correct?

 25     "A.   The information that I was given from my accountants at

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 61 of 366
                                                                                              61


  1     that time -- and I believe I must have been on my third,

  2     perhaps my fourth accountant, trying to run eight companies,

  3     perhaps more, at that one time.                 Mr. Brenner, if you try

  4     working 18-hour days, if you do not have all the information

  5     ahead of you --

  6     "Q.   The answer is that, what you wrote, correct?

  7     "A.   I'm sorry?

  8     "Q.   The answer is that, what you wrote, correct?

  9     "A.   The answer is I didn't have all the information at the

 10     time.

 11     "Q.   Easier.   Tab 7.    This is Exhibit 11.                         This is a one-page

 12     document, correct?

 13     "A.   That is correct.

 14     "Q.   So this is an email.          The top email is from Dr. Wright to

 15     Calvin Ayre, Robert MacGregor, Stefan Matthews, and you,

 16     Ms. Watts?

 17     "A.   That is correct.

 18     "Q.   The discussion in the email, although it is very short, is

 19     talking about an email that had actually been sent about almost

 20     two years prior, correct?

 21     "A.   It looks like it, yes.

 22     "Q.   Let's look at the one which is two years prior, which is

 23     Dr. Wright to Carter and Patrick Paige.                         Okay?

 24     "A.   Okay.

 25     "Q.   Your husband writes:          'I know both of you, Carter and

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 62 of 366
                                                                                            62


  1     Patrick, knew Dave and trusted him,' right?

  2     "A.   That is what is written here.                    That is correct.

  3     "Q.   Your husband writes:          'Dave and I had a project in the

  4     U.S.'    What was that project, ma'am?

  5     "A.   I didn't write this email.                I don't know.

  6     "Q.   Okay.   You don't know what that -- project that is?

  7     "A.   No.

  8     "Q.   Okay.   It says:    'He ran it there,' meaning Dave ran it

  9     there.   You don't know what is that referring to?

 10     "A.   No.

 11     "Q.   It says:    'We kept what we did secret.'

 12           "Do you see that?

 13     "A.   I see it.

 14     "Q.   Do you know what your husband -- what project he had with

 15     David in the U.S. that they were keeping a secret?

 16     "A.   Well, I didn't write this email.

 17     "Q.   I know you didn't write it.                 I'm not asking if you wrote

 18     it.   I am asking if you know what project he was saying he and

 19     Dave had in the U.S. that they kept secret.

 20     "A.   No.   I do not know.

 21     "Q.   It says:    'the company he ran there,' and 'he' is meaning

 22     Dave, correct?

 23     "A.   I don't know who he means.

 24     "Q.   'The company he ran there mined Bitcoin.'                       Do you know

 25     what company that your husband -- well, do you know of a

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 63 of 366
                                                                                             63


  1     company that Dave ran in the U.S. that mined Bitcoin?

  2     "A.    I do not.

  3     "Q.    If you go to the next paragraph, it says:                       'The amount

  4     DK.'

  5           "Do you understand that to be a reference to Dave Kleiman?

  6     "A.    I would assume so, but I don't know.

  7     "Q. 'The amount DK mined is far too large to email.'

  8           "Do you see that?

  9     "A.    I see it.

 10     "Q.    Does it refresh your recollection whether your husband

 11     ever spoke with you about Dave mining Bitcoin?

 12     "A.    No, he never did.

 13     "Q.    Okay.   Now, it goes up at the top -- it actually -- this

 14     email two years later comes to you, right?

 15     "A.    That is what it looks like, yes.

 16     "Q.    It says -- it is from your husband.                        It says:   'The email

 17     to Patrick is attached below,' correct?

 18     "A.    That is what it says.

 19     "Q.    It says:    'I said we mined.'

 20           "You understood that your -- he was telling you that he

 21     told Patrick that him and Dave mined Bitcoin, don't you, ma'am?

 22     "A.    I don't.    I --

 23     "Q.    But you understand -- I'm sorry.                     Go ahead.

 24     "A.    I really don't like to speculate what my husband meant

 25     when he wrote something.          As I said to you before, he has

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                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 64 of 366
                                                                                     64


  1     Asperger's.    He really has trouble expressing himself.                 So even

  2     if he writes an email to me, I'll need to see him to his face,

  3     get him after 10 years to look me in the eye and say:                   'did you

  4     mean this?     Did you mean that?'              And half the time he says:

  5     'No, that is not what I mean.'

  6           "So are you asking me to speculate on something that he

  7     wrote, someone who has trouble expressing himself?                    I wouldn't

  8     dare.    I don't know what he meant.

  9     "Q.    Then he says:    'Not that I was SN to Patrick.'

 10           "Do you understand SN to be Satoshi Nakamoto?

 11     "A.    I would assume so, but as I said, I don't remember this."

 12                MR. LAGOS:    Exhibit 16 marked for identification.

 13           (Continued:)

 14     "Q.    This will be Exhibit 16.             A two-page document, ma'am?

 15     "A.    I see that, yes.

 16     "Q.    I'm going to start from the bottom and work my way up.

 17     Okay?

 18     "A.    Okay.

 19     "Q.    You see on the top:        'You get all of this BN FYI,' right?

 20     "A.    Yes.

 21     "Q.    You were involved in discussions that your husband was

 22     having with Patrick Paige, right?

 23     "A.    No, I was never involved with Patrick Paige.

 24     "Q.    He just wanted you to know about it?

 25     "A.    I don't know.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 65 of 366
                                                                                       65


  1     "Q.    Did you say:    'Why are you forwarding me these emails?

  2     Have nothing to do with this'?

  3     "A.    No.    I get a lot of forwarded emails.

  4     "Q.    Patrick Paige writes on the very bottom of the page --

  5     this is November 2015.        Do you see that?

  6     "A.    I do, yes.

  7     "Q.    'Hi, Craig.    How goes it?            Just wanted to touch base with

  8     you.    I got a call from a reporter who left a message asking

  9     about Dave and you.      I don't plan to call him back, but Carter

 10     and I were curious if something is going on.'

 11           "Do you see that?

 12     "A.    Yes.

 13     "Q.    Craig writes back -- Dr. Wright writes back -- again, I

 14     think we have this Australian problem because it actually goes

 15     back in a day, but I think it is clear he is responding.                     He

 16     says:    'Thanks for the heads up.                Reporters are always

 17     trouble.'

 18           "Do you see that?

 19     "A.    Uh-huh.

 20     "Q.    He says:    'They ignored the stuff Dave and I did when he

 21     was alive.'

 22           "Do you have any idea what your husband is referring to

 23     about the stuff that he and Dave did?

 24     "A.    No.    I have no idea.       I mean, I could only assume it is

 25     about the books they wrote together.                      Perhaps if they did some

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 66 of 366
                                                                                              66


  1     work with the Department of Defense.                      I'm not sure if that was

  2     done.    I don't know.

  3     "Q.    Let us see if the rest of the email gives you a better

  4     idea of what is going on.

  5           "Then it says:   'I do not know what has started to interest

  6     them now.' Do you see that?

  7     "A.    Yes.

  8     "Q.    He says:   'The computer we were running made the top 20

  9     within the top 500 supercomputer list.                        So this may be new.'

 10           "Do you see that?

 11     "A.    Uh-huh.

 12     "Q.    You understand that supercomputers were used at that time

 13     period to mine Bitcoin, correct?

 14     "A.    But that is not all they were used -- because we had a

 15     supercomputer too with Cloudcroft and it wasn't mining Bitcoin

 16     at all.    The supercomputer for Cloudcroft was actually used for

 17     research, and our developers used a lot of information that

 18     came out of the supercomputer.                So no, I don't believe that at

 19     all.    I think you can use a supercomputer for mining Bitcoin.

 20     You can use a home computer for mining Bitcoin.                            I use my home

 21     computer all the time.        I've never mined Bitcoin.

 22     "Q.    Your husband, when he responds to Patrick, he brings up

 23     supercomputers, correct?

 24     "A.    Yes.

 25     "Q.    Okay.   What does Patrick write back?                          The next email up.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 67 of 366
                                                                                        67


  1     He says:    'No problem.'       He is now talking about -- well, we

  2     will read it.      He says:     'No problem.                I don't think it's about

  3     computers.     He mentioned Bitcoin in his message.'

  4           "He is talking about the message that he got from the

  5     reporter, correct?

  6     "A.    I assume.    I don't know.

  7     "Q.    'Maybe they know something about yours and Dave's Bitcoin

  8     involvement.'

  9           "Does that now appear to you that this exchange between

 10     Patrick and your husband is about Dave and Craig and Bitcoin?

 11     "A.    I would hate to speculate because I wasn't on the email.

 12     I wasn't a party to this email, so I don't know.

 13     "Q.    It says:    'do you want me to return his call and feel him

 14     out?'

 15           "He is talking about the reporter, right?

 16     "A.    I would assume so.

 17     "Q.    Then it says, and this is Patrick writing to Dr. Wright:

 18     'Are you guys close to releasing any information on Dave's

 19     involvement in Bitcoin?'

 20           "What is he talking about, Ms. Watts?

 21     "A.    I have no idea, Mr. Brenner.

 22     "Q.    Okay.   So let's go on.          None of this rings a bell.           It is

 23     still your testimony that Dave had no involvement with your

 24     husband regarding Bitcoin, correct?

 25     "A.    Absolutely, yes.     I mean, it depends on what you say.                 I

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                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 68 of 366
                                                                                      68


  1     think you have to be very specific.                     I know that Dave actually

  2     did talk to people in the Bitcoin community about Bitcoin, but

  3     I don't know what he did.

  4     "Q.   Ma'am, are you denying that -- are you saying that you

  5     know, under oath, that your husband did not mine Bitcoin with

  6     Dave Kleiman?     Is that your testimony?

  7     "A.   No.    My testimony is that my husband never told me that he

  8     mined Bitcoin with Dave.          So I don't know that.

  9     "Q.   You don't know one way or the other?

 10     "A.   I have asked him before and he said he didn't.                   So I do

 11     not know because I wasn't there.                  I cannot know something if I

 12     wasn't there.

 13     "Q.   So let us go to Tab 22."

 14                 MR. LAGOS:   Exhibit 17 was marked for identification.

 15           (Continued:)

 16     "Q.   This will be Exhibit 17.

 17           "Okay.   Ms. Watts, do you have Exhibit 17 in front of you?

 18     "A.   Uh-huh.

 19     "Q.   So we are going to pick up the trail, then, on the bottom

 20     of the first page.

 21     "A.   Okay.

 22     "Q.   So this is now your husband writing to -- by the way,

 23     you're again cc'd on this whole trail, if you look at the top.

 24           "Do you see that?

 25     "A.   Yes.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 69 of 366
                                                                                     69


  1     "Q.   So your husband writes back to Patrick Paige.                   This is now

  2     a few days later.     I think we left off at November 19th or so.

  3     Now we are at November 23rd.

  4           "He says:   'Not yet.       We are in the process of finalizing

  5     some of the research.       I was hoping we could be at the point of

  6     the release before the reporters start sniffing.' And he signs

  7     it 'Craig.'

  8           "Do you see that?

  9     "A.   I do.

 10     "Q.   That was him responding to the question at the end of the

 11     email before when Patrick had asked if he should return the

 12     call of the reporter and whether you guys were close to

 13     releasing any information on Dave's involvement in Bitcoin.                   So

 14     you know where we are.        Okay?

 15     "A.   Sure.

 16     "Q.   Patrick writes back -- this is two days later.                  He says:

 17     'Okay.   That sounds good.'

 18           "Do you see that?

 19     "A.   Uh-huh.

 20     "Q.   He says:    'I think we both know' -- he is writing to your

 21     husband, Dr. Wright -- 'Dave was a genius when it came to

 22     computers and I sure would like Dave to get the recognition for

 23     his part, if any, in the development of Bitcoins.'

 24           "Do you see that?

 25     "A.   Uh-huh.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 70 of 366
                                                                                          70


  1     "Q.   'I realize there's a lot of things to consider releasing

  2     this information, but my question is when.'                           Okay?

  3     "A.   Yes.

  4     "Q.   Craig does not write back to Patrick next, does he?

  5     "A.   I don't know.

  6     "Q.   Okay.   Well, you will be able to tell by what it says.                      He

  7     says:   'Add Patrick to the list of knows,' K-N-O-W-S.                        Correct?

  8     "A.   Yes, that is what it says.

  9     "Q.   Dr. Wright and yourself were both concerned about who knew

 10     the truth about Dave's involvement in Bitcoin, correct?

 11     "A.   That is incorrect.        We were very concerned about who knew

 12     that Craig was Satoshi Nakamoto because at that time we had a

 13     lot of reporters sniffing, knocking on our doors, asking

 14     questions.    Craig did not want to be outed as the creator of

 15     Bitcoin.

 16     "Q.   Your understanding of this email is they are talking not

 17     about Dave's involvement, they are talking about Craig as

 18     Satoshi, correct?

 19     "A.   Absolutely, because at that time we were very, very

 20     concerned because there was reporters actually knocking on my

 21     door and camping outside the house when I was living in Gordon.

 22     So we were very concerned.

 23     "Q.   The next line says:         'At least for now' -- well, it says:

 24     'From what is below, it is clear that Dave had discussed with

 25     him' -- you think that is Dave discussing with Craig?                         Sorry.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 71 of 366
                                                                                              71


  1     Discussing that Craig was Satoshi Nakamoto?

  2     "A.    I don't know.   I didn't write that.                       So I don't know what

  3     meaning this has.

  4     "Q.    Then it says:   'At least for now, he also seems to be

  5     willing to not talk.'

  6           "That is Patrick not talking, correct?

  7     "A.    I assume so, but I didn't write that.                          I don't know.

  8     "Q.    Then it says:   'But as Dave's friends, he will want to

  9     ensure that Dave is outed one day.'

 10           "That is not talking about Craig being outed as Satoshi

 11     Nakamoto, is it?

 12     "A.    I didn't write that.

 13     "Q.    Ma'am, I did not ask you if you wrote it.

 14     "A.    But you are asking me to comment on an email that I did

 15     not write.     You are asking me to speculate on what he meant and

 16     I cannot do that because I didn't write it.

 17     "Q.    Okay.   Are you telling me that when this email, that talks

 18     about Dave being outed one day -- you think, as you just told

 19     me, absolutely, that this email trail is about Craig or

 20     Dr. Wright being outed as Satoshi Nakamoto.                           That is still

 21     absolutely your testimony, correct?

 22     "A.    That is my testimony because I lived it, because I had

 23     reporters camping at my door and because we were in discussions

 24     of how Craig said:     'I do not want to come out as Satoshi

 25     Nakamoto.'

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 72 of 366
                                                                                             72


  1     "Q.    So let's go to the top email.                   See if this clarifies for

  2     you.    This is from Stefan Matthews to Dr. Wright, correct?

  3     "A.    That is what it looks like, yes.

  4     "Q.    Copying you, correct?

  5     "A.    Correct.

  6     "Q.    You guys -- it is an email about everyone needs to get

  7     their story straight, correct?

  8     "A.    I don't know what he meant exactly.                        He does not say:

  9     'Let's get our story straight.'

 10     "Q.    Okay.   Well, let's look at what it does say.                      It says:

 11     'Let's talk on Monday about exactly what Dave's involvement

 12     was.'

 13           "Do you agree that Stefan Matthews is telling you that what

 14     the concern is is not about whether Craig is Satoshi Nakamoto

 15     and outed as such, the concern about -- is what are people

 16     going to find out about Dave's involvement?

 17           "Are you willing to say that that is what that means, or

 18     not?

 19     "A.    Well, I am not, because I don't know what he meant.

 20     "Q.    Let's read what he says and let me know if you can read

 21     that and you can agree with me, that what Stefan Matthews was

 22     concerned about was that the three of you, Dr. Wright and

 23     Stefan Matthews, get your story straight about Dave's

 24     involvement.      Let's read it and then you tell me if that is

 25     what those words mean to you, and you can tell me it doesn't

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 73 of 366
                                                                                            73


  1     and that is fine.

  2           "It says, and I quote:          'Let's talk on Monday about exactly

  3     what Dave's involvement was to ensure that no conflicting views

  4     on this come out.'

  5           "Is that the way you interpret that sentence, the way I

  6     characterized it?

  7     "A.    Well, it is just how you have read it.                         I can read it the

  8     same way as how you read it.              So those are the words on the

  9     page.

 10     "Q.    What does that mean to you?

 11     "A.    I would not know.      I would like to see Stefan in the face,

 12     as I said, and say:      'What did you mean by that?'                      I don't like

 13     to speculate on what somebody else has written.

 14     "Q.    If we could, Ms. Watts -- if we could go to -- let me ask

 15     you, first of all, were you involved in the decision to

 16     participate with Mr. O'Hagan in the writing of 'The Satoshi

 17     Affair'?

 18     "A.    It was not really a decision that I made.                        It was sort of

 19     pushed upon us.

 20     "Q.    Okay.    You did meet with Mr. O'Hagan through his work on

 21     that article, right?

 22     "A.    I did.

 23     "Q.    And you were forthright with him?

 24     "A.    I spoke to him about many, many things, yes.

 25     "Q.    Do you recall that one of the -- you have read The Satoshi

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 74 of 366
                                                                                      74


  1     Affair, have you not?

  2     "A.   No, I did not.

  3     "Q.   Really?

  4     "A.   Absolutely not.

  5     "Q.   Okay.   Do you understand that part of that article has to

  6     do specifically with your husband's relationship with Dave

  7     Kleiman?

  8     "A.   I didn't read the book.             I knew it was about Bitcoin.

  9     I -- really, it was more about what nChain, it was supposed to

 10     to be.   This is what we were told.                    It was supposed to be what

 11     nChain was doing and the work that they were continuing.                    It

 12     was not so much -- apparently, there was a lot of information

 13     about what happened in the past that I don't think was factual,

 14     but I didn't read it.       I was told it was very much like a

 15     tabloid.

 16     "Q.   You had communications directly with Mr. O'Hagan in his

 17     preparation for the article, did you not?

 18     "A.   I did."

 19                MR. LAGOS:   Exhibit 18 was marked for identification.

 20           (Continued:)

 21     "Q.   It is a one-page document?

 22     "A.   Yes.

 23     "Q.   Briefly take a look at this to orientate yourself with

 24     what it is about.

 25     "A.   Yes.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 75 of 366
                                                                              75


  1     "Q.   You can see that Mr. O'Hagan was communicating with your

  2     husband regarding information that could link Dr. Wright to the

  3     invention of Bitcoin.

  4           "Do you see that?

  5     "A.   Yes.

  6     "Q.   And if you go to the top of the page, there is an email

  7     dated March 30th, 2016, at 5:34.

  8     "A.   Yes.

  9     "Q.   That is an email from Mr. O'Hagan, which was ultimately

 10     forwarded to you.     I guess it is the next day.

 11           "Do you see that?

 12     "A.    I do.

 13     "Q.   Now, Mr. O'Hagan writes -- we know he is writing at a

 14     minimum to your husband.          It is unclear from this whether it is

 15     to you also.     He writes:       'Thanks, Craig.'

 16           "Do you see that?

 17     "A.   Yes.

 18     "Q.    'Please keep them coming.'

 19           "Do you see that?

 20     "A.   I do.

 21     "Q.   He says:   'All papers and email and annotations.'

 22           "The annotations he is referring to is that he could send

 23     drafts of several things and he would give your husband an

 24     opportunity to annotate, correct?

 25     "A.   I don't know.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 76 of 366
                                                                                            76


  1     "Q.   Okay.    'All papers and emails and annotations that could

  2     help me build a profile of what you have done.'

  3           "Do you see that?

  4     "A.   Yes.

  5     "Q.   Then he says:    'The Dave stuff is practically non-existent

  6     on paper.'

  7           "Do you see that?

  8     "A.   Uh-huh.

  9     "Q.   He says:    'I understand you wiped a lot.'                     Do you know

 10     what that refers to?

 11     "A.   Yes.    I know that Craig wiped a lot of his accounts when

 12     the reporters started coming to our house.

 13     "Q.   Okay.    So when you say:           'the reporters,' were these the

 14     reporters associated with Mr. O'Hagan or some other reporters?

 15     "A.   No.    They were -- I do not know where they were from.                       I

 16     think from Wired and Gizmodo and other places.                        They were

 17     camping outside our house asking all sorts of questions.

 18     "Q.   And in order to protect information, your husband wiped

 19     certain computers?

 20     "A.   I don't know exactly what he did.                       I know he wiped his

 21     social media, because he had been posting a lot of things about

 22     Bitcoin even from 2007, I think.                  He had been writing a lot

 23     about Bitcoin and he didn't want to be known as Satoshi.

 24     "Q.   Then Andrew O'Hagan writes:                 'I understand you wiped a

 25     lot, but a final troll through your digital universe might give

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 77 of 366
                                                                                         77


  1     me something that connects the two of you.'

  2           "He is talking about Craig and Dave, correct?

  3     "A.    I don't know.

  4     "Q.    You don't know?

  5     "A.    Well, I didn't write it, so I don't know.                      You can assume

  6     that, but I don't know that for sure.                       You're asking me if it

  7     is right.      I don't know because I didn't write it.                   I think you

  8     can assume it from here, but I don't know for sure.

  9     "Q.    He says:    'Something that connects the two of you

 10     unarguably to the invention,' right?

 11     "A.    That is what he says.

 12     "Q.    He mentions the invention of Bitcoin, correct?

 13     "A.    I don't know.

 14     "Q.    Was Andrew O'Hagan writing about some other invention with

 15     your husband?

 16     "A.    No.   He was writing about -- well, as I said, he was

 17     supposed to be writing about what nChain was doing.                       So really

 18     I'm not quite sure what he ended up writing about because I

 19     didn't read it.      I was just told."

 20                  MR. LAGOS:   Exhibit 20 was marked for identification.

 21           (Continued:)

 22     "Q.    Okay.    Two-page document.            Do you see that?

 23     "A.    I do.

 24     "Q.    Okay.    If you look at the very last email on the second

 25     page --

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 78 of 366
                                                                                                78


  1     "A.   Yes.

  2     "Q. -- that is an email from your husband to you, among other

  3     people, correct?

  4     "A.   Yes.

  5     "Q.   Writing about a gentleman from a Wired magazine that is on

  6     his trail?

  7     "A.   Yes.

  8     "Q.   He quotes what the Wired person said to him.                           He says:

  9     'We have some strong clues as to pseudonymous work.'

 10           "Do you see that?

 11     "A.   I do.

 12     "Q.   Now, off the quote, your husband writes to you and others:

 13     'I have removed anything so they will have trouble with proof.

 14     I have even updated the Internet archive to delete this and

 15     there is no old forensic history.'

 16           "Do you see that?

 17     "A.   I do.

 18     "Q.   I will read the last sentence.                    It says:         'I do not know

 19     who the source they're working with is, but we may be able to

 20     limit the exposure to a time that allows us to have the IP

 21     locked down.'

 22           "Do you see that?

 23     "A.   Yes.    He also says at the beginning:                          'He hints of quotes

 24     from my work from 2006 in modeling risk.'                             So he was talking

 25     about the work that he -- and that's what I'm saying to you.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 79 of 366
                                                                                       79


  1     Craig was working on the creation of Bitcoin even 20 years ago,

  2     but he really started to formalize it, I think, in early 2000.

  3           "In 2006 -- I can't remember when he wrote his master's --

  4     it became very apparent what he was working on was Bitcoin.                        So

  5     here he says:    'He hints at quotes of my work from 2006.'

  6     Craig wanted to delete as much as he could of some of the work

  7     he had done because he didn't want to be outed as Satoshi.

  8     "Q.   Well, let's look at what he is trying to hide.                    If you go

  9     down to the next -- the bottom of the italicized paragraph,

 10     this is -- he is quoting an email from Andy, from Wired

 11     magazine, to him, correct?

 12     "A.   I don't know.    It says:           'Andy' at the bottom, so I don't

 13     know if it is a quote or he has copied it somewhere.                     I don't

 14     know.

 15     "Q.   It has quotation marks around the whole thing, right?

 16     "A.   Oh, yes.   I see quotation marks.

 17     "Q.   The reporter is writing to him:                     'Unlike that story' --

 18     I'm about five paragraphs down.

 19           "Do you see that?     'Unlike that story'?

 20     "A.   Yes.

 21     "Q.    'Unlike that story, I want to work with you on this piece

 22     to get it right.     Beyond giving you the full credit you are due

 23     for your work in developing Bitcoin, I want to talk deeply

 24     about its innovation, starting from its origins to

 25     incorporating a risk modeling/cost-benefit approach and Craig's

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 80 of 366
                                                                               80


  1     triple entry accounting idea, the first coins.'

  2           "Is that what Craig was trying to cover up?

  3     "A.    Definitely not.    I think he did actually ask Dave to help

  4     him edit the whitepaper.          Whether or not Dave did, I do not

  5     know.

  6     "Q.    So does that refresh your recollection that one of the

  7     things he edited for Craig may have been the whitepaper for

  8     Bitcoin?

  9     "A.    I said I think he did ask Dave to edit the whitepaper, but

 10     whether or not he did it, I do not know."

 11                MR. LAGOS:    Exhibit 22 was marked for identification.

 12           (Continued:)

 13     "Q.    This is an email.      Do you have any reason to dispute that

 14     this is an email you sent in September 2015 to Stefan Matthews?

 15     "A.    I don't recall it, but I have no reason to dispute that I

 16     sent him an email.

 17     "Q.    You wrote:    'WFT was established in August 2013.'

 18           "Is WFT the Wright Family Trust?

 19     "A.    Yes, it would be.

 20     "Q.    Was that the Australian arm of the Tulip Trust?

 21     "A.    Yes.    It's like an Australian representative of it.          It's

 22     like a branch.

 23     "Q.    Okay.    You say that:       'At that point Craig had purchased

 24     software personally as well as had agreements around Bitcoin

 25     rights for overseas trusts WII and Tulip Trading'?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 81 of 366
                                                                                       81


  1     "A.    That is correct.

  2     "Q.    The Bitcoin we talked already.                   The mined and the

  3     purchased Bitcoin?

  4     "A.    That is correct.

  5     "Q.    You say:    'The information regarding the other two trusts

  6     has not been disclosed to the ATO.'                     What were the other two

  7     trusts?

  8     "A.    I believe it's these two that I wrote about, but I

  9     actually don't remember.          As I said five years ago, I don't

 10     remember.

 11     "Q.    You write:    'CW,' which I assume is Craig Wright?

 12     "A.    No, no.    Craig Wright R&D, which would be --

 13     "Q.    Oh, I'm sorry.    You're right.                 You're right.   'CW R&D sold

 14     to WFT.'

 15           So this is Craig Wright R&D sold to Wright Family Trust,

 16     right?

 17     "A.    Yes.

 18     "Q.    Software, right?

 19     "A.    Yes.

 20     "Q.    Bitcoin rights?

 21     "A.    Yes.

 22     "Q.    And then it says:      'W&K software'?

 23     "A.    Right.

 24     "Q.    So by 2015, Craig Wright R&D had sold W&K software to

 25     Wright Family Trust?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 82 of 366
                                                                              82


  1     "A.    I don't remember.      I don't remember writing this email.

  2     So I don't remember.

  3     "Q.    You do recall that as a result of -- the result of the

  4     Australia court proceedings that Craig Wright R&D obtained a

  5     judgment for certain intellectual property and software from

  6     W&K?

  7     "A.    Was that the judgment that we talked about when we had the

  8     default judgment?

  9     "Q.    Yes.

 10     "A.    Well, as I said when you asked me that question, I didn't

 11     know what it was.     I knew that he had a court proceeding and I

 12     knew he had a default judgment, but I didn't know what it was.

 13     "Q.    You understood that he had got something out of that,

 14     right?

 15     "A.    Yes.

 16     "Q.    You understand that he later sold it to WFT?

 17     "A.    I believe he would have told me that at that time and

 18     that's why if I did write this, I would have written that.            But

 19     it was from information that he told me, yes."

 20                THE COURT:   All right.              Thank you, both.

 21                Ladies and Gentlemen, let's go ahead and take a

 22     well-deserved 20-minute recess.

 23           (Jury not present, 11:39 a.m..)

 24                THE COURT:   Okay.         We'll have an hour before our lunch

 25     break.    Is that going to take us through the next video

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 83 of 366
                                                                                              83


  1     deposition?

  2                MR. FREEDMAN:      It will, Your Honor.                      I think the next

  3     video depo is 50 minutes exactly.

  4                THE COURT:    All right.             Perfect.              I'll see you back

  5     here in 20 minutes.

  6          (Recess from 11:40 a.m. to 11:59 a.m.)

  7                THE COURT:    All right.             Welcome back.

  8                Anything we need to take up before we bring in the

  9     jury?

 10                MR. FREEDMAN:      Not from Plaintiffs, Your Honor.

 11                MR. RIVERO:    Not from Defense, Your Honor.

 12                THE COURT:    All right.             Let's bring in the jury.

 13          (Before the Jury, 11:59 a.m.)

 14                THE COURT:    All right.             Welcome back, Ladies and

 15     Gentlemen.    Please be seated.

 16                Plaintiffs' next witness.

 17                MR. FREEDMAN:      Your Honor, the Plaintiffs call Andrew

 18     O'Hagan by video deposition, taken on March 17th, 2020.

 19          (Video played 12:00 p.m. - 12:53 p.m.)

 20                MR. FREEDMAN:      Your Honor, the Plaintiffs' next

 21     witness will be Dr. Wright.             So if it makes sense for the

 22     Court, it might make sense to take lunch now and start after.

 23                THE COURT:    Certainly.             This would be a good time for

 24     us to take our one-hour lunch recess and I'll see you back here

 25     at 1:55.    Have a pleasant lunch recess.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 84 of 366
                                                                                        84


  1          (Jury not present, 12:53 p.m.)

  2               THE COURT:    All right.              Have a pleasant lunch.

  3               MR. FREEDMAN:       Thank you, Your Honor.

  4          (Recess from 12:53 p.m. to 1:54 p.m.)

  5               THE COURT:    All right.              Welcome back.         I trust

  6     everyone had a nice lunch.            Are we ready to continue?

  7               MR. FREEDMAN:       Your Honor, just one thing before we

  8     bring the jury back in.

  9               THE COURT:    And go ahead and have a seat, if it's just

 10     one thing.

 11               MR. FREEDMAN:       Your Honor, during the course of

 12     Mr. Rivero's cross-examination of Mr. Kleiman, there were a

 13     number of objections that were sustained that touched on the

 14     Court's motion in limine order forbidding questions about the

 15     relationship between the siblings.                     We'll deal with that and

 16     its consequences at a later date, but right now the pressing

 17     need is to make sure that Dr. Wright has been advised by

 18     counsel not to discuss that during his examination and inject

 19     that into the testimony.          So I just wanted to make sure that it

 20     doesn't get brought up again.

 21               THE COURT:    Ms. McGovern?

 22               MS. MCGOVERN:       I'm sorry.               I had a difficult time

 23     understanding.     I think what we're talking about is there's a

 24     request for instruction regarding what Dr. Wright can and

 25     cannot testify about with respect to the relationship between

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 85 of 366
                                                                                          85


  1     Ira and his brother; is that right?

  2               MR. FREEDMAN:       That is correct.

  3               MS. MCGOVERN:       Your Honor, our position would be, I

  4     think it would depend on what the question is.                        If Mr. Freedman

  5     opens the door and Dr. Wright has the ability to respond, there

  6     are issues here where response to the question that involves

  7     the relationship with the brother may be a logical response

  8     that's necessary for a complete answer.                         So I think we have to

  9     take it up as we go, Your Honor.

 10               THE COURT:    I tend to agree.                    As the Court stated in

 11     its motion in limine, the sibling relationship or lack of is

 12     not relevant in this proceeding.                  The Court did grant the

 13     motion in limine, but let's see what question is asked.

 14               All right.    I believe that Dr. Wright is aware of the

 15     Court's ruling.     Is that correct, Ms. McGovern?

 16               MS. MCGOVERN:       That is correct, Your Honor.

 17               THE COURT:    If there's nothing further, I need a court

 18     security officer to bring in the jury.

 19          (Before the Jury, 1:56 p.m.)

 20               THE COURT:    All right.              Welcome back, Members of the

 21     Jury.   Please be seated.         I trust you had a pleasant lunch and

 22     are ready to get back to work.                We are right on schedule.

 23               If the Plaintiffs will call their next witness,

 24     please.

 25               MR. FREEDMAN:       Thank you, Your Honor.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 86 of 366
                                                                                         86


  1               The Plaintiffs call Dr. Craig Wright.

  2               THE COURT:    Okay.

  3          (Pause in proceedings.)

  4               THE COURT:    Dr. Wright, good afternoon.                    Let me ask

  5     that as you step forward you remain standing, raise your right

  6     hand to be placed under oath.

  7          CRAIG WRIGHT, DEFENDANT, SWORN

  8               COURTROOM DEPUTY:           Thank you.              Can you please state

  9     your name and spell it for the record.

 10               THE WITNESS:      My name is Dr. Craig Steven Wright.

 11     C-R-A-I-G, S-T-E-V-E-N, Wright, W-R-I-G-H-T.

 12               THE COURT:    You may have a seat, sir.

 13               MR. FREEDMAN:       May it please the Court.

 14                                DIRECT EXAMINATION

 15     BY MR. FREEDMAN:

 16     Q.   Good afternoon, Dr. Wright.

 17     A.   Good afternoon.

 18     Q.   Dr. Wright, I'm going to put on the screen what's already

 19     been admitted into evidence as P164.                      You let me know when you

 20     see it up there.

 21     A.   I see it.

 22     Q.   Dr. Wright, this is an email from your email address

 23     craig.wright@hotwirepe.com to Ira Kleiman, dated April 26th,

 24     2014.   Do you see that?

 25     A.   I see that.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 87 of 366
                                                                                      87


  1     Q.   And the subject is:        "Chronology of Craig Wright.docx."

  2     And the attachment is also listed as chronology of Craig

  3     Wright.docx." Do you see that?

  4     A.   I see that.

  5                 MR. FREEDMAN:     Ms. Vela, could you please bring us to

  6     the attachment of this email.

  7     BY MR. FREEDMAN:

  8     Q.   Dr. Wright, the title of this attachment is called:

  9     "Chronology of Craig Wright, CSW."                     Those are your initials,

 10     sir, Craig Steven Wright?

 11     A.   That is correct.

 12     Q.   The title of this document is:                    "Chronology of Craig

 13     Wright, CSW, Activities and Transactions."

 14          Let's go down to your activities and transactions in 2011.

 15                 MR. FREEDMAN:     Ms. Vela, if you would.

 16     BY MR. FREEDMAN:

 17     Q.   Dr. Wright, in 2011, this chronology says that you send

 18     Bitcoin overseas, then you found a company in the USA with Dave

 19     Kleiman.    Do you see that?

 20     A.   I see that.

 21     Q.   It then says:    "The established was W&K Info Defense."                 Do

 22     you see that?

 23     A.   Yes.

 24     Q.   Dr. Wright, it does not say that you established a company

 25     with Ms. Lynn Wright, does it?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 88 of 366
                                                                                               88


  1     A.   There are no details in this document.

  2     Q.   Dr. Wright, then the document goes on to list three

  3     different things that W&K was set up to do.                           It's set up to

  4     further statistical and risk mitigating algorithms.                          Do you see

  5     that?

  6     A.   I see that.

  7     Q.   It was set up to develop some ideas around CBD learning

  8     methodologies.     Do you see that?

  9     A.   Yes.

 10     Q.   And it was set up, Dr. Wright, to mine Bitcoin.                         Do you see

 11     that?

 12     A.   Yes.

 13     Q.   Dr. Wright, at the second-to-last-sentence you say:                         "In

 14     all, 1.1 million Bitcoin reverted to SQ in Seychelles

 15     accounts."    Do you see that?

 16     A.   I do.

 17     Q.   Dr. Wright, in July of 2013, you caused your companies to

 18     file a lawsuit against W&K in Australia.                          Do you recall doing

 19     that?

 20     A.   I acted for Craig Wright R&D in filing a lawsuit, yes.

 21     Q.   That was July of 2013?

 22     A.   June or July.    I don't remember the exact date.                       Sorry.

 23                 MR. FREEDMAN:     Ms. Vela, could you please bring up

 24     what's in evidence as P710, and let's go to Page 131 of the

 25     litigation file.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 89 of 366
                                                                                              89


  1     BY MR. FREEDMAN:

  2     Q.   Do you see the file stamp up in the top right corner, Dr.

  3     Wright, filed 25th of July, 2013?

  4     A.   I do.

  5     Q.   Does that help your remember that it was July 25th, 2013

  6     when you filed a lawsuit against W&K?

  7     A.   That's for the lodgement of the statement of claim.                            There

  8     was an earlier document.          The first statement would be a letter

  9     being sent, and that follows --

 10     Q.   I'm sorry.    Dr. Wright, I'm having trouble hearing you.

 11                THE COURT:   Would you speak into the microphone, sir.

 12                THE WITNESS:     You, first of all, send the letter

 13     before action and then you follow up with the statement of

 14     claim.

 15     BY MR. FREEDMAN:

 16     Q.   So you filed a lawsuit before July 25th, 2013 against W&K?

 17     A.   No.   The statement of claim was before this date.

 18     Q.   I'm sorry?

 19     A.   The letter before action was before the statement of claim.

 20     Q.   Okay.   Dr. Wright, July 25th, 2013, that's almost three

 21     months to the day after Dave Kleiman dies.                            Is that not

 22     correct?

 23     A.   That is correct.

 24     Q.   And in that lawsuit, Dr. Wright, you made a claim against

 25     W&K, correct?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 90 of 366
                                                                                        90


  1     A.   That is correct.

  2     Q.   And now in this lawsuit, Dr. Wright, that same W&K is

  3     making a claim against you?

  4     A.   Not technically, no.

  5     Q.   Okay.    Dr. Wright, are you unaware that I represent both

  6     Ira Kleiman as the personal representative of the estate of

  7     Dave Kleiman and W&K Info Defense Research, LLC?

  8     A.   I'm aware that you have changed the ownership structure of

  9     W&K. and I'm also aware that both my wife as trustee and also

 10     Lynn Wright are suing you under W&K for falsification, yes.

 11     Q.   Dr. Wright, W&K is a Plaintiff listed in this case?

 12     A.   Yes.

 13     Q.   Thank you.

 14          And, Dr. Wright, in this case W&K is the Plaintiff suing

 15     you.   In the case in Australia that's on your screen, you were

 16     suing W&K, correct?

 17     A.   No.    That is not correct.

 18     Q.   All right.    Dr. Wright, in both the lawsuit in Australia

 19     and the lawsuit here in the United States, that we're sitting

 20     in this courtroom right now before this Judge and jury, you

 21     filed sworn statements in both, correct?

 22     A.   I filed sworn statements for myself and also for the

 23     entity.     The entity as Plaintiff there is not me.                  It is a

 24     company named Craig Wright.

 25     Q.   Dr. Wright, in this litigation --

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 91 of 366
                                                                                            91


  1                 MR. FREEDMAN:      Ms. Vela, could you please bring up

  2     P748.   Show it just to Dr. Wright, please, and counsel.

  3     BY MR. FREEDMAN:

  4     Q.   Dr. Wright, I'd like you to look at the sworn declaration

  5     you filed in this case which should now be on your screen.

  6          Do you recognize this document?

  7     A.   Yes.    Is that the only page?

  8     Q.   No.    Would you like to see it?

  9                 MR. FREEDMAN:      Ms. Vela, could you scroll through the

 10     document for Dr. Wright.

 11                 THE WITNESS:     Yes.        That is my document.

 12                 MR. FREEDMAN:      Your Honor, at this point Plaintiffs

 13     would offer P748 into evidence.

 14                 THE COURT:   Is there any objection?

 15                 MS. MCGOVERN:      No objection, Your Honor.

 16                 THE COURT:   Admitted into evidence.

 17          (Plaintiffs' Exhibit 748 received into evidence.)

 18                 MR. FREEDMAN:      We can publish the document.

 19                 Thank you.

 20     BY MR. FREEDMAN:

 21     Q.   So, Dr. Wright, we're looking at the first page of your

 22     declaration that you submitted in this lawsuit.                        That's the

 23     caption up in the top left corner.

 24          Do you see that?

 25     A.   I do.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 92 of 366
                                                                                      92


  1     Q.   And you start off saying:              "I, Craig Wright, declare under

  2     penalty of perjury under the laws of United States of America

  3     that the following is true and correct."

  4          Do you see that?

  5     A.   I said that.

  6                 MR. FREEDMAN:     Ms. Vela, could you bring us to PDF

  7     Page 6, please.

  8     BY MR. FREEDMAN:

  9     Q.   And, Dr. Wright, here again that's your signature at the

 10     bottom?

 11     A.   Yes.

 12     Q.   And you swear again at the end:                    "I declare that the

 13     foregoing is true and correct under penalty of perjury in

 14     accordance with the laws of the United States of America."

 15          Do you see that?

 16     A.   Yes.

 17                 MR. RIVERO:   Ms. Vela, could you please bring us to

 18     Paragraph 12, which will be on Page 26.

 19                 No.   In the same document that we're in.

 20                 Let's go back to P748, please, and let's go to

 21     Paragraph 12.

 22                 Can we zoom in on Paragraph 12.

 23                 Can you zoom in on it, actually.

 24                 Thank you.

 25

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 93 of 366
                                                                                   93


  1     BY MR. FREEDMAN:

  2     Q.   Dr. Wright, in the sworn statement you submitted in this

  3     litigation -- Dr. Wright, actually, let me take one step back.

  4          Do you recall that you submitted this sworn statement in an

  5     attempt to get this court to dismiss this case before this

  6     Judge and jury would have an opportunity to rule on it?

  7                 MS. MCGOVERN:     Objection.               Relevance.

  8                 THE COURT:   Sustained.

  9     BY MR. FREEDMAN:

 10     Q.   Dr. Wright, do you recall submitting this sworn declaration

 11     in this case?

 12     A.   Yes.

 13     Q.   And in Paragraph 12 of that declaration, you swore:              "I

 14     have never been a director, member, shareholder" --

 15                 MR. FREEDMAN:     Ms. Vela, can you highlight

 16     "shareholder" for me.

 17     BY MR. FREEDMAN:

 18     Q.   -- "officer, employee, or representative of W&K."

 19          Do you see that?

 20     A.   That is correct.

 21     Q.   And, Dr. Wright, you were truthful when you submitted this

 22     sworn statement to this Court, were you not?

 23     A.   Yes.

 24     Q.   Dr. Wright, that's not what you told the Australian court

 25     when you sued W&K, is it?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 94 of 366
                                                                                     94


  1     A.    The suit was not by me.           It was by Craig Wright, the

  2     company.     The number after it is an Australian business number.

  3     So no, even though I used my name for the company.                    Many people

  4     do.

  5                  MR. FREEDMAN:    Ms. Vela, can you please bring up P710.

  6                  Let's go to Page 26.

  7     BY MR. FREEDMAN:

  8     Q.    Dr. Wright, the case -- we're back in our Australian

  9     litigation -- the case is Plaintiff Craig Steven Wright, with

 10     the ABN number like you mentioned, versus Defendant W&K Info

 11     Defense Research.     Do you see that?

 12     A.    Yes.   It's a trust account versus the company, not myself

 13     personally.

 14     Q.    Dr. Wright, the title of this document, across the top

 15     says:    "Affidavit of Craig S. Wright."

 16           Do you see that?

 17     A.    Yes.   "As the representative of Craig Steven Wright."                I

 18     know that becomes complex, but Craig Wright represented the

 19     corporate Craig Wright.

 20     Q.    Dr. Wright --

 21                  MR. FREEDMAN:    Can we go to Page 31.

 22     BY MR. FREEDMAN:

 23     Q.    Dr. Wright, you then signed the sworn affidavit.                 Is that

 24     your signature at the top?

 25     A.    Yes.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 95 of 366
                                                                                       95


  1     Q.   And you affirmed it?

  2     A.   I did.

  3     Q.   It is not a company that affirmed it, Dr. Wright.                    It's --

  4     you personally signed it, did you not?

  5     A.   As a representative of the company, Craig Wright signs for

  6     corporate Craig Wright, yes.

  7     Q.   So, Dr. Wright, we just saw that in the litigation here in

  8     Florida that we're now standing in, you swore you were never a

  9     shareholder of W&K, correct?

 10     A.   That is correct.

 11                 MR. FREEDMAN:      Ms. Vela, can you bring us to Page 29

 12     of the Australian affidavit.

 13                 And can you zoom in on Paragraph 23.

 14     BY MR. FREEDMAN:

 15     Q.   Dr. Wright, in Australia you submitted a sworn affidavit

 16     that -- and I'm looking at the bottom of that paragraph -- the

 17     shareholder of W&K Info Defense Research, LLC was Craig S.

 18     Wright, 50 percent; David A. Kleiman, 50 percent.                      Do you see

 19     that?

 20     A.   Yes.    I see that.

 21     Q.   And, Dr. Wright, the reason you told the Australian court

 22     that you are a shareholder of W&K was because you then

 23     consented to judgment on behalf of W&K to transfer all of its

 24     assets to you; isn't that correct?

 25     A.   That is not correct.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 96 of 366
                                                                                         96


  1     Q.   All right.    Dr. Wright, let's take a look, a more detailed

  2     look, at the Australian court lawsuits that you have filed

  3     against W&K.

  4                 MR. FREEDMAN:     Ms. Vela, can you take those two

  5     exhibits down, please.

  6     BY MR. FREEDMAN:

  7     Q.   Before we jump into the documents of the case, Dr. Wright,

  8     you eventually obtained a judgment against W&K in Australia in

  9     those two cases, did you not?

 10     A.   There was a consent judgment forgiving and allowing all

 11     companies to keep their original assets, forgiving all transfer

 12     of assets and canceling transfers.                     So that was the consent

 13     order.

 14     Q.   And, Dr. Wright, just so you know where I'm going with

 15     this, I'm going to walk the jury through the various actions

 16     you did in Australia and the steps you took to obtain those

 17     judgments.    Okay?

 18     A.   Yes.

 19     Q.   Dr. Wright, you're aware, I'm sure, in this action, the

 20     Plaintiffs contend that you used these actions to try and steal

 21     W&K's assets, correct?

 22     A.   You are contending that, yes.

 23     Q.   And, Dr. Wright, Dave died on April 26th, 2013, right?

 24     A.   Yes.   Well, actually before that, but he was found then.

 25     Q.   And you first made contact with the Kleiman family nine and

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 97 of 366
                                                                                97


  1     a half months later on February 2014, correct?

  2     A.   Not technically.     I contacted his fiancee, which I consider

  3     family.

  4                 MR. FREEDMAN:     Ms. Vela, can you please bring up P710,

  5     and let's go to Page 131.

  6     BY MR. FREEDMAN:

  7     Q.   Dr. Wright, we looked at this document a little earlier.

  8     It is a statement of claim that you filed to initiate the

  9     lawsuit against W&K in Australia, correct?

 10     A.   As I said, the letter before action is really the

 11     initiation.    But yes, I filed the statement of claim.

 12     Q.   And we looked at this.           Plaintiff is Craig Steven Wright,

 13     with the ABN number after it.               The Defendant is W&K Info

 14     Defense Research, LLC.        Do you see that?

 15     A.   I do.

 16     Q.   And it says it's:      "Filed for Craig S. Wright, the

 17     Plaintiff."    You see that?

 18     A.   Yes, I do.

 19     Q.   And we've established this occurs three months after Dave

 20     dies?

 21     A.   Yes.

 22     Q.   And in the lawsuit --

 23                 MR. FREEDMAN:     Ms. Vela, can you go to the next page

 24     of the lawsuit, please.

 25

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 98 of 366
                                                                                       98


  1     BY MR. FREEDMAN:

  2     Q.   In the lawsuit, at the very top --

  3                MR. FREEDMAN:      Can we zoom in to the Relief Claim

  4     section.

  5     BY MR. FREEDMAN:

  6     Q.   At the very top of this lawsuit, Dr. Wright, you're

  7     claiming that the Defendant, that's W&K, pay the Plaintiff,

  8     that's Craig Wright, your company, the total amount --

  9                MR. FREEDMAN:      Sorry.          Can we publish this to the

 10     jury?   It's in evidence.

 11                THE COURT:   What is the exhibit number?                   I can let you

 12     know.

 13                MR. FREEDMAN:      It's P710.               It's in evidence.   I

 14     just --

 15                THE COURT:   Yeah.         710 is in evidence.

 16                MR. FREEDMAN:      I just don't know when we lost the

 17     screen to the feed to the jury.

 18                COURTROOM DEPUTY:          You need to -- I'm sorry.            Every

 19     time you want to publish or you want something to be seen when

 20     you change, just say so.          So we can keep up with you.

 21                MR. FREEDMAN:      Sure.         Sorry.

 22     BY MR. FREEDMAN:

 23     Q.   Let's back up one more time, Dr. Wright, so the jury can

 24     follow this along.

 25                MR. FREEDMAN:      Ms. Vela, can you bring up the first

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 99 of 366
                                                                                              99


  1     page of the lawsuit.

  2     BY MR. FREEDMAN:

  3     Q.   We'll do it quickly.

  4          Statement of claim, Plaintiff Craig Steven Wright,

  5     Defendant W&K Info Defense, filed for Craig S. Wright,

  6     Plaintiff, on July 25th, 2013, three months after Dave died,

  7     right?

  8     A.   No.   Plaintiff is Craig Steven Wright, not Craig S. Wright.

  9     There is a big difference there.                  That's the corporate entity.

 10     Not me.

 11     Q.   Dr. Wright, you see the fourth highlight down on the

 12     document?

 13     A.   I do.

 14     Q.   It says:   "Craig S. Wright, Plaintiff."                         I'm just reading

 15     from the document.

 16     A.   Again, I had a business name filed under my name.                         Many

 17     people do.

 18     Q.   Let's go to the next page, please, Dr. Wright.                         So this is

 19     where we were a moment ago.             This is the relief claim section.

 20     It's the second page of the lawsuit.

 21          In this lawsuit, Dr. Wright, you claim that the Defendant,

 22     that's W&K, pay the Plaintiff, that's Craig Wright, your

 23     company, the total amount claimed below, which is in this case

 24     a little over $28 million, right?

 25     A.   That's correct.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 100 of 366
                                                                                          100


   1                MR. FREEDMAN:     Ms. Vela, can you zoom out of that

   2    again and let's go down to Paragraph 3.                         Can we call that one

   3    out, please.

   4    BY MR. FREEDMAN:

   5    Q.   Dr. Wright, the next thing -- one of the next things in the

   6    lawsuit says:     "Is by contract dated 27th of October 2008, the

   7    Defendant," that's W&K, "agreed to pay the Plaintiff," that's

   8    you, "for property and consulting services to complete

   9    research."

  10         Do you see that?

  11    A.   Yes.    That's an error.

  12    Q.   It is an error, Dr. Wright, because you know and I know

  13    that W&K was not formed until three years later, in February of

  14    2011; isn't that right?

  15    A.   Yes.    So that date is incorrect.

  16    Q.   So I just want to make sure I understand what you're

  17    saying.     You're saying you filed a $28 million lawsuit against

  18    your deceased best friend's company and you got the contract

  19    date wrong by three years?

  20    A.   Yes.    There's a typo in the date.                    So yes.

  21    Q.   Then, Dr. Wright, after you filed this claim in July, you

  22    then file another claim against W&K in August; is that correct?

  23    A.   No.    Again, the other one was filed earlier, but it had to

  24    be withdrawn and refiled.

  25                MR. FREEDMAN:     Ms. Vela, can you please bring up P709.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 101 of 366
                                                                                     101


   1                Let's go to Page 28.            This is also in evidence.

   2    BY MR. FREEDMAN:

   3    Q.   Dr. Wright, this is another statement of claim.                   We've seen

   4    this -- looking document before, right?

   5    A.   Yes.

   6    Q.   It is one of the first documents that gets filed to

   7    initiate a lawsuit; is that correct?

   8    A.   Again, that's part of the initiation, but technically

   9    that's correct enough.

  10    Q.   And again, filed by Craig Steven Wright with an ABN number

  11    against W&K Info Defense Research, LLC?

  12    A.   Yes.

  13    Q.   Filed for Craig S. Wright, Plaintiff?

  14    A.   Uh-huh.

  15    Q.   And you see the official court stamp up at the top?

  16    A.   I do.   Supreme Court of New South Wales.

  17    Q.   And it says it's filed August 13th, 2013?

  18    A.   That is correct.

  19    Q.   This is the other lawsuit I was talking about.                   There was

  20    another statement of claim filed on August 13th, 2013, correct?

  21    A.   Yes.    It was actually refiled.                  But that's, again,

  22    technically correct.

  23                MR. FREEDMAN:     Ms. Vela, can you bring us to the

  24    second page of the second lawsuit in Australia.

  25

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 102 of 366
                                                                                              102


   1    BY MR. FREEDMAN:

   2    Q.   And in this lawsuit, like the other one, Dr. Wright, you're

   3    seeking a significant amount of money from W&K.

   4         In the relief claim section, you say that you want the

   5    Defendant, that's W&K, to pay the Plaintiff, that's your

   6    companies, the total amount claimed below, which is about 28

   7    and a half million dollars?

   8    A.   Again, technically incorrect because the action was

   9    basically done in a consent where we forgave the debt.                           So

  10    technically you have to file this under Australian law for

  11    public company groups.        That's what I did.                      Then I forgave the

  12    debt.

  13    Q.   Dr. Wright, in total, between the two lawsuits we're

  14    looking at, we just looked at, you were seeking in excess of

  15    $56 million from W&K?

  16    A.   No.    That's not correct.

  17    Q.   Dr. Wright, let's go down to the next paragraph.

  18                MR. FREEDMAN:     Ms. Vela, could you bring us to -- in

  19    the Pleadings and Particulars section, can we take a look at

  20    Paragraph 1.

  21    BY MR. FREEDMAN:

  22    Q.   Paragraph 1 says:      "Between 2011 and 2013 the Plaintiff,"

  23    that's you and your company, "provided contract labor services

  24    to the Defendant," that's W&K.                Right?

  25    A.   Yes.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 103 of 366
                                                                                        103


   1                MR. FREEDMAN:      Ms. Vela, can you zoom out of that one

   2    more time, and let's go to Paragraph 13 of the lawsuit.

   3                Can you just call it out but not actually zoom in so

   4    we can have the rest of it there.                    Yes.

   5                Thank you.

   6    BY MR. FREEDMAN:

   7    Q.   And, Dr. Wright, here you say that there was a contract.

   8    The contract stated that a breach of the contract would lead to

   9    a liquidated damages, which is a pre-agreed amount that has to

  10    be paid, right?

  11    A.   Yes.

  12    Q.   And if the liquidated damages amount is not paid, then all

  13    IP and systems return to the sole ownership of the Plaintiff.

  14    That's you, right?

  15    A.   That's not me.      That's the corporate entity, but yes.

  16    Q.   Craig Wright, R&D, the company that bears your name, right?

  17    A.   Yes.

  18    Q.   So, Dr. Wright, if W&K doesn't pay, it has to return the IP

  19    and its systems to your company?

  20    A.   Technically, yes.       Except I forgave that.                    So the

  21    intellectual property remained with W&K.

  22    Q.   Let's take a look at the next paragraph, Dr. Wright.

  23         You provide some more detail about what that IP is in this

  24    paragraph.    You say the IP from W&K that would return to your

  25    sole ownership:     "The IP software and code used in the creation

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 104 of 366
                                                                                              104


   1    of a Bitcoin system"?

   2    A.   Yes.    It's an exchange system and banking software.

   3    Q.   Dr. Wright, this is August 13th, 2013.                            You've now filed

   4    two lawsuits against W&K seeking over $56 million in

   5    intellectual property, and the next thing you do is you file a

   6    document six days later called an Acknowledgment of Liquidated

   7    Claim; is that correct?

   8                MS. MCGOVERN:      Objection.               Misstates the testimony.

   9                THE COURT:   I'm sorry.              The basis of the objection?

  10                MS. MCGOVERN:      Misstates the testimony that he just

  11    provided.

  12                THE COURT:   Overruled.

  13                THE WITNESS:     No.       That's not correct.

  14    BY MR. FREEDMAN:

  15    Q.   All right.

  16                MR. FREEDMAN:      Ms. Vela, can you please bring up 709,

  17    Page 34.     Let's look at Page 245661.

  18    BY MR. FREEDMAN:

  19    Q.   And, Dr. Wright, that's the case where you were seeking to

  20    obtain the intellectual property, software, and code used to

  21    create Bitcoin?

  22    A.   No.    This has nothing to do with the code creating Bitcoin.

  23    A Bitcoin system is an exchange and banking software.

  24    Q.   That's your testimony today.

  25         Dr. Wright, at the top of this Acknowledgment of Liquidated

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 105 of 366
                                                                                          105


   1    Claim, there's that little court stamp again and next to it is

   2    a date filed August 19th, 2013, six days after August 13th,

   3    2013, when you filed the second lawsuit, correct?

   4    A.   Correct.

   5    Q.   And, Dr. Wright, let's take a look at what this document

   6    does.    First off, it's titled "Acknowledgement of Liquidated

   7    Claim."    It's filed in the 5661 case number, and it's filed in

   8    the case of Craig Steven Wright ABN v. W&K Info Defense

   9    Research.

  10    A.   Correct.

  11    Q.   Do you see that?

  12         All right.    Dr. Wright, the document says it's filed for

  13    the Defendant.     That's W&K?

  14    A.   The Defendant included Lynn Wright, who was a member, and

  15    other people appointed.         So yes.

  16    Q.   I'm sorry.    Dr. Wright, does the document say it's filed --

  17    does the Defendant in this document -- is it listed as Lynn

  18    Wright or is it listed as W&K Info Defense Research, LLC?

  19    A.   There was an agreement between Lynn Wright and myself for

  20    this.    So technically, yes, it was my wife Lynn.

  21    Q.   Dr. Wright, all I asked you was:                     Does the document say

  22    Lynn Wright or does it say W&K Info Defense Research, LLC?

  23    A.   It's the same.     But yes.

  24    Q.   And this document, the Acknowledgement of Liquidated Claim,

  25    it was filed on behalf of the Defendant, which this document

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 106 of 366
                                                                              106


   1    also says is W&K Info Defense, LLC, correct?

   2    A.   It says Defendant, and for that was Dr. C. Wright.

   3    Q.   That's right.

   4         For some reason, Dr. Wright, the contact name for the

   5    Defendant W&K is Dr. C. Wright.                 Do you see that?

   6    A.   That's correct.

   7    Q.   Dr. Wright, that's your signature at the bottom of that

   8    page, correct?

   9    A.   Yes.

  10    Q.   And here, Dr. Wright, you write in this document, in

  11    Paragraph 1:     "I am the legal agent and representative of the

  12    Defendant," meaning, I am the legal agent and representative of

  13    W&K.   Isn't that correct?

  14    A.   Yes.    Lynn appointed me and so did the other parties.

  15                MR. FREEDMAN:     Ms. Vela, can you highlight the callout

  16    that we've got, but put it back into the document -- I'm sure

  17    that's the technical term, but -- and can you move it off to

  18    the side.

  19                Let's bring up Dr. Wright's sworn statement from the

  20    Florida litigation, here.           I think that's P748.

  21                And can we go to Paragraph 12.

  22                And let's call out 12, please.

  23                And can you move it up.

  24    BY MR. FREEDMAN:

  25    Q.   So in Australia, Dr. Wright, you're filing a document:

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 107 of 366
                                                                                         107


   1    "I'm the legal agent and representative for W&K."                     And in

   2    Florida, in front of this Court, you swore that:                      "I have never

   3    been a representative of W&K."

   4         Do you see that, Dr. Wright?

   5    A.   I see what you're saying, yes.

   6                MR. FREEDMAN:     Ms. Vela, can you put the Florida sworn

   7    statement down again.

   8                And can you get rid of it so we can focus back on the

   9    Australian litigation.

  10    BY MR. FREEDMAN:

  11    Q.   So, Dr. Wright, you filed this Acknowledgment of Liquidated

  12    Claim document --

  13                MR. FREEDMAN:     Ms. Vela, can you show us the next

  14    page.

  15    BY MR. FREEDMAN:

  16    Q.   The filing party of this document, Dr. Wright, is listed as

  17    W&K Info Defense Research, LLC.                 Do you see that?

  18    A.   Yes.

  19    Q.   It is not listed as Lynn Wright, correct?

  20    A.   Doesn't need to be.        But that's correct.

  21    Q.   And, Dr. Wright, you also said that the filing address for

  22    W&K Info Defense Research, LLC, was located in Bagnoo, New

  23    South Wales, Australia.         Do you see that?

  24    A.   Yes.   My wife was at that property at the time.                   That's

  25    correct.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 108 of 366
                                                                                    108


   1    Q.   And you list in the contact details for the filing party,

   2    the contact details for W&K, you list your email address at the

   3    bottom "craig@integys.com."             Do you see that?

   4    A.   Integrys.    Yes.

   5    Q.   And you say in your filing to the Australian Court that the

   6    capacity you have to act for W&K is because you are its

   7    director/Australian agent.            Do you see that?

   8    A.   Capacity, no.     I was representing the director, which was

   9    Lynn Wright.

  10    Q.   Dr. Wright, does the document say you were representing the

  11    director or does it just say director?

  12    A.   It says:    "Capacity."        I was filing under the action of the

  13    director.

  14    Q.   It says:    "Director," right, Dr. Wright?

  15    A.   It says:    "Capacity to act."               I was acting under the

  16    direction of the director.

  17               MR. FREEDMAN:      Ms. Vela, can we please bring up

  18    Dr. Wright's sworn statement in this Court, please.

  19               Let's go to Paragraph 12 again.

  20    BY MR. FREEDMAN:

  21    Q.   Dr. Wright, your sworn statement to this Court:                  "I have

  22    never been a director of W&K."

  23    A.   No.   I was the agent of the director.

  24               MR. FREEDMAN:      Ms. Vela, can you put down the sworn

  25    statement in this Court, please.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 109 of 366
                                                                                       109


   1    BY MR. FREEDMAN:

   2    Q.   So, Dr. Wright, you filed this document, and let's see what

   3    it does.

   4               MR. FREEDMAN:      Ms. Vela, let's go to Page 1.

   5    BY MR. FREEDMAN:

   6    Q.   With this document, Dr. Wright, in Paragraph 2, you say:

   7    "I acknowledge" -- "I" meaning the Defendant -- "I acknowledge

   8    the whole of the amount claimed by the Plaintiff."

   9         Do you see that, Dr. Wright?

  10    A.   I do.

  11    Q.   So, Dr. Wright, in this case you are both the Plaintiff and

  12    the Defendant; isn't that right?

  13    A.   No, it's not.     I was representing Lynn Wright at the time

  14    and also the other, the corporation.                      So I was acting for both.

  15    Both of them have documentation on that.

  16    Q.   Dr. Wright, you were agreeing on behalf of W&K, a company

  17    that you swore you never had authority to act for, you were

  18    never its director, you were never a shareholder, that W&K owed

  19    your company nearly $30 million in this one case; isn't that

  20    correct?

  21    A.   No.   That is not correct.

  22               MR. FREEDMAN:      Ms. Vela, can you please bring back up

  23    the Florida affidavit, the Florida sworn statement.

  24    BY MR. FREEDMAN:

  25    Q.   Dr. Wright, now in court today you're testifying that

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 110 of 366
                                                                                          110


   1    Ms. Lynn Wright gave you authority to act on behalf of W&K,

   2    correct?

   3    A.   Yes, she did.

   4               MR. FREEDMAN:      Ms. Vela, will you please bring us to

   5    Paragraph 13 of Dr. Wright's sworn statement in this Court.

   6    BY MR. FREEDMAN:

   7    Q.   Dr. Wright, you swore to this Court:                         "I have never

   8    exercised authority or control over W&K, and I have never had

   9    any right to exercise authority or control over W&K," didn't

  10    you?

  11    A.   Nor did I.    I was acting as authority for Lynn Wright.

  12    Q.   Okay, Dr. Wright.

  13               MR. FREEDMAN:      Ms. Vela, can you please bring down the

  14    sworn statement in this Court.

  15    BY MR. FREEDMAN:

  16    Q.   Dr. Wright, I just want to dumb this down a little bit more

  17    here to make sure you and I are on the same page.

  18         You have now filed a document in the Australian court

  19    saying:    "I'm standing in the shoes of W&K", and I'm saying:

  20    "Yes, I owe Craig Wright R&D all this money."                         Is that fair?

  21    A.   No.   I was standing in the shoes of Lynn Wright, who was

  22    standing in the shoes of W&K.

  23    Q.   And, Dr. Wright, you do the exact same thing we just saw in

  24    the first case you filed against W&K, don't you?

  25    A.   No.   I forgave the company and left them with all

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 111 of 366
                                                                                               111


   1    intellectual property.         If you look at the consent judgment,

   2    that's what it says.

   3                MR. FREEDMAN:      Ms. Vela, can you please bring up P710,

   4    which is the other litigation, and let's go to Page 138.

   5    BY MR. FREEDMAN:

   6    Q.   This is another Acknowledgement of Liquidated Claim,

   7    Dr. Wright, correct?

   8    A.   Yes.

   9    Q.   Filed the same day, August 19th, 2013?

  10    A.   Correct.

  11    Q.   This one is in the other case.                     5983.

  12                MR. BRENNER:     You have to ask for it to be published.

  13                MR. FREEDMAN:      I'm sorry.               You're right.

  14                Please publish this to the jury.                           It's in evidence.

  15                Okay.   Thank you for catching us there before we had

  16    to do it again.

  17    BY MR. FREEDMAN:

  18    Q.   Acknowledgment of Liquidated Claim, August 19th, 2013, in

  19    the other case, 5983, correct?

  20    A.   Correct.

  21    Q.   Craig Steven Wright ABN, W&K Info Defense Research, LLC.

  22    Do you see that?

  23    A.   I do.

  24    Q.   Filed for the Defendant W&K.                  Contact name, Dr. C. Wright.

  25                MS. MCGOVERN:      Objection.               Asked and answered.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 112 of 366
                                                                                          112


   1                THE COURT:   I'm sorry.             The basis of the objection?

   2                MS. MCGOVERN:     Asked and answered.

   3                THE COURT:   Overruled.

   4    BY MR. FREEDMAN:

   5    Q.   Dr. Wright, here again you swear -- sorry, Dr. Wright.

   6    Apologize.

   7         Is that your signature on the bottom?

   8    A.   Yes.

   9    Q.   And, Dr. Wright, here you write in the court filing:                       "I am

  10    the legal agent and representative for the Defendant W&K,"

  11    correct?

  12    A.   No.    Technically, I'm the agent for Lynn Wright, who is the

  13    representative of the Defendant.

  14    Q.   Dr. Wright, I'm not going to bring back up your sworn

  15    statement where you swore you were never a representative of

  16    W&K, but you recall it was there, correct?

  17    A.   I was the representative of Lynn Wright, who was the

  18    representative of W&K.        That is correct.

  19    Q.   I'm sorry.    Dr. Wright, can you show me on this document

  20    where it says Lynn Wright?

  21    A.   There's a different area for that.                       Sorry.   That's not this

  22    document.

  23    Q.   Okay.    Well, maybe your lawyers will show us that document.

  24                MR. FREEDMAN:     Can you please put down that callout

  25    please.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 113 of 366
                                                                                    113


   1                And let's go to the next page, Ms. Vela.

   2    BY MR. FREEDMAN:

   3    Q.   The next page, again, Dr. Wright, the filing party is

   4    listed as W&K Info Defense.

   5    A.   Yes.

   6    Q.   You again list W&K's address as Australia?

   7    A.   Yes.

   8    Q.   You again list your capacity to act for the filing party as

   9    the director?

  10    A.   No.

  11    Q.   Again, in conflict with your sworn statement to this Court,

  12    correct?

  13    A.   No.

  14    Q.   And you list the email address of W&K as craig@integyrs.com

  15    correct?

  16    A.   Integyrs.

  17    Q.   Integyrs; is that correct?

  18    A.   Yes.

  19    Q.   So, Dr. Wright, you've now filed proof in both cases that

  20    W&K owes you over $56 million?

  21    A.   No.    They didn't owe me any money.                     They owed a

  22    corporation, and it was forgiven.

  23    Q.   And you have done this, Dr. Wright, within months of the

  24    passing of your best friend, Dave Kleiman?

  25    A.   Yes.    Technically, as a listed -- well, a public company

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 114 of 366
                                                                                        114


   1    group, I have to file everything.                   I used to be an auditor.     I

   2    filed the documents and then I forgave the debt.                       So

   3    technically, W&K would have owed this.                        I forgave it.

   4    Q.   We'll see what happens at the end of this court case,

   5    Dr. Wright.

   6         Dr. Wright, you never -- strike that.

   7         Dr. Wright, you don't reach out at this time to tell Ira

   8    Kleiman, the personal representative of Dave's estate, that you

   9    have sued W&K, do you?

  10    A.   I sent this document and the pre-documents.                      But Dave told

  11    me he had one brother, and that brother was dead, and that no

  12    other person in his life existed.

  13    Q.   Okay.   The same brother he nominated as PR, as personal

  14    representative of his estate, left his entire estate to, he

  15    told you that brother was dead?

  16    A.   No.   Dave said he had one brother and that brother was

  17    dead.

  18    Q.   Okay.   So, Dr. Wright, instead of reaching out to the

  19    estate of Dave Kleiman, the next thing you do in this lawsuit

  20    is you file a consent judgment form, correct?

  21    A.   No.   I'd already spoken to Dave's fiancee, who said that he

  22    didn't have a brother, that that brother was dead.

  23               MR. FREEDMAN:      Ms. Vela, can you please go to P709,

  24    Page 26.

  25

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 115 of 366
                                                                                               115


   1    BY MR. FREEDMAN:

   2    Q.   So, Dr. Wright, you've got a statement of claim filed, and

   3    this is which case we're in, the 5661 case.                           That's the one

   4    seeking the IP from Bitcoin.

   5         You've got a claim filed.              We saw that.              You've got an

   6    Acknowledgement of Liquidated Claim with W&K saying:                          I owe you

   7    all the money.

   8                MR. FREEDMAN:     Same -- sorry.                  In evidence.

   9                Please publish it to the jury.

  10    BY MR. FREEDMAN:

  11    Q.   Dr. Wright, you've got a claim filed in Australia.                         You

  12    have got an Acknowledgement of Liquidated Claim saying W&K owes

  13    you money.    So the next thing you do is you file a consent

  14    order to get the Court to rubber-stamp the transfer, correct?

  15    A.   No.

  16    Q.   All right.    Well, let's see what this document is.                       Again,

  17    it is in the lawsuit of Craig Steven Wright v. W&K Info

  18    Defense.    Right?

  19    A.   Yes.

  20    Q.   And it is filed for Craig S. Wright, the Plaintiff?

  21    A.   Technically, yes.

  22    Q.   And before we go into what the document does, let's see the

  23    state of the document.        At the bottom, it bears your signature,

  24    correct?

  25    A.   Correct.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 116 of 366
                                                                                          116


   1    Q.   And that signature says the Plaintiff consents to the

   2    order?

   3    A.   Yes.

   4                MR. FREEDMAN:     Let's go to the next page, please,

   5    Ms. Vela.

   6    BY MR. FREEDMAN:

   7    Q.   On the next page of the document, it bears the signature of

   8    somebody called J. Wilson.            Do you see that?

   9    A.   Yes.   He was there in the court on the day.

  10    Q.   Dr. Wright, we'll get back to whether Jamie Wilson was in

  11    court that day, Dr. Wright.             But before we do, Jamie Wilson,

  12    that's the same bald Australian man that the jury heard from

  13    earlier today saying he had absolutely nothing to do with W&K;

  14    isn't that correct?

  15    A.   That's what he said.

  16    Q.   And he here is signing for the Defendant, and it says the

  17    Defendant W&K consents, right, Dr. Wright?

  18    A.   That is correct.

  19    Q.   And at the bottom of this document, Dr. Wright, there's a

  20    seal and signature for the Court seal and the signature of the

  21    judge to sign.

  22         Do you see that?

  23    A.   I see that.

  24    Q.   That signature line is blank, Dr. Wright.                        The Court has

  25    not signed your consent order, correct?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 117 of 366
                                                                                           117


   1    A.   No.    The Court actually signed the consent order.

   2    Q.   Not this one, right?

   3    A.   Not that one, but it was signed.

   4    Q.   We're going to get to when the Court eventually signs the

   5    consent order, Dr. Wright, but stay with me.                          Right now, this

   6    one is not signed?

   7    A.   This one is an unsigned copy.

   8                MR. FREEDMAN:     Ms. Vela, can you bring us back to Page

   9    1.   Let's see what the document is attempting to accomplish.

  10    BY MR. FREEDMAN:

  11    Q.   The terms of the order made by the Court by consent, one:

  12    "Judgment in the sum of $28,534,000 in favor of the Plaintiff,"

  13    right?

  14    A.   Yes.

  15    Q.   Two:    "No order as to costs"?

  16    A.   Correct.

  17    Q.   Three:    "The Court notes the agreement of the parties."

  18    This document says:      "Agreed.           The Court notes the agreement of

  19    the parties that the Plaintiff will accept the transfer of the

  20    intellectual property held by the Plaintiff in full and final

  21    satisfaction of the judgment."

  22         Do you see that?

  23    A.   I do.    Intellectual property created by Greyfog, an

  24    Australian company, was retained.                   Yes.

  25    Q.   Dr. Wright, we covered the intellectual property here.                        It

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 118 of 366
                                                                                         118


   1    was the intellectual property used to create a Bitcoin system?

   2    A.   No.    This is linked to Greyfog.                  Greyfog was a venture

   3    capital-funded organization started in 2009 for a combination

   4    of SCADA and exchange products.

   5    Q.   Doesn't say that on this document, does it, Dr. Wright?

   6    A.   Not on this document, no.

   7    Q.   And you do the same thing in the other case, don't you,

   8    Dr. Wright?

   9    A.   I closed down and basically had the Plaintiff and the

  10    Defendant keep their rights, yes.

  11                MR. FREEDMAN:     Ms. Vela, can you please bring up P709.

  12    Let's go to Page 36.

  13                And can we please publish it to the jury.

  14                Sorry.   Can you zoom back out.

  15                I got ahead of myself.              Page 26, not 36.

  16    BY MR. FREEDMAN:

  17    Q.   And there's our consent order again, Dr. Wright?

  18    A.   Yes.

  19    Q.   This is the other case -- sorry.                     We did this case.

  20                MR. FREEDMAN:     Let's do P710.                  That's the other case.

  21                And Page 138.

  22                That's the acknowledgment of liquidated claim.                    And

  23    the consent order is on -- let me find it.

  24                Got it up there.

  25                All right.   Thank you.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 119 of 366
                                                                                           119


   1    BY MR. FREEDMAN:

   2    Q.   This is the other case, the 5983 case, Dr. Wright, and

   3    we're looking at the same document.                     Consent order, Craig

   4    Steven Wright, W&K Info Defense, filed for Craig S. Wright,

   5    Plaintiff.    Signature is on the second page of this document.

   6                MR. FREEDMAN:     Ms. Vela, can you bring us there.

   7    BY MR. FREEDMAN:

   8    Q.   Signed by you for Plaintiff, Plaintiff consents.                        Signed by

   9    Jamie Wilson, Defendant consents.

  10    A.   Yes.

  11    Q.   Not signed by the Court, correct?

  12    A.   At this point, yes.

  13    Q.   And back to the first page.                The terms of the order made by

  14    consent are a judgment for 28.2 million.                          No order as to costs.

  15    The Court notes the agreement of the transfer of intellectual

  16    property and the deed of transfer for the intellectual property

  17    is to be complete.      Correct?

  18    A.   Yes.

  19    Q.   Dr. Wright, we saw the Court doesn't sign this order.                        And

  20    instead, you get an email from the Court Registrar on September

  21    3rd, 2013, correct?

  22    A.   I don't remember the exact date, but yes, we had to attend.

  23                MR. FREEDMAN:     Ms. Vela, can you please bring up P709,

  24    Page 36.

  25

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 120 of 366
                                                                                               120


   1    BY MR. FREEDMAN:

   2    Q.   And so, Dr. Wright, this is an email from the Supreme Court

   3    of New South Wales.      Do you see on the bottom?

   4    A.   I see.

   5    Q.   And it's to Craig Wright -- craigswright@acm.org.

   6    A.   I see.

   7    Q.   And it says:    "Dear, Mr. Wright, please be advised that the

   8    consent order filed on 8/28/2013 was not dealt by registrar in

   9    chamber."

  10         Do you see that?

  11    A.   I see that.

  12    Q.   And registrar is a type of judge, right?

  13    A.   It's more like a magistrate.                 But for simplicity sake, yes.

  14    Q.   So the matter is now listed on October 20, 2013.                          Do you

  15    see that?

  16    A.   I do.

  17    Q.   That's because in Europe they flip the convention, right?

  18    And in Australia they flip the convention.                            And here we do

  19    month, day, year, and there they go day, month, year.                           Right?

  20    A.   That's correct.     But I'd say you flip it.                       But other than

  21    that ...

  22    Q.   Fair enough.    We flip it.            Okay.         We came second, so we

  23    flip it.

  24         So the matter is now listed for hearing on October 30th,

  25    2013 at 9:00 a.m. by registrar's request, and all parties need

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 121 of 366
                                                                                              121


   1    to be present in court that day.                  Do you see that?

   2    A.   I do.

   3    Q.   Dr. Wright, you eventually attend this hearing and you ask

   4    for the consent order to be entered, but the registrar

   5    hesitates because the same person signs for the Plaintiff and

   6    the Defendant; isn't that right?

   7    A.   No.   The hesitation was the large amount.                       And I also said

   8    that there will be no transfer of money.                          And the registrar

   9    basically said, in front of everyone -- asked me why was I

  10    forgiving a large amount of money in a company.                         And I said:

  11    "Because the company's not ever going to pay it.                         So I'm

  12    closing all of the contracts."

  13    Q.   All right.    Well, let's take a look at the hearing

  14    transcript, Dr. Wright.

  15               MR. FREEDMAN:      I'm going to bring that up as P105,

  16    which is already in evidence.

  17    BY MR. FREEDMAN:

  18    Q.   Dr. Wright, do you see in the top left corner you've got

  19    the little Supreme Court of New South Wales, Common Law

  20    Division?

  21    A.   I see.

  22    Q.   And you're before Registrar Bradford?

  23    A.   I see.

  24    Q.   And it's on Wednesday, 30th of October, 2013, the day you

  25    were told to show up?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 122 of 366
                                                                                        122


   1    A.   Yes.

   2    Q.   And it's for both cases.             We see both of them listed right

   3    up there.    You've got the 661 case and the 983 case, right?

   4    A.   Yes.

   5    Q.   And the transcript says that the Plaintiff, that's you,

   6    appeared in person, right?

   7    A.   Yes.

   8    Q.   And it says that there was no appearance for the Defendant?

   9    A.   That's correct.

  10    Q.   You said earlier Jamie Wilson attended court that day,

  11    didn't you?

  12    A.   No.    I said he attended court.                  There are other days.

  13    Q.   There is another day, Dr. Wright.                      We'll see if he attends

  14    that day too.

  15         So, Dr. Wright, you come up and your case is called, Case

  16    Number 4951, and you see that's you talking, Plaintiff, right?

  17    A.   Yes.

  18    Q.   You say:    "Craig Wright, Plaintiff, 49 and 51, Registrar, I

  19    also note that the sole other director from the U.S. of the

  20    Defendant has died intestate."

  21         Do you see that?

  22    A.   Yes.

  23    Q.   Dr. Wright, do you know what "intestate" means?

  24    A.   Yes, I do.

  25    Q.   What does "intestate" mean, Dr. Wright?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 123 of 366
                                                                                           123


   1    A.   As far as I knew, without will.                    No one else could tell me

   2    that he had any family.

   3    Q.   Dr. Wright, you know that the jury in this case has seen

   4    Dave Kleiman's will, right --

   5    A.   Yes.    But I hadn't.

   6    Q.   Okay.   So:   "The sole other director from the U.S. of the

   7    Defendant has died intestate."                We all agree now that's wrong.

   8    And then you say:      "Basically" --

   9    A.   No, we don't.

  10    Q.   Okay.

  11         -- "basically there's been a shareholder's meeting held and

  12    resolution to pass the matter has been obtained and the company

  13    will be wound down straight after the matter."

  14         Do you see that?

  15    A.   Yes.

  16    Q.   And the registrar says to you:                    "What do you want done

  17    today, Mr. Wright?"      And you say:               "Basically, just the orders

  18    that we did by consent in the past and that they're approved."

  19         Do you see that?

  20    A.   I see that.

  21    Q.   The registrar responds to you.                    He says:       "I've got a copy

  22    of two things.     You filed a statement of claim."

  23    A.   Yes.

  24    Q.   You say:    "That's correct."              Correct?

  25    A.   Correct.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 124 of 366
                                                                                                 124


   1    Q.   And then the registrar says back to you:                           "Then there's an

   2    acknowledgement of a liquidated claim that's been filed.                            The

   3    signature on that acknowledgment appears to be the signature

   4    that's on the statement of claim for the Plaintiff."

   5         Do you see that?

   6    A.   I do.

   7    Q.   So the registrar is saying:                "Why is the same person

   8    signing for the Plaintiff and the Defendant, Dr. Wright?"

   9    A.   That happens in corporations all the time.

  10                MR. FREEDMAN:     Ms. Vela, can you scroll down for us.

  11    BY MR. FREEDMAN

  12    Q.   So in response to the registrar's question:                           "Why is the

  13    same person signing for the Plaintiff and the Defendant,"

  14    Dr. Wright, you say:      "I am the sole director for the company

  15    now."

  16         You see that?

  17    A.   Yes.

  18    Q.   The same company that you swore to this Court you were

  19    never a director of, didn't you, Dr. Wright?

  20    A.   That's not what I was trying to say on that day.

  21    Q.   Okay.   You say:    "I'm not a resident.                         So I can't act and

  22    take the company over there.              I had appointed another person.

  23    I have 51 percent of the shares."

  24    A.   Dot, dot, dot, "under control."                    Yes.          There had been a

  25    meeting with my wife, or ex-wife now.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 125 of 366
                                                                                           125


   1    Q.   "I have never been a shareholder of W&K."

   2    A.   Control of 51 percent of the shares is not having shares.

   3    A company, and my ex-wife, voting control is not the same as

   4    having shares.

   5    Q.   The registrar responds to you, Dr. Wright:                       "Do you have

   6    any evidence in relation to any of that before I sign a consent

   7    judgment for $28 million, which at the moment I'm not prepared

   8    to do?"

   9         Do you see that?

  10    A.   I do.

  11    Q.   And in response to the Registrar's question of whether or

  12    not you have any evidence for any of that, you say:                        "No,"

  13    correct?

  14    A.   I say the full line.         But yes, that is correct.                There's

  15    "no" in that.

  16    Q.   "No, we don't have any evidence."

  17         "What we actually just want" -- sorry -- "what we actually

  18    want is just the intellectual property, which we actually

  19    hold."

  20         Do you see that?

  21    A.   Yes.    The intellectual property that was transferred to be

  22    improved that was never improved.                   Correct.

  23    Q.   And you already had copies of everything.                        You just wanted

  24    the legal stamp from the Court to transfer ownership, right?

  25    A.   Having a copy is not the same as having legal rights.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 126 of 366
                                                                                      126


   1    Q.   I agree.

   2         Then the registrar asked you:                  "Who is the person that

   3    signs the consent judgment on behalf of the Defendant?"                  It

   4    appears to be J. Wilson.

   5         Do you see that?

   6    A.   I do.

   7                MR. FREEDMAN:     Let's scroll drown, please, Ms. Vela.

   8    BY MR. FREEDMAN:

   9    Q.   And you respond:     "J. Wilson was a director of my company

  10    who was put in to act."         And there's a little bit more

  11    back-and-forth.     And then right on line -- end of line 8 and 9,

  12    you say:     Unfortunately, Mr. Kleiman died.

  13         You see that?

  14    A.   Yes.

  15    Q.   And then, Dr. Wright, the registrar says to you:

  16    "Mr. Wright, I think before I can enter these alleged consent

  17    judgments, the Court is going to need some evidence in relation

  18    to those matters.      How do you need to be able to do that?"                And

  19    you say:     "What would you like?"               Right?

  20    A.   Yes.

  21    Q.   And the registrar says:            "I think you're going to have to

  22    give some detailed affidavit evidence with regard to it, and

  23    also evidence in relation to who exactly has authority to act

  24    on behalf of this company and sign these documents," right?

  25    A.   Yes.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 127 of 366
                                                                                          127


   1    Q.   And you say:    "I can give you affidavit evidence today,"

   2    right?

   3    A.   Yes.

   4    Q.   And then he says:      "Well, what I might do, Dr. Wright, is

   5    stand them both over for, say, a week.                        Can you file your

   6    affidavit evidence by then?"              Right?

   7    A.   Yes.

   8    Q.   You say:    "Yes.   Definitely." Then you say:                   "We have

   9    actually taken control of the accounts and whatever else.

  10    You've got stat decs for that.                So effectively, this is a

  11    formality, because we have -- actually, the company has control

  12    of all of the accounts now."

  13         Do you see that?

  14    A.   Yes.

  15    Q.   So, Dr. Wright, you had already taken control over all of

  16    W&K's accounts at this time?

  17    A.   No.    I had received them from Lynn Wright and I had -- I

  18    hadn't.     My corporation had taken control.

  19    Q.   Including its Bitcoin accounts?

  20    A.   No.    It didn't have any Bitcoin.

  21    Q.   Dr. Wright, you see that line there where it says:                      "We've

  22    got stat decs for that"?

  23    A.   Yes.

  24    Q.   Statutory declarations?

  25    A.   Yes.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 128 of 366
                                                                                              128


   1    Q.    I want you to remember that.                We're going to get back to

   2    it.    Okay?

   3    A.    Yes.   I think you're talking about D'Emilio.                      Yes, I

   4    remember those, but they're not those.

   5    Q.    So, Dr. Wright, let's just go straight to it, then.

   6                 MR. FREEDMAN:    Ms. Vela, can you bring us to Page

   7    26 -- you know what?      Actually, hold on.                      Let's finish this

   8    transcript, so we don't have to come back to it, and then we'll

   9    go to 26.

  10    BY MR. FREEDMAN:

  11    Q.    So the registrar says to you:                 "I'll make an order for that

  12    to be filed by say the 5th and you come back before me on the

  13    6th."    You say:    "Fine."      The registrar says:                 "I'll stand

  14    these matters over to 6th of November.                        File your affidavit by

  15    November 5th.      Thank you, Mr. Wright.                   You're excused."

  16    Correct?

  17    A.    Correct.

  18    Q.    All right.    So now, Dr. Wright, I said -- you took control

  19    of W&K's Bitcoin accounts.            You said they had no Bitcoin

  20    accounts?

  21    A.    There is no such thing as a Bitcoin account the way you're

  22    saying it, unless you're talking about Coinbase or something

  23    else, which W&K never had.

  24    Q.    And in that same sentence where you said that you have

  25    taken control over all of W&K's accounts, you said you had

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 129 of 366
                                                                                              129


   1    statutory declarations for it, didn't you?

   2    A.   No.    I said accounts.        Accounts are financial accounts.

   3    That is my MYOB and Xero accounting systems.

   4                MR. FREEDMAN:     Ms. Vela, can you bring us back up to

   5    Dr. Wright's statement about statutory declarations.

   6    BY MR. FREEDMAN:

   7    Q.   "We have taken control of the accounts and whatever else,

   8    which we've got stat decs for that."

   9         "That" meaning taking control of the accounts, right?

  10    A.   Yes.   To get control of Xero, the accounting platform, Lynn

  11    Wright had to sign a statutory declaration.                           She did that.   We

  12    took control of the accounting platform.

  13    Q.   Dr. Wright, you did, in fact -- the registrar ordered you

  14    to submit an affidavit.         You did, in fact, submit two

  15    affidavits, and we're going to look at them in a minute.                          We've

  16    looked at one already.        But, Dr. Wright, within those

  17    affidavits you submitted just one statutory declaration, didn't

  18    you?

  19    A.   I'm sorry?

  20    Q.   In your affidavit that you filed, you told the Court you've

  21    got stat decs for taking over the accounts.                           You filed just one

  22    statutory declaration.

  23    A.   I'm sorry.    I'd have to see them.                    I don't remember that

  24    far back.

  25                MR. FREEDMAN:     Ms. Vela, can you bring up P710, Page

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 130 of 366
                                                                                             130


   1    62.

   2               And, Ms. Vela, can you zoom in on the text, so we can

   3    take a look at this.

   4    BY MR. FREEDMAN:

   5    Q.    Statutory declaration.          You see that?

   6    A.    I see that.

   7    Q.    You said accounts didn't mean Bitcoin accounts, right?

   8    A.    Accounts doesn't mean Bitcoin accounts.

   9    Q.    All right.    "I, Stephen D'Emilio, Level 32 Bligh Street,

  10    Sydney, in the State of New South Wales, Solicitor" -- that's

  11    what you call lawyers in Australia, right?

  12    A.    They are a type of lawyer, yes.

  13    Q.    -- "do solemnly and sincerely declare that I am the

  14    solicitor acting for Mr. Craig Wright in Hotwire Preemptive

  15    Intelligence.

  16          "On October 2013, Mr. Wright came into my office and showed

  17    me his HTC mobile phone.

  18          "On the screen of the Wright mobile, I viewed and verified

  19    the following Bitcoin wallet addresses.                         List of addresses.

  20          "I viewed the Bitcoin wallet addresses by scrolling down

  21    the screen.     It appeared to me that if Mr. Wright wanted to, he

  22    could control all of and make transactions in the Bitcoin

  23    wallet addresses.

  24          I make this solemn declaration conscientiously, believing

  25    the same to be true and by virtue of the provision of the Oaths

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 131 of 366
                                                                                         131


   1    Act 1900.

   2         Do you see that?

   3    A.   I see that.

   4    Q.   That is the only statutory declaration you submitted with

   5    your affidavits yesterday in court; isn't that true?

   6    A.   I can't remember what I submitted, but you can't take over

   7    Bitcoin accounts with a stat dec.                   Sorry.

   8    Q.   So your testimony here today is you told the registrar you

   9    took over the accounts.         You told the registrar you did it

  10    through a statutory declaration.                  The statutory declaration

  11    lists only Bitcoin accounts, but you can't take over Bitcoin

  12    accounts through a statutory declaration --

  13    A.   The statutory --

  14    Q.   -- is that correct?

  15    A.   The statutory declaration lists Bitcoin addresses, not

  16    accounts.    No.   It is not correct.

  17    Q.   Okay.   Dr. Wright, the registrar tells you:                     "Give me

  18    affidavits."     And on November 4th, you filed two affidavits?

  19    A.   About that, yes.     I don't remember the exact date.

  20               MR. FREEDMAN:      Ms. Vela, can you please bring up P710.

  21    Page 26.

  22    BY MR. FREEDMAN:

  23    Q.   We've looked at this affidavit already, Dr. Wright, have we

  24    not?

  25    A.   Quite possibly, yes.         I would have to look through it to

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 132 of 366
                                                                                 132


   1    double-check, but I think so, yes.

   2    Q.   Let's look at it in more detail.

   3                MR. FREEDMAN:     Ms. Vela, can you bring us to Page --

   4    sorry -- Paragraphs 3 and 4 of Page 27.

   5                Let's zoom in there.

   6                Ms. Vela, you missed the bottom totally, I think.

   7    BY MR. FREEDMAN:

   8    Q.   So on Paragraph 3 you say:               "The Defendants, W&K" -- your

   9    firm, rather -- "The Defendant, W&K, is indebted to the

  10    Plaintiff," that's your companies, "in respect to the balance,"

  11    and you say the total down there is $28,743,000, correct?

  12    A.   Yes.

  13    Q.   And in the second case you say the Defendant is indebted to

  14    the Plaintiff with respect to a balance of $29 million?

  15    A.   Yes.    With the interest rate under the court amount, yes.

  16                MR. FREEDMAN:     Ms. Vela, can you zoom out of that,

  17    please, and go to Paragraph 12 on the next page.

  18    BY MR. FREEDMAN:

  19    Q.   Paragraph 12, Dr. Wright, you say that a contract was

  20    formed in April of 2011.

  21         Do you see that?

  22    A.   I see that.

  23                MR. FREEDMAN:     Ms. Vela, can you bring that down.

  24    BY MR. FREEDMAN:

  25    Q.   In 13 you say 300,000 Bitcoin and a series of software

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 133 of 366
                                                                                           133


   1    projects were to be paid in 2013 as consideration for that

   2    contract, right?

   3    A.   Yes.

   4                MR. FREEDMAN:     Ms. Vela, can you please bring up

   5    Paragraph 13 for us.

   6                Can you bring it into the middle of the screen.

   7    BY MR. FREEDMAN:

   8    Q.   Then you say:     "On February 2013, the agreement to pay

   9    300,000 Bitcoin was noted in an email of Dave Kleiman to Craig

  10    Wright."

  11         Do you see that?

  12    A.   I see that.

  13    Q.   Then, Dr. Wright -- then you say that -- the email from

  14    Dave Kleiman to Craig Wright noting the verbal agreement to

  15    start a Bitcoin exchange based on the mined Bitcoin of

  16    Mr. Kleiman.

  17         Do you see what you affirmed in Australia?

  18    A.   Yes.    That he was meant to mine after 2011, that's correct.

  19    Q.   Dr. Wright, you do enter into verbal agreements with Dave

  20    Kleiman, don't you?

  21    A.   No.    Because it was noted in an email, which is text

  22    afterwards.

  23    Q.   But you entered into a verbal agreement.                         Not only a verbal

  24    agreement, Dr. Wright, but you entered into a verbal agreement

  25    about Bitcoin with David Kleiman, didn't you?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 134 of 366
                                                                                           134


   1    A.    No, I did not, because it was a verbal agreement that was

   2    noted in writing.

   3    Q.    Dr. Wright, not only did you enter into a verbal agreement

   4    about Bitcoin with Dave Kleiman, you entered into a verbal

   5    agreement with Dave Kleiman about Bitcoin he mined, and you

   6    affirmed it in Australia, didn't you?

   7    A.    No.    As noted, it was Bitcoin that was transferred after

   8    that date, and it was noted in an email.

   9    Q.    An email.    We're going to get to what happened with your

  10    emails later, Dr. Wright.

  11          Okay.    In the meantime, let's go to the next affidavit.

  12                 MR. FREEDMAN:    Ms. Vela, could you please bring up

  13    P710, Page 10.

  14    BY MR. FREEDMAN:

  15    Q.    This is the other affidavit, Dr. Wright.                        Do you recognize

  16    this affidavit?

  17    A.    Yes.

  18    Q.    Filed in the same case, Craig Steven Wright, W&K Info

  19    Defense Research.      It's got both case numbers on it, right?

  20    A.    Correct.

  21                 MR. FREEDMAN:    Ms. Vela, could you bring us to Page

  22    12.

  23    BY MR. FREEDMAN:

  24    Q.    Like the other affidavit, Dr. Wright, you affirmed the

  25    truth of this one too.        Isn't that correct somewhat?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 135 of 366
                                                                                          135


   1    A.    Yes.

   2                 MR. FREEDMAN:    Ms. Vela, could you bring us to Page

   3    11.

   4    BY MR. FREEDMAN:

   5    Q.    In Paragraph 3, Dr. Wright, you say that:                       "The contract as

   6    settlement for the finance agreement is attached as Appendix

   7    A."

   8          So you attach a contract to this agreement?

   9    A.    Yes.   I know this is a typo, but yes, that's correct.

  10    Q.    In Paragraph 4, Dr. Wright, you then say that t"he original

  11    deal was agreed to be varied as a consequence of the sudden and

  12    unexpected rise in the value of Bitcoin."

  13          Do you see that?

  14    A.    Yes.

  15    Q.    Dr. Wright, let's take a look at this new contract that

  16    Dave Kleiman supposedly electronically signed.

  17                 MR. FREEDMAN:    Ms. Vela, can you please bring us to

  18    Page 14 of the court file.

  19    BY MR. FREEDMAN:

  20    Q.    Dr. Wright, the contract is dated April 2nd, 2013, correct?

  21    A.    That's the date on it, yes.

  22    Q.    24 days before Dave Kleiman dies, correct?

  23    A.    Correct.

  24    Q.    So let's take a look at the terms of this contract Dave

  25    Kleiman supposedly electronically signed just three weeks

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 136 of 366
                                                                                      136


   1    before he dies.

   2         In Paragraphs B and C, Dr. Wright, you say -- before we do

   3    that --

   4                MR. FREEDMAN:     Sorry, Ms. Vela.

   5    BY MR. FREEDMAN:

   6    Q.   -- let's go through who this contract is between.

   7         Dave Kleiman of W&K Info Defense Research, LLC is the

   8    vendor.

   9    A.   Yes.

  10    Q.   Craig Wright of Craig Wright R&D is the purchaser?

  11    A.   Yes.

  12    Q.   And the company is W&K Info Defense, correct?

  13    A.   Yes.

  14    Q.   In B and C, the company, Dr. Wright, which is W&K Info

  15    Defense Research, is the owner of and conducts the business

  16    known as Bitcoin mining, right?

  17    A.   Yes, but it never conducted it.                    But yes, it was to.

  18    Q.   And software development research, right?

  19    A.   Yes.

  20    Q.   And, Dr. Wright, the vendor, that's Dave Kleiman of W&K,

  21    right?

  22    A.   Well, it's W&K.     So it's not Dave Kleiman.

  23    Q.   I'm sorry.    Dr. Wright, can you take a look at the top of

  24    the contract where it says the vendor is defined as Dave

  25    Kleiman of W&K Info Defense, LLC?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 137 of 366
                                                                                             137


   1    A.   Yes.    But that is not Dave Kleiman.                      It is Dave Kleiman

   2    representing W&K.

   3    Q.   So:    "The vendor, Dave Kleiman of W&K, has agreed to sell

   4    to the purchaser," that's you, "to Craig Wright R&D, and the

   5    purchaser," that's you, "has agreed to purchase the vendor's

   6    shares for the price upon the terms set out hereunder."

   7         So you were purchasing Dave Kleiman of W&K's shares in W&K,

   8    correct?

   9    A.   No.    Not just Dave Kleiman's.                The entire organization.

  10    Q.   All right.    And in Paragraph F --

  11                MR. FREEDMAN:     Ms. Vela, can you bring up F for us.

  12    BY MR. FREEDMAN:

  13    Q.   When you were buying the company, it was going to include

  14    all of its software, research materials, and other aspects of

  15    the business, right?

  16    A.   Yes.

  17                MR. FREEDMAN:     Ms. Vela, could you turn to the next

  18    page.

  19                And let's zoom in on Paragraphs 3 and 4, please.

  20    BY MR. FREEDMAN:

  21    Q.   Dr. Wright, Paragraphs 3 and 4 give us a good summary of

  22    what happened in this contract:                 "Hence, the vendor," that's

  23    Dave Kleiman of W&K," will, in 3A, pay 250,500 Bitcoin on 30th

  24    of April 2013," right?

  25    A.   That's what it says.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 138 of 366
                                                                                          138


   1    Q.   It also says in G that:            "The vendor, Dave Kleiman of W&K,

   2    will transfer any shares in W&K to the purchaser," that's you,

   3    "by April 30th," right?

   4    A.   Yes.

   5    Q.   And although it's in the purchaser category 4, 4B is

   6    actually an obligation of Dave Kleiman.                         "The purchaser will

   7    accept the vendor's 323,000 remaining mined Bitcoin."

   8         Do you see that, Dr. Wright?

   9    A.   Yes.

  10    Q.   So as part of this contract --

  11                MR. FREEDMAN:     Ms. Vela, can you highlight 4B, that

  12    first sentence.

  13    BY MR. FREEDMAN:

  14    Q.   As part of this contract, Dr. Wright, Dave was going to

  15    transfer you 250,000 Bitcoin, all his shares in W&K, and he was

  16    going to transfer 323,000 Bitcoin, right?

  17                MS. MCGOVERN:     Objection.               The document speaks for

  18    itself.

  19                THE COURT:   Overruled.             I'll allow it.

  20    BY MR. FREEDMAN:

  21    Q.   Right?

  22    A.   That's what the document says.

  23    Q.   Dr. Wright, 250,500 plus 323,000, that's about 570,000

  24    Bitcoin.    That's half of 1.1 million Bitcoin the Plaintiffs are

  25    claiming in this case?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 139 of 366
                                                                                        139


   1               MS. MCGOVERN:      I'm sorry.               I can't hear.   I can't hear

   2    the question.

   3               THE COURT:    Yes.       Let's restate the question, please.

   4    BY MR. FREEDMAN:

   5    Q.   Dr. Wright, 250,500, plus 323,000, that's about 570,000,

   6    correct?

   7    A.   Approximately.

   8    Q.   Half of the 1.1 million the Plaintiffs are claiming in this

   9    case?

  10    A.   I'm not actually sure what the number the Plaintiffs are

  11    claiming in this case is.           It's never been mentioned.

  12    Q.   And, Dr. Wright, what does this contract say Dave Kleiman

  13    gets in return for his half of the 1.1 million?                       He gets -- I'm

  14    in 4B -- a 49.5-percent stake in a new venture to be formed in

  15    Australia?

  16               MS. MCGOVERN:      Objection.               Misrepresents the document,

  17    Your Honor.

  18               THE COURT:    Overruled.

  19               THE WITNESS:     It says what it says.

  20    BY MR. FREEDMAN:

  21    Q.   So he transfers you his half of the Bitcoin and he gets

  22    less than half of a company that doesn't even exist.

  23    A.   No.   It's not his Bitcoin, and that is a incorrect

  24    misrepresentation.

  25

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 140 of 366
                                                                                           140


   1                MR. FREEDMAN:     Let's go to the last page of this

   2    contract, Ms. Vela.      Take us to Page 21.

   3                Let's go one more page over.

   4    BY MR. FREEDMAN:

   5    Q.   Dr. Wright, on the bottom, that's your signature executed

   6    by Craig Wright R&D?

   7    A.   Yes.    I have no reason to doubt it isn't.

   8    Q.   Dr. Wright, is it your testimony today that that is Dave

   9    Kleiman's signature?

  10    A.   It's an electronic signature.                  The best I can say is that

  11    it is typed by Dave.

  12    Q.   We saw emails between you and Ira earlier where you

  13    admitted to Ira that this is a computer font, correct?

  14    A.   Yes, it is.

  15    Q.   Dr. Wright, you know this jury has seen Dave Kleiman's

  16    electronic signature.       Do you know that?                     Do you recall that?

  17    A.   No.    Actually, they didn't.              What they saw was the

  18    reference information for a signature, but the signature wasn't

  19    attached.

  20    Q.   Okay.

  21                MR. FREEDMAN:     Ms. Vela, can you please bring up D005,

  22    Page 16.     It's already in evidence.

  23    BY MR. FREEDMAN:

  24    Q.   Dr. Wright, you'll recall, since you were following

  25    testimony, I'm sure, this is the Computer Forensics, LLC

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 141 of 366
                                                                                      141


   1    operating agreement that Patrick Paige testified to.

   2    A.   Yes.

   3    Q.   And you'll recall Patrick Paige testified that this was

   4    Dave Kleiman's digital signature, correct?

   5    A.   That's what he said, but he's wrong.

   6    Q.   Okay.    Dr. Wright, you see Dave Kleiman, a security expert,

   7    his digital signature has a bunch of writing on the right-hand

   8    side of it?

   9    A.   No.    That's the PKI container.                  That references what key is

  10    being used to sign.      There will be a separate signature file

  11    with this.     To be a signature, you need to attach the signature

  12    file.    So this is a reference to what the file is.                  You haven't

  13    attached the file.

  14    Q.   Do those signatures look anything alike, Dr. Wright?

  15    A.   Patrick Paige and Carter Conrad do not have the same

  16    signature.

  17    Q.   Neither does Dave Kleiman, does he?

  18    A.   No.    Patrick Paige and Dave Kleiman do not have the same

  19    signature either.

  20    Q.   Dr. Wright, you filed this affidavit on November 4th, and

  21    two days later, on November 6th, you show back up to the

  22    hearing the registrar told you to attend, correct?

  23    A.   Yes.

  24                MR. FREEDMAN:     Ms. Vela, can you please bring up the

  25    registrar hearing on November 6th, P509, and it's also in

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 142 of 366
                                                                                               142


   1    evidence.

   2                We can take down the electronic signature of Dave

   3    Kleiman.

   4    BY MR. FREEDMAN:

   5    Q.   Dr. Wright, again, a transcript from your case against W&K

   6    in Australia in the Supreme Court of New South Wales, Common

   7    Law Division.     You're now in front of acting Registrar Kenna.

   8    That is not the Registrar Bradford that you were before on

   9    October 30th, correct?

  10    A.   Registrar Kenna is not Registrar Bradford.                         That is

  11    correct.

  12    Q.   And again, both cases are being called.                          You've got the

  13    405661 case and you have got the 5983 case, correct?

  14    A.   Both files are listed, yes.

  15    Q.   And it says:    "The Plaintiff," that's you, "appeared in

  16    person."

  17    A.   Technically, no.     It is me representing the other.                        So that

  18    is an error.

  19    Q.   So it says:    "No appearance of or for the Defendant."

  20    A.   Yes.

  21    Q.   Ms. Lynn Wright was not in court, Dr. Wright, correct?

  22    A.   Lynn did not turn up, that is correct.

  23    Q.   Any neither did Jamie Wilson?

  24    A.   Jamie Wilson had been fired.

  25    Q.   Dr. Wright, this hearing is called to order.                         You come up.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 143 of 366
                                                                                    143


   1    First thing you say:       "Registrar Craig Wright, W-R-I-G-H-T,"

   2    and acting Registrar Kenna says:                   "So you've put in your

   3    affidavit."     You say:     "I have."

   4         Do you see that?

   5    A.   I see that.

   6    Q.   She asks you:     "Does this matter travel with matter 59 as

   7    well," because you've got two cases in front of her, correct?

   8    A.   Yes.

   9    Q.   And she says:     "In this matter, we've got some consent

  10    orders in respect to the statement of claim," right?

  11    A.   That's what it says, yes.

  12    Q.   And you say:    "Yes."        And the registrar says the registrar

  13    wanted more information before, and you jump in, right?

  14    A.   Yes.

  15    Q.   You say:    "Yes.    I'm now the sole shareholder in an

  16    American company."       See that, Dr. Wright?

  17    A.   Yes.   I was referencing the company DeMorgan in Delaware,

  18    that I was also the sole shareholder of, that was to act for

  19    this but couldn't.

  20    Q.   So in a hearing about W&K, where you have submitted

  21    affidavit evidence about the ownership of W&K -- we saw you

  22    said you had 50 percent of W&K in that affidavit -- you're now

  23    just telling the registrar about DeMorgan registered in

  24    Delaware?

  25    A.   Yes.   Unfortunately, I keep assuming people know what I

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 144 of 366
                                                                                           144


   1    mean.

   2    Q.   So it is your testimony today, Dr. Wright, that you did not

   3    tell the registrar at the hearing that you were 51 percent

   4    owner, submit an affidavit saying you were a 50 percent

   5    shareholder, and now come, after you filed a contract showing

   6    Dave Kleiman allegedly signing all of the shares of W&K to you,

   7    claim that you are the sole shareholder of W&K.                       That's not

   8    what happened, correct?

   9    A.   That is not what happened.

  10    Q.   Okay.    And then you say:           "I can't act as a director over

  11    there in the United States because of regulations," right?

  12    A.   Yes.

  13    Q.   "I own all the shares over here.                     I want to bring

  14    everything back in."      Right?

  15    A.   Yes.

  16    Q.   Still talking about DeMorgan, right?

  17    A.   And other companies that I owned, yes.

  18    Q.   The Australian Tax Office has been notified of all the

  19    valuations and whatever else, right?

  20    A.   Yes.    I was talking about the group of companies.                    That's

  21    correct.

  22    Q.   "It's just a matter of, unfortunately, the director I have

  23    over there died three days before settlement."

  24         Do you see that?

  25    A.   Yes.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 145 of 366
                                                                                                145


   1    Q.   Still talking about DeMorgan?

   2    A.   No.    In this one we're talking about W&K.

   3    Q.   Oh, so we're back to W&K now?

   4    A.   Yes.

   5    Q.   You just had a segue into DeMorgan for no reason, or was

   6    there a reason?     Never mind.           I take that back.                Withdrawn.

   7         Dr. Wright, you then say:              "So the contract has been done,

   8    signed, and everything else," right?

   9    A.   That's what it says.

  10    Q.   And then you say:      "Most of the assets have been

  11    transferred.     Some are in escrow."

  12    A.   Yes.

  13    Q.   So, Dr. Wright, you've already transferred most of W&K's

  14    assets, hadn't you?

  15    A.   No.

  16    Q.   Then, Dr. Wright, the registrar says:                            "Okay."   You say:

  17    "Unfortunately, three days before settlement he passed away."

  18    The registrar says:"      Yes.        Okay.         So let me just have a look

  19    at your affidavit.      So the intellectual property has all been

  20    transferred?"

  21         You say --

  22    A.   Yes.

  23    Q.   -- "it has," right?

  24    A.   That's correct.     The transfer had gone through correctly

  25    and both parties now have full rights as originally stated.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 146 of 366
                                                                                        146


   1    Q.   And then you say:      "The main purpose is just to formalize

   2    everything and make sure that nothing actually goes wrong or

   3    happens later and whatever else"?

   4    A.   Yes.

   5                MR. FREEDMAN:     Ms. Vela, can you go to the next page.

   6    BY MR. FREEDMAN:

   7    Q.   You said the settlement didn't occur because Mr. Kleiman

   8    dies.    And then the registrar says:                   "In respect to the matter

   9    56, I make the orders 1 through 4 of the consent order.                      I know

  10    this brings the matter to conclusion.                       With respect to 59, 1

  11    through 3 consent orders.           And I note that also brings the

  12    matter to conclusion."

  13         So now after you submitted your affidavits, that we've gone

  14    through in detail, the registrar signs your consent orders,

  15    correct?

  16    A.   Yes.

  17                MR. FREEDMAN:     So, Ms. Vela, you can take that down,

  18    please.

  19                Your Honor, I'm about to start a new section.                   So if

  20    now is a good time to take a break, that's fine.                      If not, I'll

  21    keep going.

  22                THE COURT:   Ladies and Gentlemen, are we in need of a

  23    comfort break at this time?

  24                Normally, we'd take it at about 3:30, so why don't we

  25    continue.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 147 of 366
                                                                                      147


   1                MR. FREEDMAN:     Sure.

   2    BY MR. FREEDMAN:

   3    Q.   So, Dr. Wright, just so you know where I'm going with this,

   4    we've seen a lot of documents about Dave Kleiman -- sorry.

   5    Strike that.

   6         Dr. Wright, just so you know where I'm going, I'd like to

   7    take you through the evidence that the Plaintiffs are going to

   8    put on in this case about the fact that you and Dave Kleiman

   9    were partners to create and mine Bitcoin.                             Okay?

  10    A.   Yes.   I believe you are.

  11                MS. MCGOVERN:     I just want to make an objection to the

  12    extent that that's a statement on the record with respect to

  13    what the evidence shows.

  14                THE COURT:   The objection is sustained.

  15    BY MR. FREEDMAN:

  16    Q.   Dr. Wright, I'd like to show you a deposition clip from

  17    your deposition that I believe we saw in opening.

  18                MS. MCGOVERN:     Mr. Freedman, we object to the use of a

  19    video clip of Dr. Wright, unless it's for purpose of

  20    impeachment.

  21                MR. FREEDMAN:     Your Honor, federal rules provide that

  22    deposition of a party can be used for any purpose.

  23                THE COURT:   It's a party.

  24                You may.

  25                MR. FREEDMAN:     Thank you.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 148 of 366
                                                                               148


   1         (Video played.)

   2    BY MR. FREEDMAN:

   3    Q.   That was after your deposition in April of 2019, correct?

   4    A.   Correct.

   5    Q.   After we filed this lawsuit, correct?

   6    A.   Yes.

   7    Q.   Let's look at what you said before we filed the lawsuit.

   8         To orient us, Dr. Wright, Dave dies in April 2013, right?

   9    A.   Yes.

  10    Q.   While he was still alive, you had some dealings with

  11    someone named Mark Ferrier?

  12    A.   Yes, I did.

  13    Q.   And Mark Ferrier was an Australian man that was acting as

  14    an agent for parties trying to sell source code?

  15                MS. MCGOVERN:      Objection.               Foundation.

  16                THE COURT:   If the witness knows.

  17                Overruled.

  18                THE WITNESS:     Software, yes.

  19    BY MR. FREEDMAN:

  20    Q.   And you were communicating with him in February of 2013?

  21    A.   I don't remember the exact date, but sometime around then.

  22                MR. FREEDMAN:      Ms. Vela, can you please bring up P459.

  23    Show it just to the witness and counsel.

  24    BY MR. FREEDMAN:

  25    Q.   Dr. Wright, do you recall this is a Skype chat between you

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 149 of 366
                                                                                         149


   1    and Mark Ferrier?

   2    A.    It's the text of a Skype chat, yes.

   3    Q.    And see it references Dave Kleiman?

   4    A.    Can you highlight, please.

   5    Q.    Sure.    Line 18 -- 17.

   6    A.    Yes.

   7                 MR. FREEDMAN:      Your Honor, we'd offer P459 into

   8    evidence.

   9                 MS. MCGOVERN:      Objection.               Hearsay.

  10                 THE COURT:    The objection is overruled.                  I'll allow

  11    it.

  12          (Plaintiffs' Exhibit 459 received into evidence.)

  13    BY MR. FREEDMAN:

  14    Q.    Dr. Wright, one of the things you discussed with Mark

  15    Ferrier was Dave Kleiman?

  16    A.    Mentioned him.      I wouldn't say discussed.

  17    Q.    And specifically you referenced your relationship with him?

  18    A.    Yes.    We were forming a company together, and we had

  19    already formed a company, basically, together.

  20    Q.    And so on February 23rd, 2013 you Skype message Mark

  21    Ferrier and you say:        "My partner Dave and I have been working

  22    on something for a while now.                 So I guess, how can you help

  23    me?"

  24          Do you see that?

  25    A.    I see that.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 150 of 366
                                                                                              150


   1    Q.    You talk a little bit more with him.                         Conversation lulls

   2    off, and you pick back up your conversation with Mr. Ferrier a

   3    few months later, on April 10th, 2013, correct?

   4    A.    No.   We'd also communicated over other methods.

   5    Q.    Okay.   Well, your Skype log continues in --

   6                MR. FREEDMAN:      Ms. Vela, can you bring us down to line

   7    72.

   8                Actually, Ms. Vela, can you bring us back up to the

   9    highlighted one we were at a second ago.                           That was line 15 or

  10    17.

  11                There we go.

  12                So -- right.

  13    BY MR. FREEDMAN:

  14    Q.    So this is February 2nd, 2013.                    And --

  15                MR. FREEDMAN:      Now, Ms. Vela, please bring us to line

  16    72, which will be April 10th, 2013.

  17                And let's go a little bit above that.                       No.   No.   Stay

  18    where you are, Ms. Vela.

  19                Thank you.

  20    BY MR. FREEDMAN:

  21    Q.    So Mr. Ferrier writes to you.                  On line 66, he says:           "Mate,

  22    the boat is back in the water.                 F that frigging stuff."              You

  23    said:    "I know what it is all for.                    Should come and join us and

  24    get wet."

  25          And you say to him:        "Well, I do like boats, but I'm more

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 151 of 366
                                                                                                151


   1    interested in just completing what we talked about.                            If that

   2    all works, let's see."        And he says:                "Your F'ing loss."

   3         Do you see that, Dr. Wright?

   4    A.   I see that.

   5    Q.   Then you say to him:         "My partner does not like the water."

   6         Do you see that?

   7    A.   Yes.   That was referring to my wife.

   8    Q.   It was.    But he misunderstood, right?                          He said to you:   "I

   9    thought he was in the States."

  10    A.   Correct.

  11    Q.   Mr. Ferrier thought you were talking about Dave?

  12    A.   Yes.   So I had to correct him and say that the fellow

  13    director of the company I was setting up was not the same

  14    person.

  15    Q.   Right, because you say:            "No, my partner," meaning your

  16    romantic partner Ramona Watts, right?

  17    A.   Yes.

  18    Q.   Not "my business partner Dave"?

  19    A.   Yes.   A director I would call business partner, but not

  20    partnership.     Yes.

  21    Q.   This is 16 days before Dave passes away?

  22    A.   Yes, it was.    Well, actually, probably 14.

  23    Q.   And then, Dr. Wright, Dave passes away on April 26th,

  24    correct?

  25    A.   I believe it was actually the 24th, but he wasn't found

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 152 of 366
                                                                                 152


   1    until the 26th.

   2    Q.   And then four days after he's found deceased in his home,

   3    on April 30th, you're still communicating with Mark Ferrier?

   4    A.   Yes.

   5    Q.   And you're actually letting him know that Dave Kleiman

   6    died?

   7    A.   I mentioned it at some point, yes.

   8    Q.   And you actually called Dave your business partner again,

   9    right?

  10    A.   Yes.   At that point I did.

  11                MR. FREEDMAN:     Ms. Vela, can you bring us down to line

  12    98, please.

  13    BY MR. FREEDMAN:

  14    Q.   He says to you:     "Where the F have you disappeared to?

  15    Hey, are you going to answer?"                And then, Dr. Wright, can you

  16    read what your response is to the jury on April 30th, 2013 on

  17    line 100.

  18    A.   (No verbal response.)

  19    Q.   Let us know when you're ready, Dr. Wright.

  20    A.   Line 100?

  21    Q.   Yes, please.

  22    A.   Yes.

  23         "Sorry.    My best friend and business partner died a few

  24    days back and I am in a class right now."

  25    Q.   That was Dave Kleiman?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 153 of 366
                                                                                                153


   1    A.   That died, yes.

   2    Q.   That was your business partner?

   3    A.   Yes.   At this point he was.               He was technically shareholder

   4    and also director of one of my companies.                             Not a partnership,

   5    but a partner in that way.

   6    Q.   Dr. Wright, things don't go so well between you and Mark

   7    Ferrier, do they?

   8    A.   Eventually, no.     He didn't manage to complete a deal with

   9    Payne.    Payne sued him.       No gold eventuated.

  10    Q.   Eventually, your companies file a lawsuit against him?

  11    A.   I don't know which entity filed a lawsuit.                           But yes, we

  12    sued him and we had a judgment.                 He fled the country.             Yes.

  13    Q.   And in fact, more than a lawsuit, Dr. Wright; you end up

  14    filing a police report against him?

  15    A.   With a number of other people, yes.

  16    Q.   And you were seeking help from the police?

  17    A.   Well, I wasn't seeking help.                 I was reporting a crime.

  18    Q.   You were being truthful with the police?

  19    A.   Yes.

  20                MR. FREEDMAN:     Ms. Vela, can you please bring up for

  21    just the witness and opposing counsel P464.

  22    BY MR. FREEDMAN:

  23    Q.   Dr. Wright, do you recognize -- this is an email from you

  24    to Katherine Unger of the New South Wales Police Department?

  25    A.   I believe it was sent by my EA Angela, but I dictated it.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 154 of 366
                                                                                               154


   1    So I don't want to try and sound flippant, but I dictate emails

   2    and my EA sends them sometimes.                 But I ordered it, yes.

   3    Q.   And it says:    "I have attached" -- you're attaching a draft

   4    of your statement with various other attachments to them,

   5    right?

   6    A.   Yes.    She did that for me.

   7    Q.   Okay.   And would you have shared a draft of a statement

   8    with the police that you do not believe would have been

   9    accurate?

  10    A.   I don't know.     It would have been corrected if not.                          The --

  11    it's possible, but I don't know.                  I don't remember of any

  12    corrections.

  13                MR. FREEDMAN:     Counsel, I'm going to the deposition of

  14    Dr. Wright, March 18th, 2021, Page 93, lines 7 through 10.

  15    Take a look at that or --

  16                MS. MCGOVERN:     Are you moving this one in?                      No?

  17                MR. FREEDMAN:     Sorry?

  18                MS. MCGOVERN:     I just want to make sure.                      Did you move

  19    464?   Did you seek to move 464 into evidence?                           Because we have

  20    an objection.

  21                MR. FREEDMAN:     Not yet.

  22                MS. MCGOVERN:     Okay.         I'm sorry.                What did you say?

  23                MR. FREEDMAN:     Can you go to Dr. Wright's deposition,

  24    March 18th, 2021, lines 93-7 through 93-10.

  25                MS. MCGOVERN:     Your Honor, with respect to the

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 155 of 366
                                                                                         155


   1    deposition clips that are being played, we haven't seen them in

   2    advance.    To the extent that there are objections that were

   3    lodged during the deposition, we ask the Court for permission

   4    to address those objections before being played for the jury.

   5               THE COURT:    Certainly.             And is this one of those

   6    portions?

   7               MS. MCGOVERN:      I have not seen this clip.

   8               MR. FREEDMAN:      It is one single question and one

   9    single answer.     The answer constitutes three words.

  10               MS. MCGOVERN:      I haven't had an opportunity to review

  11    the deposition clip.

  12               MR. FREEDMAN:      Your Honor, we're seeking to impeach

  13    the last statement.

  14               MS. MCGOVERN:      Could we have it re-read, Your Honor?

  15    I don't --

  16               THE COURT:    Let's give Ms. McGovern an opportunity to

  17    review.    It Page 93, line 7.

  18               MR. FREEDMAN:      Yes, through 10.

  19         (Pause in proceedings.)

  20               MS. MCGOVERN:      Looking at it now, Your Honor.

  21         (Pause in proceedings.)

  22               MS. MCGOVERN:      Apologize for the delay, Your Honor.

  23    We're trying to pull it up right away.                        If you would like, I

  24    can just look at it with you, Vel, so we don't hold up the

  25    jury.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 156 of 366
                                                                                               156


   1               THE COURT:    Mr. Freedman, is this the April 4th, 2019?

   2               MR. FREEDMAN:      Sorry, Your Honor.                      It's the March

   3    18th, 2021 deposition.

   4               THE COURT:    All right.             Thank you.

   5               MS. MCGOVERN:      Would you like me to take a look at it?

   6               Oh, perfect.     Perfect.            Perfect.

   7               Can I see the whole page, please?

   8         (Pause in proceedings.)

   9               MS. MCGOVERN:      Your Honor, I've read the testimony.

  10    Could we have the question read back to the extent that it's

  11    being used for impeachment, Your Honor?

  12         (Question and answer read back.)

  13               MS. MCGOVERN:      Your Honor, we object as improper

  14    impeachment.

  15               THE COURT:    Sustained.

  16               Mr. Freedman, is this a good time for us to take our

  17    recess?

  18               MR. FREEDMAN:      Sure.

  19               THE COURT:    All right.             Ladies and Gentlemen, let's

  20    take a 10-minute recess.          I'll see you back here in 20 minutes.

  21         (Jury not present, 3:28 p.m.)

  22               THE COURT:    All right.             We're on a 20-minute recess.

  23         (Recess from 3:28 p.m. to 3:50 p.m.)

  24               THE COURT:    All right.             Welcome back.            Anything we

  25    need to address before we bring the jury back?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 157 of 366
                                                                                            157


   1               MR. FREEDMAN:      Not for Plaintiff, Your Honor.

   2               MS. MCGOVERN:      Not for the Defendant, Your Honor.

   3               THE COURT:    All right.             Bring the jury back in.

   4         (Before the Jury, 3:50 p.m.)

   5               THE COURT:    All right.             Welcome back, Ladies and

   6    Gentlemen.

   7               Please be seated.

   8               And we'll continue with the direct examination.

   9               MR. FREEDMAN:      Ms. Vela, can you please bring back up

  10    P464 for just the witness and opposing counsel.

  11    BY MR. FREEDMAN:

  12    Q.   Dr. Wright, we were looking at this document before we went

  13    on a break.     It's an email attaching -- you had your EA send

  14    with your draft witness statement.                     I believe before the break

  15    you said that there were no corrections to be made to it; is

  16    that correct?

  17    A.   I don't believe any have been made.                        I don't know -- I

  18    can't remember any.

  19    Q.   Okay.

  20               MR. FREEDMAN:      And, Ms. Vela, can you bring us to Page

  21    5.

  22    BY MR. FREEDMAN:

  23    Q.   Do you see, Dr. Wright, in Paragraph 13 you mention Dave

  24    Kleiman?

  25    A.   13?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 158 of 366
                                                                                   158


   1                MR. FREEDMAN:      Ms. Vela, can you highlight the last

   2    sentence there for Dr. Wright.

   3                THE WITNESS:     Yes.        I can see that.

   4                MR. FREEDMAN:      Your Honor, at this point, Plaintiff

   5    will offer P464 into evidence.

   6                MS. MCGOVERN:      No objection.

   7                THE COURT:   Admitted into evidence.

   8         (Plaintiffs' Exhibit 464 received into evidence.)

   9                MR. FREEDMAN:      Ms. Vela, can you please bring us back

  10    to the beginning of the page of the exhibit.

  11    BY MR. FREEDMAN:

  12    Q.   So, Dr. Wright, now that the jury can see the exhibit,

  13    let's go back over it quickly one more time.

  14         This is an email from yourself to Katherine Unger, who is a

  15    detective with the New South Wales Police Department.                  Do you

  16    see the @police.nsw.gov.au?

  17    A.   Yes.

  18    Q.   And it attaches -- it says -- it's called statement.

  19    A.   Yes.

  20    Q.   The statement "Wright.docx draft witness proofing."                And

  21    then you said:     "I have attached the draft for review with the

  22    attachments."

  23         Do you see that?

  24    A.   I see that.

  25                MR. FREEDMAN:      Ms. Vela, can you zoom back out,

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 159 of 366
                                                                                              159


   1    please, and bring us to the first page of the witness

   2    statement.

   3                Next page, I believe.

   4    BY MR. FREEDMAN:

   5    Q.   So this is the witness details cover page?                           We see here the

   6    witness personal details, Mr. Wright, Craig.                            There's your date

   7    of birth, your home address.              Do you see that, Dr. Wright?

   8    A.   I see all that, yes.

   9    Q.   The statement at the bottom was taken by Katherine Unger of

  10    the Hornsby Police Station.

  11         Do you see that?

  12    A.   Yes.    I've dealt with her a number of times for other

  13    things as well.

  14                MR. FREEDMAN:     Ms. Vela, can you please bring us to

  15    Page 5 of the police statement and can you call out paragraph

  16    13 Dr. Wright's statement to the police in Craig Wright Matter

  17    of Police v. Ferrier.

  18    BY MR. FREEDMAN:

  19    Q.   Dr. Wright, in Paragraph 13, you say:                            "Between March and

  20    April 2013, I had a number of communications with Mark via

  21    Skype."     Do you see that?

  22    A.   I do.

  23    Q.   Are you talking about Mark Ferrier?

  24    A.   Yes.

  25    Q.   And we saw some of those communications, right?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 160 of 366
                                                                              160


   1    A.   Yes.

   2    Q.   And you said:     "This included voice calls but was mostly by

   3    text"?

   4    A.   Primarily, there were some -- I can't remember the name of

   5    the app, but like WhatsApp but before WhatsApp.

   6    Q.   Now, you said:     "In the course of our conversations, I

   7    discussed with Mark the concept of a Bitcoin exchange by which

   8    smart contracts would be connected."

   9         Do you see that?

  10    A.   I do.

  11    Q.   Dr. Wright, can you please read for the jury the final

  12    sentence of that paragraph that you submitted to the New South

  13    Wales Police?

  14    A.   "This is the idea that I had developed with my business

  15    partner David Kleiman (David) for a period of over a decade."

  16    Q.   So, Dr. Wright, the date of this is approximately 2014,

  17    this statement, correct?

  18    A.   Yes.

  19    Q.   And so that means that in your statement to the police, you

  20    said that this is an idea, "Bitcoin exchange by which smart

  21    contracts would be connected" -- this Bitcoin concept is an

  22    idea you've developed with your business partner Dave Kleiman

  23    for a period of over a decade?

  24    A.   That's not how it represents correctly, no.

  25    Q.   And if you take ten years off of 2014, that means that you

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 161 of 366
                                                                                           161


   1    have been working on this idea with your business partner Dave

   2    Kleiman since approximately 2004?

   3    A.   No.   The building of that was with a company called

   4    DeMorgan but goes back to 1998 -- and Dave had nothing to do

   5    with.    I was building for them and then Dave joined me.

   6    Q.   Dr. Wright, Mark Ferrier and the police are not the only

   7    people that you told Dave Kleiman was your business partner to;

   8    isn't that correct?

   9    A.   That is correct.

  10    Q.   You also told your company's lawyer that Dave Kleiman was

  11    your business partner, didn't you?

  12    A.   Yes, in a variety of different contexts at times he had

  13    been.

  14               MR. FREEDMAN:      Ms. Vela, can you please bring up Page

  15    24 of the witness statements.

  16    BY MR. FREEDMAN:

  17    Q.   Dr. Wright, there is an email from Alexandra McCaughan, who

  18    was with a law firm called Clayton Utz.                         Do you see that?

  19    A.   I do see that.

  20    Q.   And she says:     "Dear, Craig, thank you for your time today.

  21    As discussed, we would be grateful if you could provide us with

  22    copies of the following."

  23         Take a look at Number 7.             Can you read for the jury what

  24    your lawyer wrote to you asking for in Number 7.

  25    A.   "Confirmation of the date that your business partner David

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 162 of 366
                                                                                         162


   1    Kleiman died and any communications with David that might refer

   2    to what you had discussed with Ferrier."

   3    Q.   Dr. Wright, isn't it true that around the same time you

   4    were telling New South Wales Police Department that Dave was

   5    your business partner, you were saying the exact same thing to

   6    the Australian Tax Office?

   7    A.   No.    They are different time frames.

   8    Q.   Just to reorient us, Dr. Wright.                     Your companies were

   9    seeking tens of millions of dollars in tax rebates from the

  10    Australian Tax Office?

  11                MS. MCGOVERN:     Objection.               Foundation.

  12                THE COURT:   Sustained.

  13    BY MR. FREEDMAN:

  14    Q.   Dr. Wright, did there come a time when you filed for tax

  15    refunds from the Australian Tax Office through your companies?

  16    A.   No.    They're not tax refunds.                They are tax credits.       After

  17    you get to $20 million in turnover, which we had more than, you

  18    don't get the money back.           You get a credit that you can use

  19    against tax.

  20    Q.   And there came a time when you remember seeking those tax

  21    credits from the Australian Tax Office?

  22    A.   Yes.    Legally, as an auditor, it was my -- I had to

  23    actually file those.      I was not allowed not to.

  24    Q.   And the amount of those credits was in excess of $10

  25    million?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 163 of 366
                                                                                          163


   1               MS. MCGOVERN:      Objection.               Foundation.

   2               Could you -- I'm having a tough time hearing the

   3    question.

   4               THE COURT:    Move your mic up a little bit,

   5    Mr. Freedman.

   6               The objection is overruled.                    I'll allow it.

   7               THE WITNESS:     The value is not that amount.                  It is an

   8    offset against other tax.           So, for instance, if I had a tax

   9    bill of $50,000, I could use an offset of $50,000 to reduce.

  10    It's the same as if you have a receipt for money spent.

  11    BY MR. FREEDMAN:

  12    Q.   Dr. Wright, in connection with those refund or credit

  13    applications, tax credits, the Australian Taxation Office

  14    opened up audits across your various Australian companies; is

  15    that correct?

  16    A.   No.   The person you brought up, Andrew Miller, is indirect

  17    taxation.    That is GST.       GST is like a sales tax, VAT.               The

  18    Australian Tax Office wanted to put 10 percent tax on every

  19    Bitcoin transaction.

  20         There's a public ruling, which I guess is equivalent to a

  21    Supreme Court ruling in America, that I brought between 2013

  22    and 2014.    That ruled that Bitcoin is basically not taxable

  23    under GST.    So the tax office were fighting that, and my

  24    company funded the whole anti-GST thing and we had it

  25    overturned.     So the tax office were pushing very, very hard to

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 164 of 366
                                                                                      164


   1    ensure that GST was applied to every Bitcoin transaction.

   2         So no, it's not an R&D thing.

   3               MR. FREEDMAN:      All right.               Ms. Vela, can you please

   4    put up P637 for the witness and opposing counsel only.

   5    BY MR. FREEDMAN:

   6    Q.   Dr. Wright, do you recognize this as a decision of the

   7    Australian Taxation Office over various tax credits and refunds

   8    that you had sought?

   9    A.   I recognize this as a submission from the GAAR panel, which

  10    is the General Anti-Avoidance Review Panel.

  11         The way that I set up Bitcoin rights was stated to be a

  12    violation of tax rules because it created a rapt entity of

  13    Bitcoin that didn't have GST, even if Bitcoin had GST, and they

  14    fought me over that.

  15    Q.   And, Dr. Wright, in this decision, the Australian Taxation

  16    Office talks about Dave Kleiman and Bitcoin?

  17    A.   I don't remember.      I don't recall.

  18               MR. FREEDMAN:      One second, Dr. Wright.

  19         (Pause in proceedings.)

  20               MR. FREEDMAN:      Your Honor, if I may have one moment.

  21    I'm sorry.

  22               THE COURT:    Certainly.

  23               MS. MCGOVERN:      Your Honor, while this is going on,

  24    would you mind terribly, lower -- thank you.

  25               THE COURT:    There we go.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 165 of 366
                                                                                           165


   1               MS. MCGOVERN:      Thank you.

   2         (Pause in proceedings.)

   3    BY MR. FREEDMAN:

   4    Q.   Dr. Wright, in the interest of time, we'll get back to this

   5    document in a minute.

   6         In the interim, as part of the -- I think we were on the

   7    same page, that at some point in time the Australian Taxation

   8    Office opened up audits across some of your companies in

   9    relation to these tax issues, correct?

  10    A.   Depends on what you consider tax issues.                         They had a number

  11    of reviews and some audits, yes.                  Some concluded and some were

  12    reopened later on.

  13    Q.   And as part of those audits, you met with the Australian

  14    Taxation Office and you gave them interviews; is that correct?

  15    A.   That's not actually correct, no.

  16    Q.   Did you have meetings with the tax office?

  17    A.   I had meetings with the tax office and what you're calling

  18    interviews, I guess.      We could call them interviews.                     That's

  19    not technically correct, but we can pretend that's the right

  20    word.

  21    Q.   And the Australian Taxation Office transcribed those

  22    interviews?

  23    A.   No, they did not.

  24    Q.   And do you recall one interview taking place on August

  25    11th, 2014?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 166 of 366
                                                                                      166


   1    A.   Not off the top of my head, no.

   2                MR. FREEDMAN:     Ms. Vela, can you please bring up P172

   3    and just show it to the witness and counsel.

   4    BY MR. FREEDMAN:

   5    Q.   Dr. Wright, does this help refresh your recollection?

   6    A.   Yes.   I remember I was in a meeting and they gave the

   7    Auscript recording, but it was rejected because it was

   8    erroneous.

   9                MR. FREEDMAN:     And, Ms. Vela, can you go to Page 41 of

  10    this document.

  11    BY MR. FREEDMAN:

  12    Q.   And, Dr. Wright, right at line 25, do you see the

  13    document -- sorry.       Not line 25.

  14                MS. MCGOVERN:     Object to the use of the document and

  15    the contents of it before it's admitted into evidence, Your

  16    Honor.

  17                MR. FREEDMAN:     I am just trying to --

  18                THE COURT:   Yes.       Just lay the foundation.

  19                Overruled at this point.

  20    BY MR. FREEDMAN:

  21    Q.   Dr. Wright, do you see at line 17 there's a reference to

  22    Dave Kleiman, and then you respond about that?

  23    A.   I can see that someone mentioned Mr. Kleiman.                    I can also

  24    tell you that this was rejected because there were errors in

  25    the document.     I can't tell you what the errors are anymore.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 167 of 366
                                                                                           167


   1    Q.   Dr. Wright, do you see at line 25 you make further

   2    characterizations of your relationship with Dave Kleiman?

   3    A.   No.    I can say what the document says, but that's not what

   4    I said.

   5                MR. FREEDMAN:     Your Honor, at this point Plaintiffs

   6    would offer P172 into evidence.

   7                MS. MCGOVERN:     Objection, Your Honor.                   Hearsay.

   8    Relevance.

   9                THE COURT:   The objection is noted.                      It's overruled.

  10    It will be admitted into evidence.

  11         (Plaintiffs' Exhibit 172 received into evidence.)

  12                MR. FREEDMAN:     Ms. Vela, can you bring us to the first

  13    page of the document, please.

  14    BY MR. FREEDMAN:

  15    Q.   Dr. Wright, do you see in the top right of this corner,

  16    it's called -- there's the Auscript label in the top right

  17    corner?

  18    A.   Yes, I do.

  19    Q.   And then the document says this is a transcript of

  20    proceedings?

  21    A.   Yes.   I can see what it says.

  22    Q.   And it's "Australian Taxation Office Record of Interview."

  23         Do you see that?

  24    A.   I can see where it says that.

  25    Q.   And the interviewer for the Australian Tax Office, his name

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 168 of 366
                                                                                    168


   1    was Greg O'Mahoney.      Do you see that?

   2    A.   Yes.

   3    Q.   And the interviewee is Craig Wright.

   4         Do you see that?

   5    A.   I do.

   6    Q.   And this interview took place at the Australian Taxation

   7    Office?     Do you see that, conducted at ATO Office?

   8    A.   I can see where it says that, but that never happened.

   9    Q.   And the date is listed as 11th of August, 2014.                  Do you see

  10    that?

  11    A.   I can see that.

  12    Q.   Dr. Wright, when you met with the Australian Tax Office --

  13    well, let me take one step back.

  14         The ATO, when I say ATO, you know I mean the Australian

  15    Taxation Office, right?

  16    A.   I do.

  17    Q.   So the ATO is an arm of the Australian government, correct?

  18    A.   They are the equivalent of the IRS over here, yes.

  19    Q.   And were you truthful with the Australian Taxation Office?

  20    A.   Yes, but this is not an interview record.

  21                MR. FREEDMAN:     Okay.         Ms. Vela, can you bring us to

  22    Page 41, please.

  23    BY MR. FREEDMAN:

  24    Q.   Dr. Wright, you see at the bottom it says Page 40 of 45.

  25    It's a 45-page transcript?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 169 of 366
                                                                                            169


   1    A.   Yes.

   2    Q.   At line 15, do you see it says:                    "Wright"?

   3    A.   Yes.

   4    Q.   And that's you talking?

   5    A.   No.    I have never been in any interview with just myself

   6    and one other person at the tax office.                         I've always had a

   7    lawyer and an accountant.           So no.          This is not a correct

   8    transcript.     And it was rejected.

   9                MR. FREEDMAN:     Ms. Vela, can you bring us to the front

  10    page of the transcript again.               And one more page over.

  11    BY MR. FREEDMAN:

  12    Q.   Dr. Wright, was your lawyer's name Andrew Sommer?

  13    A.   Yes.

  14    Q.   And do you see at the top of the line where it says:

  15    "Interviewer, Greg O'Mahoney, Andrew Sommer"?

  16    A.   Yes.

  17    Q.   So your lawyer was present at this interview, wasn't he,

  18    Dr. Wright?

  19    A.   This wasn't the interview.               It's not a correct transcript.

  20    I'm sorry.

  21                MR. FREEDMAN:     Okay.         Ms. Vela, can you take that

  22    down, please.

  23                Let's go to Page 41 again, and can we highlight again

  24    line 15 and down.

  25

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 170 of 366
                                                                                              170


   1    BY MR. FREEDMAN:

   2    Q.   And at line 15, Dr. Wright, you say:                         "I had an agreement

   3    with Dave.    We were going to transfer software into the entity

   4    we were creating here in Australia."                      And Mr. O'Mahoney says:

   5    "This is Mr. Kleiman?"        And you respond:                    "Yes.   I had set up a

   6    company.    Everything was going.               I hadn't heard from Dave in a

   7    little bit.     Next thing I find out he's dead."

   8         Do you see that?

   9    A.   I see that.

  10    Q.   And he says:    "All right."             And then you say:            "So with 90

  11    percent of it going through everything and moving everything

  12    and doing all the bits and pieces and he died."                           And Mr.

  13    O'Mahoney says:     "So you and he were negotiating for the

  14    purchase, negotiating in respect of this."

  15         Do you see that?

  16    A.   I see the document.

  17    Q.   And then, Dr. Wright, you respond:                       "We weren't

  18    negotiating.     We were partners for years, so didn't really

  19    negotiate it."

  20    A.   This document is not an accurate transcript.                         It was

  21    rejected.    The tax office had sent it through as draft.                           It was

  22    rejected by our lawyers.          The tax office never came back with

  23    another one.     So no, I did not say that.

  24    Q.   Dr. Wright, you are aware that you have not produced a

  25    single document to us in this litigation rejecting this

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 171 of 366
                                                                                           171


   1    transcript, aren't you?

   2    A.   I've told you I rejected this transcript before.                        And it is

   3    not a sealed document.

   4                MR. FREEDMAN:     Ms. Vela, you can take that down.

   5                Thank you.

   6    BY MR. FREEDMAN:

   7    Q.   Dr. Wright, I want to fast-forward 10 months.                        Let's go to

   8    May of 2015.     Okay?

   9    A.   (No verbal response.)

  10    Q.   And that's two years after Dave dies and three years before

  11    Dave's estate files this lawsuit, correct?

  12    A.   About that, yes.

  13    Q.   And in May of 2015 you were emailing someone named Michele

  14    Seven.     Do you remember that?

  15    A.   Yes.    She was trying to extort me.                     Yes.

  16    Q.   And you were telling her about Dave.                         You remember that?

  17    A.   No.    I wasn't the person doing the email.                      It was handed

  18    off to Uyen.

  19    Q.   And --

  20                MR. FREEDMAN:     Ms. Vela, can you please bring up P200.

  21    And this is just for the witness and counsel, please.

  22    BY MR. FREEDMAN:

  23    Q.   Dr. Wright, do you see the email on the bottom here?                        It's

  24    from craig.wright@hotwirepe.com.

  25    A.   I see the document.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 172 of 366
                                                                                           172


   1    Q.   It's to a michele.m7@gmail.com?

   2    A.   I can see the document, but the person sending the email

   3    was not me.     It was one of the people at my firm.

   4    Q.   And, Dr. Wright, at the bottom right corner of the document

   5    is a Bates label Defense Australia, meaning you produced this

   6    document to us?

   7    A.   Yes, but that doesn't mean it wasn't sent from one of my

   8    other staff.

   9    Q.   And do you see Dave Kleiman's name mentioned in the middle

  10    of the document?

  11    A.   I do.

  12               MR. FREEDMAN:      Your Honor, we would offer P200 into

  13    evidence.

  14               MS. MCGOVERN:      Hearsay, Your Honor.                    Objection.

  15               THE COURT:    And the basis being?

  16               MS. MCGOVERN:      He has not authenticated the document

  17    as coming from him, and it's hearsay.

  18               THE COURT:    All right.             Goes to its weight.          The

  19    objection is overruled.         It would be admitted into evidence.

  20         (Plaintiffs' Exhibit 200 received into evidence.)

  21               MR. FREEDMAN:      Can we publish this to the jury,

  22    please.

  23    BY MR. FREEDMAN:

  24    Q.   So, Dr. Wright, this is your email on the bottom?

  25    May 20th, 2015, from Craig S. Wright,

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 173 of 366
                                                                                            173


   1    craig.wright@hotwirepe.com.

   2         We've seen that email address before, correct?

   3    A.   As I said before, this is not my email.                          It's one used by

   4    the company.     It was used by my EA and other people.                       It was

   5    the CEO's email.     So multiple people used this.

   6    Q.   And you say -- the email opens up with:                          "You have watched

   7    my video on Dave."

   8         Do you see that?

   9    A.   I see the words, yes.

  10    Q.   And you say:    "In the past" -- you know, Dr. Wright, why

  11    don't you read that next sentence for the jury, up to that

  12    period.

  13               MR. FREEDMAN:      Ms. Vela, can you highlight just up to

  14    the period, please.      "In the past" until the period.

  15               Thank you.

  16    BY MR. FREEDMAN:

  17    Q.   Dr. Wright, go ahead and read what's written in your

  18    email -- your email address message to Ms. Seven for the jury,

  19    please.

  20    A.   The text states:     "In the past, David Kleiman was my best

  21    friend and business partner."

  22    Q.   "So he died a couple years ago, but as I had known him

  23    since the '90s we have many shared secrets."

  24         Do you see that?

  25    A.   I do.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 174 of 366
                                                                                             174


   1    Q.    Okay.

   2                 MR. FREEDMAN:    Ms. Vela, can you please bring up P439

   3    just for the witness and counsel.

   4    BY MR. FREEDMAN:

   5    Q.    Dr. Wright, do you recognize this as the book "Satoshi's

   6    Vision" that bears your name?

   7    A.    I do.

   8    Q.    And this book was compiled through various blog posts that

   9    you created?

  10    A.    Yes.

  11                 MR. FREEDMAN:    Ms. Vela, can you bring us to Page 6.

  12                 Can you go back to the table of contents for me.                        One

  13    moment.

  14                 I guess my page there is off.

  15                 Can you -- Your Honor, one second.                       I apologize.

  16                 THE COURT:   All right.

  17          (Pause in proceedings.)

  18                 MR. FREEDMAN:    Okay.         Ms. Vela -- thank you.

  19                 Turns out computers are better at finding words than I

  20    am.

  21                 Ms. Vela, Page 12 of this book, but just for counsel

  22    and the witness, please.

  23    BY MR. FREEDMAN:

  24    Q.    Dr. Wright, do you see about halfway down --

  25                 MR. FREEDMAN:    Ms. Vela, can you highlight the

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 175 of 366
                                                                                             175


   1    characterization of Dave Kleiman in Dr. Wright's book.

   2               Thank you.

   3    BY MR. FREEDMAN:

   4    Q.   Do you see that, Dr. Wright?

   5    A.   Yes, I do.

   6               MR. FREEDMAN:      Your Honor, we offer P439 into

   7    evidence.

   8               MS. MCGOVERN:      Your Honor, this is an article by a

   9    third party, and it's classic hearsay.

  10               THE COURT:    This is not by Dr. Wright; is that

  11    correct?

  12               MR. FREEDMAN:      It is, Your Honor.                      It's the book he

  13    published and wrote under his name.

  14               THE WITNESS:     I didn't publish it.

  15               MR. FREEDMAN:      Your Honor, the first page it says:

  16    "Satoshi" -- I mean, you can read it, Your Honor.                           But it bears

  17    his name on the very first page.

  18               THE WITNESS:     I let them use the name, yes.

  19               MR. FREEDMAN:      And I believe he just testified that

  20    it's compiled from his own blog posts.

  21               THE COURT:    The foundation has been laid.                       The

  22    objection is overruled.         It will be admitted into evidence.

  23         (Plaintiffs' Exhibit 439 received into evidence.)

  24               MR. FREEDMAN:      Ms. Vela, can you bring us back to Page

  25    1, so the jury can see the cover of Dr. Wright's book.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 176 of 366
                                                                                  176


   1    BY MR. FREEDMAN:

   2    Q.   Dr. Wright, the book is entitled "Satoshi's Vision, the Art

   3    of Bitcoin."

   4         Do you see that?

   5    A.   I do.

   6    Q.   And on the bottom it bears your name, Craig Wright?

   7    A.   It does.

   8    Q.   And have you autographed copies of this book for people?

   9    A.   Yes.    It is a compilation of many blog posts I made.           I

  10    didn't do the compilation, but I agreed the person there, Paul,

  11    could.    So the posts, to simplify this, are mine.

  12                MR. FREEDMAN:     Ms. Vela, can you bring us to the posts

  13    that appear on Page 12 of the book.

  14    BY MR. FREEDMAN:

  15    Q.   Dr. Wright --

  16                MR. FREEDMAN:     Ms. Vela, can you highlight that again,

  17    actually.

  18    BY MR. FREEDMAN:

  19    Q.   Dr. Wright, can you read the highlighted portion of your

  20    book to the jury, please.

  21    A.   Yes.

  22         "In order to fund my work, my partner Dave Kleiman and I

  23    sold code that was used in gaming out of countries such as

  24    Costa Rica."

  25         Would you like me to keep going?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 177 of 366
                                                                                        177


   1    Q.   No.   That's okay.

   2         Dr. Wright, do you remember talking to an individual named

   3    Brendan Sullivan?

   4    A.   Not really.    I could hardly hear anyone over the phone, and

   5    he purported to be a different Brendan.                         So ...

   6    Q.   And do you recall telling Brendan Sullivan that:                    Dave

   7    died.    That was the worst day for me because I lost a friend

   8    and a partner"?

   9    A.   No.   But I would have said that.                    I've said that many

  10    times.

  11    Q.   Dr. Wright, in May of 2014 you were emailing Ira Kleiman,

  12    correct?

  13    A.   I think I was still emailing him in May of 2014, yes.

  14    Q.   You were discussing Dave's involvement with Bitcoin?

  15    A.   I would have to look at what I discussed in that period.

  16    Sorry.     I don't recall.

  17               MR. FREEDMAN:      Ms. Vela, can you please bring up P167,

  18    and can you go to the --

  19    BY MR. FREEDMAN:

  20    Q.   Dr. Wright, do you recognize this as an email between

  21    yourself and Ira Kleiman?

  22               MR. FREEDMAN:      Your Honor, is this document already in

  23    evidence?    I don't recall.

  24               THE COURT:    I'm sorry?

  25               MR. FREEDMAN:      P167.

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                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 178 of 366
                                                                                          178


   1               THE COURT:    It is not in evidence.

   2               MR. FREEDMAN:      Not in evidence.

   3    BY MR. FREEDMAN:

   4    Q.   Dr. Wright, do you see this is an email between Ira Kleiman

   5    and Craig S. Wright?

   6    A.   I haven't seen the entire thing, but the front page looks

   7    familiar.

   8               MR. FREEDMAN:      Ms. Vela, can you show Dr. Wright --

   9    BY MR. FREEDMAN:

  10    Q.   It's just another version of an email we've seen,

  11    Dr. Wright, that discusses a Thanksgiving story.

  12               MR. FREEDMAN:      Ms. Vela, can you show the next page to

  13    the witness, please.

  14               And the next page.

  15               Is that the end of the document?

  16               THE WITNESS:     Like I said, I've seen the email in

  17    other emails -- the story in other emails.

  18               MR. FREEDMAN:      Your Honor, we would offer P167 into

  19    evidence.

  20               MS. MCGOVERN:      No objection, Your Honor.

  21               THE COURT:    Admitted into evidence.

  22         (Plaintiffs' Exhibit 167 received into evidence.)

  23    BY MR. FREEDMAN:

  24    Q.   So, Dr. Wright, we've seen this email before a few times

  25    through various witnesses in this case.                         This is the "We did

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 179 of 366
                                                                                            179


   1    partner" email from yourself to Ira Kleiman.

   2         Do you recall this email?

   3    A.   I see the later bit, yes.

   4    Q.   So the email starts off from Ira Kleiman at the bottom of

   5    the first page saying that he would like to share a memory he

   6    had of Dave with you.       Do you see that?

   7    A.   Yes.

   8    Q.   He says:    "I don't recall him ever saying the word Bitcoin

   9    to me, but I do" --

  10                MR. FREEDMAN:     And, Ms. Vela, can you bring up the

  11    next page.

  12    BY MR. FREEDMAN:

  13    Q.   -- "have a memory where I think he told me he was working

  14    on it," right?

  15    A.   Yes.

  16    Q.   "We were visiting at my dad's house for Thanksgiving, I

  17    think for Thanksgiving, and I believe it was the first time he

  18    met my daughter JiJi," right?

  19    A.   I saw the story, yes.

  20    Q.   And then he says:      "We started talking about how successful

  21    Facebook had become, and I asked him if he was working on

  22    anything interesting.       He told me he was making his own money.

  23    I was like:     'What?   Are you making counterfeit money?' I

  24    thought maybe he was up to something fishy.                           And then he said

  25    it was digital money, and he opened his wallet to show me

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 180 of 366
                                                                                           180


   1    something like a business card with a logo on it."

   2         Do you see that, Dr. Wright?

   3    A.   I see the story, yes.

   4    Q.   "He could not find it, so I think he just scribbled on the

   5    back of the card a 'B' with the lines through it," right?

   6    A.   Well, he couldn't have done that.                      That was done by New

   7    Liberty in February of 2010.              And later BitBoy, another person

   8    who helped me on the forum, improved it.

   9         There were three or four other people on the forum as well

  10    who worked on the logos.          It was never Dave.                  So this could not

  11    have happened.     I didn't think about it at the time, but this

  12    is fabricated.

  13    Q.   Dr. Wright, I asked you if you saw the words on the paper.

  14    Do you see that he said to you in 2014, shortly after you told

  15    him you would help him find Dave's Bitcoin, that Dave scribbled

  16    a "B" on a business card with the Bitcoin logo?

  17         Do you see that?

  18                MS. MCGOVERN:     I'm sorry.               I'm having a difficult time

  19    hearing the question, Vel.

  20                MR. FREEDMAN:     Sorry.          I'll try to speak higher.

  21    BY MR. FREEDMAN:

  22    Q.   Do you see the words on the paper:                       "But he couldn't find

  23    it so I think he just scribbled it on the back of the card, the

  24    'B' with lines through it"?

  25    A.   Yes.   I see that Ira was already fabricating things.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 181 of 366
                                                                                                181


   1    Q.   Okay.

   2               MR. FREEDMAN:      Ms. Vela, can you go down, please.

   3               Ms. Vela, can you just zoom out.

   4    BY MR. FREEDMAN:

   5    Q.   And Ira continues in his email.                    He says:        "He also said he

   6    was doing work with a rich foreign guy.                         I asked him:    'How

   7    rich is this guy?' He said something like:                            'He's not super

   8    rich, but he owns some properties.'"

   9         Do you see that, Dr. Wright?

  10    A.   I see that.

  11               MR. FREEDMAN:      Ms. Vela, can you highlight the:                     "He's

  12    not super rich, but he owns some properties."

  13               And can you put that email -- that page to the side,

  14    and let's bring up the next page which contains Dr. Wright's

  15    response.

  16               Can you zoom in on Dr. Wright's response.

  17    BY MR. FREEDMAN

  18    Q.   So Ira's sending you an email you claim is a fabricated

  19    story.    And, Dr. Wright, in response to his statement that Dave

  20    Kleiman told him he was working with a rich, foreign man who is

  21    not super rich but he owns some properties, you respond:                           "The

  22    properties were not magnificent, but I loved them.                           In total, I

  23    had a few cattle ranches and a farm up in Port Macquarie,

  24    wonderful beaches, but underdeveloped, unlike Florida.                           In

  25    total, about 550 acres."

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 182 of 366
                                                                                              182


   1         Do you see that, Dr. Wright?

   2    A.   I see that.

   3    Q.   So Ira knew about properties.

   4    A.   That was public information.

   5    Q.   The email from Ira goes on.                He says:              "I replied to him

   6    saying:     'Why don't you partner with this guy?                         With your

   7    brains and his money you guys could create the next big thing

   8    like Facebook.' Gave me a blank look and was silent, which I

   9    thought was unusual for Dave to stop talking.                            Maybe he didn't

  10    want to directly come out and say you guys were already

  11    partners."

  12         Do you see that?

  13    A.   Yes.    Bitcoin had already been running for eleven months at

  14    that stage.     So we weren't inventing anything.                         It was running.

  15    But I see it.

  16    Q.   Doesn't say inventing in the email, Dr. Wright, does it?

  17    A.   Effectively it does.

  18                MR. FREEDMAN:     Ms. Vela, can you just highlight the

  19    words:    "Maybe he didn't want to directly come out and say you

  20    guys were already partners."

  21    BY MR. FREEDMAN:

  22    Q.   Dr. Wright, in response to Ira's question:                           Maybe he didn't

  23    want to directly come out and say you guys were already

  24    partners," you respond with:              "We did partner."

  25         Do you see that?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 183 of 366
                                                                                              183


   1    A.   Yes.    After 2011, with first W&K, we set up a partnership

   2    in the way that you're saying, which was a corporate thing.

   3    Not a partnership.      And then later on with other corporations

   4    he was a director and a shareholder with me.                            That is correct.

   5    We did partner.     Not in 2009.

   6    Q.   So to understand your testimony today, is it your testimony

   7    here now, that in an email where Ira relates to you a

   8    conversation he has with his brother in 2009, years before W&K

   9    was formed, about the Bitcoin logo and creating digital

  10    currency, you respond that:             "We did partner," that something

  11    has absolutely nothing to do with the creation of Bitcoin?

  12    A.   Yes, in a provably false email, that I did not pay enough

  13    attention to.     I got catfished by that man over there, and I

  14    didn't respond very well.           Yes.

  15    Q.   And then, Dr. Wright, Ira responds to you:                           "I was

  16    wondering if you were aware of any business cards ever being

  17    printed with the Bitcoin logo on it."

  18         Do you see that?

  19    A.   Yes.

  20    Q.   "I never found any in any belongings.                            I wasn't sure if he

  21    was opening his wallet to show me a Bitcoin business card or if

  22    he just wanted to grab an existing card to draw the logo on the

  23    back of it."

  24         Do you see that?

  25    A.   I do.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 184 of 366
                                                                              184


   1    Q.    And then you respond:         "I will have to see what I can dig

   2    up.    The old Bitcoin logo we did -- the old Bitcoin logo we

   3    did -- is no longer used.           I have a copy somewhere."

   4          Do you see that, Dr. Wright?

   5    A.    Yes.   When I'm referring to "we," that was New Liberty,

   6    BitBoy, and a few other people on the forum, and that's

   7    actually public knowledge, and that was February 2010.

   8    Q.    So you start the email off with the words "we did partner,"

   9    referencing yourself and Dave Kleiman, and you finish the email

  10    using the word "we" to refer to some completely different group

  11    of people.     That's your testimony here today?

  12    A.    Now you understand why my wife and I have fights, lots of

  13    fights.

  14    Q.    Because you don't tell the truth to your wife, too?

  15                 MS. MCGOVERN:    Objection, Your Honor.

  16                 THE COURT:   Sustained.

  17    BY MR. FREEDMAN:

  18    Q.    Dr. Wright, shortly after this email to Ira Kleiman you

  19    sent another one.

  20                 MR. FREEDMAN:    Ms. Vela, can you zoom back in on the

  21    right-hand side.

  22    BY MR. FREEDMAN:

  23    Q.    You say --

  24                 MR. FREEDMAN:    Well, actually, Ms. Vela, on the

  25    left-hand side.     Can we please bring up P733.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 185 of 366
                                                                                              185


   1    BY MR. FREEDMAN:

   2    Q.   This is a version of this email that's already in evidence,

   3    Dr. Wright.     And it's got the same bottom with the Thanksgiving

   4    story.

   5    A.   Uh-huh.

   6    Q.   And Ira says to you:         "I think the logo he drew for me only

   7    had one line going through the 'B,' not two."                            And you respond

   8    with:    "Here you go.    This is the first of the first."                        And you

   9    submit a Bitcoin logo that "we did."                      Right?

  10    A.   The "we" -- yes, that was, as I said, public knowledge,

  11    people on the forum.      It's well-known.

  12    Q.   You say:    "The later version of the same."

  13         Do you see that?

  14    A.   Yes.   It was shortly after -- I think that was

  15    February 10th of 2010.

  16    Q.   And you show another one, right?

  17    A.   I believe that one was maybe March 2010.

  18    Q.   And then another one?

  19    A.   That one would also be February 2010.                            I think that was of

  20    Joseph Vaughn Perling, New Liberty.

  21    Q.   And you also attached another one, that link up at the top,

  22    18pxbitcoinsign.svg.png.

  23                MR. FREEDMAN:     Ms. Vela, show us the next page of that

  24    document.

  25

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 186 of 366
                                                                                            186


   1    BY MR. FREEDMAN:

   2    Q.   And then another one.

   3    A.   Yes.    That one was -- I think that was the April -- or

   4    April or May 2010 logo.

   5                MR. FREEDMAN:     Ms. Vela, can you back out to the

   6    previous page on the left side.

   7    BY MR. FREEDMAN:

   8    Q.   So shortly after sending this email, you followed up with

   9    another one on the right-hand side.                     Same chain.      You say:

  10    "Neither of us were graphic artists."

  11         Do you see that, Dr. Wright?

  12    A.   Yes.

  13    Q.   Also still not referring to you and Dave Kleiman?

  14    A.   No.    In this one I'm actually referring to Dave.

  15    Q.   Okay.    So then you admit that the versions of the Bitcoin

  16    logo that you sent were created by you and Dave?

  17    A.   No, I don't.    I said neither of us were graphic artists.

  18    The first Bitcoin logo was the only one that I did, which is

  19    the "BC" in a circle.       I thought it was actually quite good.

  20    If you don't mind me swearing, I'm sorry, the direct quote is:

  21    "It's complete shit."       I got told that and I changed it, or I

  22    allowed other people to change it.

  23    Q.   "Neither of us are graphic artists."                         You typed that,

  24    right, Dr. Wright?

  25    A.   I did.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 187 of 366
                                                                                      187


   1    Q.   Dr. Wright, you have spent today testifying that when you

   2    said:    "Partnership," you didn't mean partnership to mine

   3    Bitcoin, right?

   4    A.   There was never any partnership to mine Bitcoin.                    Bitcoin

   5    in the early days, it was basically a unilateral contract where

   6    anyone would come to support the network, and the cost of

   7    mining was ridiculously high.               This is part of my original tax

   8    problem.    Lots of money, no value.

   9    Q.   Dr. Wright, all I asked was:                 You have spent the day

  10    testifying that you did not partner with Dave Kleiman to mine

  11    Bitcoin, correct?

  12    A.   That's correct.

  13    Q.   Well, let's look at what you said about Dave's mining

  14    before the estate filed its lawsuit against you.                      Okay?

  15               MR. FREEDMAN:      Ms. Vela, can you please bring up P149.

  16    BY MR. FREEDMAN:

  17    Q.   Dr. Wright, do you recognize this as an email from yourself

  18    to John Chesher, your accountant, Andrew Sommer, your lawyer,

  19    and Ramona Watts, your wife?

  20    A.   I recognize it, yes.

  21    Q.   And it mentions Dave Kleiman.

  22    A.   (No verbal response.)

  23    Q.   Multiple times.

  24    A.   I'd have to look at the person below because one of the

  25    company directors was Dave.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 188 of 366
                                                                                188


   1         Can I have a look?

   2    Q.   Sure.

   3         You see the email below, dave@davekleiman.com?

   4    A.   I do, yes.

   5                MR. FREEDMAN:     Your Honor, at this time Plaintiffs

   6    offer P149 into evidence.

   7                MS. MCGOVERN:     No objection, Your Honor.

   8                THE COURT:   Admitted into evidence.

   9         (Plaintiffs' Exhibit 149 received into evidence.)

  10                MR. FREEDMAN:     Your Honor -- sorry.

  11                Thank you.

  12                THE COURT:   You may publish.

  13                MR. FREEDMAN:     Thank you.

  14    BY MR. FREEDMAN:

  15    Q.   Dr. Wright, the email below from dave@davekleiman.com --

  16    A.   Yes.

  17    Q.   -- we're going to have Dr. Edman talk about that later.             I

  18    want to focus on the email at the top.

  19         Before I get there, is that an authentic email from Dave

  20    Kleiman?

  21    A.   I don't know.

  22                MR. FREEDMAN:     Okay.         Ms. Vela, can you zoom into the

  23    top -- the top email there.

  24    BY MR. FREEDMAN:

  25    Q.   Dr. Wright, now that the jury's looking at this email, I

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 189 of 366
                                                                                        189


   1    want to go through it again.

   2         This is an email from yourself to John Chesher, who was an

   3    accountant at your companies, right?

   4    A.   He was the CFO.

   5    Q.   Okay.   CFO of your companies, right?

   6    A.   (No verbal response.)

   7    Q.   And Andrew Sommer was your lawyer, right?

   8    A.   He was one of the lawyers, yes.

   9    Q.   And Ramona Watts, your wife?

  10    A.   She was also a director and CPO.

  11    Q.   And your wife?

  12    A.   That, too, yes.

  13    Q.   And these are all people you trust, Dr. Wright, correct?

  14    A.   Definitely Ramona.       The others have varied over time.

  15    Q.   Dr. Wright, in this email you write in the third paragraph:

  16    "The main thing here is that Dave mined all of this outside

  17    Australia."

  18         Do you see that?

  19    A.   I do.

  20    Q.   And then, Dr. Wright, can you read the last line of your

  21    email to Ms. Watts to the jury, please.

  22    A.   Yes.

  23         "I was not doing" -- I'm sorry.                    "I was not the person

  24    doing the mining.      Dave was."

  25    Q.   You say:    "I was not the person doing the mining.                 Dave

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 190 of 366
                                                                                               190


   1    was.   Regards, Craig."

   2    A.   That's what this says, yes.

   3    Q.   Dr. Wright, you also told Mark Ferrier that Dave was doing

   4    the mining, didn't you?

   5    A.   Yes.    In reference to Testnet, that's correct.

   6    Q.   And just to reorient us, Mark Ferrier, we discussed him

   7    earlier.     He's the Australian gentleman you filed the police

   8    report against, right?

   9    A.   Yes.

  10                MR. FREEDMAN:     Ms. Vela, can you please bring up P464.

  11    It's already in evidence.

  12                And let's go to Page 5 -- sorry.                          Not Page 5.   Let's

  13    go to Page 32.

  14    BY MR. FREEDMAN:

  15    Q.   Dr. Wright, to your police statement to the New South Wales

  16    Police, you attached an email chain between you and Mark

  17    Ferrier, did you not?

  18    A.   I don't remember but could have.

  19    Q.   See it on your screen?

  20    A.   I see it, but as I said, my EA attached all of these

  21    things.     So I'm assuming this is the correct one.

  22                MR. FREEDMAN:     Ms. Vela, can you go to the next page,

  23    please.

  24    BY MR. FREEDMAN:

  25    Q.   So this is the first email in the chain, Dr. Wright, and

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 191 of 366
                                                                                    191


   1    it's entitled "Beer and Congrats."                     It's from

   2    markferrier@hotmail.com to craig@rcjbr.org.

   3    A.   Yes.

   4    Q.   And he says to you that:             "I have a great feeling about

   5    this.    We are going to have a long and profitable friendship."

   6         Do you see that?

   7    A.   Unfortunately, yes.

   8                MR. FREEDMAN:     And, Ms. Vela, can we go up to

   9    Dr. Wright's response.        Just call that out so we don't have to

  10    zoom in and out.

  11    BY MR. FREEDMAN:

  12    Q.   And --

  13                MR. FREEDMAN:     Can you leave it at the bottom,

  14    actually, Ms. Vela.

  15    BY MR. FREEDMAN:

  16    Q.   In response to Mark Ferrier's email, Dr. Wright, you say:

  17    "I will start to send the addresses and get you the private

  18    keys."

  19         Do you see that?

  20    A.   I do.

  21    Q.   And you say, very reasonably:                  "I hope you understand that

  22    with this value transaction I need to see the code before I

  23    release everything."      Right?

  24    A.   Yes.    It was an escrowed transaction.

  25    Q.   Okay.    And then --

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 192 of 366
                                                                                          192


   1                MR. FREEDMAN:     Ms. Vela, can you bring up the next

   2    email from Mark Ferrier.

   3    BY MR. FREEDMAN:

   4    Q.   So you say:    "I'll send you the private keys, but I need to

   5    see the source code."       And Mark Ferrier asks you:                   "Craig, so

   6    tell me where did you get this stuff?"                        Right?   "Tell me where

   7    you got this stuff," right?

   8    A.   Yes.

   9    Q.   All right.

  10                MR. FREEDMAN:     Ms. Vela, can you leave the question

  11    from -- I guess can you minimize the two callouts and let's

  12    bring out the next page of the email side by side so we can

  13    continue to follow the thread.

  14                MS. MCGOVERN:     Could you please confirm the exhibit

  15    number because we might have a confusion.

  16                MR. FREEDMAN:     464.

  17                MS. MCGOVERN:     Plaintiffs' 464.

  18                MR. FREEDMAN:     P464.

  19                MS. MCGOVERN:     Yes.        I think we have a difference in

  20    exhibit numbers, Mr. Freedman.

  21                MR. FREEDMAN:     Okay.         Can you take that down, please,

  22    Ms. Vela, while we sort out the issue.

  23                THE COURT:   Let me know when we're on the same page.

  24                Plaintiffs' 464 is in evidence.

  25         (Pause in proceedings.)

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 193 of 366
                                                                                          193


   1               MS. MCGOVERN:      Okay.         Got it.

   2               Yes.    We're good.

   3               MR. FREEDMAN:      Okay.         Ms. Vela, can you please bring

   4    it up.    We're now all on the same page.

   5    BY MR. FREEDMAN:

   6    Q.   So, Dr. Wright, let's just catch back up.

   7         Mark Ferrier says:       "I have a great feeling about this.

   8    We're going to have a long and profitable relationship."                      You

   9    say to him:     "I'll send you Bitcoin addresses and the Bitcoin

  10    private keys."

  11               MR. BRENNER:     It's not published to the jury.

  12               MR. FREEDMAN:      Oh, sorry.               Ms. Vela, can we -- there

  13    we go.

  14               Okay.   Try again.

  15    BY MR. FREEDMAN:

  16    Q.   Mark Ferrier says:       "I have a great feeling about it."                  You

  17    say to him:     "I will send you the Bitcoin addresses and the

  18    private keys."

  19         That's how you control Bitcoin, right, Dr. Wright?                     You

  20    send Bitcoin with the private keys?

  21    A.   That's one methodology, but it's not exclusive.                     I don't

  22    want to try and confuse people by going into all the different

  23    ways.

  24    Q.   Then in response, Mark Ferrier says to you:                      "Tell me where

  25    you got this from," this Bitcoin from?

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 194 of 366
                                                                                               194


   1    A.   Uh-huh.

   2    Q.   And Dr. Wright, on the next page --

   3               MR. FREEDMAN:      Ms. Vela, can you call that out.

   4    BY MR. FREEDMAN:

   5    Q.   You say to Mark Ferrier -- in response to:                         "Where did I

   6    get this from," you say:          "I have a trust overseas.                  I moved it

   7    and the mining process to Dave Kleiman when I had a few issues

   8    with the tax people."

   9    A.   I have to apologize for my lack of clarity here.                         There are

  10    two different things, and I don't consider them the same.

  11         There is something in Bitcoin called Testnet.                         When I was

  12    running those large computers, we were testing scaling.                          Over

  13    Testnet, you have what is like Bitcoin but it gets reset every

  14    month or so.     So the Bitcoin all disappear.                        I wasn't doing

  15    that to earn Bitcoin.       It was to test the scaling of Bitcoin to

  16    have millions of transactions a second.

  17         So when I talk about the mining process, I'm talking about

  18    CO1N, the supercomputer, the running of the computer system to

  19    test scaling.

  20    Q.   Can you pay with Bitcoin mining from Testnet, Dr. Wright?

  21    A.   There was a very short period where someone tried to set

  22    that up to do it, but luckily Gavin reset everything and

  23    started a wiping process to make sure that never happened.

  24    Q.   So Mark Ferrier -- you were saying you were going to pay

  25    Mark Ferrier with Bitcoin.            He says where you got it from.                   You

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 195 of 366
                                                                                        195


   1    say:    "I moved the mining process to Dave Kleiman."                   Correct?

   2    A.   No.    Where I got all the things I was doing.                   We were

   3    talking to Mr. Ferrier about scaler software, banking software,

   4    exchange software.      Where was I running the system to do this?

   5    That's what I'm talking about.

   6    Q.   Dr. Wright, your email says:                 "I moved it and the mining

   7    process to Dave Kleiman."

   8         Do you see that?

   9    A.   I do.

  10    Q.   It doesn't say you moved the software, processes and stuff

  11    to Dave Kleiman.     It says:         "I moved the mining process to Dave

  12    Kleiman."

  13    A.   Yes.    The only mining that is not-known is Testnet.                  I

  14    don't know if it's been explained adequately to the jury.                       But

  15    every single Bitcoin I've mined is public, and every one's

  16    known.     There's no secret mining.

  17         Every single -- actually, I lie.                     I'm not trying to be --

  18    99.98 percent of all mined Bitcoin from January 2011 on are

  19    known.     The owners are known.            The mining pools are known.

  20    There is no secret Bitcoin mining apart from that little .02

  21    percent.

  22         So when I say this, every single one of those is trackable.

  23    If you had asked Mr. Antonopoulos, he would have explained

  24    that.    They're all publicly known.                   So the only not-known ones

  25    are Testnet, and I was building on Testnet.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 196 of 366
                                                                                               196


   1    Q.   Dr. Wright, you're looking to pay with Bitcoin and you say:

   2    "The mining process to Dave Kleiman."

   3         Is that at least accurate?

   4    A.   No.   The payment was to purchase Bitcoin, that I purchased

   5    in 2011.    As I again said, if you look at all of the public

   6    record -- see, the blockchain is an immutable ledger that is

   7    public.    Everyone in the world can look at it.                         So when you

   8    look at those addresses, you can actually see when they're

   9    purchased.    So if Mr. Freedman here wanted, he could bring this

  10    up and say:     "This Bitcoin was purchased on March 2011," and he

  11    could match it up with all of the account purchases that I did.

  12         So there is no mined Bitcoin at that stage.                          They were

  13    mined earlier and put into other accounts.                            All of that is

  14    public record.     When I designed Bitcoin, I was working in an

  15    audit firm and I wanted something that was publicly auditable.

  16    That is absolutely the fundamental aspect of my invention.                             So

  17    no, that is incorrect, and provably easily so.

  18    Q.   All right.    We'll see if you prove it, Dr. Wright.

  19               MR. FREEDMAN:      Can we go to the top email, Ms. Vela.

  20    BY MR. FREEDMAN:

  21    Q.   Dr. Wright, you have some back-and-forth with Mr. Ferrier

  22    and then you send him another email, and in this one you say:

  23    "If this works, we all win."

  24               MR. FREEDMAN:      Ms. Vela, can you highlight the next

  25    sentence.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 197 of 366
                                                                                      197


   1    BY MR. FREEDMAN:

   2    Q.   "I had Dave mine the Bitcoin overseas and all it has cost

   3    is sunk."

   4         Do you see that, Dr. Wright?

   5    A.   Yes, I do.

   6    Q.   And then in the next sentence --

   7                MR. FREEDMAN:     Ms. Vela, can you highlight.

   8    BY MR. FREEDMAN:

   9    Q.   -- "I have never touched the Bitcoin we created in the

  10    overseas trust."

  11         Do you see that, Dr. Wright?

  12    A.   Yes.

  13    Q.   Dr. Wright, your statements to Mark Ferrier align with your

  14    statements to the Australian Tax Office, don't they?

  15    A.   Those are not my statements to the tax office.                   I said that

  16    before.     That's why that document was rejected by the tax

  17    office.

  18                MR. FREEDMAN:     Ms. Vela, can you please bring up --

  19    BY MR. FREEDMAN

  20    Q.   I'm sorry.    Dr. Wright, have you produced --

  21                MS. MCGOVERN:     I'm sorry.               I cannot hear the question.

  22    BY MR. FREEDMAN:

  23    Q.   Let me rephrase the question.

  24         Actually, Dr. Wright, you have not produced a single

  25    document in this litigation demonstrating that the Australian

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 198 of 366
                                                                                       198


   1    Taxation Office rejected those transcripts; isn't that correct?

   2    A.   No.

   3    Q.   And isn't it correct, Dr. Wright, in fact, there are

   4    documents in this litigation where you did correct certain

   5    words that the tax office got wrong, like cords to course?

   6               MS. MCGOVERN:      Objection.               Foundation.

   7               THE COURT:    Overruled.             I'll allow it.

   8         (Court reporter interruption.)

   9               THE WITNESS:     I said:           "I corrected some parts and

  10    then did not continue."

  11    BY MR. FREEDMAN:

  12    Q.   But there is no email or any document from the Australian

  13    Taxation Office rejecting these transcripts; isn't that

  14    correct?

  15    A.   There doesn't need to be.              Because without the seal, it's

  16    not a valid document.       It's like what you're saying with the

  17    court document.     If no one seals the court document, it's a

  18    piece of paper.     This is an invalid piece of paper.

  19    Q.   And, Dr. Wright, there isn't a single document you've

  20    produced from yourself rejecting the Australian Taxation Office

  21    transcripts; isn't that correct?

  22    A.   You have to accept the document.                     I haven't accepted it.

  23    If I don't accept it and they don't, it's not a valid document.

  24               MR. FREEDMAN:      Ms. Vela, can you please bring up P189

  25    and show it to the witness and counsel only, please.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 199 of 366
                                                                              199


   1    BY MR. FREEDMAN:

   2    Q.   Dr. Wright, do you recognize this as an email between

   3    yourself and Michael Hardy at the Australian Tax Office?

   4    A.   I recognize it as an email that I forwarded later to my

   5    wife of the original email, but for all purposes, yes.

   6    Q.   So, Dr. Wright, just to refresh where we were a moment ago,

   7    we just looked at various emails between you and Mark Ferrier

   8    saying you had Dave mine the Bitcoin, correct?

   9    A.   Again, that's not what I just said.

  10    Q.   And now we have an email from you to the Australian

  11    Taxation Office on January 27th, 2014 --

  12               MR. FREEDMAN:      Ms. Vela, can you please highlight the

  13    first sentence of the second paragraph.

  14               Oh, and let's actually publish this to the jury, Your

  15    Honor.    Sorry.

  16    BY MR. FREEDMAN:

  17    Q.   Dr. Wright --

  18               MS. MCGOVERN:      I don't believe it's been admitted into

  19    evidence.     Has it?

  20               THE COURT:    No, it has not.

  21    BY MR. FREEDMAN:

  22    Q.   Dr. Wright, do you see where it says Bitcoin and where

  23    Bitcoin was mined, in the third paragraph?

  24    A.   I see:   "Mined in the U.S. for a foreign trust."

  25               MR. FREEDMAN:      Your Honor, we offer P189 into

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 200 of 366
                                                                                       200


   1    evidence.

   2               MS. MCGOVERN:      I'm sorry.               I'm having a really tough

   3    time hearing you, Mr. Freedman.                 If you could just stay by the

   4    microphone.

   5               We object on hearsay and relevance grounds, Your

   6    Honor.

   7               THE COURT:    The objection is overruled.                  I'll allow

   8    it.    Admitted into evidence 189.

   9          (Plaintiffs' Exhibit 189 received into evidence.)

  10               MR. FREEDMAN:      Can we publish that, please, to the

  11    jury.

  12               THE COURT:    You may.

  13    BY MR. FREEDMAN:

  14    Q.    Dr. Wright, we're looking at an email from yourself to

  15    Michael Hardy of the Australian Taxation Office, and in the

  16    third paragraph down you say:               "The Bitcoin I control was mined

  17    in the U.S."

  18          Do you see that?

  19    A.    I do.

  20    Q.    Dr. Wright, between 2009 and the date of this email in

  21    2014, you lived in Australia, didn't you?

  22    A.    I did.

  23    Q.    And between 2009 and the date of this email, Dave Kleiman

  24    lived, until he passed, in the United States, did he not?

  25    A.    He did.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 201 of 366
                                                                                          201


   1    Q.   Dr. Wright, the Australian Taxation Office are not the only

   2    people that you told this to; isn't that correct?

   3    A.   I didn't send this email to anyone else.

   4    Q.   That's true.

   5               MR. FREEDMAN:      Ms. Vela, can you please bring up P122,

   6    which is already in evidence.

   7               MS. MCGOVERN:      Your Honor, I believe this email

   8    encapsulated P218, which was a stand-over objection.

   9               THE COURT:    All right.             Let me look at 122.

  10               MR. FREEDMAN:      P122.

  11               MS. MCGOVERN:      I believe.               I believe.

  12               THE COURT:    122 is admitted into evidence.

  13               MS. MCGOVERN:      Thank you.

  14               MR. FREEDMAN:      Okay.         And, Ms. Vela, can you bring us

  15    to Page 4, and can you zoom in on Dr. Wright's email.

  16    BY MR. FREEDMAN:

  17    Q.   Dr. Wright, we've seen this email before.                        It's an email

  18    from yourself to Carter Conrad and Patrick Paige.                        Both friends

  19    of Dave Kleiman.     Correct?

  20    A.   They are both friends of Dave Kleiman, yes.

  21    Q.   And we heard from Patrick Paige earlier in these

  22    proceedings, did we not?

  23    A.   We have heard from Patrick Paige, yes.

  24    Q.   And just to remind you, Dr. Wright, we just looked at an

  25    email from you to the Australian Taxation Office saying:                        "The

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 202 of 366
                                                                                             202


   1    Bitcoin I control was mined in the U.S.," right?

   2    A.   That's a separate thing, but yes.

   3    Q.   Now, Dr. Wright, you write to Patrick Paige and Carter

   4    Conrad.     You say:    "Dave and I had a project in the U.S." --

   5    A.   Yes.   In 2012 on --

   6    Q.   Dr. Wright, I haven't finished the question.                          If you could

   7    just let me --

   8                MS. MCGOVERN:      If you could please let Dr. Wright

   9    finish his statement before you ask the next question.

  10                THE COURT:    Have you finished your answer?

  11                Why don't you just ask the full question and then

  12    we'll get the full answer.

  13                MR. FREEDMAN:      Sure.

  14    BY MR. FREEDMAN:

  15    Q.   Dr. Wright, it says:          "Dave and I had a project in the U.S.

  16    He ran it there.       We kept what we did secret."

  17         Do you see that?

  18    A.   Yes.    We had a project called CO1N, where I developed one

  19    of the largest supercomputers in the world.                            It made it to the

  20    top 20 list.     And I didn't want people knowing that I was doing

  21    that.    That was in 2012.

  22    Q.   And the very next sentence, Dr. Wright, says:                          "The company

  23    he ran there mined Bitcoin."

  24    A.   Yes.    It was running a Testnet version of that.                        I have a

  25    published paper on it.         We tested Bitcoin running in my company

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 203 of 366
                                                                                            203


   1    up to 340 gigabytes, which was around 1 million transactions a

   2    second.    The rate would enable that to be run at over a ten

   3    thousandth of a cent per transaction, enabling global commerce

   4    for people in the third world for a lot cheaper than it is now.

   5    Yes.

   6    Q.   And then you say in the next paragraph:                          "The amount Dave

   7    Kleiman mined is far too large to email"?

   8    A.   That was my belief at the time.                    That's a separate

   9    statement, separate paragraph.                When you start a separate

  10    paragraph, it's a separate statement.

  11         Now, I was led by Dave to believe that between when I told

  12    him to start mining and when I stopped mining, he was.                          I don't

  13    know whether he did or not.             If he did, it would be large.

  14    Q.   So it's your testimony here today that the first, second,

  15    and third paragraphs are all related but the third and fourth

  16    paragraphs, completely unrelated, right?

  17    A.   That's not what I said.

  18    Q.   Okay.   Dr. Wright, two years later you forward this exact

  19    same email to your wife, Ramona Watts, don't you?

  20    A.   I don't know.     Possibly.

  21               MR. FREEDMAN:      Ms. Vela, can you please bring up P305.

  22               And, Ms. Vela, can you zoom in on that so we can all

  23    read it clearly, and this is just being shown so -- sorry.

  24    It's not admitted into evidence.                  Thank you.          Just show it to

  25    counsel and the witness, please.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 204 of 366
                                                                                            204


   1    BY MR. FREEDMAN:

   2    Q.   Dr. Wright, do you recognize the email we saw -- on the

   3    bottom is the email we were just looking at a moment ago,

   4    right?

   5    A.   Yes.

   6    Q.   And the email on top is an email from yourself to a few

   7    individuals, including Ramona Watts, your wife?

   8    A.   Yes.

   9    Q.   And you comment on the email below, including talking about

  10    mining.     Do you see that?

  11    A.   Yes.

  12                MR. FREEDMAN:     Your Honor, Plaintiffs would offer P305

  13    into evidence.

  14                MS. MCGOVERN:     No objection.

  15                THE COURT:   Admitted into evidence.

  16         (Plaintiffs' Exhibit 305 received into evidence.)

  17    BY MR. FREEDMAN:

  18    Q.   So, Dr. Wright, now the jury sees the email.                     We've seen

  19    the email we were just looking at a moment ago where you said:

  20    "Dave and I had a project in the U.S.                       He ran it there.   We

  21    kept what we did secret.          The company he ran there mined

  22    Bitcoin."    That's February 12th, 2014.

  23         Do you see that?

  24    A.   I see that.

  25    Q.   And now we're looking at an email from yourself to

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 205 of 366
                                                                                           205


   1    Ms. Watts and a few others on December 8th, 2015.                         Just almost

   2    two years later.     Right?

   3    A.   I see that.

   4    Q.   And you say:    "The email to Patrick is attached below."

   5         Do you see that?

   6    A.   I do.

   7    Q.   You say:    "I said we mined."

   8         Do you see that?

   9    A.   Yes.

  10    Q.   "Not that I was Satoshi Nakamoto, SN to Patrick."

  11         Do you see that?

  12    A.   Yes.    And to continue what I was saying before, as I said,

  13    we mined on Testnet.      That is published.                      The information is

  14    available publicly.

  15    Q.   So it is your testimony here today that all your comments

  16    about Dave mining Bitcoin were about a worthless Bitcoin, the

  17    Testnet version of Bitcoin?

  18    A.   It's not worthless.        It gained information.                  Information

  19    has value.

  20    Q.   Okay.    Is it worth $35 billion?

  21    A.   No.

  22                MR. FREEDMAN:     Ms. Vela, you can take that down,

  23    please.

  24    BY MR. FREEDMAN:

  25    Q.   Dr. Wright, let's take a look at some other pre-litigation

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 206 of 366
                                                                                               206


   1    statements you made about Dave mining.                        Okay?

   2    A.   Uh-huh.

   3    Q.   John Chesher worked for you from about 2008 to 2015.

   4    A.   2008 around -- it could have been -- I don't remember when

   5    I closed Ridges Estate.         He was with me from when I closed a

   6    company called Ridges Estate, which was before -- it could have

   7    been 2007.     So it's a long time ago.                   I'm just trying to

   8    remember the exact date.          '7 or '8.             Yes.

   9    Q.   And some of what you did was help the Australian Tax Office

  10    investigation -- some of what he did, John Chesher did, was

  11    help handle the Australian Tax Office investigations of your

  12    Australian companies, correct?

  13    A.   Again, I wouldn't put that correctly the way that you're

  14    saying it.     He was -- it depends on what time frame you're

  15    talking about, depends on what role he had.                           So I can't

  16    accurately answer that one without further information.                            Sorry.

  17    Q.   Did John Chesher handle the Australian Tax Office

  18    investigations for you or your companies' behalf?

  19    A.   That wasn't his role.

  20         And when are you talking about?

  21    Q.   Did he ever do some of that?

  22    A.   John was a CFO of a company from 2013.                           After we fired

  23    Jaime, John was brought back in.                  He was also involved with my

  24    companies before 2011.        And some in the other period.                     Not all.

  25         So it depends on what you're talking about.                          If you don't

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 207 of 366
                                                                                         207


   1    give me more context, I can't answer that question.                       I'm sorry.

   2    Q.   I'm just asking whether or not John Chesher handled the

   3    Australian Tax Office investigations for you or your companies'

   4    behalf at any time.

   5    A.   If that's the exact wording, then the answer would have to

   6    be no.

   7               MR. FREEDMAN:      Counsel, I'm going through the

   8    deposition of Dr. Wright on April 4th, 2019, Page 104, lines 22

   9    to 25.

  10               Please don't play it.              Sorry.          Wait for Ms. McGovern

  11    to take a look at the --

  12               MS. MCGOVERN:      Mr. Freedman, what is the citation?

  13               MR. FREEDMAN:      It is 104, 22 to 25.

  14               MS. MCGOVERN:      Okay.         Thanks.

  15         (Pause in proceedings.)

  16               MS. MCGOVERN:      No objection.

  17               MR. FREEDMAN:      Can you play the clip then, please,

  18    Ms. Vela.

  19         (Video played.)

  20    BY MR. FREEDMAN:

  21    Q.   And just before we pressed play, I asked you if there was

  22    any point in time when John Chesher handled the Australian Tax

  23    Office investigation for you or your clients' [sic] behalf, and

  24    you said no.

  25    A.   No, that's not what you said.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 208 of 366
                                                                                           208


   1    Q.   Okay.    Would you like to change your answer, Dr. Wright?

   2    Was there any time when John Chesher handled the Australian Tax

   3    Office investigation for you or your companies' behalf?

   4               MS. MCGOVERN:      Objection.               Misstates his testimony.

   5    He --

   6               THE COURT:    Overruled.

   7               THE WITNESS:     The way that you're saying it now -- I

   8    said the exact phrasing you said was incorrect.                       The second

   9    phrasing is correct.

  10    BY MR. FREEDMAN:

  11    Q.   Why don't you tell the jury what is correct so we're all on

  12    the same page.

  13    A.   In 2009 there was an investigation into GST over Bitcoin.

  14    In 2009, the companies' Information Defense and Integyrs had

  15    John Chesher as the accountant.                 During that time John

  16    represented me in the Australian Tax Office.

  17         I had claimed Bitcoin in June 2009 as an asset.                     The tax

  18    office said there is no value to this thing called Bitcoin; it

  19    is a hobby.     I claimed expenses of $2.2 million in setting up

  20    Bitcoin.     The tax office said it is a sham because this stuff

  21    will be never worth anything.               John represented me.         We ended

  22    up going to court.      In 2013, I finally got a judgment in our

  23    favor.    That's why John wasn't my CFO, because he was working

  24    on my tax affairs.

  25         John was then taken back as CFO after we fired Jamie, in

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 209 of 366
                                                                                                209


   1    end of October.     I don't remember the exact date.                        I'm sorry.

   2    Towards the end.     He then headed up as CFO of Hotwire.                        He

   3    handled the tax filings with the accountants.                           He acted then on

   4    behalf of the corporation and then also did other things in

   5    behalf of myself.      That would be a more accurate

   6    representation.

   7    Q.   Okay.   And, Dr. Wright, your statement that the Bitcoin you

   8    controlled was mined in the United States by Dave Kleiman lines

   9    up with what John Chesher told the Australian Tax Office on

  10    your behalf in 2014, does it not?

  11    A.   No.   It does not the way you're saying it.

  12         You're again confusing what everyone confuses, the

  13    difference between very large computers that -- one very large

  14    supercomputer, as you say, won't mine Bitcoin.                           It will be the

  15    equivalent of a $10,000 ASIC machine, even though it costs $20

  16    million.     John is an accountant.               He also wouldn't know the

  17    difference.     So that would be my answer.

  18               MR. FREEDMAN:      Ms. Vela, can you please put up for the

  19    witness and counsel P127.

  20               THE COURT:    Mr. Freedman, just let me know when it

  21    might be a good time for us to adjourn for the evening.

  22               MR. FREEDMAN:      We can stop here, Your Honor, and I'll

  23    just do a very, very quick refresh when we start to --

  24               THE COURT:    All right.             Certainly.

  25               Ladies and Gentlemen, it is 5:00.                          We are going to

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 210 of 366
                                                                                              210


   1    adjourn for the evening.

   2               Thank you for being so prompt this morning.                         I would

   3    ask that you again be here at 9:45 so we're ready to come into

   4    the courtroom at 10:00.

   5               Please remember you're not to discuss the case with

   6    anyone or permit anyone to speak with you.                            Everything learned

   7    about this case is learned within the courtroom.                           You're not to

   8    conduct any independent research.

   9               Have a pleasant evening.                 I'll see you tomorrow

  10    morning at 9:45.

  11         (Jury not present, 5:01 p.m.)

  12               THE COURT:    Dr. Wright, you may join your attorneys at

  13    counsel table.

  14               Go ahead and have a seat.

  15               All right.    Let us proceed to the dispute with regard

  16    to the exhibits that were referenced in the video depositions.

  17               MR. BRENNER:     Judge, could I just have one minute to

  18    grab my notes?

  19               THE COURT:    Certainly.

  20         (Pause in proceedings.)

  21               THE COURT:    Do the attorneys need to take a comfort

  22    break or are we ready to continue?

  23               MS. MCGOVERN:      I can continue, Your Honor.

  24               MR. BRENNER:     Oh, no.           Judge, I'm fine.             I'm just

  25    grabbing my notes, though.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 211 of 366
                                                                                      211


   1               THE COURT:    All right.

   2         (Pause in proceedings.)

   3               MR. BRENNER:     Thank you.

   4               MS. MCGOVERN:      Do you want to start just with your

   5    list so that we go exactly as you've given it to the Court?

   6               MR. BRENNER:     Sure, Judge.                The list that I tendered

   7    to Court staff this morning has the section titled "Continuing

   8    Dispute".    Your Honor, if it works for you, we can just go down

   9    the order starting by witness.

  10               THE COURT:    We'll start with Wilson and we'll move to

  11    Watts.

  12               MR. BRENNER:     Do you have the physical copies of the

  13    exhibits?

  14               THE COURT:    I have.

  15               MR. BRENNER:     You have it on the screen?

  16               THE COURT:    No.      I only have the transcript.

  17               MR. BRENNER:     Okay.         I have hard copies of the

  18    documents or we can pull them up as we go through.

  19               THE COURT:    Well, I'm referencing the documents

  20    through the transcript.         So I'm going through each of them as

  21    you're going to make argument.

  22               MR. BRENNER:     Okay.         Okay.

  23               MS. MCGOVERN:      Would you like me to state our

  24    objections or do you want to --

  25               THE COURT:    Yes.       I don't have a legal basis for any

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 212 of 366
                                                                                           212


   1    of these objections.      So why don't you give me the legal basis

   2    and then, as you're the proponent, Mr. Brenner, you can proceed

   3    with argument.

   4               MR. BRENNER:     Okay.         Thank you.

   5               MS. MCGOVERN:      With respect to Exhibit 62, which is

   6    Plaintiffs' 62, for Jamie Wilson we've objected on hearsay,

   7    authentication.     During the testimony of Mr. Wilson, played by

   8    videotape, he stated that he had never seen the document

   9    before.    It's a contract for the sale of shares between Dave

  10    Kleiman, Dr. Wright, W&K, dated April 2nd, 2013.                       Our

  11    objections are hearsay and authentication through this witness.

  12               MR. BRENNER:     Your Honor, the exhibit is -- the cover

  13    page is an email from Dr. Wright to his -- first he sends it to

  14    himself.    Then he sends it to his wife, Ms. Watts, and Stefan

  15    Matthews.    He attaches an exhibit that's in evidence.                      There's

  16    really nothing -- the whole back of that, starting at the ATO

  17    letter -- I don't have the exhibit number in front of me -- but

  18    it's the April 15th, 2014 letter from the ATO to Ira Kleiman.

  19               THE COURT:    I understand, but as to this witness, how

  20    has he laid the proper foundation for the admission of this

  21    contract?

  22               MR. BRENNER:     Your Honor, well, the contract's in.

  23    I'll withdraw this particular exhibit.                        It doesn't matter.

  24               THE COURT:    All right.             The objection is sustained

  25    with regard to P62.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 213 of 366
                                                                                           213


   1               Now we will move to 76.

   2               MS. MCGOVERN:      Your Honor, we object.                  This is an

   3    email from Dr. Wright to Ramona Watts.                        We've objected on

   4    relevance and unduly prejudicial, Your Honor.

   5               MR. BRENNER:     That was P76.                 I don't have my notebook,

   6    but an email from Dr. Wright --

   7               THE COURT:    To Ramona Watts dated July 2nd, 2013.

   8               MS. MCGOVERN:      Again, Your Honor, our objection is

   9    with respect to this email coming through Jamie Wilson in the

  10    videotaped deposition.

  11               MR. BRENNER:     But the email is from Dr. Wright to

  12    Ramona Watts about Jamie Wilson and cc'd to Jamie Wilson.                          So

  13    we don't -- I'm sorry.

  14               MS. MCGOVERN:      Can I take a look at it?

  15               MR. BRENNER:     Yes.        Of course.

  16               THE COURT:    The objection is on grounds of hearsay and

  17    relevance?

  18               MS. MCGOVERN:      Yes.        Yes, it is, Your honor.

  19               THE COURT:    The objection is overruled.                    It would be

  20    admitted into evidence.

  21         (Plaintiffs' 76 received into evidence.)

  22               THE COURT:    All right.             P101.

  23               MS. MCGOVERN:      Oh, yes.            P101.         Your Honor, our

  24    objection is hearsay, relevance, improper character evidence,

  25    and unduly prejudicial.         It's hearsay because of the

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 214 of 366
                                                                                            214


   1    attachment.     It's improper character evidence.                      This is an

   2    email from Dr. Wright to Ami Italia regarding a notification of

   3    an audit, and dated October 12th, 2013.

   4               MR. BRENNER:     Yes.        This is an email from Dr. Wright.

   5    It's not hearsay.      It's to Jamie Wilson.                      It's talking in part

   6    about the statutory declarations and the ATO, which was just

   7    talked about by Dr. Wright, and Jamie Wilson's alleged

   8    involvement.

   9               THE COURT:    Does the email reference what is attached?

  10    Was that attached to Dr. Wright's email?

  11               MR. BRENNER:     Yes.        It appears to be, Your Honor.

  12               THE COURT:    All right.             The objection is overruled.

  13    It will be admitted.

  14         (Plaintiffs' 101 received into evidence.)

  15               THE COURT:    102?

  16               MS. MCGOVERN:      Your Honor, this is a resignation

  17    letter from Jamie Wilson to Dr. Wright, dated October 23rd,

  18    2013.    We object on hearsay and relevance grounds, Your Honor.

  19               MR. BRENNER:     I mean, Dr. Wright just a few minutes

  20    ago offered that Jamie Wilson was fired.

  21               THE COURT:    Yes.       But I mean, what Dr. Wright may have

  22    said makes no difference with regard to this witness, whether

  23    at the time that it was offered through Jamie Wilson,

  24    whether -- it was proper, whether it should be sustained on

  25    grounds of hearsay and relevance, which were the two

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 215 of 366
                                                                                                 215


   1    objections.

   2               MR. BRENNER:     Right.          Well, it's relevant because it

   3    goes to what Jamie Wilson did or did not do and what he did or

   4    did not know.     It's an email from Jaime Wilson to Craig Wright

   5    and Ramona Watts, and it goes to show Dr. Wright's actions in

   6    response to that.

   7               THE COURT:    The objection is overruled.                         It will be

   8    admitted.

   9         (Plaintiffs' Exhibit 102 received in evidence.)

  10               THE COURT:    Let's move to Watts.                         P43.

  11               MS. MCGOVERN:      Your Honor, P43 is an email from Ramona

  12    Watts to Dr. Wright regarding the trusts.                             The objection is

  13    authentication and hearsay.             Ramona Watts testifies that she

  14    does not recall the document.               And it's hearsay because it's

  15    coming in through Ramona Watts.

  16               THE COURT:    Response?

  17               MR. BRENNER:     Your Honor, in Ms. Watts' deposition she

  18    seemed to claim not to remember a lot of things that were

  19    written from her or to her.             I don't think that's any -- that's

  20    a basis to deny authenticity.               That goes to the weight of the

  21    evidence.

  22               THE COURT:    Not its admissibility.                        I agree.   The

  23    objection is overruled.         It will be admitted.

  24         (Plaintiffs' Exhibit 43 received in evidence.)

  25               THE COURT:    P169.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 216 of 366
                                                                                          216


   1               MS. MCGOVERN:      Your Honor, P169 is a letter from

   2    Dr. Wright to Uyen Nguyen regarding the CO1N deed loan of June

   3    27th, 2014, and the objection is hearsay, relevance, and

   4    authentication.

   5               MR. BRENNER:     I have P169 is an email from Ramona

   6    Watts to a lot of people.

   7               THE COURT:    Craig Wright to Ms. Nguyen on the CO1N

   8    deed of loan, dated June 27th.

   9               MS. MCGOVERN:      2014.

  10               MR. BRENNER:     Your Honor, can we come back to that?                       I

  11    have the wrong document in front of me.

  12               THE COURT:    All right.

  13               MS. MCGOVERN:      Your Honor, with respect to P183, this

  14    is an email from Ramona Watts to Dr. Wright and Stefan

  15    Matthews.    Our objection is hearsay, authentication, and

  16    improper lay opinion.       It's hearsay because the valuations are

  17    not conducted in the regular course of business.

  18               At Page 6, there's an indication that it's being

  19    prepared for regulatory purposes, and it's being offered for

  20    the truth of the matter asserted.

  21               MR. BRENNER:     Your Honor, it's a business record of

  22    Dr. Wright and Ramona Watts' multiple businesses together.

  23    It's not a draft report, as she testified to.                         It's signed by

  24    Lee Goldstein, from Business Reports Valuations, which she --

  25    Business Reports and Values -- excuse me -- which she

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 217 of 366
                                                                                       217


   1    acknowledged was someone that they had used to do valuations.

   2    It's a business record.         It's not excluded as hearsay.

   3               MS. MCGOVERN:      Your Honor, if I could just briefly

   4    respond for the record.         The business record foundation was not

   5    laid during her deposition.             It was not played during her

   6    deposition, and our objection is --

   7               THE COURT:    Who laid the foundation that it was a

   8    business record?

   9               MR. BRENNER:     I asked her in her deposition, which we

  10    played today, that this was a company they used to do

  11    valuations.     This is a report they received from them.

  12               THE COURT:    All right.             The objection is overruled.

  13    It will be admitted.

  14         (Plaintiffs' Exhibit 183 received in evidence.)

  15               THE COURT:    Can we move back to 169?

  16               MR. BRENNER:     Looks like I need 30 more seconds.

  17               MS. MCGOVERN:      All right.               Then 221.

  18               Your Honor, with respect to 221, Your Honor, I

  19    mistakenly referred to this during Dr. Wright's testimony.

  20    This was sustained as to 218.               It's an email that was contained

  21    within Plaintiffs' Exhibit 218.                 This is an email from Ramona

  22    Watts to Ira Kleiman regarding questions, dated June 23rd,

  23    2015.    It's hearsay.

  24               MR. BRENNER:     So, Your Honor --

  25               MS. MCGOVERN:      I'm sorry.               I apologize.   It's being

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 218 of 366
                                                                                          218


   1    admitted for the truth of the matter asserted.

   2               MR. BRENNER:     Your Honor, as was testified both by Ira

   3    Kleiman and by Ms. Watts, what happened here was -- and Your

   4    Honor has seen testimony about Coin.Exch.

   5               What happened was, there was extended negotiations

   6    between Ira Kleiman and Craig Wright.                       Then at some point Ira

   7    told the story that those sort of devolved a bit, and Ramona --

   8    or excuse me -- Ms. Watts then started acting on behalf of

   9    Dr. Wright.     And she also testified that she's -- you know,

  10    she's his business partner in all these businesses.

  11               This is an extension of the communications between

  12    Dr. Wright and Ira Kleiman.             It's just Ramona Watts is stepping

  13    in the shoes.     Sometimes Dr. Wright's copied.                      Sometimes he's

  14    not.   But that was clearly her role, and she testified as such,

  15    and Ira Kleiman did too.

  16               THE COURT:    The objection is overruled.                     It will be

  17    admitted.

  18         (Plaintiffs' Exhibit 221 received in evidence.)

  19               MR. BRENNER:     So on 169, Judge, I'm showing a

  20    different document than apparently you and Ms. McGovern are.

  21    So I'm not sure what the discrepancy is.                          I apologize.

  22               Can I see what you have as 169?

  23               MS. MCGOVERN:      I have it already written down here.

  24               THE COURT:    All right.             Then let's move forward.         240.

  25               MS. MCGOVERN:      Your Honor, with respect to 240, we

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 219 of 366
                                                                                              219


   1    object on hearsay and unfairly prejudicial.                           This is the

   2    letter -- and I understand that Mr. Brenner is giving the

   3    background on everything, but our objection is hearsay and

   4    unfairly prejudicial for the following reason:                          This is an

   5    email from a corporate lawyer in Australia to Ms. Watts with

   6    respect to the termination of the legal services through

   7    which -- they are seeking to establish it for the purpose of

   8    establishing that there was some wrongdoing in connection with

   9    the termination of that relationship.

  10               It's hearsay, and it's unfairly prejudicial.                        Those

  11    are our objections.

  12               MR. BRENNER:     This is a letter from -- well, the email

  13    is an email from Mr. Sommer, who was their attorney, to

  14    Ms. Watts.    And then Ms. Watts forwards it to Craig Wright.                          It

  15    goes to the very issues in the case of the submission of false

  16    information to the Australian Taxation Office.

  17               Mr. Sommer is acting as an agent until -- after this

  18    letter, he's no longer, perhaps.                  And it's a business record of

  19    the company, a business record of Wright's companies.

  20               MS. MCGOVERN:      Your Honor -- apologize.

  21               MR. BRENNER:     That's okay.

  22               MS. MCGOVERN:      Your Honor, there's no foundation for

  23    business record exception to the hearsay rule.                          We disagree

  24    that this is a case about the Australian tax authority's

  25    proceedings against corporations in Australia.                          This is a

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 220 of 366
                                                                                         220


   1    partnership case in the United States between two individuals.

   2               So it's unfairly prejudicial because that's exactly

   3    what they're doing, is they're conflating the issues before the

   4    jury and that's the purpose for it.                     That's prejudicial and its

   5    probative value does not --

   6               THE COURT:    I'm trying to pull up 240 to see its

   7    relevance with regard to the termination of engagement related

   8    to DeMorgan.

   9               MR. BRENNER:     Right.          This is the dealings with the

  10    Australian Taxation Office.             As you heard Dr. Wright say,

  11    DeMorgan was almost a holding company.                        I think you may have

  12    seen it in the testimony of Ms. Watts.                        It was the company that

  13    was holding all the stuff for like Coin-Exch. and -- CoinEx.

  14               The two people that were the directors of that

  15    company, as Ms. Watts testifies, were just Dr. Wright and

  16    Ms. Watts.    Dr. Wright actually brought up DeMorgan today as --

  17    I think he said when he was referring to the company, that we

  18    believed that he was referring to W&K, that he was a

  19    shareholder of in America, suddenly, it became DeMorgan.

  20    That's the relevance.       DeMorgan is tied in with all of this.

  21               Your Honor --

  22               THE COURT:    I'm actually just looking at it in the

  23    context of the deposition.

  24               MS. MCGOVERN:      I think it is important, though, Your

  25    Honor, for us to establish in the record that the DeMorgan

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 221 of 366
                                                                                               221


   1    group of companies are Australian companies, formerly

   2    established Australian companies, that ultimately went through

   3    liquidation in Australia.           They were subject to proceedings

   4    with the Australian Tax Office completely separate and apart

   5    from the issues in this case.

   6               We have raised this in this case before.                          We've

   7    addressed this issue in this case before.                             Your Honor has

   8    circumscribed the relevance of that tax proceeding to the

   9    extent that there were issues raised regarding the parties or

  10    the subject matter in this case.

  11               What's happening in this trial, Your Honor, is that

  12    suddenly the ATO has become a black cloud of credibility and of

  13    conflated issues that are in fact in front of the jury.                              So our

  14    concern is very real that to the extent that the jury believes

  15    that there is somehow established wrongdoing in connection with

  16    an unrelated tax proceeding in Australia, that they somehow can

  17    fill up the void of the absence of evidence in this case

  18    regarding a legal partnership between Dr. Wright and Dave

  19    Kleiman.    That's exactly what this does.

  20               THE COURT:    And, Mr. Brenner, tell me how this is

  21    relevant to what took place before the ATO.

  22               MR. BRENNER:     Yes.        I don't think Ms. McGovern's

  23    disputing -- perhaps, I'm not hearing it right.                            I don't think

  24    there's any dispute that the ATO proceedings that were

  25    referenced here, so if you look at -- I'm looking at the letter

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 222 of 366
                                                                                             222


   1    attachment to the email.          If you look at the second paragraph

   2    of the letter from Mr. Sommer to Ms. Watts, it says:

   3    "Information has been provided to our firm which raises serious

   4    questions about the integrity of documents provided by

   5    Dr. Craig Wright both to our office and to the Australian

   6    Taxation Office.     We believe this information to be credible.

   7    In these circumstances, we can no longer represent DeMorgan,

   8    Limited in the disputes, and its subsidiaries, that it has with

   9    the Australian Tax Office."

  10               I believe this is the same taxation office proceedings

  11    that we're dealing with in this case, and the same documents.

  12               THE COURT:    Just give me one moment.                     I'm having a

  13    hard time opening up 240.           Just hold on.

  14               MS. MCGOVERN:      I know you will, Your Honor, stop me if

  15    I'm getting in the way of your looking at these documents, but

  16    I do feel like this is an opportunity to clarify something

  17    that's been very, very apparent in this trial, and that is

  18    this:    The overbreadth of that statement that these are the

  19    same documents that have to do with tax proceedings that went

  20    on in Australia with a large number of companies that have to

  21    do with the research and development credit have nothing to do

  22    with the invention of Bitcoin or the mining of Bitcoin.

  23               The Plaintiffs have made perfectly clear, perhaps for

  24    the first time after four years, in front of the jury in their

  25    opening statement that this is a case about one issue, and it

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 223 of 366
                                                                                             223


   1    is a partnership to invent and mine Bitcoin.                          That was not

   2    before the ATO, and I do not believe even Mr. Brenner would say

   3    that it is true.

   4               THE COURT:    I disagree with regard to that

   5    characterization.      It certainly is with regard to a

   6    partnership, but those issues directly relate to that issue.

   7               Looking at 240, I do agree that it is relevant, and

   8    the objection is overruled.

   9         (Plaintiffs' Exhibit 240 received into evidence.)

  10               THE COURT:    261.

  11               MS. MCGOVERN:      Your Honor, 261 is an email from Ramona

  12    Watts to Stefan Matthews.           We've objected on hearsay grounds,

  13    Your Honor, and relevance.

  14               MR. BRENNER:     Again, Ms. Watts is not in this capacity

  15    as the wife of Dr. Wright.            She's in the capacity as the

  16    co-director of the company that's holding all of, what we

  17    believe at a time -- I have got to be careful with my chain of

  18    custody.    The W&K IP passed through several entities, including

  19    DeMorgan.    It ultimately went through DeMorgan, and this is

  20    what this is all about.         This is a direct admission of a party.

  21               THE COURT:    The objection is overruled.                     261 is

  22    admitted.

  23         (Plaintiffs' Exhibit 261 received into evidence.)

  24               MS. MCGOVERN:      Your Honor, 299.

  25               THE COURT:    All right.             And the objection.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 224 of 366
                                                                                          224


   1               MS. MCGOVERN:      Your Honor, we've objected to 299 on

   2    hearsay grounds.     This is an email, the purpose for which

   3    really is bolstering of Andrew O'Hagan and is otherwise

   4    hearsay.    We've objected on hearsay grounds.                        299.

   5               MR. BRENNER:     The email is written by Dr. Wright.

   6    It's not hearsay.

   7               THE COURT:    The objection is overruled.                     It will be

   8    admitted into evidence.

   9         (Plaintiffs' Exhibit 299 received in evidence.)

  10               THE COURT:    All right.             332.

  11               MS. MCGOVERN:      Your Honor, we've objected to 332 on

  12    hearsay grounds.     Your Honor, this is an email, again, that has

  13    to do with our objection to the documents related to the

  14    Australian Tax Office.        I'll just state none of the companies

  15    that were in front of the ATO have been sued in this proceeding

  16    and the documents related to those proceedings are not relevant

  17    here.    So it's relevance and hearsay, Your Honor.

  18               MR. BRENNER:     Are we on 332?

  19               MS. MCGOVERN:      Yes.

  20               MR. BRENNER:     I don't think 332 has to deal with the

  21    ATO.    332 has to deal --

  22               THE COURT:    It's the email from Craig Wright to Andrew

  23    O'Hagan.

  24               MR. BRENNER:     Yes.        It has to deal with Dave being

  25    part of the creation of Bitcoin.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 225 of 366
                                                                                         225


   1               MS. MCGOVERN:      I think there's an attachment to the

   2    email, correct?

   3               THE COURT:    Was it an attachment that --

   4               MR. BRENNER:     No.       The attachment is referenced in the

   5    email.    This is Dr. Wright's --

   6               THE COURT:    How many pages is the email?

   7               MR. BRENNER:     The email is one page.

   8               MS. MCGOVERN:      Right.          But the attachment is another

   9    20-some pages, I believe.

  10               MR. BRENNER:     What the attachment is, Your Honor, just

  11    to be clear, I believe it's Dr. Wright's annotations to the --

  12    hold on.    I think --

  13         (Pause in proceedings.)

  14               MR. BRENNER:     Your Honor, at this point we will move

  15    only in for now P332, the first page.

  16               MS. MCGOVERN:      No objection, Your Honor.

  17               MR. BRENNER:     Without the attachment.                   If we want to

  18    try to move the rest, we will come back to it.

  19               THE COURT:    Just the one page.                     Admitted into

  20    evidence.

  21         (Plaintiffs' Exhibit 332 received in evidence.)

  22               MS. MCGOVERN:      Yes.        No objection, Your Honor.

  23               THE COURT:    All right.             636.

  24               MS. MCGOVERN:      636, Your Honor?

  25               THE COURT:    Yes.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 226 of 366
                                                                                              226


   1               MS. MCGOVERN:      636 is an email from Stefan Matthews to

   2    Dr. Wright, dated November 25th, 2015, and we have objected on

   3    hearsay, Your Honor.

   4               MR. BRENNER:     Well, Your Honor, the top one happens to

   5    be the last in the chain.           This is a series of emails between

   6    Dr. Wright himself and Patrick Paige, which Ms. Watts testified

   7    to.   She admittedly did not acknowledge the words on the paper,

   8    but this is the email exchange where they become concerned that

   9    Patrick is one of the people that knows of Dave's involvement

  10    and they try to get their story straight.                             This is not hearsay.

  11               MS. MCGOVERN:      Your Honor, we don't believe that

  12    that's what it says.      We don't agree with the initial

  13    attachment from Stefan to Dr. Wright.                       It's hearsay.       But to

  14    the extent that -- the balance of the email regarding Patrick

  15    Paige can come in through Patrick Paige.

  16               MR. BRENNER:     The last email on the top goes to the

  17    state of mind of all those involved, which is they're sort of

  18    getting their story straight.               So we believe the whole thing is

  19    not hearsay and it's clearly relevant.

  20               THE COURT:    The objection is overruled.

  21          (Plaintiffs' Exhibit 636 received in evidence.)

  22               THE COURT:    All right.             Can we go to 169?

  23               MR. BRENNER:     Yes.        169 you have as a letter to Uyen

  24    Nguyen?    Just so we're on the same page.                        The June 27th, 2014?

  25               MS. MCGOVERN:      Yes.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 227 of 366
                                                                                              227


   1               MR. BRENNER:     Yes.        I think that's what it was used

   2    for, right?

   3               THE COURT:    Letter from Craig Wright to Uyen Nguyen.

   4               MR. BRENNER:     Yes.        So it's a letter from Craig

   5    Wright.    It's not hearsay and it's talking about Bitcoin.

   6               THE COURT:    The objection on grounds of hearsay and

   7    relevance?

   8               MS. MCGOVERN:      Yes, Your Honor.                    We also object on

   9    authenticity because the part that begins at Page 74 of the

  10    transcript wasn't part of the read-in.                        So she goes on to

  11    testify that she doesn't know whether this is or isn't a hacked

  12    document starting at 89-10 and, therefore, we've also objected

  13    on authenticity and foundation.

  14               THE COURT:    Goes to its weight.                      The objection is

  15    overruled.    It will be admitted.

  16         (Defendants' Exhibit 169 received in evidence.)

  17               THE COURT:    All right.             Let's move to Warren.

  18               MS. MCGOVERN:      Your Honor, the first document we have

  19    in dispute is Plaintiffs' Exhibit 37.                       We've objected on

  20    hearsay and authenticity.           It's primarily a foundation

  21    objection.    Your Honor, Warren is not a participant in any of

  22    the Bitmessage conversations and cannot authenticate them and

  23    doesn't have the knowledge or the foundation to identify or

  24    testify about them.

  25               MR. BRENNER:     Right.          Your Honor, this was the

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 228 of 366
                                                                                           228


   1    witness, if you'll recall, who created the Bitmessage system

   2    and then was shown various Bitmessages that were sent after --

   3    or before the program was created.                     So it's not for the truth

   4    of the matter asserted in the Bitmessages; it's for the fact

   5    that they are -- we contend, are forgeries by Dr. Wright.                          I

   6    think there's a bunch of those in this stack.

   7               MS. MCGOVERN:      If I may respond, Your Honor.                   Jonathan

   8    Warren is the creator of Bitmessage.                      I think his testimony was

   9    clear that the creation of Bitmessage could have been made as

  10    early as May 25th.      That's an issue that can be argued among

  11    counsel.    But the purpose for these Bitmessages, Your Honor, is

  12    to establish some sort of forgery or manipulation with respect

  13    to the Bitmessage.      He has never seen them before, didn't know

  14    about them.

  15               THE COURT:    I agree.           The objection is sustained.

  16               MS. MCGOVERN:      Your Honor, we have the same objection

  17    with respect to Number 51.            It's exactly the same issue.

  18    Again, not a participant in the messages and cannot put his

  19    imprimatur on the manipulation of the purported forgery of

  20    those Bitmessages.      The testimony should be limited to simply:

  21    "This is when I invented it" and that's it.

  22               MR. BRENNER:     Your Honor, on 37, the basis, it was

  23    sustained on hearsay grounds?

  24               THE COURT:    All right.             This is P51.          It states:

  25    "Warren Deposition Exhibit, Plaintiffs' 11."                          Is it Plaintiffs'

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                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 229 of 366
                                                                                             229


   1    11, or is it --

   2               MS. MCGOVERN:      Yes, Your Honor.                    It's the exhibit for

   3    Plaintiffs' 11 to the Warren deposition, but it's Plaintiffs'

   4    51.

   5               THE COURT:    All right.             But it's noted as 51.          So let

   6    me just --

   7               MS. MCGOVERN:      Correct.            We have the same objection

   8    for 51, Your Honor.

   9               THE COURT:    All right.             Was the witness able to --

  10               MR. BRENNER:     Your Honor, again, I'm not sure what the

  11    objection is.     It's not hearsay because it's not being offered

  12    for the truth of the matter asserted.

  13               All Jonathan Warren did is say -- he gave the facts.

  14    The Defendant's position is his testimony is not credible

  15    because someone could have found Bitmessage in a cupboard or it

  16    was on the dark web.      We can argue that in front of the jury.

  17    But the evidence itself and why it's admissible is Jonathan

  18    Warren says:     "I created Bitmessage on X date," and then he was

  19    asked to -- he was shown messages which are before that date.

  20               THE COURT:    But that doesn't mean that every single

  21    message after the creation of Bitmessage is automatically

  22    admitted into evidence.

  23               MR. BRENNER:     It's before.

  24               THE COURT:    I'm sorry.             Before.           So the fact that

  25    these communications and this spreadsheet was prepared or sent

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 230 of 366
                                                                                                230


   1    before Bitmessage was created -- I'm not certain why all of

   2    these exhibits are coming in.

   3               MR. BRENNER:      Well, I don't --

   4               THE COURT:     What are they coming in -- like what's the

   5    purpose?    Is the purpose merely to show that it was created

   6    before?

   7               MR. BRENNER:      Right.

   8               THE COURT:     And then you have an issue with the actual

   9    exhibit.

  10               MR. BRENNER:      No.       I guess maybe I was not clear.                   The

  11    purpose, it's not to bolster what Warren said.                            Warren's giving

  12    the fact -- let's just say January 1, 2013.                            Let's pick a date.

  13    He says:    "I started this on January 1, 2013."                          Our position is

  14    Dr. Wright -- and these Bitmessages are between Dr. Wright and

  15    Mr. Kleiman.     Okay.    They're purported to be.                       And they say

  16    things that would be very supportive of Dr. Wright's defense in

  17    this lawsuit.     Okay.

  18               What we're saying is he -- and we say this for a lot

  19    of things -- he created this evidence.                         He created these

  20    Bitmessages at a time it's impossible.                         So they're not being

  21    offered for the truth of Dr. Wright's communications.                            We don't

  22    think they're true.       We think they're forgeries.                       But the only

  23    way to show they are forgeries is to show:                             Program created on

  24    X date.    Messages purportedly were sent before the program

  25    existed.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 231 of 366
                                                                                    231


   1               That's what I was trying to say for 37 and 51.

   2    There's a bunch of these.           That's the only way we can prove it.

   3               THE COURT:    But Exhibit 51 is an exchange of

   4    Bitmessages from Dave Kleiman and Craig Wright.

   5               MR. BRENNER:     All of the Bitmessages we did.             It's the

   6    same thing, 37, 51.      They are all the same thing.

   7               MS. MCGOVERN:      Your Honor, if I could respond.

   8               They're using Jonathan Warren to introduce these

   9    Bitmessages just for one reason, for some confusing statement

  10    that they must be fraudulent.               If they want these Bitmessages

  11    in, they should get them in through the right witnesses, not

  12    through a witness who has never seen them, doesn't know what

  13    they are, and has absolutely no basis, no foundation to allow

  14    their admission into evidence.                It is being admitted precisely

  15    for the truth of the matter asserted, which is that these

  16    Bitmessages are fake.

  17               THE COURT:    Well, I think the witness can and has

  18    testified that he certainly is aware of what Bitmessages are

  19    because he was the creator of it.                   So to the extent that this

  20    is being offered not for its truth, but to establish the date

  21    and the series of communications, I do agree for that purpose.

  22    I will allow it in on P51.            So the objection is overruled.        For

  23    that purpose, the Court will allow that in.

  24         (Plaintiffs' Exhibit 51 received into evidence.)

  25               MR. BRENNER:     And in 37 --

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 232 of 366
                                                                                            232


   1               THE COURT:    It's the same with 54 and 74.                    Are these

   2    just an exchange for the time --

   3               MS. MCGOVERN:      Yes.        Well, actually 54 is a little

   4    different, but there is another -- the same argument applies,

   5    Your Honor, to 74, 452 -- 74 and 452 are the same issue, Your

   6    Honor.    I would further suggest, Your Honor, that there's a way

   7    for them to properly address the issue they're trying to

   8    address without the improper prejudice and the imprimatur of

   9    some sort of forgery when he is not that witness, and that is

  10    to simply say:     Redact the message.

  11               So the purpose for this Bitmessage is one.                      It's a

  12    singular purpose.      The import to the jury is clear, which is

  13    they are not real.      They're fake.               He doesn't have the ability

  14    to determine that.      So he doesn't have a foundation to allow

  15    the admission.     If it's just a date issue, then allow a

  16    Bitmessage on a given date between two people, but not the

  17    content of the document.

  18               THE COURT:    All right.             Anything further?         I'm looking

  19    at 54.

  20               MS. MCGOVERN:      Your Honor, 54.                   We have objected on

  21    hearsay.    They're offering it for the proof that the release

  22    date was November 27th, 2012, and that's hearsay.                        They can

  23    rely on his testimony, but the document they're trying to

  24    present is hearsay.

  25               MR. BRENNER:     Your Honor, we'll withdraw 54.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 233 of 366
                                                                                              233


   1               THE COURT:    All right.             Moving on to 74.

   2               MS. MCGOVERN:      Yes.        We had the same objection that we

   3    just discussed before on the foundation and the authenticity

   4    for Jonathan Warren for 74.

   5               MR. BRENNER:     It's the same thing we just did with 51.

   6               MS. MCGOVERN:      And 37, yes.

   7               MR. BRENNER:     And 37.

   8               THE COURT:    It's not being offered for its truth, the

   9    Court will permit it.

  10         (Plaintiffs' Exhibit 74 received into evidence.)

  11               THE COURT:    83.

  12               MR. BRENNER:     We're withdrawing 83, Judge.

  13               MS. MCGOVERN:      I think the last one, Your Honor, is --

  14    452 is the same as 31 -- 37 and 51.                     Foundation, authenticity,

  15    improper purpose.

  16               THE COURT:    All right.             These are the same, the

  17    Bitmessages.     The objection is overruled.                          It will be admitted.

  18         (Plaintiffs' Exhibit 452 received into evidence.)

  19               THE COURT:    466.

  20               MS. MCGOVERN:      466, Your Honor, we have objected

  21    because Jonathan Warren says he's never seen the document

  22    before.    So we've objected on authenticity and hearsay.

  23    There's a handwritten note on the document, Your Honor, that --

  24    he's never seen it before.

  25               MR. BRENNER:     I object to responding because I have an

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 234 of 366
                                                                                              234


   1    empty notebook here.      I have got to find 466.

   2               THE COURT:    I'm sorry?

   3               MR. BRENNER:     I said I object to responding to 466

   4    because I have an empty notebook.

   5               THE COURT:    All right.             Why don't you look at it.

   6               MR. BRENNER:     Oh, it's a Bitmessage, and the

   7    handwritten is how it was produced, and it's produced by the

   8    Defendant.    I confirmed the handwritten notes -- it's the same

   9    issue we have -- the handwritten notes, at least I have

  10    confirmed and been told, it was on the production from the

  11    Defendant.

  12               MS. MCGOVERN:      Your Honor, it might have been

  13    contained on the production, but he didn't recognize the

  14    document, couldn't authenticate it.

  15               THE COURT:    Mr. Brenner, what's the purpose of

  16    introducing --

  17               MR. BRENNER:     Well, I'm looking on Mr. Freedman's

  18    computer, but I -- we'll withdraw it, Judge.

  19               THE COURT:    All right.             Moving to Andresen.            306.

  20               MS. MCGOVERN:      Your Honor, "The Satoshi Affair" is

  21    Exhibit 1 to the second amended complaint.                            It's hearsay.

  22               MR. BRENNER:     Yes.        We withdrew that.

  23               THE COURT:    367.

  24               MS. MCGOVERN:      367, Your Honor, is hearsay.                     It is an

  25    email from Stefan Matthews to Gavin Andresen regarding

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 235 of 366
                                                                                            235


   1    additional proof, dated May 2nd, 2016.                        So we have objected on

   2    hearsay.    We'd also add relevance, Your Honor.                      This failed

   3    proof issue in this case is not relevant to the core issues in

   4    this case; namely, the relationship between Dave Kleiman and

   5    Dr. Wright.     But we've also objected on hearsay because it's an

   6    out-of-court statement.

   7               MR. BRENNER:     We'll withdraw it, Judge.

   8               THE COURT:    The objection is sustained.

   9               All right.    384.

  10               MS. MCGOVERN:      One second, Your Honor.

  11               Your Honor, 384, the objections are hearsay,

  12    relevance, authentication.            It's an email from Robert MacGregor

  13    to Mr. Matonis and Gavin Andresen regarding a draft blog dated

  14    May 4th, 2016.     It's hearsay.

  15               THE COURT:    Response?

  16               MR. BRENNER:     Withdraw, Judge.

  17               THE COURT:    The objection is sustained.

  18               411.

  19               MS. MCGOVERN:      All right.               Your Honor, I believe the

  20    last disputed exhibit for the Gavin Andresen is 411.                       We've

  21    objected on relevance and unduly prejudicial, Your Honor.                       This

  22    is an email from Dr. Wright to Gavin Andresen.                        The subject is:

  23    "A year ago," dated May 3rd, 2017, and it's Dr. Wright talking

  24    about the failed proof a year later.                      It's unduly prejudicial

  25    because the last sentence, Your Honor, reads as follows:                       "I'm

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 236 of 366
                                                                              236


   1    a fraud, but I'm a fraud that is free to work on what I need to

   2    do."   That statement alone, Your Honor, is unduly prejudicial

   3    and shouldn't come in.

   4               MR. BRENNER:     Your Honor, this is an email from

   5    Dr. Wright.     It has to do with his whole coming out as Satoshi

   6    Nakamoto after Dave passed, and the fact that he calls himself

   7    a fraud may be prejudicial but it's not unduly prejudicial.

   8               THE COURT:    Well, how is it relevant with regard to

   9    this witness and what was the purpose of its introduction?

  10               MR. BRENNER:     I think it was an email from Dr. Wright

  11    to Gavin Andresen.      Gavin sort of was -- I think you saw in the

  12    testimony, was involved in the whole -- I call it the

  13    coming-out, the Satoshi coming out process which took place in

  14    or around this time.      So that's why Gavin Andresen testified

  15    about it.

  16               MS. MCGOVERN:      Your Honor, an email where our own

  17    client is calling himself a fraud, there's no probative value

  18    to that.

  19               THE COURT:    Let me just look at the last line you're

  20    referring to.

  21         (Pause in proceedings.)

  22               THE COURT:    I mean, those are the Defendant's words.

  23    So I understand that they're prejudicial.

  24               MS. MCGOVERN:      It is, Your Honor, but it's his words

  25    out of context in a completely different setting.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 237 of 366
                                                                                            237


   1               THE COURT:    Well, then you have an opportunity during

   2    the cross-examination or in the Defendant's case, but it's not

   3    a misinterpretation of someone else saying something about

   4    Dr. Wright.     These are his words.

   5               MS. MCGOVERN:      I understand, Your Honor.                   But if I can

   6    just add that it's not within the context of the issues in this

   7    case.    It's within the context of Dr. Wright coming out as

   8    Satoshi Nakamoto.      It's not a sentence where Dave Kleiman is

   9    even mentioned.     It's not a sentence where W&K is even referred

  10    to.   There's no joint mining involved.

  11               This is a completely separate set of circumstances in

  12    which he's making a statement about himself.                          The jury is

  13    clearly going to be confused by that statement, and it could

  14    potentially unfairly prejudice him with no probative value

  15    going to any of the issues.

  16               THE COURT:    Well, what is the probative value of this

  17    email?    I understand it's written by the Defendant.                       But when

  18    it states:    "I'm diametrically opposed, positions on some

  19    things to do with Bitcoin," as with Mr. Andresen, what's the

  20    relevance?

  21               MR. BRENNER:     So the relevance -- well, Andresen was

  22    involved in the whole Satoshi coming-out affair.                         What happens

  23    is -- and you heard some of this from O'Hagan -- is there's a

  24    transition in Dr. Wright.           So our theory of the case is that

  25    there is a time where Dr. Wright is, as you've seen in some of

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 238 of 366
                                                                                         238


   1    the documents, telling other people pretty regularly that he

   2    and Dave were partners, and when he gets to the -- you know,

   3    basically gets a lot of money thrown at him to come out alone

   4    as Satoshi.     This is the beginning of that transition.                    This is

   5    part of that transition where he starts to cut Dave out.

   6               MS. MCGOVERN:      Your Honor, there's no evidence in the

   7    record of any of that.

   8               THE COURT:    This is an email sent on May 3rd, 2017.

   9    So how is this email to Gavin Andresen relevant with regard to

  10    your theory or any issue related to the partnership,

  11    conversion, civil theft, any of the claims?

  12               MR. BRENNER:     Can I have Mr. Freedman answer that

  13    question?

  14               MR. FREEDMAN:      Thank you, Your Honor.

  15               So what happens -- as the story comes out, what

  16    happens is Dr. Wright eventually approaches other individuals,

  17    Stefan Matthews -- you've seen these names -- Calvin Ayre, and

  18    gets funding, raises funding for his entities.                        As part of that

  19    funding, he needs to come out as Satoshi Nakamoto.                       That's part

  20    of the deal.

  21               In order to come out as Satoshi Nakamoto, he has this

  22    big press event around him coming out as Satoshi Nakamoto.                       And

  23    as part of the big press event, Gavin Andresen, who at the time

  24    was basically the successor to Satoshi Nakamoto -- he took over

  25    Bitcoin for a period of time -- comes in for this large press

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 239 of 366
                                                                                      239


   1    event to say -- and meets with Dr. Wright and he says:                    "Yes, I

   2    believe Craig Wright is Satoshi Nakamoto."

   3               When Dr. Wright eventually fails to provide

   4    cryptographic proof that he's in fact Satoshi Nakamoto, the

   5    world dismisses him as Faketoshi and says he's not Satoshi

   6    Nakamoto.    And Gavin begins correspondence with Dr. Wright,

   7    that we covered in his deposition, where Dr. Wright begins

   8    apologizing for essentially setting him up and making him come

   9    out publicly and say he was Satoshi Nakamoto alone.

  10               So this email is one from Craig Wright that goes

  11    directly to the transition where Dr. Wright now needs to

  12    satisfy his business partners that he alone is Satoshi

  13    Nakamoto.    He throws this big event with Gavin Andresen, fails

  14    to deliver on it, and is now apologizing for it, saying to

  15    Gavin:    "I'm a fraud.     I couldn't prove to you I'm Satoshi."

  16    That goes to Plaintiffs' theory they were really Satoshi

  17    together and part of the fraud is that he's not Satoshi.

  18               The Satoshi team requires other people -- the

  19    partnership requires other people.                     So this admission that "I

  20    am a fraud because I failed to prove that I'm Satoshi" is

  21    directly relevant to Plaintiffs' case.

  22               MS. MCGOVERN:      Your Honor, this email is in 2017.              The

  23    big press event that Mr. Freedman's referring to was 2016.                    So

  24    it was not contemporaneous.             It was not a state of mind.         It

  25    was not any of that.      And there's no evidence in the record

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 240 of 366
                                                                                              240


   1    that there's been a lot of money thrown at Dr. Wright for going

   2    through the very public, you know, sort of grilling of being

   3    Satoshi Nakamoto.

   4               This theory that Plaintiffs are advocating right now

   5    doesn't mean that the statement -- actually, I think it

   6    confirms that the statement that Dr. Wright's making in this is

   7    unduly prejudicial because it's going to be used for that exact

   8    purpose when it's a year after the fact and it's completely out

   9    of context and it is going to be used to mean something it

  10    doesn't mean.

  11               THE COURT:    I agree that its relevance is outweighed

  12    by the danger of unfair prejudice, and the objection is

  13    sustained with regard to 411.

  14               MS. MCGOVERN:      Your Honor, I believe the next, I

  15    think --

  16               THE COURT:    Moving to Ms. Kobza.                         122 is already in

  17    evidence.

  18               Moving to 638.

  19               MS. MCGOVERN:      I think they've withdrawn -- oh, 638.

  20    Yes, Your Honor.

  21               For the record, our objection to the IP license

  22    between Cloudcroft and GISCR, dated August 27th, 2013, is

  23    hearsay, relevance, and authentication.                         We understand the

  24    purpose for the document, Your Honor, and that is somebody

  25    signed this.     Somehow this thing got signed.                         What's the story

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 241 of 366
                                                                                           241


   1    behind it?    But she didn't authenticate it.                         There's no

   2    foundation for it.      She's never seen it before.                      She said it

   3    wasn't her signature, and nobody's established it was

   4    Dr. Wright's signature.         So we've objected on foundation,

   5    authenticity through this witness, Your Honor.

   6               MR. FREEDMAN:      Your Honor, the document was produced

   7    by the Defendant, appears to be signed by Craig Wright on the

   8    final page, on Page 12, appears to be signed by Ms. Kobza, who

   9    was shown the document in her deposition and testified that she

  10    in fact did not sign the document.

  11               THE COURT:    The objection is overruled.                      It will be

  12    admitted into evidence.

  13         (Plaintiffs' Exhibit 638 received in evidence.)

  14               THE COURT:    All right.             Mr. Nguyen.

  15               MS. MCGOVERN:      Your Honor, the first document, 403, we

  16    have objected on hearsay and relevance.                         This has nothing to do

  17    with the claims in this case.               It's an email from Jimmy Nguyen

  18    to Mr. J. Diaferia, regarding the nChain Holding, Limited,

  19    dated, January 23rd, 2017.            It's hearsay and it's not relevant.

  20    There is no connection in this case to anything that was done

  21    during Dave's lifetime and nChain.

  22               MR. FREEDMAN:      Your Honor, after Dave dies, Dr. Wright

  23    begins a systematic scheme to transfer all the intellectual

  24    property they created together and transfer them into what

  25    eventually becomes the nChain companies.                          That's where the IP

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 242 of 366
                                                                                         242


   1    currently resides.      Jimmy Nguyen was the CEO of nChain.                   And

   2    this is a business record.            It is not hearsay.              It establishes

   3    the corporate structure of nChain.

   4               THE COURT:    The objection is overruled.                   It will be

   5    admitted into evidence.

   6               MS. MCGOVERN:      If I could just say, emails are not

   7    business records, Your Honor.               There was no foundation laid in

   8    his deposition.

   9               THE COURT:    Well, this speaks directly of the fund,

  10    the website.     This person certainly has the capability to

  11    authenticate, and the objection is overruled with regard to

  12    403.

  13         (Plaintiffs' Exhibit 403 received into evidence.)

  14               MS. MCGOVERN:      Your Honor, with respect to 457, this

  15    is a draft valuation done by a law firm in October of 2016.

  16    It's not relevant because they're valuing unspecified

  17    intellectual property long after Mr. Dave Kleiman died.                       It's

  18    hearsay and there's no authentication because Mr. Nguyen was

  19    not able to identify it, had not seen it.

  20               There was no evidence that the person who in fact

  21    prepared the document had even any skills to prepare a

  22    valuation regarding intellectual property, which is a very

  23    specific thing to do.       They are going to be introducing this

  24    draft document through someone who has never seen it, wasn't

  25    involved in it, and in fact testified he doesn't agree with it,

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 243 of 366
                                                                                          243


   1    and it's improper.

   2               MR. FREEDMAN:      Your Honor, again, Jimmy Nguyen was the

   3    CEO of nChain at one time.            I don't recall him testifying he

   4    didn't see the document.          I don't doubt Ms. McGovern, but he

   5    did, in fact, produce it.           So it was in his possession.               That's

   6    the Bates label Nguyen at the bottom.

   7               It is a clear business record.                       The fact that it says:

   8    "Draft" goes to its weight, not its admissibility.                        It valuates

   9    the IP holdings of the very company that holds the intellectual

  10    property Plaintiffs are seeking in this case.

  11               THE COURT:    Can you give me page and line with regard

  12    to Mr. Nguyen's testimony related to this exhibit?

  13               MR. FREEDMAN:      I don't have it, Your Honor.

  14               THE COURT:    Yes.       Then I need to see where in fact he

  15    authenticated that document.

  16               MR. FREEDMAN:      Can we bring that for you tomorrow

  17    morning?

  18               THE COURT:    Certainly.

  19               MS. MCGOVERN:      Your Honor, with respect to the next --

  20    one, two, three, four -- five exhibits for Jimmy Nguyen -- for

  21    the record, 460, 492, 510, 511, and 512 -- these are interviews

  22    on media with Mr. Nguyen?           They're hearsay and they are not

  23    relevant to anything in this case.

  24               MR. FREEDMAN:      Your Honor, I'd have to see -- I know

  25    that in a lot of interviews Dr. Wright is there, and those

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                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 244 of 366
                                                                                           244


   1    interviews are being offered for Dr. Wright's statements.                         To

   2    the extent Dr. Wright does not appear in the interview, we will

   3    withdraw the --

   4               THE COURT:    Do you want to look at the five videos and

   5    let me know?

   6               MR. FREEDMAN:      Yes.

   7               THE COURT:    All right.             And then the others to admit

   8    without objection.      So no objection by the Defendant.                   Then

   9    with regard to Wilson, Watts, Warren, Andresen, those exhibits

  10    will be admitted into evidence; is that correct?

  11               MS. MCGOVERN:      Thank you, Your Honor.

  12               THE COURT:    All right.             And then you're withdrawing

  13    P104.    Are you also withdrawing P306, P441, P355, P362, P377,

  14    P380, and P385?

  15               MR. FREEDMAN:      Your Honor --

  16               MR. BRENNER:     And also P367.

  17               THE COURT:    I'm going to get to that.                    We've got

  18    Kobza.

  19               MR. BRENNER:     Yes as to those you just listed, Your

  20    Honor.

  21               THE COURT:    All right.             And is the Plaintiff

  22    withdrawing P637 and P400?

  23               MR. BRENNER:     Yes.

  24               THE COURT:    Okay.        The reason I say that is this

  25    document was handed to the Court, but it hasn't been

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 245 of 366
                                                                                           245


   1    identified, nor has it been filed.

   2               MR. BRENNER:     Judge, as far as the ones that are being

   3    admitted without objection, do you want us to read those into

   4    the record or tender a list?              How do you want to do that?

   5               THE COURT:    Let me go ahead and read them now.

   6               MR. FREEDMAN:      Your Honor, before you read the list,

   7    my partner just handed me the Jimmy Nguyen deposition.                         I think

   8    it is -- it's quite on point.               It's Page 176.            I can read it to

   9    you, if you would like, Your Honor.

  10               THE COURT:    Is that with regard to the Baker McKenzie.

  11               MR. FREEDMAN:      Yes.        And it says -- it is document you

  12    produced over to us last evening with the Bates label Nguyen

  13    875, which is the same Bates on that document.                         And it says:

  14    "Do you see that?

  15               "Yes, I do.

  16               "Question:    Hold on.           Bear with me.             Do you recognize

  17    this document?

  18               "Answer:    I do.

  19               "Question:    What is it?

  20               "Answer:    It is a draft IP valuation analysis from a

  21    firm called Baker McKenzie.

  22               "Question:    Did you receive this while you were

  23    working with nChain?

  24               "Answer:    I did.

  25               "And is it an IP analysis that says EITC Holdings, but

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 246 of 366
                                                                                       246


   1    that eventually became nChain?

   2               "Yes."

   3               THE COURT:    Anything further with regard to 457?

   4               MS. MCGOVERN:      Your Honor, they have not established

   5    that Mr. Nguyen actually worked on the document.                      He became CFO

   6    after that document was created.                  It's part of the records.

   7    There was quite a dispute with respect to the production by

   8    Mr. Nguyen of documents for nChain, and they argued it and he

   9    produced a lot of stuff.          But he is not saying that with

  10    respect to that draft analysis he was CFO at the time, he was

  11    involved in that document, and he stands behind that document;

  12    it's simply part of the production that he did.

  13               MR. FREEDMAN:      Not CFO.            CEO.

  14               MS. MCGOVERN:      CEO.        But the use of that document

  15    through Jimmy Nguyen is improper.                   The foundation has not been

  16    laid for the use of that draft analysis when he was not

  17    involved in it.

  18               THE COURT:    Well, wasn't he the CEO in October 2016?

  19    What was the date that he --

  20               MR. FREEDMAN:      Your Honor, I don't remember when

  21    exactly.    But in the question I just read to you it says:                   "Did

  22    you receive this while you were working with nChain?

  23               "Answer:    I did."

  24               THE COURT:    Okay.        That's sufficient for the Court.

  25    The objection is overruled with regard to 457.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 247 of 366
                                                                                  247


   1         (Plaintiffs' Exhibit 457 received into evidence.)

   2               THE COURT:    All right.             So you are going to let the

   3    Court know with regard to the videos of -- with regard to P460,

   4    P492, P510, P511, and P512.

   5               MR. BRENNER:     Right.

   6               THE COURT:    For the record, the documents admitted

   7    into evidence without objection are Joint Exhibit 114, P75,

   8    P78, P91, P92, P94, P96, P97, Joint Exhibit 9, P291, P305,

   9    Defense 3, Joint 3, Joint 24, P52, P53, P57, Joint 10, Joint

  10    11, P33, P349, P356, P361, P392, P405, P406, P407, P408, and

  11    P410.

  12               Is that correct, Ms. McGovern?

  13               MS. MCGOVERN:      Yes, it is, Your Honor.

  14         (JE114, P75, P78, P91, P92, P94, P96, P97, JE9, P291, P305,

  15    D3, JE3, JE24, P52, P53, P57, JE10, JE11, P33, P349, P356,

  16    P361, P392, P405, P406, P407, P408, and P410 received into

  17    evidence.)

  18               THE COURT:    All right.             And I'm not certain if this

  19    was on the record.      So let me just make sure that -- did we get

  20    an acknowledgment by the Plaintiff of the withdrawal of the

  21    exhibits?

  22               MR. BRENNER:     I think I did, but I'll acknowledge

  23    again, Your Honor.      So the ones you read off, do you want me to

  24    read them into the record?

  25               THE COURT:    I can do that for you so -- because I need

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 248 of 366
                                                                                          248


   1    acknowledgment by the Plaintiff.

   2               The Plaintiff is withdrawing P140, P306, P441, P355,

   3    P362, P377, P380, P385, P637, and P400; is that correct?

   4               MR. BRENNER:     That is correct, Your Honor.

   5               THE COURT:    All right, then.                   Are there any other

   6    issues that we need to address this evening?

   7               MS. MCGOVERN:      Your Honor, there might be.                  I'm not

   8    sure that we need to do it right now, but I just want to raise

   9    because -- just to avoid time before the jury tomorrow.

  10               We were advised by email today during the examination

  11    of Dr. Wright that the Plaintiffs might use the declaration of

  12    Brendan Sullivan and an article that he wrote, as redacted, in

  13    connection with Dr. Wright's testimony.                         We object to the use

  14    of that document on hearsay grounds, both with respect to the

  15    declaration, as well as the news article which is classic

  16    hearsay.

  17               If it comes up, I think we should address it now, so

  18    we don't have to stop to do a sidebar and we have the

  19    opportunity to flesh it out.

  20               THE COURT:    Can you give me the exhibit number,

  21    please.

  22               MS. MCGOVERN:      I believe it's 489.

  23               Can you confirm?

  24               MR. FREEDMAN:      P438.

  25               MS. MCGOVERN:      If you would like, I can --

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 249 of 366
                                                                                           249


   1               MR. FREEDMAN:      Your Honor, if it's okay with the

   2    Court, we can put the suggested redactions up on the screen in

   3    front of the Court.

   4               Your Honor, for context, this is the interview after

   5    Judge Reinhart enters his sanctions order, which this Court

   6    eventually overturned.        Dr. Wright walks outside and gets on

   7    the phone with Brendan Sullivan for an interview.                            We

   8    understand the Court is obviously not going to allow any kind

   9    of reference to the sanctions ruling.                       It is heavily redacted.

  10    The only portions that remain unredacted are Mr. Sullivan's

  11    statements -- are Dr. Wright's statements to Mr. Sullivan about

  12    Dave Kleiman being Satoshi, his partner, and that sort of

  13    thing.

  14               THE COURT:    But this is entirely related to Judge

  15    Reinhart's ruling, correct?

  16               MS. MCGOVERN:      Your Honor, we believe that it is.

  17    There's a threshold problem which is that it's an affidavit.

  18    This is not subject to cross-examination.                             It's not a

  19    deposition.     This is not an O'Hagan situation where Mr. O'Hagan

  20    is testifying about what Dr. Wright told him as opposed to what

  21    his book says.     This is Mr. Sullivan in a declaration,

  22    uncontroverted, when we didn't have the opportunity to even

  23    talk to him.

  24               THE COURT:    Right.         He wasn't subject to

  25    cross-examination.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 250 of 366
                                                                                            250


   1               MS. MCGOVERN:      No, he was not.

   2               MR. FREEDMAN:      Your Honor, we attempted to -- what

   3    happened was we attempted to get him to comply with the

   4    subpoena.    He filed a motion to quash.                      No, but there's a

   5    reason to this, Your Honor.             I know that's not enough.             His

   6    lawyers filed a motion to quash and in so doing cited the

   7    Florida statute that allows for journalistic -- and I don't

   8    have the number off the top of my head.

   9               MS. MCGOVERN:      It's 90 -- go ahead.

  10               MR. FREEDMAN:      There's a Florida statute that allows

  11    the authentication of journalistic materials through affidavit.

  12    So it's not just -- you know, that's why we're trying to offer

  13    it.   I don't have -- Ms. McGovern knows the statute.

  14               MS. MCGOVERN:      No.       I mean, I think it's interesting.

  15    I mean, the Florida statute does not otherwise trump the

  16    hearsay rule with respect to the declaration.                         It's merely a

  17    statute that allows for authentication of journalistic

  18    materials.

  19               What is sought to be introduced, if, in fact, it is

  20    the exhibit as proposed, is a declaration by a journalist who

  21    then attaches the article that he wrote with Dr. Wright after

  22    Judge Reinhart's ruling.          The redaction seeks to cleanse the

  23    things that would be unduly prejudicial to Dr. Wright's

  24    statements after the hearing, but it is an article.                        It's a

  25    news article.     It's a news article attached to an affidavit.

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 251 of 366
                                                                                             251


   1               We've never spoken to Mr. Sullivan.                         His lawyer moved

   2    to quash, and the Plaintiffs were unable to overcome it.                            So he

   3    is a declarant who has never been in a deposition, in a hearing

   4    subject to cross-examination or otherwise.                            Clearly the article

   5    itself is -- not his testimony, the article itself -- is

   6    hearsay.    So we object to the entire exhibit.

   7               MR. FREEDMAN:      Your Honor, I would say that obviously

   8    the statements of Dr. Wright are not hearsay.                           We don't need

   9    the declaration and we're not seeking to get the declaration

  10    in.    It's just the relevant portions of the actual --

  11               THE COURT:    But it's hearsay within hearsay.                       I

  12    understand the exception with regard to Dr. Wright because he's

  13    a party opponent, but we still have an issue with regard to

  14    Brendan Sullivan, that Mr. Sullivan is not making any

  15    statements that are subject to cross-examination.

  16               So I don't know how this satisfies the prong of being

  17    prior testimony that he had an opportunity to be questioned

  18    about.    This is an article.           This is an affidavit.                And quite

  19    frankly, I do have some concern with regard to the reference to

  20    the hearing before Judge Reinhart.

  21               MR. FREEDMAN:      Your Honor, the only remaining argument

  22    I have for you, it's admissible under 804(b)(5), which is now

  23    807.   Mr. Sullivan's declaration establishes that the

  24    statements in the article, which is a transcript of a

  25    conversation between himself and the Defendant, are supported

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 252 of 366
                                                                                           252


   1    by sufficient guarantees of trustworthiness.                          The statements

   2    are more probative than any other evidence because the

   3    Plaintiffs cannot procure Mr. Sullivan's appearance at trial

   4    since he is a journalist and immune from a subpoena and resides

   5    outside the jurisdiction of the Court.

   6               We have made a notice of Plaintiffs' intent to offer

   7    the statements and a fair opportunity to meet 807(b) since at

   8    least September 11, 2019 when Mr. Sullivan's declaration was

   9    received.

  10         (Pause in proceedings.)

  11               MR. FREEDMAN:      Your Honor, in case I wasn't clear, I

  12    do not want his declaration in.                 We just want the statements of

  13    Dr. Wright in through the article, which purports to be a

  14    transcript.     The declaration is merely meant to go to the

  15    admissibility and the trustworthiness of the document.

  16               MS. MCGOVERN:      Your Honor, news articles like Miami

  17    Herald articles, or any other articles, are inadmissible

  18    hearsay.

  19               THE COURT:    All right.             Mr. Freedman, what I'll do is,

  20    because you're now for the first time making an argument with

  21    regard to 804(b)(5) -- and if you believe that there is a basis

  22    for this Court to even consider the admissibility, then I would

  23    suggest that you provide the Court with some authority.

  24               MS. MCGOVERN:      Your Honor, may we be provided an

  25    opportunity to file a one-page response to that issue?                         We can

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 253 of 366
                                                                                            253


   1    do so tonight, Your Honor.

   2               THE COURT:    I know you're hard at work preparing for

   3    trial, so I don't need exhaustive briefing.                           If there's some

   4    authority that the Court is to consider, then you can certainly

   5    just give it to the Court tomorrow morning.

   6               MS. MCGOVERN:      Okay.         Perfect, Your Honor.

   7               THE COURT:    I have two matters in the morning, but I

   8    can certainly review it.          When do you intend to or when did you

   9    want to introduce this?

  10               MR. FREEDMAN:      Depends on how the cross-examination of

  11    Dr. Wright goes, Your Honor, but we certainly will not use

  12    it --

  13               THE COURT:    Would it be in the morning?

  14               MR. FREEDMAN:      We can wait until you've had an

  15    opportunity --

  16               THE COURT:    Okay.        So you can give it to me and then I

  17    can at least rule on it before the afternoon.

  18               Are there any other issues for the Court to be

  19    prepared for?

  20               MR. FREEDMAN:      Not from Plaintiffs, Your Honor.

  21               MS. MCGOVERN:      Not from Defendant, Your Honor.                    Thank

  22    you so much.

  23               THE COURT:    We do have two matters in the morning, so

  24    I would again just ask you to move your items.                          Because we do

  25    have one individual coming from being in custody, so we will

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 254 of 366
                                                                              254


   1    need this whole area.

   2               If there's nothing further, have a nice evening.           I'll

   3    see you tomorrow morning at 10:00.

   4         (Proceedings adjourned at 5:57 p.m.)

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Case 9:18-cv-80176-BB Document 842 Entered on FLSD Docket 12/20/2021 Page 255 of 366
                                                                              255


   1    UNITED STATES OF AMERICA                  )

   2    ss:

   3    SOUTHERN DISTRICT OF FLORIDA              )

   4                             C E R T I F I C A T E

   5                I, Yvette Hernandez, Certified Shorthand Reporter in

   6    and for the United States District Court for the Southern

   7    District of Florida, do hereby certify that I was present at

   8    and reported in machine shorthand the proceedings had the 8th

   9    day of November, 2021, in the above-mentioned court; and that

  10    the foregoing transcript is a true, correct, and complete

  11    transcript of my stenographic notes.

  12                I further certify that this transcript contains pages

  13    1 - 255.

  14                IN WITNESS WHEREOF, I have hereunto set my hand at

  15    Miami, Florida this 17th day of November, 2021.

  16

  17                            /s/Yvette Hernandez
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                               MR. Entered
Case 9:18-cv-80176-BB Document 842  FREEDMAN:              155/12 155/18
                                           on FLSD Docket 12/20/2021 Page 256 of 366
   COURTROOM DEPUTY:           [218] 4/6 4/14              156/2 156/18 157/1
   [3] 7/10 86/8               7/11 7/20 7/24              157/9 157/20 158/1
   98/18                       8/12 8/17 83/2              158/4 158/9 158/25
   MR. BRENNER: [86]           83/10 83/17 83/20           159/14 161/14
   4/10 5/8 5/17 6/12          84/3 84/7 84/11             164/3 164/18
   6/16 7/2 7/25               85/2 85/25 86/13            164/20 166/2 166/9
   111/12 193/11               87/5 87/15 88/23            166/17 167/5
   210/17 210/24               91/1 91/9 91/12             167/12 168/21
   211/3 211/6 211/12          91/18 92/6 93/15            169/9 169/21 171/4
   211/15 211/17               94/5 94/21 95/11            171/20 172/12
   211/22 212/4                96/4 97/4 97/23             172/21 173/13
   212/12 212/22               98/3 98/9 98/13             174/2 174/11
   213/5 213/11                98/16 98/21 98/25           174/18 174/25
   213/15 214/4                100/1 100/25                175/6 175/12
   214/11 214/19               101/23 102/18               175/15 175/19
   215/2 215/17 216/5          103/1 104/16                175/24 176/12
   216/10 216/21               106/15 107/6                176/16 177/17
   217/9 217/16                107/13 108/17               177/22 177/25
   217/24 218/2                108/24 109/4                178/2 178/8 178/12
   218/19 219/12               109/22 110/4                178/18 179/10
   219/21 220/9                110/13 111/3                180/20 181/2
   221/22 223/14               111/13 112/24               181/11 182/18
   224/5 224/18                114/23 115/8 116/4          184/20 184/24
   224/20 224/24               117/8 118/11                185/23 186/5
   225/4 225/7 225/10          118/20 119/6                187/15 188/5
   225/14 225/17               119/23 121/15               188/10 188/13
   226/4 226/16                124/10 126/7 128/6          188/22 190/10
   226/23 227/1 227/4          129/4 129/25                190/22 191/8
   227/25 228/22               131/20 132/3                191/13 192/1
   229/10 229/23               132/16 132/23               192/10 192/16
   230/3 230/7 230/10          133/4 134/12                192/18 192/21
   231/5 231/25                134/21 135/2                193/3 193/12 194/3
   232/25 233/5 233/7          135/17 136/4                196/19 196/24
   233/12 233/25               137/11 137/17               197/7 197/18
   234/3 234/6 234/17          138/11 139/25               198/24 199/12
   234/22 235/7                140/21 141/24               199/25 200/10
   235/16 236/4                146/5 146/17 147/1          201/5 201/10
   236/10 237/21               147/21 147/25               201/14 202/13
   238/12 244/16               148/22 149/7 150/6          203/21 204/12
   244/19 244/23               150/15 152/11               205/22 207/7
   245/2 247/5 247/22          153/20 154/13               207/13 207/17
   248/4                       154/17 154/21               209/18 209/22
                               154/23 155/8                238/14 241/6
                               166/14
Case 9:18-cv-80176-BB Document 842      167/7
                                   Entered                 248/25 249/16
                                           on FLSD Docket 12/20/2021 Page 257 of 366
   MR. FREEDMAN:...            172/14 172/16               250/1 250/9 250/14
   [21] 241/22 243/2           175/8 178/20                252/16 252/24
   243/13 243/16               180/18 184/15               253/6 253/21
   243/24 244/6                188/7 192/14                THE COURT: [212]
   244/15 245/6                192/17 192/19               4/17 4/25 5/16 6/3
   245/11 246/13               193/1 197/21 198/6          6/10 6/13 7/1 7/3
   246/20 248/24               199/18 200/2 201/7          7/8 7/16 7/21 8/1
   249/1 250/2 250/10          201/11 201/13               8/3 8/15 8/20 9/3
   251/7 251/21                202/8 204/14                10/5 11/25 82/20
   252/11 253/10               207/12 207/14               82/24 83/4 83/7
   253/14 253/20               207/16 208/4                83/12 83/14 83/23
   MR. LAGOS: [15]             210/23 211/4                84/2 84/5 84/9
   9/2 9/4 10/3 12/3           211/23 212/5 213/2          84/21 85/10 85/17
   12/6 21/6 23/8              213/8 213/14                85/20 86/2 86/4
   30/9 49/24 55/20            213/18 213/23               86/12 89/11 91/14
   64/12 68/14 74/19           214/16 215/11               91/16 93/8 98/11
   77/20 80/11                 216/1 216/9 216/13          98/15 104/9 104/12
   MR. RIVERO: [2]             217/3 217/17                112/1 112/3 138/19
   83/11 92/17                 217/25 218/23               139/3 139/18
   MR. ROCHE: [1]              218/25 219/20               146/22 147/14
   4/8                         219/22 220/24               147/23 148/16
   MR. ZACK: [1]               222/14 223/11               149/10 155/5
   4/12                        223/24 224/1                155/16 156/1 156/4
   MS. LICATA: [1]             224/11 224/19               156/15 156/19
   23/5                        225/1 225/8 225/16          156/22 156/24
   MS. MCGOVERN:               225/22 225/24               157/3 157/5 158/7
   [144] 4/18 6/7              226/1 226/11                162/12 163/4
   6/11 7/5 84/22              226/25 227/8                164/22 164/25
   85/3 85/16 91/15            227/18 228/7                166/18 167/9
   93/7 104/8 104/10           228/16 229/2 229/7          172/15 172/18
   111/25 112/2                231/7 232/3 232/20          174/16 175/10
   138/17 139/1                233/2 233/6 233/13          175/21 177/24
   139/16 147/11               233/20 234/12               178/1 178/21
   147/18 148/15               234/20 234/24               184/16 188/8
   149/9 154/16                235/10 235/19               188/12 192/23
   154/18 154/22               236/16 236/24               198/7 199/20 200/7
   154/25 155/7                237/5 238/6 239/22          200/12 201/9
   155/10 155/14               240/14 240/19               201/12 202/10
   155/20 155/22               241/15 242/6                204/15 208/6
   156/5 156/9 156/13          242/14 243/19               209/20 209/24
   157/2 158/6 162/11          244/11 246/4                210/12 210/19
   163/1 164/23 165/1          246/14 247/13               210/21 211/1
                               248/7 248/22                211/10 211/14
                               244/17
Case 9:18-cv-80176-BB Document 842      244/21
                                   Entered on FLSD Docket '
                                                          12/20/2021 Page 258 of 366
   THE COURT:...               244/24 245/5     '7 [1] 206/8
   [113] 211/16                245/10 246/3     '8 [1] 206/8
   211/19 211/25               246/18 246/24    '90s [1] 173/23
   212/19 212/24               247/2 247/6 247/18
                                                'Add [1] 70/7
   213/7 213/16                247/25 248/5     'All [2] 75/21
   213/19 213/22               248/20 249/14     76/1
   214/9 214/12                249/24 251/11    'And [1] 15/18
   214/15 214/21               252/19 253/2 253/7
                                                'Andy' [1] 79/12
   215/7 215/10                253/13 253/16    'Are [1] 67/18
   215/16 215/22               253/23           'At [3] 70/23 71/4
   215/25 216/7                THE COURTROOM     80/23
   216/12 217/7                DEPUTY: [1] 4/2  'B' [2] 180/5
   217/12 217/15               THE WITNESS: [13] 180/24
   218/16 218/24               86/10 89/12 91/11'B,' [1] 185/7
   220/6 220/22                104/13 139/19    'But [2] 51/12
   221/20 222/12               148/18 158/3 163/771/8
   223/4 223/10                175/14 175/18    'By [1] 60/11
   223/21 223/25               178/16 198/9 208/7
                                                'CO1N [1] 40/12
   224/7 224/10               $                 'Coin [1] 39/4
   224/22 225/3 225/6         $10 [1] 162/24    'Coin-Exch [1]
   225/19 225/23              $10,000 [1] 209/15 39/4
   225/25 226/20              $2.2 [1] 208/19   'consists [1]
   226/22 227/3 227/6         $2.2 million [1]   24/19
   227/14 227/17               208/19           'Craig [3] 58/17
   228/15 228/24              $20 [2] 162/17     58/18 59/8
   229/5 229/9 229/20          209/15           'Craig.' [1] 69/7
   229/24 230/4 230/8         $28 [3] 99/24     'Currently [2]
   231/3 231/17 232/1          100/17 125/7      56/10 58/10
   232/18 233/1 233/8         $28,534,000 [1]   'CW [1] 81/13
   233/11 233/16               117/12           'CW,' [1] 81/11
   233/19 234/2 234/5         $28,743,000 [1]   'Dave [4] 52/10
   234/15 234/19               132/11            56/23 62/3 69/21
   234/23 235/8               $29 [1] 132/14    'did [1] 64/3
   235/15 235/17              $30 [1] 109/19    'Do [3] 16/21
   236/8 236/19               $35 [1] 205/20     56/14 67/13
   236/22 237/1               $378,475,713 [1]  'From [1] 70/24
   237/16 238/8                41/14            'He [3] 62/8 78/23
   240/11 240/16              $50,000 [2] 163/9  79/5
   241/11 241/14               163/9            'he' [1] 62/21
   242/4 242/9 243/11         $56 [3] 102/15    'He's [1] 181/7
   243/14 243/18               104/4 113/20     'Hey [1] 52/5
   244/4 244/7 244/12                           'Hi [1] 65/7
                              81/5Entered on FLSD Docket 12/20/2021
  ' 9:18-cv-80176-BB Document 842
Case                                                      171/7 227/12
                                                                    Page 259247/9
                                                                             of 366
  'Hotwire [2] 32/16         'They [3] 56/18     10-2 [2] 1/24
   34/19                      56/20 65/20         255/18
  'How [1] 181/6             'They,' [1] 56/14   10-minute [1]
  'I [12] 51/7 55/12         'This [3] 13/19      156/20
   61/25 63/19 66/5           38/18 38/19        100 [3] 1/18
   69/20 70/1 71/24          'to [1] 35/11        152/17 152/20
   76/9 76/24 78/13          'Unlike [3] 79/17   1000 [1] 1/22
   78/18                      79/19 79/21        101 [2] 2/15
  'I'll [1] 51/20            'w [6] 33/16 33/20   214/14
  'I've [2] 17/22             37/8 39/24 40/22   102 [3] 2/15
   53/3                       81/22               214/15 215/9
  'If [1] 13/10              'We [2] 62/11 78/9  104 [2] 207/8
  'IP [1] 21/8               'Well [2] 53/11      207/13
  'IP' [1] 21/9               54/24              10:00 [3] 6/5
  'It [2] 39/7 44/4          'WFT [1] 80/17       210/4 254/3
  'Let's [3] 72/9            'What [2] 73/12     10:03 [1] 8/2
   72/11 73/2                 179/23             10th [3] 150/3
  'Look [1] 37/2             'Whatever [1]        150/16 185/15
  'Maybe [1] 67/7             13/23              11 [8] 3/9 61/11
  'No [3] 64/5 67/1          'Why [2] 65/1        135/3 228/25 229/1
   67/2                       182/6               229/3 247/10 252/8
  'Not [2] 64/9 69/4         'work' [1] 17/25    114 [2] 2/23 247/7
  'Obtained [1] 25/9         'working [1] 35/14  11:39 [1] 82/23
  'Oh [2] 47/13              'You [2] 13/6       11:40 [1] 83/6
   60/12                      64/19              11:59 [2] 83/6
  'Okay [1] 69/17            'Your [1] 53/4       83/13
                                                 11th [2] 165/25
  'ownership [1]             .                    168/9
   31/11                     .02 [1] 195/20
  'Please [1] 75/18                              12 [14] 55/20
  'so.' [1] 14/4             /                    92/18 92/21 92/22
  'Something [1]             /s/Yvette [1]        93/13 106/21
   77/9                       255/17              106/22 108/19
  'source [1] 39/21                               132/17 132/19
  'Tell [1] 58/6
                             1                    134/22 174/21
  'Thanks [2] 65/16          1.1 million [4]      176/13 241/8
   75/15                      88/14 138/24 139/8 122 [3] 201/9
  'that [1] 47/14             139/13              201/12 240/16
  'the [14] 24/16            10 [18] 1/11 3/9    12:00 [1] 83/19
   31/1 31/14 35/2            5/21 6/5 19/16     12:53 [3] 83/19
   62/21 62/24 63/3           20/11 20/12 49/24   84/1 84/4
   63/7 63/16 66/8            50/1 64/3 134/13   12th [2] 204/22
   73/16 76/5 76/13           154/14 154/24       214/3
                              155/18 163/18      13 [8] 103/2 110/5
                              61/4Entered on FLSD Docket 12/20/2021
  1 9:18-cv-80176-BB Document 842
Case                                                      185/19 186/4
                                                                    Page 260 of 366
  13... [6] 132/25           183 [2] 2/16       2011 [16] 9/20
   133/5 157/23               217/14             10/22 13/12 13/16
   157/25 159/16             188 [2] 2/13 2/13   13/21 87/14 87/17
   159/19                    189 [3] 2/13 200/8 100/14 102/22
  131 [2] 88/24 97/5          200/9              132/20 133/18
  138 [2] 111/4              18pxbitcoinsign.svg 183/1 195/18 196/5
   118/21                    .png [1] 185/22     196/10 206/24
  13th [4] 101/17            18th [3] 154/14    2012 [8] 12/18
   101/20 104/3 105/2         154/24 156/3       12/22 13/2 13/9
  14 [2] 135/18              1900 [1] 131/1      13/22 202/5 202/21
   151/22                    199 [1] 2/13        232/22
  149 [4] 2/10 2/10          1998 [1] 161/4     2013 [54] 9/15
   2/13 188/9                19th [4] 69/2       9/22 23/18 23/24
  15 [7] 6/22 32/4            105/2 111/9 111/18 24/1 24/2 24/4
   32/21 150/9 169/2         1:54 [1] 84/4       27/18 28/7 28/10
   169/24 170/2              1:55 [1] 83/25      88/17 88/21 89/3
  158 [2] 2/10 2/10          1:56 [1] 85/19      89/5 89/16 89/20
                                                 96/23 99/6 101/17
  15th [4] 23/18             2                   101/20 102/22
   23/24 27/18 212/18        20 [7] 66/8 77/20
  16 [5] 32/22 64/12                             104/3 105/2 105/3
                              79/1 83/5 120/14   111/9 111/18
   64/14 140/22               156/20 202/20
   151/21                                        119/21 120/8
                             20-minute [2]       120/14 120/25
  167 [4] 2/11 2/11           82/22 156/22
   2/12 178/22                                   121/24 130/16
                             20-some [1] 225/9   133/1 133/8 135/20
  169 [7] 2/20               200 [4] 1/15 2/11
   217/15 218/19                                 137/24 148/8
                              2/13 172/20        148/20 149/20
   218/22 226/22             2000 [1] 79/2
   226/23 227/16                                 150/3 150/14
                             2004 [1] 161/2      150/16 152/16
  17 [7] 37/7 68/14          2006 [2] 78/24
   68/16 68/17 149/5                             159/20 163/21
                              79/3               206/22 208/22
   150/10 166/21             2006.' [1] 79/5
  172 [4] 2/11 2/11                              212/10 213/7 214/3
                             2007 [2] 76/22      214/18 230/12
   2/11 167/11                206/7
  175 [2] 2/12 2/12                              230/13 240/22
                             2008 [3] 100/6     2013.' [1] 80/17
  176 [1] 245/8               206/3 206/4
  178 [2] 2/12 2/12                             2014 [22] 10/9
                             2009 [8] 118/3      10/12 28/6 28/7
  17th [2] 83/18              183/5 183/8 200/20 86/24 97/1 160/16
   255/15                     200/23 208/13
  18 [3] 38/24 74/19                             160/25 163/22
                              208/14 208/17      165/25 168/9
   149/5                     2010 [8] 9/17
  18-80176 [1] 4/3                               177/11 177/13
                              17/22 180/7 184/7  180/14 199/11
  18-hour [2] 60/17           185/15 185/17      200/21 204/22
  2 9:18-cv-80176-BB Document226
Case                              Entered2/19
                              842 [2]           2/20
                                          on FLSD Docket 250,500
                                                         12/20/2021 [3]   137/23
                                                                    Page 261 of 366
  2014... [5] 209/10         227 [1] 2/20                 138/23 139/5
   212/18 216/3 216/9        228 [1] 2/20                2525 [1] 1/22
   226/24                    23 [3] 38/4 41/10           255 [3] 1/8 2/2
  2015 [11] 10/13             95/13                       255/13
   65/5 80/14 81/24          231 [1] 2/20                25th [7] 89/3 89/5
   171/8 171/13              233 [4] 2/21 2/21            89/16 89/20 99/6
   172/25 205/1 206/3         2/21 2/21                   226/2 228/10
   217/23 226/2              23rd [5] 69/3               26 [7] 92/18 94/6
  2016 [6] 75/7               149/20 214/17               114/24 118/15
   235/1 235/14               217/22 241/19               128/7 128/9 131/21
   239/23 242/15             24 [4] 3/7 135/22           261 [5] 2/18
   246/18                     161/15 247/9                223/10 223/11
  2017 [4] 235/23            240 [8] 2/17 2/22            223/21 223/23
   238/8 239/22               218/24 218/25              26th [4] 86/23
   241/19                     220/6 222/13 223/7          96/23 151/23 152/1
  2019 [4] 148/3              223/9                      27 [1] 132/4
   156/1 207/8 252/8         241 [2] 2/22 2/22           27th [7] 100/6
  2020 [1] 83/18             242 [1] 2/22                 199/11 216/3 216/8
  2021 [6] 1/5               245661 [1] 104/17            226/24 232/22
   154/14 154/24             246 [1] 2/23                 240/22
   156/3 255/9 255/15        247 [59] 2/23 2/23          28 [3] 12/17 101/1
  204 [2] 2/14 2/14           2/23 2/24 2/24              102/6
  20th [1] 172/25             2/24 2/24 2/25             28.2 million [1]
  21 [1] 140/2                2/25 3/2 3/2 3/3            119/14
  213 [2] 2/14 2/14           3/3 3/3 3/3 3/4            2800 [1] 1/18
  214 [3] 2/15 2/15           3/4 3/4 3/4 3/5            287 [1] 55/24
   2/15                       3/5 3/5 3/5 3/6            29 [2] 5/19 95/11
  215 [3] 2/15 2/16           3/6 3/6 3/6 3/7            291 [1] 3/5
   2/16                       3/7 3/7 3/7 3/8            299 [5] 2/18
  216 [1] 2/16                3/8 3/8 3/8 3/9             223/24 224/1 224/4
  217 [1] 2/16                3/9 3/9 3/9 3/10            224/9
  218 [5] 2/17 2/17           3/10 3/10 3/10             2nd [6] 1/18
   2/17 217/20 217/21         3/11 3/11 3/11              135/20 150/14
  22 [4] 68/13 80/11          3/11 3/12 3/12              212/10 213/7 235/1
                              3/12 3/12 3/13
   207/8 207/13
                              3/13 3/13 3/13
                                                         3
  221 [4] 2/17                                           30 [3] 6/22 29/16
   217/17 217/18              3/14 3/14 3/14
                              3/14                        217/16
   218/18                                                300,000 [2] 132/25
  223 [4] 2/17 2/18          24th [1] 151/25
                             25 [5] 166/12                133/9
   2/18 2/18                                             305 [4] 2/14 3/5
  224 [2] 2/18 2/19           166/13 167/1 207/9
                              207/13                      204/16 255/19
  225 [2] 2/19 2/19                                      306 [1] 234/19
                             250,000 [1] 138/15
  3 9:18-cv-80176-BB Document3A842[1]
Case                                    137/23
                                   Entered on FLSD Docket 49  [1] 122/18
                                                          12/20/2021 Page 262 of 366
  30th [8] 75/7               3B [1] 24/14                49.5-percent [1]
   120/24 121/24              3rd [3] 119/21               139/14
   137/23 138/3 142/9          235/23 238/8               492 [1] 243/21
                                                          4951 [1] 122/16
   152/3 152/16               4                           4B [3] 138/5
  31 [2] 94/21                40 [1] 168/24
   233/14                                                  138/11 139/14
                              400 [2] 1/24                4th [5] 131/18
  32 [5] 5/21 35/21            255/18
   49/21 130/9 190/13                                      141/20 156/1 207/8
                              403 [4] 2/22                 235/14
  323,000 [4] 138/7            241/15 242/12
   138/16 138/23               242/13                     5
   139/5                      405 [1] 3/12                50 [8] 6/22 6/23
  33 [2] 3/10 5/21            405661 [1] 142/13            60/15 83/3 95/18
  33128 [2] 1/25              406 [1] 3/13                 95/18 143/22 144/4
   255/18                     407 [1] 3/13                500 [1] 66/9
  33131 [2] 1/15              408 [1] 3/14                50s [1] 6/23
   1/19                       41 [3] 166/9                51 [15] 2/20
  33134 [1] 1/22               168/22 169/23               122/18 124/23
  332 [7] 2/19                410 [1] 3/14                 125/2 144/3 228/17
   224/10 224/11              411 [3] 235/18               229/4 229/5 229/8
   224/18 224/20               235/20 240/13               231/1 231/3 231/6
   224/21 225/21              43 [2] 2/16 215/24           231/24 233/5
  34 [1] 104/17               439 [2] 2/12                 233/14
  340 [1] 203/1                175/23                     510 [1] 243/21
  349 [1] 3/10                45 [1] 168/24               511 [1] 243/21
  356 [1] 3/11                45-page [1] 168/25          512 [1] 243/21
  36 [3] 118/12               452 [5] 2/21 232/5          52 [1] 3/7
   118/15 119/24               232/5 233/14               523-5698 [1]
  361 [1] 3/11                 233/18                      255/19
  367 [2] 234/23              457 [5] 2/23                53 [1] 3/8
   234/24                      242/14 246/3               54 [6] 2/21 232/1
  37 [8] 227/19                246/25 247/1                232/3 232/19
   228/22 231/1 231/6         459 [2] 2/10                 232/20 232/25
   231/25 233/6 233/7          149/12                     550 [1] 181/25
   233/14                     46 [2] 33/16 34/6           5500 [1] 1/15
  384 [2] 235/9               460 [1] 243/21              56 [1] 146/9
   235/11                     464 [7] 2/10                5661 [2] 105/7
  392 [1] 3/12                 154/19 154/19               115/3
  3:28 [2] 156/21              158/8 192/16               5698 [1] 255/19
   156/23                      192/17 192/24              57 [1] 3/8
  3:30 [1] 146/24             466 [4] 233/19              570,000 [2] 138/23
  3:50 [2] 156/23              233/20 234/1 234/3          139/5
   157/4                      489 [1] 248/22              59 [2] 143/6
  5 9:18-cv-80176-BB Document80176
Case                                [1] on4/3
                              842 Entered  FLSD Docket able   [15]Page8/7
                                                       12/20/2021          13/9
                                                                       263 of 366
  59... [1] 146/10          804 [2] 251/22              15/4 32/17 46/18
  5983 [4] 111/11            252/21                     46/20 47/24 48/18
   111/19 119/2             807 [2] 251/23              51/12 58/7 70/6
   142/13                    252/7                      78/19 126/18 229/9
  5:00 [1] 209/25           83 [3] 2/6 233/11           242/19
  5:01 [1] 210/11            233/12                    ABN [5] 94/10
  5:34 [1] 75/7             86 [1] 2/7                  97/13 101/10 105/8
  5:57 [1] 254/4            875 [1] 245/13              111/21
  5th [2] 128/12            88 [1] 57/14               about [154] 12/17
   128/15                   89-10 [1] 227/12            12/22 12/24 13/5
                            8th [2] 205/1               14/19 15/8 15/19
  6                          255/8                      15/21 17/11 25/13
  62 [3] 130/1 212/5                                    41/9 43/19 43/23
                            9                           44/18 45/1 46/7
   212/6
  636 [5] 2/19       90 [2] 170/10                      46/12 47/2 47/20
   225/23 225/24      250/9                             47/21 49/5 51/2
   226/1 226/21      91 [3] 2/9 2/9                     51/16 52/13 54/5
  638 [4] 2/22        2/25                              55/2 55/4 55/15
   240/18 240/19     92 [1] 3/2                         58/4 58/17 61/19
   241/13            93 [2] 154/14                      61/19 63/11 64/24
  66 [1] 150/21       155/17                            65/9 65/23 65/25
  661 [1] 122/3      93-10 [1] 154/24                   67/1 67/2 67/4
  6th [4] 128/13     93-7 [1] 154/24                    67/7 67/10 67/15
   128/14 141/21     94 [1] 3/3                         67/20 68/2 70/9
   141/25            96 [1] 3/3                         70/10 70/11 70/17
                     97 [1] 3/4                         70/17 71/10 71/18
  7                  98 [1] 152/12                      71/19 72/6 72/11
  709 [1] 104/16     983 [1] 122/3                      72/14 72/15 72/16
  710 [1] 98/15      99.98 [1] 195/18                   72/22 72/23 73/2
  72 [2] 150/7       9:00 [1] 120/25                    73/24 74/8 74/9
   150/16            9:18-cv-80176-BB                   74/13 74/24 76/21
  74 [7] 227/9 232/1 [1] 1/2                            76/23 77/2 77/14
   232/5 232/5 233/1 9:45 [2] 210/3                     77/16 77/17 77/18
   233/4 233/10       210/10                            78/5 78/25 79/18
  748 [2] 2/9 91/17 9:58 [2] 1/6 4/1                    79/24 81/8 82/7
  75 [1] 2/24        A                                  84/14 84/23 84/25
  76 [3] 2/14 213/1                                     101/19 102/6
   213/21            a.m [8] 1/6 4/1
                      8/2 82/23 83/6                    103/23 128/3
  78 [1] 2/24                                           128/22 129/5
                      83/6 83/13 120/25
  8                  ability [5] 18/18                  131/19 133/25
                      18/24 39/7 85/5                   134/4 134/5 138/23
  8/28/2013 [1]
                      232/13                            139/5 143/20
   120/8
                                                        143/21 143/23
  A 9:18-cv-80176-BB Documentaccepted
Case                          842 Entered[1]
                                          on FLSD Docket accurately
                                                         12/20/2021 Page[1]
                                                                         264 of 366
  about... [57]               198/22                      206/16
   144/16 144/20             access [4] 15/15            accusations [1]
   145/1 145/2 146/19         18/19 46/19 47/11           48/19
   146/24 147/4 147/8        accomplish [1]              acknowledge [4]
   151/1 151/11               117/9                       109/7 109/7 226/7
   159/23 164/16             accordance [1]               247/22
   166/22 171/12              92/14                      acknowledged [1]
   171/16 174/24             according [2]                217/1
   179/20 180/11              38/13 38/16                acknowledgement [6]
   181/25 182/3 183/9        account [3] 94/12             105/6 105/24
   187/13 188/17              128/21 196/11               111/6 115/6 115/12
   191/4 193/7 193/16        accountant [11]              124/2
   194/17 194/17              37/3 37/4 59/6             acknowledgment [8]
   195/3 195/5 204/9          60/6 60/10 61/2             104/6 104/25
   205/16 205/16              169/7 187/18 189/3          107/11 111/18
   206/1 206/3 206/15         208/15 209/16               118/22 124/3
   206/20 206/25             accountants [11]             247/20 248/1
   210/7 213/12 214/6         26/10 26/17 27/22          acm.org [1] 120/5
   214/7 218/4 219/24         37/19 37/20 59/19          acres [1] 181/25
   222/4 222/25               60/3 60/3 60/5             across [4] 50/13
   223/20 227/5               60/25 209/3                 94/14 163/14 165/8
   227/24 228/14             accounted [3]               act [11] 108/6
   235/24 236/15              33/16 47/14 47/14           108/15 109/17
   237/3 237/12              accounting [5]               110/1 113/8 124/21
   249/11 249/20              60/4 80/1 129/3             126/10 126/23
   251/18                     129/10 129/12               131/1 143/18
  above [3] 31/14            accounts [27] 60/8           144/10
   150/17 255/9               60/9 76/11 88/15           acted [2] 88/20
  above-mentioned [1]         127/9 127/12                209/3
    255/9                     127/16 127/19              acting [9] 108/15
  absence [1] 221/17          128/19 128/20               109/14 110/11
  absolutely [9]              128/25 129/2 129/2          130/14 142/7 143/2
   67/25 70/19 71/19          129/2 129/7 129/9           148/13 218/8
   71/21 74/4 116/13          129/21 130/7 130/7          219/17
   183/11 196/16              130/8 130/8 131/7          action [6] 89/13
   231/13                     131/9 131/11                89/19 96/19 97/10
  academic [1] 56/21          131/12 131/16               102/8 108/12
  accelerates [1]             196/13                     actions [3] 96/15
   34/19                     accuracy [2] 27/25           96/20 215/5
  accept [4] 117/19           32/19                      activities [4]
   138/7 198/22              accurate [7] 26/24           33/21 37/9 87/13
   198/23                     33/10 36/2 154/9            87/14
                              170/20 196/3 209/5         actual [6] 14/1
Case                          107/21
  A 9:18-cv-80176-BB Document 842      108/2
                                  Entered       113/6
                                          on FLSD         225/19 227/15
                                                  Docket 12/20/2021 Page 265 of 366
  actual... [5]               113/14 155/4                229/22 231/14
   22/21 28/22 28/23          156/25 159/7 173/2          233/17 241/12
   230/8 251/10               173/18 232/7 232/8          242/5 244/10 245/3
  actually [82]               248/6 248/17                247/6
   11/17 12/14 14/10         addressed [1]               admittedly [1]
   15/1 19/13 20/22           221/7                       226/7
   25/9 25/16 25/22          addresses [13]              advance [1] 155/2
   25/23 26/8 26/8            19/6 19/8 19/11            advice [2] 26/18
   27/2 27/6 27/12            58/14 130/19                27/22
   27/15 27/15 28/1           130/19 130/20              advise [1] 6/14
   28/24 34/11 34/12          130/23 131/15              advised [3] 84/17
   37/3 39/14 39/17           191/17 193/9                120/7 248/10
   39/20 39/22 41/3           193/17 196/8               advocating [1]
   42/4 43/6 44/10           adequately [1]               240/4
   48/23 49/17 52/11          195/14                     affair [3] 74/1
   54/21 57/9 60/8           adjourn [2] 209/21           234/20 237/22
   61/19 63/13 65/14          210/1                      Affair' [1] 73/17
   66/16 68/1 70/20          adjourned [1]               affairs [1] 208/24
   80/3 81/9 92/23            254/4                      affidavit [26]
   93/3 96/24 101/21         admissibility [4]            94/15 94/23 95/12
   103/3 117/1 125/17         215/22 243/8                95/15 109/23
   125/17 125/18              252/15 252/22               126/22 127/1 127/6
   127/9 127/11 128/7        admissible [2]               128/14 129/14
   138/6 139/10               229/17 251/22               129/20 131/23
   140/17 146/2 150/8        admission [5]                134/11 134/15
   151/22 151/25              212/20 223/20               134/16 134/24
   152/5 152/8 162/23         231/14 232/15               141/20 143/3
   165/15 176/17              239/19                      143/21 143/22
   184/7 184/24              admit [2] 186/15             144/4 145/19
   186/14 186/19              244/7                       249/17 250/11
   191/14 195/17             admitted [38] 2/9            250/25 251/18
   196/8 197/24               3/2 5/13 5/23              affidavits [6]
   199/14 220/16              86/19 91/16 140/13          129/15 129/17
   220/22 232/3 240/5         158/7 166/15                131/5 131/18
   246/5                      167/10 172/19               131/18 146/13
  add [2] 235/2               175/22 178/21              affiliated [1]
   237/6                      188/8 199/18 200/8          29/25
  additional [1]              201/12 203/24              affirmed [5] 95/1
   235/1                      204/15 213/20               95/3 133/17 134/6
  address [20] 6/4            214/13 215/8                134/24
   7/4 50/11 50/12            215/23 217/13              after [51] 6/4
   50/16 56/7 86/22           218/1 218/17                9/21 14/20 23/24
                              223/22 224/8                41/20 52/16 52/18
Case                          223/14
  A 9:18-cv-80176-BB Document 842      224/12
                                  Entered                 117/17 117/18
                                          on FLSD Docket 12/20/2021 Page 266 of 366
  after... [44] 55/6          228/18 229/10               119/15 133/8
   59/20 60/3 60/10           243/2 247/23                133/14 133/23
   60/18 60/22 64/3           253/24                      133/24 133/24
   83/22 89/21 94/2          again.' [2] 13/21            134/1 134/3 134/5
   97/13 97/19 99/6           37/2                        135/6 135/8 141/1
   100/21 105/2              against [28] 45/1            170/2
   123/13 133/18              45/6 45/20 45/23           agreements [2]
   134/7 144/5 146/13         45/24 53/17 53/23           80/24 133/19
   148/3 148/5 152/2          88/18 89/6 89/16           ahead [12] 8/11
   162/16 171/10              89/24 90/3 96/3             14/25 17/10 61/5
   180/14 183/1               96/8 97/9 100/17            63/23 82/21 84/9
   184/18 185/14              100/22 101/11               118/15 173/17
   186/8 206/22               104/4 110/24 142/5          210/14 245/5 250/9
   208/25 219/17              153/10 153/14              Alex [1] 7/9
   222/24 228/2               162/19 163/8               Alexandra [1]
   229/21 236/6 240/8         187/14 190/8                161/17
   241/22 242/17              219/25                     algorithms [9]
   246/6 249/4 250/21        agent [9] 106/11             11/21 15/10 15/10
   250/24                     106/12 107/1 108/7          18/22 19/4 24/19
  afternoon [6] 5/6           108/23 112/10               40/23 40/25 88/4
   5/13 86/4 86/16            112/12 148/14              align [1] 197/13
   86/17 253/17               219/17                     alike [1] 141/14
  afterwards [1]             ago [15] 12/19              alive [1] 148/10
   133/22                     30/17 30/18 56/6           alive.' [1] 65/21
  again [52] 5/11             79/1 81/9 99/19            all [176] 4/17
   8/5 37/14 37/14            150/9 173/22 199/6          5/16 6/3 6/5 7/3
   38/9 40/17 54/2            204/3 204/19 206/7          7/21 8/15 10/6
   65/13 68/23 84/20          214/20 235/23               12/16 13/5 15/3
   92/9 92/12 99/16          agree [16] 18/7              15/7 18/12 18/21
   100/2 100/23 101/8         35/5 35/7 35/7              19/3 19/3 19/4
   101/10 101/21              72/13 72/21 85/10           19/14 19/15 22/4
   102/8 105/1 107/7          123/7 126/1 215/22          25/3 28/14 29/5
   108/19 111/16              223/7 226/12                33/6 37/24 38/13
   112/5 113/3 113/6          228/15 231/21               42/13 43/10 43/24
   113/8 113/11               240/11 242/25               44/13 44/13 46/4
   115/16 118/17             agreed [8] 5/18              46/6 46/9 46/20
   142/5 142/12 152/8         100/7 103/9 117/18          47/3 51/10 53/2
   169/10 169/23              135/11 137/3 137/5          53/5 54/13 57/11
   169/23 176/16              176/10                      60/18 61/4 61/9
   189/1 193/14 196/5        agreeing [1]                 64/19 66/14 66/16
   199/9 206/13               109/16                      66/19 66/21 73/15
   209/12 210/3 213/8        agreement [17]               76/17 82/20 83/4
                              42/25 105/19                83/7 83/12 83/14
Case                          223/25
  A 9:18-cv-80176-BB Document 842      224/10
                                  Entered                 145/13 149/19
                                          on FLSD Docket 12/20/2021 Page 267 of 366
  all... [120] 84/2           225/23 226/17               177/22 180/25
   84/5 85/14 85/20           226/22 227/17               182/10 182/13
   88/14 89/12 90/18          228/24 229/5 229/9          182/20 182/23
   95/23 96/1 96/10           229/13 230/1 231/5          185/2 190/11 201/6
   96/11 103/12               231/6 232/18 233/1          218/23 240/16
   104/15 105/12              233/16 234/5               also [53] 4/14
   105/21 110/20              234/19 235/9                4/19 11/5 23/13
   110/25 115/7               235/19 241/14               23/15 23/20 25/20
   115/16 118/25              241/23 244/7                35/20 39/7 39/18
   120/25 121/12              244/12 244/21               40/8 51/4 51/17
   121/13 123/7 124/9         247/2 247/18 248/5          53/9 58/25 71/4
   127/12 127/15              252/19                      75/15 78/23 87/2
   128/18 128/25             allegation [1]               90/9 90/9 90/22
   130/9 130/22               48/21                       101/1 106/1 107/21
   137/10 137/14             alleged [2] 126/16           109/14 121/7
   138/15 144/6               214/7                       122/19 126/23
   144/13 144/18             allegedly [1]                138/1 141/25
   145/19 150/23              144/6                       143/18 146/11
   151/2 156/4 156/19        allocates [1]                150/4 153/4 161/10
   156/22 156/24              35/20                       166/23 181/5
   157/3 157/5 159/8         allow [12] 15/10             185/19 185/21
   164/3 170/10               138/19 149/10               186/13 189/10
   170/12 172/18              163/6 198/7 200/7           190/3 206/23 209/4
   174/16 187/9               231/13 231/22               209/16 218/9 227/8
   189/13 189/16              231/23 232/14               227/12 235/2 235/5
   190/20 192/9 193/4         232/15 249/8                244/13 244/16
   193/22 194/14             allowed [2] 162/23          although [4] 44/4
   195/2 195/18               186/22                      48/3 61/18 138/5
   195/24 196/5              allowing [1] 96/10          always [5] 6/20
   196/11 196/13             allows [4] 78/20             38/23 58/6 65/16
   196/18 196/23              250/7 250/10                169/6
   197/2 199/5 201/9          250/17                     am [25] 8/8 9/13
   203/15 203/22             almost [4] 61/19             12/20 13/9 14/17
   205/15 206/24              89/20 205/1 220/11          20/5 28/18 38/23
   208/11 209/24             alone [4] 236/2              40/4 42/19 52/13
   210/15 211/1               238/3 239/9 239/12          55/23 56/1 60/18
   212/24 213/22             along [1] 98/24              62/18 72/19 106/11
   214/12 216/12             already [26] 5/23            106/12 112/9
   217/12 217/17              13/12 51/11 53/16           124/14 130/13
   218/10 218/24              81/2 86/18 114/21           152/24 166/17
   220/13 220/20              121/16 125/23               174/20 239/20
   223/16 223/20              127/15 129/16              AMANDA [2] 1/21
                              131/23 140/22               4/18
Case                          55/13
  A 9:18-cv-80176-BB Document 842                         11/10 11/23
                                  Entered on FLSD Docket 12/20/2021       20/14
                                                                    Page 268 of 366
  amended [1] 234/21         annotate [1] 75/24           27/24 30/12 30/20
  America [5] 92/2           annotations [3]              32/19 33/5 33/24
   92/14 163/21               75/22 76/1 225/11           34/3 35/25 36/1
   220/19 255/1              annotations.' [1]            36/3 37/13 37/15
  American [1]                75/21                       40/21 41/2 41/18
   143/16                    another [24] 15/2            46/17 46/22 47/18
  Ami [1] 214/2               22/1 29/16 36/6             48/19 57/12 57/13
  Amit [1] 4/20               54/24 59/18 100/22          57/24 58/1 65/22
  among [2] 78/2              101/3 101/20 111/6          67/18 69/13 69/23
   228/10                     122/13 124/22               80/13 91/14 110/9
  amount [18] 13/14           170/23 178/10               113/21 123/2 125/6
   45/25 60/12 63/3           180/7 184/19                125/6 125/12
   63/7 98/8 99/23            185/16 185/18               125/12 125/16
   102/3 102/6 103/9          185/21 186/2 186/9          127/20 138/2
   103/12 109/8 121/7         196/22 225/8 232/4          142/23 147/22
   121/10 132/15             answer [31] 10/16            154/11 157/17
   162/24 163/7 203/6         17/16 20/18 29/5            157/18 162/1 169/5
  analogous [1]               29/11 29/13 47/17           183/16 183/20
   16/25                      47/24 52/1 54/4             183/20 187/4
  analysis [4]                58/7 61/6 61/8              198/12 207/4
   245/20 245/25              61/9 85/8 152/15            207/22 208/2 210/8
   246/10 246/16              155/9 155/9 156/12          211/25 215/19
  ANDRES [2] 1/20             202/10 202/12               221/24 227/21
   4/23                       206/16 207/1 207/5          237/15 238/7
  Andresen [13]               208/1 209/17                238/10 238/11
   234/19 234/25              238/12 245/18               239/25 242/21
   235/13 235/20              245/20 245/24               248/5 249/8 251/14
   235/22 236/11              246/23                      252/2 252/17
   236/14 237/19             answered [4] 16/17           253/18
   237/21 238/9               60/20 111/25 112/2         anybody [1] 7/18
   238/23 239/13             answers [1] 9/1             anymore [2] 28/4
   244/9                     anti [2] 163/24              166/25
  ANDREW [16] 1/17            164/10                     anyone [5] 177/4
   2/5 4/10 6/19 49/8        Anti-Avoidance [1]           187/6 201/3 210/6
   51/5 76/24 77/14           164/10                      210/6
   83/17 163/16              anti-GST [1]                anything [21] 7/3
   169/12 169/15              163/24                      15/19 17/8 18/18
   187/18 189/7 224/3        anticipated [1]              19/23 36/9 54/1
   224/22                     5/5                         54/10 55/15 55/17
  Andy [1] 79/10             Antonopoulos [1]             78/13 83/8 141/14
  Angela [1] 153/25           195/23                      156/24 179/22
  angry [2] 14/11            any [79] 5/6 5/7             182/14 208/21
                              8/24 8/25 11/10             232/18 241/20
Case                          123/18
  A 9:18-cv-80176-BB Document 842                         122/12 129/2
                                  Entered on FLSD Docket 12/20/2021 Page 269 of 366
  anything... [2]            approximately [3]   130/12 138/24
   243/23 246/3               139/7 160/16 161/2 139/8 139/10
  apart [2] 195/20           April [22] 24/2     142/12 142/14
   221/4                      24/4 86/23 96/23   144/7 145/11
  apologetic [1]              132/20 135/20      146/22 147/7
   51/14                      137/24 138/3 148/3 147/10 150/18
  apologize [8] 5/3           148/8 150/3 150/16 152/15 154/16
   112/6 155/22               151/23 152/3       155/1 155/2 159/23
   174/15 194/9               152/16 156/1       161/6 162/7 162/16
   217/25 218/21              159/20 186/3 186/4 166/25 168/18
   219/20                     207/8 212/10       170/24 174/19
  apologizing [2]             212/18             176/11 179/23
   239/8 239/14              archive [1] 78/14   186/23 189/13
  app [1] 160/5              are [179] 6/1 6/2   191/5 194/9 195/18
  apparent [2] 79/4           8/13 9/12 10/11    195/19 195/19
   222/17                     11/16 11/17 13/7   195/25 197/15
  apparently [2]              13/23 21/15 21/15  198/3 201/1 201/20
   74/12 218/20               22/6 22/23 23/21   203/15 206/20
  appear [3] 67/9             25/1 25/3 25/3     209/25 210/22
   176/13 244/2               25/23 25/24 26/4   212/11 216/16
  appearance [3]              28/17 29/1 29/1    218/20 219/7
   122/8 142/19 252/3         29/10 29/13 29/17  219/11 221/1
  appearances [2]             31/10 31/18 32/4   221/13 222/18
   1/12 4/4                   32/21 37/25 38/13  224/16 224/18
  appeared [3] 122/6          38/21 39/17 42/17  228/5 228/5 229/19
   130/21 142/15              44/7 44/10 44/13   230/2 230/4 230/14
  appears [5] 124/3           44/13 44/18 46/16  230/23 231/6
   126/4 214/11 241/7         46/20 47/8 47/8    231/13 231/16
   241/8                      47/16 48/19 48/21  231/18 232/1 232/5
  Appendix [1] 135/6          49/22 55/22 56/4   232/13 233/16
  applications [1]            56/10 56/20 56/24  235/11 236/22
   163/13                     57/16 58/12 64/6   237/4 240/4 242/6
  applied [1] 164/1           65/1 65/16 68/4    242/23 243/10
  applies [1] 232/4           68/4 68/19 69/3    243/21 243/22
  appointed [3]               69/4 69/14 70/16   244/1 244/13 245/2
   105/15 106/14              70/17 71/14 71/15  247/2 247/7 248/5
   124/22                     71/17 72/15 72/17  249/10 249/11
  approach [2] 6/12           73/8 79/22 84/6    251/8 251/15
   79/25                      85/6 85/22 85/22   251/25 252/2
  approaches [1]              87/9 88/1 90/5     252/17 253/18
   238/16                     90/10 95/22 96/22 area [2] 112/21
  approved [1]                108/6 109/11       254/1
                              110/17 119/14     aren't [1] 171/1
                              56/5Entered
  A 9:18-cv-80176-BB Document 842
Case                                56/18    58/5Docket 12/20/2021
                                          on FLSD        216/23 217/2
                                                                   Page 270 of 366
  argue [1] 229/16            58/24 59/3 59/9            217/20 218/2
  argued [2] 228/10           59/11 63/25 64/11          218/14 218/22
   246/8                      70/14 70/17 71/8           219/17 220/10
  arguing [1] 56/20           71/10 71/18 71/20          220/15 220/16
  argument [6] 5/2            71/24 72/15 73/8           223/15 223/15
   211/21 212/3 232/4         73/12 76/23 77/16          226/23 228/9
   251/21 252/20              78/9 79/6 79/6             228/10 229/5
  arm [2] 80/20               79/7 80/24 80/24           233/14 235/25
   168/17                     81/9 82/3 82/10            236/5 237/7 237/19
  around [10] 6/25            85/9 85/10 86/5            237/25 238/4
   79/15 80/24 88/7           86/19 87/2 88/24           238/15 238/18
   148/21 162/3 203/1         90/6 90/9 90/23            238/19 238/21
   206/4 236/14               94/17 95/5 97/10           238/22 238/23
   238/22                     105/17 105/18              239/5 244/19 245/2
  Art [1] 176/2               107/16 107/19              245/2 248/12
  article [15] 73/21          110/11 113/4 113/6         248/15 248/15
   74/5 74/17 175/8           113/8 113/14               249/20 250/20
   248/12 248/15              113/25 114/13             ASIC [1] 209/15
   250/21 250/24              114/13 117/15             aside [1] 28/19
   250/25 250/25              119/14 121/15             ask [17] 5/3 11/25
   251/4 251/5 251/18         123/1 123/1 125/3          18/10 54/2 58/7
   251/24 252/13              125/25 128/21              71/13 73/14 80/3
  articles [3]                133/1 134/7 135/5          80/9 86/4 111/12
   252/16 252/17              135/6 135/11               121/3 155/3 202/9
   252/17                     136/16 136/24              202/11 210/3
  artists [3] 186/10          138/10 138/14              253/24
   186/17 186/23              143/6 144/10              asked [19] 28/14
  as [192] 1/3 4/16           145/25 148/13              47/25 68/10 69/11
   4/16 4/22 4/25             156/13 159/13              82/10 85/13 105/21
   5/13 5/13 8/22             161/21 162/22              111/25 112/2 121/9
   8/23 9/5 9/20              163/10 164/6 164/9         126/2 179/21
   10/14 10/19 11/2           165/6 165/13 168/9         180/13 181/6 187/9
   11/5 13/22 14/8            170/21 172/17              195/23 207/21
   21/24 22/4 26/16           173/3 173/22 174/5         217/9 229/19
   27/18 27/21 28/16          176/23 177/20             asking [29] 8/19
   30/13 33/19 33/25          180/9 185/10               17/11 20/3 26/6
   35/23 37/10 37/14          187/17 190/20              28/17 30/16 30/19
   38/17 38/21 40/1           196/5 199/2 199/4          30/20 35/10 37/25
   40/6 40/19 41/4            205/12 208/15              43/24 47/16 53/25
   44/6 45/19 48/14           208/17 208/25              54/10 54/14 54/16
   50/1 50/9 50/10            209/2 209/14 211/5         55/2 60/18 62/17
   50/13 51/7 52/2            211/18 211/20              62/18 64/6 65/8
                              212/2 212/19               70/13 71/14 71/15
                              63/6Entered
  A 9:18-cv-80176-BB Document 842
Case                                64/11    65/24
                                          on FLSD         117/9 Page 271 of 366
                                                  Docket 12/20/2021
  asking... [4]              67/6 67/16 71/7          attend [3] 119/22
   76/17 77/6 161/24         77/5 77/8 81/11           121/3 141/22
   207/2                    assuming [3] 42/19        attendance [1]
  asks [2] 143/6             143/25 190/21             7/13
   192/5                    assumption [1]            attended [2]
  aspect [1] 196/16          57/7                      122/10 122/12
  aspects [1] 137/14        ATO [17] 51/8             attends [1] 122/13
  Asperger's [2]             56/11 57/9 57/11         attention [1]
   19/12 64/1                168/7 168/14              183/13
  asserted [5]               168/14 168/17            attorney [1]
   216/20 218/1 228/4        212/16 212/18             219/13
   229/12 231/15             214/6 221/12             attorneys [3] 7/9
  asset [1] 208/17           221/21 221/24             210/12 210/21
  assets [7] 40/2            223/2 224/15             audit [2] 196/15
   95/24 96/11 96/12         224/21                    214/3
   96/21 145/10             ATO.' [1] 81/6            auditable [1]
   145/14                   attach [2] 135/8           196/15
  assign [2] 22/9            141/11                   audited [3] 57/3
   26/22                    attached [13]              59/24 60/15
  assignee [2] 23/3          63/17 135/6 140/19       auditor [2] 114/1
   23/10                     141/13 154/3              162/22
  assigning [3] 26/7         158/21 185/21            audits [4] 163/14
   26/9 46/16                190/16 190/20             165/8 165/11
  assignment [5]             205/4 214/9 214/10        165/13
   23/17 26/3 26/6           250/25                   August [12] 80/17
   27/12 43/21              attaches [3]               100/22 101/17
  assignment,' [1]           158/18 212/15             101/20 104/3 105/2
   21/8                      250/21                    105/2 111/9 111/18
  assignments [4]           attaching [2]              165/24 168/9
   25/4 28/23 47/8           154/3 157/13              240/22
   47/9                     attachment [12]           Auscript [2] 166/7
  assignor [2] 21/24         87/2 87/6 87/8            167/16
   22/16                     214/1 222/1 225/1        Australia [35]
  assigns [1] 41/13          225/3 225/4 225/8         29/7 39/5 45/12
  assistant [3] 48/9         225/10 225/17             47/5 48/13 49/9
   48/10 48/12               226/13                    53/23 82/4 88/18
  associated [4]            attachments [2]            90/15 90/18 95/15
   11/15 33/21 44/23         154/4 158/22              96/8 96/16 97/9
   76/14                    attacks [1] 33/3           101/24 106/25
  associates [1]            attempt [1] 93/5           107/23 113/6
   9/20                     attempted [2]              115/11 120/18
  assume [10] 44/24          250/2 250/3               130/11 133/17
                            attempting [1]             134/6 139/15 142/6
  A 9:18-cv-80176-BB Documentauthenticate
Case                                           [5]Docket away
                              842 Entered on FLSD        12/20/2021   41/21
                                                                [8] Page 272 of 366
  Australia... [9]            37/25 227/22       52/16 52/22 55/1
   170/4 172/5 189/17         234/14 241/1       145/17 151/21
   200/21 219/5               242/11             151/23 155/23
   219/25 221/3              authenticated [2]  awful [1] 51/21
   221/16 222/20              172/16 243/15     Ayre [2] 61/15
  Australian [75]            authentication [10] 238/17
                               212/7 212/11
   33/1 48/21 48/22
                              215/13 216/4
                                                B
   49/1 51/2 51/17                              back [86] 4/24
   54/15 56/11 56/24          216/15 235/12
                              240/23 242/18      5/20 8/8 10/11
   57/3 65/14 80/20                              10/22 23/3 23/10
   80/21 93/24 94/2           250/11 250/17
                             authenticity [11]   38/9 38/9 38/18
   94/8 95/12 95/21                              38/24 43/13 65/9
   96/2 102/10 107/9          28/12 28/15 36/3
                              215/20 227/9       65/13 65/13 65/15
   108/5 108/7 110/18                            66/25 69/1 69/16
   116/12 117/24              227/13 227/20
                              233/3 233/14       70/4 83/4 83/7
   144/18 148/13                                 83/14 83/24 84/5
   162/6 162/10               233/22 241/5
                             authority [8]       84/8 85/20 85/22
   162/15 162/21
   163/13 163/14              109/17 110/1 110/8 92/20 93/3 94/8
                              110/9 110/11       98/23 106/16 107/8
   163/18 164/7                                  109/22 112/14
   164/15 165/7               126/23 252/23
                              253/4              116/10 117/8
   165/13 165/21                                 118/14 119/13
   167/22 167/25             authority's [1]
                              219/24             124/1 126/11 128/1
   168/6 168/12                                  128/8 128/12 129/4
   168/14 168/17             authorized [3]
                              22/2 25/24 26/4    129/24 141/21
   168/19 190/7                                  144/14 145/3 145/6
   197/14 197/25             autographed [1]
                              176/8              150/2 150/8 150/22
   198/12 198/20
   199/3 199/10              automated [1] 35/2 152/24 156/10
                             automatically [1]   156/12 156/20
   200/15 201/1                                  156/24 156/25
   201/25 206/9               229/21
                             available [1]       157/3 157/5 157/9
   206/11 206/12                                 158/9 158/13
   206/17 207/3               205/14
                             Avenue [2] 1/24     158/25 161/4
   207/22 208/2                                  162/18 165/4
   208/16 209/9               255/18
                             avoid [1] 248/9     168/13 170/22
   219/16 219/24                                 174/12 175/24
   220/10 221/1 221/2        Avoidance [1]
                              164/10             180/5 180/23
   221/4 222/5 222/9                             183/23 184/20
   224/14                    award [1] 45/25
                             aware [8] 48/19     186/5 193/6 196/21
  authentic [4]                                  206/23 208/25
   29/10 47/21 50/5           85/14 90/8 90/9
                              96/19 170/24       212/16 216/10
   188/19                                        217/15 225/18
                              183/16 231/18
                              18/9Entered
  B 9:18-cv-80176-BB Document 842
Case                                19/22    19/22
                                          on FLSD         222/6 223/17
                                                  Docket 12/20/2021 Page 273224/7
                                                                             of 366
  background [1]               21/17 21/21 22/3           225/11 226/5
   219/3                       27/6 28/16 28/17           227/15 228/10
  bad [2] 17/25 54/2           32/16 33/7 36/11           228/20 230/15
  Bagnoo [1] 107/22            37/1 42/23 46/18           230/16 231/10
  Baker [2] 245/10             46/20 47/24 48/18          233/17 236/7
   245/21                      48/24 51/12 51/20          237/13 240/7 240/9
  balance [3] 132/10           53/4 53/10 55/10           241/7 241/8 241/11
   132/14 226/14               57/2 57/4 58/7             242/4 242/23
  bald [1] 116/12              59/22 63/5 64/10           244/10 248/7
  banking [6] 23/1             64/14 66/9 68/1            250/19 250/23
   32/7 32/17 104/2            68/16 69/5 70/6            251/17 252/13
   104/23 195/3                70/14 71/4 74/10           252/24 253/13
  base [1] 65/7                74/10 76/23 77/17          253/18
  based [5] 32/18              78/19 79/7 80/19          BEACH [1] 1/2
   34/3 40/23 46/3             81/12 83/15 83/21         beaches [1] 181/24
   133/15                      83/23 85/3 85/7           Bear [1] 245/16
  basically [13]               85/21 86/6 89/8           bears [6] 103/16
   15/14 53/8 102/9            91/5 92/18 98/19           115/23 116/7 174/6
   118/9 121/9 123/8           100/24 103/10              175/16 176/6
   123/11 123/17               107/20 111/12             beautiful [1] 8/7
   149/19 163/22               114/1 119/17 120/7        became [5] 52/20
   187/5 238/3 238/24          121/1 121/4 121/8          79/4 220/19 246/1
  basis [10] 34/25             123/13 124/3               246/5
   104/9 112/1 172/15          125/21 126/4              because [102]
   211/25 212/1                126/18 128/12              10/19 13/21 15/15
   215/20 228/22               130/25 133/1               15/15 15/19 19/19
   231/13 252/21               135/11 139/14              19/24 20/3 21/4
  basis' [1] 35/11             141/10 141/11              22/4 25/21 28/2
  basis.' [1] 35/4             147/22 150/16              28/22 34/11 37/3
  Bates [4] 172/5              157/7 157/15 160/8         39/23 40/5 40/20
   243/6 245/12                160/21 161/21              41/7 42/2 42/4
   245/13                      164/11 167/10              42/15 43/7 43/7
  battles [1] 56/10            172/19 175/22              44/24 47/13 47/14
  BB [1] 1/2                   177/5 185/19               47/17 51/5 51/11
  BC [1] 186/19                195/17 198/15              51/13 51/22 52/21
  be [162] 4/23 5/5            203/2 203/13 207/6         53/9 54/21 55/13
   6/14 6/25 6/25              208/21 209/5               57/11 65/14 66/14
   7/12 8/4 8/13 8/19          209/14 209/17              67/11 68/11 70/12
   8/21 10/1 11/19             209/21 210/3               70/19 70/20 71/16
   13/8 13/19 14/14            213/19 214/11              71/22 71/22 71/23
   15/4 15/5 17/12             214/13 214/24              72/19 76/21 77/7
   17/14 18/5 18/8             215/7 215/23               77/18 79/7 95/22
                               217/13 218/16              100/12 102/8 108/6
                              145/10
  B 9:18-cv-80176-BB Document 842
Case                                   145/19
                                  Entered                 221/7 221/21
                                          on FLSD Docket 12/20/2021 Page 274223/2
                                                                             of 366
  because... [45]     149/21 154/8       228/3 228/13
   120/17 121/5       154/10 157/17      229/19 229/23
   121/11 127/11      161/1 161/13 169/5 229/24 230/1 230/6
   133/21 134/1 143/7 175/21 182/13      230/24 233/3
   144/11 146/7       195/14 199/18      233/22 233/24
   151/15 154/19      206/4 206/7 222/3  241/2 245/6 248/9
   164/12 166/7       222/17 224/15      251/20 253/17
   166/24 177/7       228/9 234/10      begin [1] 9/2
   184/14 187/24      234/12 240/1      beginning [3]
   192/15 198/15      244/25 245/1       78/23 158/10 238/4
   208/20 208/23      246/15 251/3      beginnings [1]
   213/25 215/2      Beer [1] 191/1      18/20
   215/14 216/16     before [98] 1/10   begins [4] 227/9
   220/2 227/9 229/11 6/1 7/4 8/2 20/5   239/6 239/7 241/23
   229/15 231/19      28/2 30/13 38/17  behalf [18] 2/3
   233/21 233/25      42/9 43/2 43/5     21/23 22/7 26/7
   234/4 235/5 235/25 50/14 51/5 57/17   95/23 105/25
   239/20 240/7       57/17 59/11 60/1   109/16 110/1 126/3
   242/16 242/18      63/25 68/10 69/6   126/24 206/18
   247/25 248/9       69/11 82/24 83/8   207/4 207/23 208/3
   251/12 252/2       83/13 84/7 85/19   209/4 209/5 209/10
   252/20 253/24      89/13 89/16 89/17  218/8
  become [3] 179/21   89/19 89/19 90/20 behavior [1] 8/25
   221/12 226/8       93/5 96/7 96/24   behind [3] 15/9
  becomes [2] 94/18   97/10 101/4 111/15 241/1 246/11
   241/25             115/22 116/11     being [38] 7/22
  been [68] 5/8 5/23 121/22 125/6        8/6 13/9 30/3 34/3
   8/7 9/14 14/16     126/16 128/12      53/1 57/13 59/24
   16/20 18/25 19/16  135/22 136/1 136/2 60/15 71/10 71/18
   20/15 24/20 26/25  142/8 143/13       71/20 89/9 141/10
   29/2 30/19 37/5    144/23 145/17      142/12 153/18
   44/5 48/19 51/9    148/7 151/21 155/4 155/1 155/4 156/11
   51/11 51/22 53/22  156/25 157/4       172/15 183/16
   56/20 57/7 61/1    157/12 157/14      203/23 210/2
   61/19 76/21 76/22  160/5 166/15 171/2 216/18 216/19
   80/7 81/6 84/17    171/10 173/2 173/3 217/25 224/24
   86/19 93/14 107/3  178/24 183/8       229/11 230/20
   108/22 123/11      187/14 188/19      231/14 231/20
   123/12 124/2       191/22 197/16      233/8 240/2 244/1
   124/24 125/1       201/17 202/9       245/2 249/12
   139/11 142/24      205/12 206/6       251/16 253/25
   144/18 145/7       206/24 207/21     belief [1] 203/8
                      212/9 220/3 221/6 believe [47] 5/6
                              152/23
  B 9:18-cv-80176-BB Document 842
Case                                   173/20
                                  Entered                 17/5 17/8
                                          on FLSD Docket 12/20/2021 Page17/13
                                                                         275 of 366
  believe... [46]            BETH [1] 1/10                17/17 18/1 18/4
   5/22 10/14 10/15          better [4] 34/11             18/6 18/19 18/20
   11/16 15/5 25/18           47/24 66/3 174/19           18/25 19/3 20/21
   27/2 36/12 48/2           between [37] 6/21            25/17 25/20 32/7
   51/10 56/14 61/1           16/22 39/4 52/16            32/17 35/8 39/2
   66/18 81/8 82/17           52/21 67/9 84/15            39/8 39/9 40/1
   85/14 147/10               84/25 102/13                40/8 40/10 40/13
   147/17 151/25              102/22 105/19               40/14 40/15 40/16
   153/25 154/8               136/6 140/12                57/10 59/2 59/12
   157/14 157/17              148/25 153/6                59/17 59/22 60/9
   159/3 175/19               159/19 163/21               63/1 63/11 63/21
   179/17 185/17              177/20 178/4                66/13 66/15 66/19
   199/18 201/7               190/16 199/2 199/7          66/20 66/21 67/3
   201/11 201/11              200/20 200/23               67/7 67/10 67/19
   203/11 222/6               203/11 209/13               67/24 68/2 68/2
   222/10 223/2               212/9 218/6 218/11          68/5 68/8 69/13
   223/17 225/9               220/1 221/18 226/5          70/10 70/15 74/8
   225/11 226/11              230/14 232/16               75/3 76/22 76/23
   226/18 235/19              235/4 240/22                77/12 79/1 79/4
   239/2 240/14               251/25                      79/23 80/8 80/24
   248/22 249/16             beyond [2] 19/22             81/2 81/3 81/20
   252/21                     79/22                       87/18 88/10 88/14
  believed [1]               big [7] 7/13 99/9            104/1 104/21
   220/18                     182/7 238/22                104/22 104/23
  believes [1]                238/23 239/13               115/4 118/1 127/19
   221/14                     239/23                      127/20 128/19
  believing [1]              bill [1] 163/9               128/19 128/21
   130/24                    billion [1] 205/20           130/7 130/8 130/19
  bell [1] 67/22             birth [1] 159/7              130/20 130/22
  belongings [1]             Biscayne [1] 1/15            131/7 131/11
   183/20                    bit [13] 5/4 7/12            131/11 131/15
  below [8] 70/24             12/1 42/7 59/18             132/25 133/9
   99/23 102/6 187/24         110/16 126/10               133/15 133/15
   188/3 188/15 204/9         150/1 150/17 163/4          133/25 134/4 134/5
   205/4                      170/7 179/3 218/7           134/7 135/12
  below,' [1] 63/17          BitBoy [2] 180/7             136/16 137/23
  bench [2] 7/14              184/6                       138/7 138/15
   7/15                      Bitcoin [199]                138/16 138/24
  benefit [1] 79/25           11/11 11/12 11/13           138/24 139/21
  best [9] 6/21 16/8          11/23 12/5 13/5             139/23 147/9 160/7
   52/3 58/9 100/18           13/7 13/11 13/14            160/20 160/21
   113/24 140/10              13/17 13/20 15/8            163/19 163/22
                              15/9 15/11 15/18            164/1 164/11
Case                          229/15
  B 9:18-cv-80176-BB Document 842      229/18
                                  Entered                 61/25 69/20
                                          on FLSD Docket 12/20/2021       70/9
                                                                    Page 276 of 366
  Bitcoin... [69]             229/21 230/1                82/20 90/5 90/9
   164/13 164/13              232/11 232/16               90/18 90/21 109/11
   164/16 176/3               234/6                       109/14 109/15
   177/14 179/8              Bitmessages [13]             113/19 122/2 122/2
   180/15 180/16              228/2 228/4 228/11          127/5 134/19
   182/13 183/9               228/20 230/14               142/12 142/14
   183/11 183/17              230/20 231/4 231/5          145/25 201/18
   183/21 184/2 184/2         231/9 231/10                201/20 218/2 222/5
   185/9 186/15               231/16 231/18               248/14
   186/18 187/3 187/4         233/17                     bottom [30] 33/11
   187/4 187/11 193/9        bits [1] 170/12              37/7 55/24 57/15
   193/9 193/17              black [1] 221/12             64/16 65/4 68/19
   193/19 193/20             blank [2] 116/24             79/9 79/12 92/10
   193/25 194/11              182/8                       95/16 106/7 108/3
   194/13 194/14             Bligh [1] 130/9              112/7 115/23
   194/15 194/15             blockchain [1]               116/19 120/3 132/6
   194/20 194/25              196/6                       140/5 159/9 168/24
   195/15 195/18             blog [4] 174/8               171/23 172/4
   195/20 196/1 196/4         175/20 176/9                172/24 176/6 179/4
   196/10 196/12              235/13                      185/3 191/13 204/3
   196/14 197/2 197/9        BLOOM [1] 1/10               243/6
   199/8 199/22              BN [1] 64/19                Boulevard [1] 1/22
   199/23 200/16             board [1] 42/14             Bradford [3]
   202/1 202/23              boat [1] 150/22              121/22 142/8
   202/25 204/22             boats [1] 150/25             142/10
   205/16 205/16             BOIES [1] 1/16              brains [1] 182/7
   205/17 208/13             bolster [1] 230/11          branch [1] 80/22
   208/17 208/18             bolstering [1]              breach [1] 103/8
   208/20 209/7               224/3                      break [6] 82/25
   209/14 222/22             book [20] 16/14              146/20 146/23
   222/22 223/1               16/15 17/7 17/11            157/13 157/14
   224/25 227/5               52/5 52/6 57/21             210/22
   237/19 238/25              57/21 74/8 174/5           Brendan [6] 177/3
  Bitcoin.' [1]               174/8 174/21 175/1          177/5 177/6 248/12
   62/24                      175/12 175/25               249/7 251/14
  Bitcoins,' [1]              176/2 176/8 176/13         BRENNER [12] 1/17
   39/5                       176/20 249/21               4/10 19/12 30/13
  Bitcoins.' [1]             books [2] 16/16              60/1 61/3 67/21
   69/23                      65/25                       212/2 219/2 221/20
  Bitmessage [12]            both [34] 7/21               223/2 234/15
   227/22 228/1 228/8         7/23 11/25 16/2            briefing [1] 253/3
   228/9 228/13               27/10 35/14 51/1           briefly [3] 5/15
                              53/21 54/9 60/23            74/23 217/3
                              60/23
  B 9:18-cv-80176-BB Document 842
Case                                  85/1
                                  Entered    85/7Docket 12/20/2021
                                          on FLSD        137/13 Page 277 of 366
                             114/11 114/11
  bring [87] 7/4 8/1
                             114/13 114/15
                                                      C
   43/13 83/8 83/12                                   C-R-A-I-G [1]
   84/8 85/18 87/5           114/16 114/16
                             114/22 114/22             86/11
   88/23 91/1 92/6                                    calculate [3]
   92/17 94/5 95/11          183/8
                            brother's [1] 53/3         15/11 15/18 18/23
   97/4 98/25 100/25                                  call [21] 4/1 8/13
   101/23 102/18            brought [8] 45/5
                             45/20 45/23 84/20         30/8 51/4 65/8
   104/16 106/19                                       65/9 67/13 69/12
   108/17 109/22             163/16 163/21
                             206/23 220/16             83/17 85/23 86/1
   110/4 110/13 111/3                                  100/2 103/3 106/22
   112/14 117/8             BRV [2] 36/12
                             36/17                     130/11 151/19
   118/11 119/6                                        159/15 165/18
   119/23 121/15            build [1] 76/2
                            building [3] 161/3         191/9 194/3 236/12
   128/6 129/4 129/25                                 called [24] 13/13
   131/20 132/3              161/5 195/25
                            bunch [3] 141/7            29/22 30/4 38/14
   132/23 133/4 133/6                                  44/12 45/9 45/24
   134/12 134/21             228/6 231/2
                            business [47] 9/20         51/5 87/8 104/6
   135/2 135/17                                        116/8 122/15
   137/11 140/21             29/22 36/9 36/17
                             52/9 52/11 57/18          142/12 142/25
   141/24 144/13                                       152/8 158/18 161/3
   148/22 150/6 150/8        58/21 59/1 59/9
                             60/24 94/2 99/16          161/18 167/16
   150/15 152/11                                       194/11 202/18
   153/20 156/25             136/15 137/15
                             151/18 151/19             206/6 208/18
   157/3 157/9 157/20                                  245/21
   158/9 159/1 159/14        152/8 152/23 153/2
                             160/14 160/22            calling [3] 4/2
   161/14 166/2                                        165/17 236/17
   167/12 168/21             161/1 161/7 161/11
                             161/25 162/5             callout [2] 106/15
   169/9 171/20 174/2                                  112/24
   174/11 175/24             173/21 180/1
                             180/16 183/16            callouts [1]
   176/12 177/17                                       192/11
   179/10 181/14             183/21 216/17
                             216/21 216/24            calls [3] 55/5
   184/25 187/15                                       160/2 236/6
   190/10 192/1              216/25 217/2 217/4
                             217/8 218/10             Calvin [2] 61/15
   192/12 193/3 196/9                                  238/17
   197/18 198/24             219/18 219/19
                             219/23 239/12            came [9] 34/1
   201/5 201/14                                        41/20 53/7 66/18
   203/21 243/16             242/2 242/7 243/7
                            business' [1]              69/21 120/22
  brings [3] 66/22                                     130/16 162/20
   146/10 146/11             58/19
                            businesses [2]             170/22
  Brisbane [2] 29/8                                   camping [3] 70/21
   48/7                      216/22 218/10
                            buy [2] 16/21 40/1         71/23 76/17
  brother [13] 60/23                                  can [251] 6/4 6/12
                            buying [2] 16/25
Case                          147/22
  C 9:18-cv-80176-BB Document 842      148/22
                                  Entered                 200/10 201/5
                                          on FLSD Docket 12/20/2021 Page 278 of 366
  can... [249] 6/14            149/4 149/22 150/6         201/14 201/15
   7/9 9/6 10/3 10/5           150/8 152/11               203/21 203/22
   10/16 11/25 13/8            152/15 153/20              203/22 205/22
   17/14 18/9 22/11            154/23 155/24              207/17 209/18
   29/13 35/20 38/7            156/7 157/9 157/20         209/22 210/23
   41/6 42/7 43/25             158/1 158/3 158/9          211/8 211/18 212/2
   44/24 45/11 47/17           158/12 158/25              213/14 216/10
   52/1 53/12 53/12            159/14 159/15              217/15 218/22
   55/15 66/19 66/20           160/11 161/14              221/16 222/7
   72/20 72/21 72/25           161/23 162/18              226/15 226/22
   73/7 75/1 77/5              164/3 165/19 166/2         228/10 229/16
   77/8 84/24 86/8             166/9 166/23               231/2 231/17
   91/18 92/22 92/23           166/23 167/3               232/22 237/5
   93/15 94/5 94/21            167/12 167/21              238/12 243/11
   95/11 95/13 96/4            167/24 168/8               243/16 245/8
   97/4 97/23 98/3             168/11 168/21              247/25 248/20
   98/9 98/11 98/20            169/9 169/21               248/23 248/25
   98/23 98/25 100/1           169/23 171/4               249/2 252/25 253/4
   100/2 100/25                171/20 172/2               253/8 253/14
   101/23 102/19               172/21 173/13              253/16 253/17
   103/1 103/3 103/4           174/2 174/11              can't [15] 13/11
   104/16 106/15               174/12 174/15              16/16 79/3 124/21
   106/17 106/21               174/25 175/16              131/6 131/6 131/11
   106/23 107/6 107/8          175/24 175/25              139/1 139/1 144/10
   107/8 107/13                176/12 176/16              157/18 160/4
   108/17 108/24               176/19 177/17              166/25 206/15
   109/22 110/13               177/18 178/8               207/1
   111/3 112/19                178/12 179/10             canceling [1]
   112/24 114/23               181/2 181/3 181/11         96/12
   117/8 118/11                181/13 181/16             cannot [21] 13/24
   118/13 118/14               182/18 184/1               17/15 17/16 22/5
   119/6 119/23                184/20 184/25              27/14 27/14 29/10
   124/10 126/16               186/5 187/15 188/1         36/2 37/15 38/2
   127/1 127/5 128/6           188/22 189/20              42/13 42/16 58/6
   129/4 129/25 130/2          190/10 190/22              58/13 68/11 71/16
   130/2 131/20 132/3          191/8 191/13 192/1         84/25 197/21
   132/16 132/23               192/10 192/11              227/22 228/18
   133/4 133/6 135/17          192/12 192/21              252/3
   136/23 137/11               193/3 193/12 194/3        capability [1]
   138/11 140/10               194/20 196/7 196/8         242/10
   140/21 141/24               196/19 196/24             capacity [7] 108/6
   142/2 146/5 146/17          197/7 197/18               108/8 108/12
                               198/24 199/12              108/15 113/8
                              221/6
  C 9:18-cv-80176-BB Document 842
Case                                  221/7
                                  Entered      221/10
                                          on FLSD Docket certify
                                                         12/20/2021 [2]   255/7
                                                                    Page 279 of 366
  capacity... [2]             221/17 222/11               255/12
   223/14 223/15              222/25 235/3 235/4         CFO [9] 189/4
  capital [2] 31/11           237/2 237/7 237/24          189/5 206/22
   118/3                      239/21 241/17               208/23 208/25
  capital-funded [1]          241/20 243/10               209/2 246/5 246/10
   118/3                      243/23 252/11               246/13
  capitalize [1]             cases [5] 96/9              chain [5] 186/9
   59/16                      113/19 122/2                190/16 190/25
  caption [1] 91/23           142/12 143/7                223/17 226/5
  card [6] 180/1             cash [1] 13/18              chamber [1] 120/9
   180/5 180/16              catch [1] 193/6             change [5] 35/3
   180/23 183/21             catching [1]                 35/11 98/20 186/22
   183/22                     111/15                      208/1
  cards [1] 183/16           category [1] 138/5          changed [4] 9/22
  careful [1] 223/17         catfished [1]                48/25 90/8 186/21
  carried [3] 27/3            183/13                     character [2]
   27/6 28/24                cattle [1] 181/23            213/24 214/1
  Carter [6] 61/23           caused [1] 88/17            characterization
   61/25 65/9 141/15         CBD [1] 88/7                 [2] 175/1 223/5
   201/18 202/3              cc'd [2] 68/23              characterizations
  case [71] 1/2 4/2           213/12                      [1] 167/2
   8/10 19/25 59/19          cent [1] 203/3              characterized [1]
   90/11 90/14 90/15         CEO [5] 242/1                73/6
   91/5 93/5 93/11            243/3 246/13               chat [2] 148/25
   94/8 94/9 96/7             246/14 246/18               149/2
   99/23 104/19 105/7        CEO's [1] 173/5             cheaper [1] 203/4
   105/8 109/11              certain [16] 13/7           check [6] 34/8
   109/19 110/24              13/8 20/3 22/9              37/16 37/21 37/24
   111/11 111/19              23/1 26/3 29/25             38/1 132/1
   114/4 115/3 115/3          42/10 43/1 52/17           Chesher [10]
   118/7 118/19               57/19 76/19 82/5            187/18 189/2 206/3
   118/19 118/20              198/4 230/1 247/18          206/10 206/17
   119/2 119/2 122/3         certainly [14]               207/2 207/22 208/2
   122/3 122/15               5/16 49/4 83/23             208/15 209/9
   122/15 123/3               155/5 164/22               child [3] 20/2
   132/13 134/18              209/24 210/19               20/2 20/2
   134/19 138/25              223/5 231/18               children [2] 60/2
   139/9 139/11 142/5         242/10 243/18               60/14
   142/13 142/13              253/4 253/8 253/11         chronology [5]
   147/8 178/25 210/5        Certificate [1]              87/1 87/2 87/9
   210/7 219/15               2/2                         87/12 87/17
   219/24 220/1 221/5        Certified [1]               circle [1] 186/19
                              255/5                      circumscribed [1]
  C 9:18-cv-80176-BB Documentclassic
Case                                   [2]
                              842 Entered      175/9
                                          on FLSD Docket CO1N         37/10
                                                                [9] Page
                                                         12/20/2021      280 of 366
  circumscribed...            248/15                      38/11 40/4 40/6
   [1] 221/8                 Clayton [9] 49/13            40/7 194/18 202/18
  circumstances [3]           49/14 49/15 50/3            216/2 216/7
   9/18 222/7 237/11          50/18 50/22 50/25          Cobham [1] 9/11
  citation [1]                51/15 161/18               code [10] 24/19
   207/12                    cleanse [1] 250/22           31/2 33/12 103/25
  cited [1] 250/6            clear [11] 17/12             104/20 104/22
  civil [2] 4/2               57/16 65/15 70/24           148/14 176/23
   238/11                     222/23 225/11               191/22 192/5
  claim [50] 45/2             228/9 230/10               coin [32] 23/4
   45/6 45/9 45/12            232/12 243/7                23/11 35/12 37/10
   45/20 45/23 46/10          252/11                      38/11 38/25 39/11
   46/25 47/2 47/4           clearly [6] 39/2             39/18 41/4 42/3
   47/6 53/17 53/23           203/23 218/14               42/3 42/10 42/17
   89/7 89/14 89/17           226/19 237/13               42/23 42/25 43/15
   89/19 89/24 90/3           251/4                       52/18 53/10 54/2
   97/8 97/11 98/3           client [1] 236/17            54/7 55/11 57/1
   99/4 99/19 99/21          clients' [1]                 57/2 57/2 57/4
   100/21 100/22              207/23                      57/8 57/23 59/3
   101/3 101/20 102/4        clip [5] 147/16              59/12 59/14 60/11
   104/7 105/1 105/7          147/19 155/7                220/13
   105/24 107/12              155/11 207/17              Coin-Exch [30]
   111/6 111/18 115/2        clips [1] 155/1              23/4 23/11 37/10
   115/5 115/6 115/11        close [3] 16/7               38/11 38/25 39/11
   115/12 118/22              67/18 69/12                 39/18 41/4 42/3
   123/22 124/2 124/4        closed [3] 118/9             42/3 42/10 42/17
   143/10 144/7               206/5 206/5                 42/23 42/25 43/15
   181/18 215/18             closing [1] 121/12           52/18 53/10 54/7
  claimed [5] 99/23          cloud [1] 221/12             55/11 57/1 57/2
   102/6 109/8 208/17        Cloudcroft [11]              57/2 57/4 57/8
   208/19                     30/4 30/11 30/21            57/23 59/3 59/12
  claiming [6] 24/9           32/24 33/12 34/5            59/14 60/11 220/13
   27/19 98/7 138/25          34/5 38/11 66/15           Coin.Exch [1]
   139/8 139/11               66/16 240/22                218/4
  claims [2] 238/11          Cloudcroft,' [1]            Coinbase [1]
   241/17                     33/17                       128/22
  clarifies [1] 72/1         Cloudcroft.' [1]            coincides [1]
  clarify [1] 222/16          37/10                       23/20
  clarity [2] 47/25          CLR [1] 255/17              CoinEx [1] 220/13
   194/9                     clues [1] 78/9              coins.' [1] 80/1
  class [3] 34/21            co [1] 223/16               combination [1]
   37/8 152/24               co-director [1]              118/3
                              223/16                     come [24] 35/21
  C 9:18-cv-80176-BB Documentcommunicating
Case                                            [3]
                              842 Entered on FLSD         38/14 40/8
                                                  Docket 12/20/2021 Page 42/11
                                                                         281 of 366
  come... [23] 37/21          75/1 148/20 152/3           44/17 44/23 46/8
   71/24 73/4 122/15         communication [1]            46/9 46/9 46/13
   128/8 128/12               58/11                       46/15 47/7 47/11
   142/25 144/5              communications [9]           50/9 51/15 53/5
   150/23 162/14              41/21 74/16 159/20          59/16 62/21 62/24
   182/10 182/19              159/25 162/1                62/25 63/1 87/18
   182/23 187/6 210/3         218/11 229/25               87/24 90/24 94/2
   216/10 225/18              230/21 231/21               94/3 94/12 95/3
   226/15 236/3 238/3        community [1] 68/2           95/5 98/8 99/23
   238/19 238/21             companies [52]               100/18 102/11
   239/8                      13/20 20/14 30/3            102/23 103/16
  comes [5] 60/10             30/14 30/16 30/23           103/19 109/16
   63/14 238/15               31/6 31/15 31/18            109/19 110/25
   238/25 248/17              31/21 31/21 36/13           113/25 117/24
  comfort [2] 146/23          38/10 41/13 47/3            121/10 123/12
   210/21                     47/9 48/13 49/17            124/14 124/18
  comfortable [1]             49/19 49/20 50/13           124/22 125/3 126/9
   26/11                      57/3 57/12 57/12            126/24 127/11
  coming [15] 7/17            59/24 59/25 60/1            136/12 136/14
   33/12 76/12 172/17         60/13 61/2 88/17            137/13 139/22
   213/9 215/15 230/2         96/11 102/6 132/10          143/16 143/17
   230/4 236/5 236/13         144/17 144/20               149/18 149/19
   236/13 237/7               153/4 153/10 162/8          151/13 161/3
   237/22 238/22              162/15 163/14               163/24 170/6 173/4
   253/25                     165/8 189/3 189/5           187/25 202/22
  coming-out [2]              206/12 206/24               202/25 204/21
   236/13 237/22              219/19 221/1 221/1          206/6 206/22
  coming.' [1] 75/18          221/2 222/20                217/10 219/19
  comment [2] 71/14           224/14 241/25               220/11 220/12
   204/9                     companies' [4]               220/15 220/17
  comments [1]                206/18 207/3 208/3          223/16 243/9
   205/15                     208/14                     company's [3]
  commerce [2] 35/17         companies.' [1]              46/19 121/11
   203/3                      31/2                        161/10
  commercial [1]             company [100]               company.' [1]
   35/15                      13/13 21/5 22/1             51/13
  commodities [1]             22/6 23/13 23/15           compilation [2]
   39/8                       24/9 24/23 24/25            176/9 176/10
  Common [2] 121/19           24/25 25/2 26/4            compiled [2] 174/8
   142/6                      26/8 29/21 29/24            175/20
  communicated [2]            30/6 30/17 33/1            complaint [1]
   54/9 150/4                 33/6 34/7 34/12             234/21
                              35/15 36/1 36/20           complete [7] 43/9
                              136/17
  C 9:18-cv-80176-BB Document 842
Case                                   168/7
                                  Entered on FLSD Docket consent    Page 28296/10
                                                         12/20/2021 [24]     of 366
  complete... [6]             216/17                      96/12 102/9 111/1
   85/8 100/8 119/17         conducts [1]                 114/20 115/13
   153/8 186/21               136/15                      116/25 117/1 117/5
   255/10                    confer [1] 5/15              117/11 118/17
  completed [1] 43/4         confirm [6] 5/22             118/23 119/3
  completely [6]              22/5 26/8 27/14             119/14 120/8 121/4
   184/10 203/16              192/14 248/23               123/18 125/6 126/3
   221/4 236/25              Confirmation [1]             126/16 143/9 146/9
   237/11 240/8               161/25                      146/11 146/14
  completing [1]             confirmed [4]               consented [1]
   151/1                      26/21 26/24 234/8           95/23
  complex [1] 94/18           234/10                     consents [4] 116/1
  complicated [1]            confirms [1] 240/6           116/17 119/8 119/9
   11/16                     conflated [1]               consequence [1]
  comply [1] 250/3            221/13                      135/11
  compromising [1]           conflating [1]              consequences [1]
   41/1                       220/3                       84/16
  computer [10] 28/5         conflict [1]                consider [8] 52/3
   28/6 28/10 66/8            113/11                      52/6 70/1 97/2
   66/20 66/21 140/13        conflicting [1]              165/10 194/10
   140/25 194/18              73/3                        252/22 253/4
   234/18                    confuse [1] 193/22          consideration [2]
  computers [11]             confused [1]                 8/22 133/1
   10/9 10/10 10/10           237/13                     consistent [1]
   28/2 29/3 67/3            confuses [1]                 31/5
   69/22 76/19 174/19         209/12                     constantly [1]
   194/12 209/13             confusing [2]                59/25
  concept [2] 160/7           209/12 231/9               constitutes [1]
   160/21                    confusion [1]                155/9
  concern [4] 72/14           192/15                     consulting [1]
   72/15 221/14              Congrats [1] 191/1           100/8
   251/19                    connected [2]               contact [9] 48/8
  concerned [8] 31/1          160/8 160/21                48/15 52/15 53/14
   51/15 70/9 70/11          connection [8]               96/25 106/4 108/1
   70/20 70/22 72/22          16/1 16/4 49/14             108/2 111/24
   226/8                      163/12 219/8               contacted [4]
  concluded [1]               221/15 241/20               48/11 48/12 51/8
   165/11                     248/13                      97/2
  conclusion [3]             connects [2] 77/1           contacting [1]
   41/9 146/10 146/12         77/9                        48/10
  conduct [1] 210/8          Conrad [3] 141/15           contained [3]
  conducted [3]               201/18 202/4                19/10 217/20
                             conscientiously [1]          234/13
                               130/24
                              132/19
  C 9:18-cv-80176-BB Document 842
Case                                   133/2
                                  Entered       135/5
                                          on FLSD         54/14 Page 283 of 366
                                                  Docket 12/20/2021
  container [1]              135/8 135/15             copied [2] 79/13
   141/9                     135/20 135/24             218/13
  containing [1]             136/6 136/24             copies [5] 125/23
   19/6                      137/22 138/10             161/22 176/8
  contains [2]               138/14 139/12             211/12 211/17
   181/14 255/12             140/2 144/5 145/7        copy [6] 12/17
  contemporaneous [1]        187/5 212/9 212/21        56/7 117/7 123/21
    239/24                  contract's [1]             125/25 184/3
  contend [2] 96/20          212/22                   Copying [1] 72/4
   228/5                    contractor [1]            Coral [1] 1/22
  contending [1]             30/20                    cordial [1] 55/19
   96/22                    contracts [6] 27/5        cords [1] 198/5
  content [2] 12/21          43/4 43/5 121/12         core [5] 22/17
   232/17                    160/8 160/21              22/20 22/21 22/25
  contents [2]              control [19] 110/8         235/3
   166/15 174/12             110/9 124/24 125/2       corner [6] 89/2
  context [7] 207/1          125/3 127/9 127/11        91/23 121/18
   220/23 236/25             127/15 127/18             167/15 167/17
   237/6 237/7 240/9         128/18 128/25             172/4
   249/4                     129/7 129/9 129/10       corporate [20]
  contexts [1]               129/12 130/22             25/3 27/15 29/4
   161/12                    193/19 200/16             29/5 29/6 29/7
  continue [9] 8/9           202/1                     37/15 37/22 37/22
   84/6 146/25 157/8        controlled [3]             47/24 48/4 48/6
   192/13 198/10             31/18 38/14 209/8         48/15 94/19 95/6
   205/12 210/22            controller [1]             99/9 103/15 183/2
   210/23                    60/7                      219/5 242/3
  Continued [14] 3/1        controllers [3]           corporation [4]
   10/7 12/4 12/7            26/17 27/22 60/5          109/14 113/22
   21/7 23/9 30/10          controlling [2]            127/18 209/4
   49/25 55/21 64/13         31/14 34/4               corporations [3]
   68/15 74/20 77/21        convention [2]             124/9 183/3 219/25
   80/12                     120/17 120/18            correct [248] 5/7
  continues [2]             conversation [7]           10/2 11/3 12/5
   150/5 181/5               5/18 43/23 53/6           14/8 14/13 17/6
  continuing [3] 6/1         150/1 150/2 183/8         21/21 21/24 22/7
   74/11 211/7               251/25                    22/10 22/25 24/17
  contract [30]             conversations [5]          25/14 25/17 25/20
   27/10 43/6 44/4           14/20 17/24 55/6          26/5 26/12 26/19
   52/15 57/23 100/6         160/6 227/22              27/1 27/8 27/10
   100/18 102/23            conversion [1]             27/13 29/22 30/1
   103/7 103/8 103/8         238/11                    30/6 31/7 31/19
                            cooperation [1]            31/20 31/22 31/24
                              112/16
  C 9:18-cv-80176-BB Document 842
Case                                   112/18
                                  Entered                 247/12 248/3
                                          on FLSD Docket 12/20/2021 Page 284248/4
                                                                             of 366
  correct... [217]             113/12 113/15              249/15 255/10
   32/1 32/8 32/10             113/17 114/20             corrected [2]
   33/3 33/17 34/12            115/14 115/24              154/10 198/9
   37/5 37/6 38/11             115/25 116/14             corrections [2]
   38/15 38/22 38/25           116/18 116/25              154/12 157/15
   39/5 39/9 39/13             117/16 119/11             correctly [6] 20/8
   40/2 40/13 40/18            119/17 119/21              39/12 39/13 145/24
   41/15 41/19 44/6            120/20 122/9               160/24 206/13
   46/5 46/6 47/1              123/24 123/24             correspondence [1]
   48/5 50/7 50/15             123/25 125/13              239/6
   51/18 52/19 52/24           125/14 125/22             cost [3] 79/25
   53/17 54/8 56/1             128/16 128/17              187/6 197/2
   56/2 56/12 58/15            131/14 131/16             Costa [1] 176/24
   59/10 60/24 61/6            132/11 133/18             Costco [2] 16/21
   61/8 61/12 61/13            134/20 134/25              16/25
   61/17 61/20 62/2            135/9 135/20              costs [3] 117/15
   62/22 63/17 66/13           135/22 135/23              119/14 209/15
   66/23 67/5 67/24            136/12 137/8 139/6        could [68] 6/7
   70/7 70/10 70/18            140/13 141/4               7/14 7/16 12/1
   71/6 71/21 72/2             141/22 142/9               16/20 28/16 28/23
   72/4 72/5 72/7              142/11 142/13              29/2 29/4 29/5
   75/24 77/2 77/12            142/21 142/22              36/10 37/1 37/1
   78/3 79/11 81/1             143/7 144/8 144/21         37/24 47/11 47/23
   81/4 85/2 85/15             145/24 146/15              48/10 49/21 50/22
   85/16 87/11 89/22           148/3 148/4 148/5          55/3 65/24 69/5
   89/23 89/25 90/1            150/3 151/10               73/14 73/14 75/2
   90/16 90/17 90/21           151/12 151/24              75/22 76/1 79/6
   92/3 92/13 93/20            157/16 160/17              87/5 88/23 91/1
   95/9 95/10 95/24            161/8 161/9 163/15         91/9 92/6 92/17
   95/25 96/21 97/1            165/9 165/14               102/18 123/1
   97/9 99/25 100/22           165/15 165/19              130/22 134/12
   101/7 101/9 101/18          168/17 169/7               134/21 135/2
   101/20 101/22               169/19 171/11              137/17 155/14
   102/16 104/7                173/2 175/11               156/10 161/21
   104/13 105/3 105/4          177/12 183/4               163/2 163/9 165/18
   105/10 106/1 106/6          187/11 187/12              176/11 177/4 180/4
   106/8 106/13                189/13 190/5               180/10 182/7
   107/19 107/20               190/21 195/1 198/1         190/18 192/14
   107/25 109/20               198/3 198/4 198/14         196/9 196/11 200/3
   109/21 110/2 111/7          198/21 199/8 201/2         202/6 202/8 206/4
   111/10 111/19               201/19 206/12              206/6 210/17 217/3
   111/20 112/11               208/9 208/11 225/2         228/9 229/15 231/7
                               229/7 244/10               237/13 242/6
Case                          117/11
  C 9:18-cv-80176-BB Document 842      117/17
                                  Entered                 56/23 57/17
                                          on FLSD Docket 12/20/2021       57/18
                                                                    Page 285 of 366
  couldn't [8] 15/19          117/18 119/11      58/1 58/4 59/5
   47/9 47/11 143/19          119/15 119/19      59/16 60/23 65/7
   180/6 180/22               119/20 120/2 121/1 65/13 67/10 70/4
   234/14 239/15              121/19 122/10      70/12 70/14 70/17
  counsel [19] 4/4            122/12 124/18      70/25 71/1 71/10
   4/5 84/18 91/2             125/24 126/17      71/19 71/24 72/14
   148/23 153/21              129/20 131/5       76/11 77/2 79/1
   154/13 157/10              132/15 135/18      79/6 80/2 80/7
   164/4 166/3 171/21         142/6 142/21 155/3 80/23 81/11 81/12
   174/3 174/21               163/21 198/8       81/15 81/24 82/4
   198/25 203/25              198/17 198/17      86/1 86/7 86/10
   207/7 209/19               208/22 211/5 211/7 87/1 87/2 87/9
   210/13 228/11              231/23 233/9 235/6 87/10 87/12 88/20
  count [1] 5/19              244/25 246/24      90/24 92/1 94/1
  counterfeit [1]             247/3 249/2 249/3  94/9 94/15 94/17
   179/23                     249/5 249/8 252/5  94/18 94/19 95/5
  countries [1]               252/22 252/23      95/6 95/17 97/12
   176/23                     253/4 253/5 253/18 97/16 98/8 99/4
  country [1] 153/12          255/6 255/9        99/5 99/8 99/8
  couple [1] 173/22          Court's [2] 84/14   99/14 99/22 101/10
  course [13] 4/22            85/15              101/13 103/16
   6/10 6/10 7/10 9/3        courtroom [3]       105/8 108/3 110/20
   12/3 26/20 28/19           90/20 210/4 210/7  111/21 113/14
   84/11 160/6 198/5         courts [1] 45/12    115/17 115/20
   213/15 216/17             cover [4] 80/2      119/3 119/4 120/5
  court [92] 1/1              159/5 175/25       122/18 130/14
   1/23 1/24 4/1 5/12         212/12             133/9 133/14
   6/4 7/17 8/24             covered [2] 117/25 134/18 136/10
   45/18 45/25 82/4           239/7              136/10 137/4 140/6
   82/11 83/22 85/10         CPO [1] 189/10      143/1 159/6 159/16
   85/12 85/17 86/13         craig [145] 1/7     161/20 168/3
   93/5 93/22 93/24           2/7 4/3 4/19 4/20  172/25 176/6 178/5
   95/21 96/2 101/15          4/21 4/22 9/12     190/1 191/2 192/5
   101/16 105/1 107/2         11/18 12/22 15/17  215/4 216/7 218/6
   108/5 108/18               17/22 18/10 21/4   219/14 222/5
   108/21 108/25              24/20 24/24 25/1   224/22 227/3 227/4
   109/25 110/5 110/7         25/1 25/6 25/9     231/4 239/2 239/10
   110/14 110/18              25/10 25/11 26/1   241/7
   112/9 113/11 114/4         31/24 41/24 42/2  Craig's [5] 11/21
   115/14 116/9               42/4 43/14 49/19   16/13 18/13 18/16
   116/11 116/20              51/10 51/25 52/2   79/25
   116/24 117/1 117/4         52/10 53/3 53/24  Craig.' [1] 75/15
                              54/12 55/13 56/20 craig.wright [3]
Case                          249/18
  C 9:18-cv-80176-BB Document 842      249/25
                                  Entered                 134/8 135/21
                                          on FLSD Docket 12/20/2021 Page 286 of 366
  craig.wright... [3]         251/4 251/15       148/21 159/6
    86/23 171/24              253/10             160/16 161/25
   173/1                     CRR [1] 255/17      168/9 200/20
  craigswright [1]           crypto [1] 35/12    200/23 206/8 209/1
   120/5                     cryptographic [2]   229/18 229/19
  create [4] 104/21           11/16 239/4        230/12 230/24
   118/1 147/9 182/7         CSR [1] 255/17      231/20 232/15
  created [17] 17/23         CSW [2] 87/9 87/13 232/16 232/22
   19/3 117/23 164/12        cupboard [1]        246/19
   174/9 186/16 197/9         229/15            dated [18] 23/17
   228/1 228/3 229/18        curious [1] 65/10   28/10 75/7 86/23
   230/1 230/5 230/19        currencies [1]      100/6 135/20
   230/19 230/23              39/8               212/10 213/7 214/3
   241/24 246/6              currency [2] 40/1   214/17 216/8
  creating [5] 34/20          183/10             217/22 226/2 235/1
   39/25 104/22 170/4        currently [4] 9/11 235/13 235/23
   183/9                      28/1 33/7 242/1    240/22 241/19
  creation [7] 37/8          custody [2] 223/18 daughter [1]
   79/1 103/25 183/11         253/25             179/18
   224/25 228/9              cut [1] 238/5      dave [212] 11/5
   229/21                    cv [1] 1/2          11/6 11/9 11/9
  creator [3] 70/14          cyber [1] 33/2      11/9 11/10 11/10
   228/8 231/19              cyberspace [1]      11/18 14/7 15/1
  credibility [1]             35/16              15/16 15/16 15/21
                                                 15/22 15/24 16/7
   221/12                    D                   16/13 17/13 17/19
  credible [2] 222/6         D'Emilio [2] 128/3 17/24 18/1 18/4
   229/14                     130/9
  credit [4] 79/22                               18/10 21/2 21/5
                             D.' [2] 24/20 25/9 23/24 41/20 42/2
   162/18 163/12             D005 [1] 140/21
   222/21                                        42/3 42/4 42/9
                             D3 [1] 247/15       42/9 42/18 42/19
  credits [5] 162/16         dad's [1] 179/16
   162/21 162/24                                 43/2 43/5 43/7
                             damages [2] 103/9   43/15 44/17 44/23
   163/13 164/7               103/12
  crime [1] 153/17                               51/23 52/4 52/8
                             danger [1] 240/12   52/16 53/9 56/20
  criminal [2] 5/4           dare [1] 64/8
   33/2                                          57/1 57/3 57/7
                             dark [1] 229/16     57/17 57/18 58/24
  cross [7] 84/12            date [33] 12/19
   237/2 249/18                                  58/25 59/2 59/11
                              23/21 23/21 30/20  59/18 59/20 60/10
   249/25 251/4               84/16 88/22 89/17
   251/15 253/10                                 60/18 60/22 62/1
                              100/15 100/19      62/8 62/19 62/22
  cross-examination           100/20 105/2
   [7] 84/12 237/2                               63/1 63/5 63/11
                              119/22 131/19      63/21 65/9 65/20
Case                          188/15
  D 9:18-cv-80176-BB Document 842      188/19
                                  Entered                 255/9 255/15
                                          on FLSD Docket 12/20/2021 Page 287 of 366
  dave... [142]               189/16 189/24              day.' [1] 71/9
   65/23 67/10 67/23          189/25 190/3 194/7         days [15] 60/17
   68/1 68/6 68/8             195/1 195/7 195/11          61/4 69/2 69/16
   69/22 70/24 70/25          195/11 196/2 197/2          104/6 105/2 122/12
   71/9 71/18 74/6            199/8 200/23                135/22 141/21
   76/5 77/2 80/3             201/19 201/20               144/23 145/17
   80/4 80/9 87/18            202/4 202/15 203/6          151/21 152/2
   89/21 90/7 96/23           203/11 204/20               152/24 187/5
   97/19 99/6 113/24          205/16 206/1 209/8         de [11] 1/22 24/8
   114/10 114/16              212/9 221/18                24/17 26/7 26/14
   114/19 123/4 133/9         224/24 231/4 235/4          31/18 34/4 38/14
   133/14 133/19              236/6 237/8 238/2           43/21 49/15 50/23
   134/4 134/5 135/16         238/5 241/22               dead [5] 114/11
   135/22 135/24              242/17 249/12               114/15 114/17
   136/7 136/20              Dave's [23] 11/23            114/22 170/7
   136/22 136/24              12/5 43/17 52/18           deal [10] 19/13
   137/1 137/1 137/3          53/4 67/7 67/18             59/3 59/14 84/15
   137/7 137/9 137/23         69/13 70/10 70/17           135/11 153/8
   138/1 138/6 138/14         71/8 72/11 72/16            224/20 224/21
   139/12 140/8               72/23 73/3 114/8            224/24 238/20
   140/11 140/15              114/21 171/11              dealing [1] 222/11
   141/4 141/6 141/17         177/14 180/15              dealings [2]
   141/18 142/2 144/6         187/13 226/9                148/10 220/9
   147/4 147/8 148/8          241/21                     dealt [3] 37/3
   149/3 149/15              Dave.' [1] 59/9              120/8 159/12
   149/21 151/11             davekleiman.com [2]         Dear [2] 120/7
   151/18 151/21               188/3 188/15               161/20
   151/23 152/5 152/8        David [9] 1/4               death [1] 52/18
   152/25 157/23              62/15 95/18 133/25         debate [1] 45/11
   160/22 161/1 161/4         160/15 160/15              debt [3] 102/9
   161/5 161/7 161/10         161/25 162/1                102/12 114/2
   162/4 164/16               173/20                     dec [1] 131/7
   166/22 167/2 170/3        day [30] 1/9 6/16           decade [2] 160/15
   170/6 171/10               7/13 13/3 16/20             160/23
   171/16 172/9 173/7         19/17 35/3 35/3            deceased [2]
   175/1 176/22 177/6         35/11 35/11 60/15           100/18 152/2
   179/6 180/10               65/15 71/18 75/10          December [1] 205/1
   180/15 181/19              89/21 111/9 116/9          decent [1] 13/9
   182/9 184/9 186/13         116/11 120/19              decision [4] 73/15
   186/14 186/16              120/19 121/1                73/18 164/6 164/15
   187/10 187/21              121/24 122/10              declarant [1]
   187/25 188/3               122/13 122/14               251/3
                              124/20 177/7 187/9         declaration [25]
Case                          124/8
  D 9:18-cv-80176-BB Document 842     124/13
                                  Entered       126/3
                                          on FLSD         4/16
                                                  Docket 12/20/2021 Page 288 of 366
  declaration... [25]         132/9 132/13               deliver [1] 239/14
    91/4 91/22 93/10          142/19 157/2 234/8         demonstrating [1]
   93/13 129/11               234/11 237/17               197/25
   129/17 129/22              241/7 244/8 251/25         DeMorgan [25]
   130/5 130/24 131/4         253/21                      21/23 27/18 31/15
   131/10 131/10             Defendant's [5]              38/21 38/23 46/15
   131/12 131/15              2/17 3/6 229/14             48/20 49/14 50/10
   248/11 248/15              236/22 237/2                50/19 143/17
   249/21 250/16             Defendants [1]               143/23 144/16
   250/20 251/9 251/9         132/8                       145/1 145/5 161/4
   251/23 252/8              Defendants' [1]              220/8 220/11
   252/12 252/14              227/16                      220/16 220/19
  declarations [4]           defense [49] 1/4             220/20 220/25
   127/24 129/1 129/5         5/10 20/16 20/21            222/7 223/19
   214/6                      20/25 21/3 26/15            223/19
  declare [3] 92/1            26/25 27/19 28/21          DeMorgan' [1]
   92/12 130/13               44/5 44/11 44/15            24/16
  decs [4] 127/10             44/19 44/20 45/2           deny [1] 215/20
   127/22 129/8               45/6 45/13 45/21           denying [1] 68/4
   129/21                     46/5 58/3 66/1             Department [5]
  deed [5] 21/8               83/11 87/21 90/7            58/3 66/1 153/24
   43/21 119/16 216/2         94/11 95/17 97/14           158/15 162/4
   216/8                      99/5 101/11 105/8          depend [1] 85/4
  deeds [1] 27/4              105/18 105/22              Depending [1] 7/2
  deeply [1] 79/23            106/1 107/17               depends [9] 16/19
  default [7] 45/24           107/22 111/21               16/22 52/7 67/25
   46/2 46/3 46/11            113/4 115/18 119/4          165/10 206/14
   47/7 82/8 82/12            134/19 136/7                206/15 206/25
  Defendant [48] 1/8          136/12 136/15               253/10
   1/20 4/19 4/20             136/25 172/5               depo [1] 83/3
   5/18 86/7 94/10            208/14 230/16              deposited [1]
   97/13 98/7 99/5            247/9                       59/22
   99/21 100/7 102/5         defined [2] 22/25           deposition [35]
   102/24 105/13              136/24                      2/4 2/6 5/10 6/17
   105/14 105/17             definitely [6]               6/18 8/14 8/21
   105/25 106/2 106/5         11/1 12/21 44/19            8/21 83/1 83/18
   106/12 109/7               80/3 127/8 189/14           147/16 147/17
   109/12 111/24             Delaware [2]                 147/22 148/3
   112/10 112/13              143/17 143/24               154/13 154/23
   116/16 116/17             delay [1] 155/22             155/1 155/3 155/11
   118/10 119/9 121/6        delete [2] 78/14             156/3 207/8 213/10
   122/8 122/20 123/7         79/6                        215/17 217/5 217/6
                             DELICH [2] 1/14              217/9 220/23
  D 9:18-cv-80176-BB Documentdevelopers
Case                          842 Entered on[1]           60/17 62/11
                                             FLSD Docket 12/20/2021       63/12
                                                                    Page 289 of 366
  deposition... [8]           66/17                       64/4 65/1 65/20
   228/25 229/3 239/7        developing [2]               65/23 65/25 68/2
   241/9 242/8 245/7          33/2 79/23                  68/3 68/5 70/14
   249/19 251/3              development [4]              71/13 71/14 73/12
  depositions [1]             40/22 69/23 136/18          73/20 73/22 74/2
   210/16                     222/21                      74/17 74/18 76/20
  derivatives,' [1]          DEVIN [1] 1/13               80/3 80/4 80/9
   39/9                      devolved [1] 218/7           80/10 82/18 85/12
  described [1]              Diaferia [1]                 95/2 95/4 96/9
   22/22                      241/18                      96/16 102/11
  describes [2] 25/6         dialed [1] 42/21             106/14 110/3
   33/11                     diametrically [1]            110/11 118/19
  describing [1]              237/18                      123/18 129/11
   24/16                     dictate [1] 154/1            129/13 129/14
  description [3]            dictated [1]                 131/9 134/1 134/3
   34/5 34/24 35/18           153/25                      142/22 142/23
  deserved [1] 82/22         did [187] 5/4 9/16           144/2 148/12
  design [1] 40/24            11/2 11/5 11/9              152/10 154/6
  designed [1]                11/10 14/21 15/19           154/18 154/19
   196/14                     15/21 15/24 15/25           154/22 162/14
  desperate [1]               16/11 16/12 16/15           165/16 165/23
   13/22                      16/18 16/24 17/5            170/23 178/25
  detail [4] 22/22            17/13 17/17 17/18           182/24 183/5
   103/23 132/2               17/19 18/3 18/4             183/10 183/12
   146/14                     18/10 18/18 19/5            184/2 184/3 184/8
  detailed [2] 96/1           20/14 26/7 26/23            185/9 186/18
   126/22                     27/4 27/14 28/23            186/25 187/10
  details [9] 27/21           31/6 31/8 33/7              190/17 192/6 194/5
   46/10 46/11 53/2           34/13 36/10 36/11           196/11 198/4
   88/1 108/1 108/2           36/13 37/4 39/11            198/10 200/22
   159/5 159/6                39/12 39/14 39/14           200/24 200/25
  detective [1]               40/20 41/5 41/5             201/22 202/16
   158/15                     41/17 42/8 44/17            203/13 203/13
  determine [2]               44/20 45/8 45/11            204/21 206/9
   50/25 232/14               45/13 46/14 46/14           206/10 206/10
  determined [1]              46/16 46/18 47/13           206/17 206/21
   50/22                      49/3 49/14 49/15            209/4 215/3 215/3
  develop [2] 32/17           50/25 51/6 51/10            215/3 215/4 218/15
   88/7                       51/23 52/4 52/8             226/7 229/13 231/5
  developed [4]               54/12 54/13 54/18           233/5 241/10 243/5
   20/15 160/14               57/17 58/2 58/22            245/22 245/24
   160/22 202/18              58/24 59/4 59/9             246/12 246/21
                              59/17 60/3 60/5             246/23 247/19
                              152/6
  D 9:18-cv-80176-BB Document 842
Case                                  152/23
                                  Entered       153/1
                                          on FLSD         38/23 50/9
                                                  Docket 12/20/2021 Page 50/10
                                                                         290 of 366
  did... [2] 247/22           162/1 170/12                53/10 55/10 93/14
   253/8                      173/22 177/7                108/7 108/8 108/11
  didn't [86] 10/20           242/17                      108/11 108/13
   12/25 13/1 13/2           dies [12] 23/25              108/14 108/16
   13/17 14/10 14/15          24/4 43/9 60/10             108/22 108/23
   15/14 15/15 15/17          89/21 97/20 135/22          109/18 113/9
   17/20 20/2 28/14           136/1 146/8 148/8           122/19 123/6
   33/7 33/19 33/25           171/10 241/22               124/14 124/19
   35/23 37/20 38/16         difference [5]               126/9 144/10
   39/15 39/17 39/23          99/9 192/19 209/13          144/22 151/13
   40/20 43/5 44/16           209/17 214/22               151/19 153/4 183/4
   45/8 49/4 51/10           different [23]               189/10 223/16
   53/24 54/21 55/10          25/4 25/4 28/25            director/Australian
   59/4 59/21 60/16           30/16 30/22 30/23           [1] 108/7
   61/9 62/5 62/16            33/7 38/18 45/10           directors [5]
   62/17 68/10 71/2           45/11 47/8 47/9             31/21 42/15 42/16
   71/7 71/12 71/16           88/3 112/21 161/12          187/25 220/14
   74/8 74/14 76/23           162/7 177/5 184/10         directorship [2]
   77/5 77/7 77/19            193/22 194/10               53/9 53/11
   79/7 82/10 82/12           218/20 232/4               disagree [2]
   110/9 113/21               236/25                      219/23 223/4
   114/22 122/11             difficult [3] 13/4          disappear [1]
   124/19 127/20              84/22 180/18                194/14
   129/1 129/17 130/7        dig [1] 184/1               disappeared [1]
   133/25 134/6              digital [6] 13/18            152/14
   140/17 146/7 153/8         76/25 141/4 141/7          disappointing [1]
   161/11 164/13              179/25 183/9                41/7
   170/18 175/14             direct [5] 2/7              disclosed [1] 81/6
   176/10 180/11              86/14 157/8 186/20         discovered [1]
   182/9 182/19               223/20                      10/12
   182/22 183/14             direction [1]               discrepancy [1]
   187/2 190/4 200/21         108/16                      218/21
   201/3 202/20              directly [10] 29/4          discuss [2] 84/18
   228/13 234/13              47/12 74/16 182/10          210/5
   241/1 243/4 249/22         182/19 182/23              discussed [10]
  died [25] 24/1              223/6 239/11                13/5 70/24 149/14
   24/1 24/2 42/4             239/21 242/9                149/16 160/7
   42/9 43/2 43/5            director [45]                161/21 162/2
   59/15 59/21 60/19          20/14 23/13 23/15           177/15 190/6 233/3
   60/22 96/23 99/6           23/16 28/20 30/6           discusses [1]
   122/20 123/7               30/11 30/14 30/15           178/11
   126/12 144/23              30/15 30/17 30/22          discussing [3]
                              31/10 34/3 38/21            70/25 71/1 177/14
                              91/6Entered
  D 9:18-cv-80176-BB Document 842
Case                                91/10    91/11
                                          on FLSD         245/13 245/17
                                                  Docket 12/20/2021 Page 291 of 366
  discussion [2]               91/18 92/19 94/14          246/5 246/6 246/11
   32/24 61/18                 97/7 99/12 99/15           246/11 246/14
  discussions [4]              101/4 104/6 105/5          248/14 252/15
   53/25 54/6 64/21            105/12 105/16             documentation [1]
   71/23                       105/17 105/21              109/15
  dismiss [1] 93/5             105/24 105/25             documented [1]
  dismisses [1]                106/10 106/16              25/3
   239/5                       106/25 107/12             documents [31] 6/2
  dispute [18] 6/1             107/16 108/10              10/19 12/13 27/15
   27/17 27/24 32/10           109/2 109/6 110/18         38/18 47/21 48/20
   32/19 33/5 33/24            112/19 112/22              48/25 49/1 50/25
   34/3 35/25 37/13            112/23 114/10              51/9 51/16 51/17
   41/2 80/13 80/15            115/16 115/22              96/7 101/6 114/2
   210/15 211/8                115/23 116/7               114/10 126/24
   221/24 227/19               116/19 117/9               147/4 198/4 211/18
   246/7                       117/18 118/5 118/6         211/19 222/4
  disputed [1]                 119/3 119/5 138/17         222/11 222/15
   235/20                      138/22 139/16              222/19 224/13
  disputes [1] 222/8           157/12 165/5               224/16 238/1 246/8
  disputing [1]                166/10 166/13              247/6
   221/23                      166/14 166/25             does [53] 25/7
  DISTRICT [7] 1/1             167/3 167/13               25/9 35/9 39/2
   1/1 1/10 1/24               167/19 170/16              39/19 40/8 40/10
   255/3 255/6 255/7           170/20 170/25              40/14 46/8 50/18
  DIVISION [3] 1/2             171/3 171/25 172/2         50/20 50/21 51/13
   121/20 142/7                172/4 172/6 172/10         63/10 66/25 67/9
  DK [1] 63/7                  172/16 177/22              70/4 70/4 72/8
  DK.' [1] 63/4                178/15 185/24              72/10 73/10 80/6
  do [440]                     197/16 197/25              87/24 87/25 89/5
  document [143]               198/12 198/16              105/6 105/16
   10/15 10/23 12/10           198/17 198/17              105/17 105/21
   12/14 21/11 22/24           198/19 198/22              105/22 108/10
   23/6 25/24 27/25            198/23 212/8               108/11 109/3
   28/10 28/15 28/19           215/14 216/11              115/22 118/5
   29/10 29/19 29/21           218/20 227/12              122/25 139/12
   30/24 34/2 36/4             227/18 232/17              141/17 141/17
   36/11 38/6 38/12            232/23 233/21              143/6 151/5 166/5
   38/13 38/16 39/16           233/23 234/14              176/7 182/16
   43/25 44/22 45/1            240/24 241/6 241/9         182/17 209/10
   53/16 61/12 64/14           241/10 241/15              209/11 214/9
   74/21 77/22 87/12           242/21 242/24              215/14 220/5
   88/1 88/2 89/8              243/4 243/15               221/19 244/2
                               244/25 245/11              250/15
                              30/7Entered
  D 9:18-cv-80176-BB Document 842
Case                                30/11    30/18
                                          on FLSD         133/20 146/24
                                                  Docket 12/20/2021 Page 292 of 366
  doesn't [27] 14/18           30/22 32/11 32/11  148/21 153/6
   14/18 15/19 25/8            32/20 33/6 33/6    153/11 154/1
   44/15 72/25 84/20           33/8 33/25 34/7    154/10 154/11
   103/18 107/20               34/8 35/23 36/1    154/11 155/15
   118/5 119/19 130/8          36/5 36/6 36/7     155/24 157/17
   139/22 172/7                36/11 36/14 36/14  157/17 162/18
   182/16 195/10               36/15 36/16 36/20  164/17 164/17
   198/15 212/23               36/22 36/24 36/25  173/11 177/16
   227/11 227/23               39/21 39/22 40/19  177/23 179/8 182/6
   229/20 231/12               41/3 41/7 41/18    184/14 186/17
   232/13 232/14               42/15 44/7 44/8    186/20 188/21
   240/5 240/10                44/14 44/16 44/16  190/18 191/9
   242/25                      44/22 45/7 45/15   193/21 194/10
  doing [21] 5/8               45/22 46/1 46/9    195/14 197/14
   34/25 35/18 55/11           46/17 46/17 47/16  198/23 198/23
   56/21 57/24 74/11           48/6 48/17 48/18   199/18 202/11
   77/17 88/18 170/12          49/11 49/18 53/2   203/12 203/19
   171/17 181/6                53/5 53/11 53/13   203/20 206/4
   189/23 189/24               53/18 53/18 53/24  206/25 207/10
   189/25 190/3                54/12 54/12 54/14  208/11 209/1
   194/14 195/2                54/17 54/19 55/12  211/25 212/1
   202/20 220/3 250/6          56/5 56/9 57/22    212/17 213/5
  dollars [4] 39/5             59/5 59/7 59/25    213/13 215/19
   45/21 102/7 162/9           62/5 62/6 62/9     221/22 221/23
  don't [249] 5/6              62/23 63/6 63/21   224/20 226/11
   6/3 7/5 7/6 10/8            63/22 63/24 64/8   226/12 230/3
   10/8 10/17 10/21            64/11 64/25 65/9   230/21 234/5 243/3
   12/20 12/21 14/14           66/2 66/18 67/2    243/4 243/13
   14/15 14/16 16/3            67/6 67/12 68/3    246/20 248/18
   17/7 17/14 18/2             68/8 68/9 70/5     250/7 250/13 251/8
   18/2 19/7 19/10             71/2 71/2 71/7     251/16 253/3
   20/17 20/18 20/18           72/8 72/19 73/12  done [24] 17/23
   20/20 20/22 21/1            74/13 75/25 76/20  30/3 41/7 42/4
   22/4 22/21 23/16            77/3 77/4 77/5     42/18 43/1 43/2
   24/1 24/2 24/24             77/6 77/7 77/8     43/4 43/5 43/6
   25/4 25/21 25/22            77/13 79/12 79/12  49/6 57/6 57/13
   27/7 27/12 27/21            79/13 80/15 81/9   59/14 66/2 79/7
   27/21 27/23 28/3            81/9 82/1 82/1     102/9 113/23
   28/6 28/15 28/16            82/2 88/22 98/16   123/16 145/7 180/6
   28/22 28/22 28/25           110/24 114/7 118/7 180/6 241/20
   29/2 29/3 29/8              119/22 123/9       242/15
   29/12 29/13 29/15           125/16 128/8      done.' [1] 76/2
                               129/23 131/19     door [3] 70/21
  D 9:18-cv-80176-BB DocumentDr.
Case                          842 Craig   [5]
                                  Entered on FLSD9/12     241/21 248/10
                                                  Docket 12/20/2021 Page 293 of 366
  door... [2] 71/23           31/24 86/1 86/10           dying [1]      52/22
                              222/5
   85/5
                             Dr. Edman [1]
                                                         E
  doors [1] 70/13                                        EA [5] 153/25
  dot [3] 124/24              188/17
                             Dr. Wright [355]             154/2 157/13 173/4
   124/24 124/24                                          190/20
  double [1] 132/1           Dr. Wright's [28]
                              6/18 19/5 28/11            each [6] 4/17 5/1
  double-check [1]                                        8/5 8/6 58/9
   132/1                      106/19 108/18
                              110/5 129/5 154/23          211/20
  doubt [10] 10/19                                       earlier [11] 25/13
   28/1 28/12 28/15           159/16 175/1
                              175/25 181/14               52/15 89/8 97/7
   28/19 28/21 36/3                                       100/23 116/13
   49/6 140/7 243/4           181/16 191/9
                              201/15 214/10               122/10 140/12
  down [34] 11/25                                         190/7 196/13
   35/20 79/9 79/18           215/5 217/19
                              218/13 225/5                201/21
   87/14 96/5 99/11                                      early [4] 34/19
   100/2 102/17 107/7         225/11 230/16
                              240/6 241/4 244/1           79/2 187/5 228/10
   108/24 110/13                                         early-stage [1]
   110/16 112/24              248/13 249/11
                              250/23                      34/19
   118/9 123/13                                          earn [1] 194/15
   124/10 130/20             draft [27] 27/5
                              36/15 36/25 37/16          Easier [1] 61/11
   132/11 132/23                                         easily [1] 196/17
   142/2 146/17 150/6         37/16 37/17 37/17
                              38/5 38/7 38/20            economy [1] 46/17
   152/11 169/22                                         edit [4] 18/1
   169/24 171/4               38/20 56/8 58/11
                              154/3 154/7 157/14          57/18 80/4 80/9
   174/24 181/2                                          edited [4] 16/13
   192/21 200/16              158/20 158/21
                              170/21 216/23               18/2 52/5 80/7
   205/22 211/8                                          editing [1] 52/4
   218/23                     235/13 242/15
                              242/24 243/8               Edman [1] 188/17
  down.' [1] 78/21                                       effectively [2]
  Dr [25] 4/22 85/5           245/20 246/10
                              246/16                      127/10 182/17
   89/2 89/20 94/20                                      eight [6] 12/19
   112/5 117/25 127/4        drafts [2] 38/17
                              75/23                       30/17 59/24 59/25
   135/20 139/12                                          60/13 61/2
   142/25 145/13             draw [1] 183/22
                             drawn [1] 10/23             EITC [1] 245/25
   147/6 161/17 177/2                                    either [6] 6/24
   194/2 195/6 196/1         drew [1] 185/6
                             drown [1] 126/7              7/14 53/22 58/1
   199/2 199/6 199/17                                     58/11 141/19
   200/14 213/6              due [1] 79/22
                             dumb [1] 110/16             electronic [10]
   230/21 237/24                                          11/18 11/20 15/4
  Dr. [392]                  during [11] 84/11
                              84/18 155/3 208/15          15/6 15/7 15/17
  Dr. C [3] 106/2                                         18/13 140/10
   106/5 111/24               212/7 217/5 217/5
                              217/19 237/1                140/16 142/2
                              188/15
  E 9:18-cv-80176-BB Document 842
Case                                   188/18
                                  Entered                 55/2 55/4
                                          on FLSD Docket 12/20/2021 Page55/16
                                                                         294 of 366
  electronically [2]   188/19 188/23                      65/1 65/3 76/1
   135/16 135/25       188/25 189/2                       134/10 140/12
  eleven [1] 182/13    189/15 189/21                      154/1 178/17
  else [16] 20/10      190/16 190/25                      178/17 199/7 226/5
   43/8 46/12 49/3     191/16 192/2                       242/6
   55/15 55/17 73/13   192/12 195/6                      employee [1] 93/18
   123/1 127/9 128/23 196/19 196/22                      empty [2] 234/1
   129/7 144/19 145/8 198/12 199/2 199/4                  234/4
   146/3 201/3 237/3   199/5 199/10                      enable [5] 33/20
  email [173] 12/16    200/14 200/20                      37/8 39/25 40/22
   12/17 14/1 14/6     200/23 201/3 201/7                 203/2
   50/11 50/11 50/15   201/15 201/17                     enabling [1] 203/3
   56/1 56/4 61/14     201/17 201/25                     encapsulated [1]
   61/14 61/18 61/19   203/7 203/19 204/2                 201/8
   62/5 62/16 63/14    204/3 204/6 204/6                 encryption [1]
   63/16 64/2 66/3     204/9 204/18                       40/25
   66/25 67/11 67/12   204/19 204/25                     end [19] 9/17
   69/11 70/16 71/14   205/4 212/13 213/3                 32/12 33/20 39/11
   71/17 71/19 72/1    213/6 213/9 213/11                 39/14 39/24 41/9
   72/6 75/6 75/9      214/2 214/4 214/9                  41/10 41/11 44/21
   75/21 77/24 78/2    214/10 215/4                       54/16 69/10 92/12
   79/10 80/13 80/14   215/11 216/5                       114/4 126/11
   80/16 82/1 86/22    216/14 217/20                      153/13 178/15
   86/22 87/6 108/2    217/21 219/5                       209/1 209/2
   113/14 119/20       219/12 219/13                     ended [3] 57/23
   120/2 133/9 133/13 222/1 223/11 224/2                  77/18 208/21
   133/21 134/8 134/9 224/5 224/12                       engagement [1]
   153/23 157/13       224/22 225/2 225/5                 220/7
   158/14 161/17       225/6 225/7 226/1                 engineering [1]
   171/17 171/23       226/8 226/14                       29/25
   172/2 172/24 173/2 226/16 234/25                      enjoy [1] 8/7
   173/3 173/5 173/6   235/12 235/22                     enough [8] 17/3
   173/18 173/18       236/4 236/10                       26/11 39/15 54/23
   177/20 178/4        236/16 237/17                      101/9 120/22
   178/10 178/16       238/8 238/9 239/10                 183/12 250/5
   178/24 179/1 179/2 239/22 241/17                      enough.' [1] 54/25
   179/4 181/5 181/13 248/10                             ensure [3] 71/9
   181/18 182/5       email.' [1] 63/7                    73/3 164/1
   182/16 183/7       emailed [1] 50/7                   enter [3] 126/16
   183/12 184/8 184/9 emailing [3]                        133/19 134/3
   184/18 185/2 186/8 171/13 177/11                      entered [4] 121/4
   187/17 188/3        177/13                             133/23 133/24
                      emails [15] 10/11                   134/4
                              239/8
  E 9:18-cv-80176-BB Document 842
Case                                                      241/25 246/1
                                  Entered on FLSD Docket 12/20/2021 Page 295249/6
                                                                             of 366
  enterprise [1]             establish [4]               eventuated [1]
   57/13                      219/7 220/25                153/9
  enterprise,' [1]            228/12 231/20              ever [20] 14/16
   56/18                     established [8]              15/21 15/24 18/3
  enterprises [1]             80/17 87/21 87/24           18/4 18/10 20/14
   57/12                      97/19 221/2 221/15          20/21 20/24 21/2
  enters [1] 249/5            241/3 246/4                 48/19 49/15 51/23
  entire [7] 58/18           establishes [2]              52/8 60/1 63/11
   58/25 59/8 114/14          242/2 251/23                121/11 179/8
   137/9 178/6 251/6         establishing [1]             183/16 206/21
  entirely [1]                219/8                      every [10] 19/17
   249/14                    estate [13] 1/4              98/18 163/18 164/1
  entities [4] 28/20          43/17 52/18 54/6            194/13 195/15
   29/24 223/18               90/6 114/8 114/14           195/15 195/17
   238/18                     114/14 114/19               195/22 229/20
  entitled [3] 8/22           171/11 187/14              everybody [1] 8/9
   176/2 191/1                206/5 206/6                everyone [9] 8/4
  entity [11] 31/14          estimate [2] 6/20            8/11 10/5 20/10
   32/7 34/4 44/13            6/21                        72/6 84/6 121/9
   90/23 90/23 99/9          Europe [1] 120/17            196/7 209/12
   103/15 153/11             evaluate [1] 8/23           everything [16]
   164/12 170/3              evaluation [2]               46/12 47/12 58/22
  entry [1] 80/1              29/25 38/10                 58/22 114/1 125/23
  equivalent [3]             even [25] 10/11              144/14 145/8 146/2
   163/20 168/18              10/12 15/18 20/4            170/6 170/11
   209/15                     39/21 41/6 42/24            170/11 191/23
  erroneous [1]               43/12 47/17 60/14           194/22 210/6 219/3
   166/8                      60/15 64/1 76/22           everything,' [1]
  error [3] 100/11            78/14 79/1 94/3             58/6
   100/12 142/18              139/22 164/13              evidence [103]
  errors [2] 166/24           209/15 223/2 237/9          86/19 88/24 91/13
   166/25                     237/9 242/21                91/16 91/17 98/10
  escrow [1] 145/11           249/22 252/22               98/13 98/15 101/1
  escrowed [1]               evening [6] 209/21           111/14 115/8
   191/24                     210/1 210/9 245/12          121/16 125/6
  especially [1]              248/6 254/2                 125/12 125/16
   60/8                      event [5] 238/22             126/17 126/22
  ESQ [10] 1/13 1/13          238/23 239/1                126/23 127/1 127/6
   1/14 1/14 1/17             239/13 239/23               140/22 142/1
   1/17 1/18 1/20            eventually [10]              143/21 147/7
   1/21 1/21                  96/8 117/4 121/3            147/13 149/8
  essentially [1]             153/8 153/10                149/12 154/19
                              238/16 239/3                158/5 158/7 158/8
                              148/21
  E 9:18-cv-80176-BB Document 842
Case                                   162/5
                                  Entered on FLSD Docket excused
                                                         12/20/2021 [1]   128/15
                                                                    Page 296 of 366
  evidence... [72]            203/18 206/8 207/5         executed [1] 140/5
   166/15 167/6               208/8 209/1 240/7          exercise [1] 110/9
   167/10 167/11             exactly [17] 6/20           exercised [1]
   172/13 172/19              14/18 14/22 19/25           110/8
   172/20 175/7               33/19 47/2 72/8            exhaustive [1]
   175/22 175/23              72/11 73/2 76/20            253/3
   177/23 178/1 178/2         83/3 126/23 211/5          exhibit [70] 10/3
   178/19 178/21              220/2 221/19                10/14 12/6 21/6
   178/22 185/2 188/6         228/17 246/21               28/12 30/8 30/9
   188/8 188/9 190/11        examination [12]             43/19 49/24 50/1
   192/24 199/19              2/7 84/12 84/18             55/20 61/11 64/12
   200/1 200/8 200/9          86/14 157/8 237/2           64/14 68/14 68/16
   201/6 201/12               248/10 249/18               68/17 74/19 77/20
   203/24 204/13              249/25 251/4                80/11 91/17 98/11
   204/15 204/16              251/15 253/10               149/12 158/8
   212/15 213/20             Except [1] 103/20            158/10 158/12
   213/21 213/24             exception [2]                167/11 172/20
   214/1 214/14 215/9         219/23 251/12               175/23 178/22
   215/21 215/24             excess [2] 102/14            188/9 192/14
   217/14 218/18              162/24                      192/20 200/9
   221/17 223/9              Exch [31] 23/4               204/16 212/5
   223/23 224/8 224/9         23/11 37/10 38/11           212/12 212/15
   225/20 225/21              38/25 39/4 39/11            212/17 212/23
   226/21 227/16              39/18 41/4 42/3             215/9 215/24
   229/17 229/22              42/3 42/10 42/17            217/14 217/21
   230/19 231/14              42/23 42/25 43/15           218/18 223/9
   231/24 233/10              52/18 53/10 54/7            223/23 224/9
   233/18 238/6               55/11 57/1 57/2             225/21 226/21
   239/25 240/17              57/2 57/4 57/8              227/16 227/19
   241/12 241/13              57/23 59/3 59/12            228/25 229/2 230/9
   242/5 242/13               59/14 60/11 220/13          231/3 231/24
   242/20 244/10             exchange [15] 39/3           233/10 233/18
   247/1 247/7 247/17         39/8 42/10 54/11            234/21 235/20
   252/2                      67/9 104/2 104/23           241/13 242/13
  eWallet [1] 40/12           118/4 133/15 160/7          243/12 247/1 247/7
  ex [4] 2/9 3/2              160/20 195/4 226/8          247/8 248/20
   124/25 125/3               231/3 232/2                 250/20 251/6
  ex-wife [2] 124/25         exchanges [1] 39/4          exhibits [12] 5/9
   125/3                     excluded [1] 217/2           5/10 5/12 5/19
  exact [14] 12/20           exclusive [1]                5/20 96/5 210/16
   12/23 88/22 110/23         193/21                      211/13 230/2
   119/22 131/19             excuse [4] 48/25             243/20 244/9
                              52/8 216/25 218/8           247/21
                              182/8
  E 9:18-cv-80176-BB Document 842
Case                              Entered on FLSD Docket father     Page 42/6
                                                         12/20/2021[4]   297 of 366
  exist [1] 139/22           fact [20] 9/12               52/22 52/22 53/4
  existed [2] 114/12          129/13 129/14              favor [2] 117/12
   230/25                     147/8 153/13 198/3          208/23
  existent [1] 76/5           221/13 228/4               February [11] 97/1
  existing [1]                229/24 230/12               100/13 133/8
   183/22                     236/6 239/4 240/8           148/20 149/20
  expenses [1]                241/10 242/20               150/14 180/7 184/7
   208/19                     242/25 243/5 243/7          185/15 185/19
  expert [1] 141/6            243/14 250/19               204/22
  Explain [1] 52/25          facts [1] 229/13            February 10th [1]
  explained [6]              factual [1] 74/13            185/15
   14/22 14/23 15/1          failed [3] 235/2            February 12th [1]
   30/13 195/14               235/24 239/20               204/22
   195/23                    fails [2] 239/3             February 2010 [2]
  explanation.' [1]           239/13                      184/7 185/19
   13/25                     fair [10] 13/15             February 2013 [1]
  exposure [1] 78/20          13/16 17/3 21/20            133/8
  express [2] 19/13           34/24 35/18 48/16          February 2014 [1]
   19/19                      110/20 120/22               97/1
  expressing [3]              252/7                      February 23rd [1]
   20/8 64/1 64/7            fake [2] 231/16              149/20
  extended [1] 218/5          232/13                     February 2nd [1]
  extension [1]              Faketoshi [1]                150/14
   218/11                     239/5                      February of [3]
  extent [8] 147/12          false [4] 48/20              100/13 148/20
   155/2 156/10 221/9         49/2 183/12 219/15          180/7
   221/14 226/14             falsification [1]           federal [1] 147/21
   231/19 244/2               90/10                      feed [1] 98/17
  extort [1] 171/15          familiar [5] 21/12          feel [2] 67/13
  eye [3] 20/11               48/21 48/22 56/6            222/16
   20/13 64/3                 178/7                      feeling [3] 191/4
                             family [9] 24/8              193/7 193/16
  F                           27/18 46/14 80/18          fellow [1] 151/12
  F'ing [1] 151/2             81/15 81/25 96/25          felt [1] 14/11
  fabricated [2]              97/3 123/2                 Ferrier [29]
   180/12 181/18             far [7] 5/9 5/13             148/11 148/13
  fabricating [1]             63/7 123/1 129/24           149/1 149/15
   180/25                     203/7 245/2                 149/21 150/2
  face [3] 52/12             farm [1] 181/23              150/21 151/11
   64/2 73/11                fast [2] 39/25               152/3 153/7 159/17
  Facebook [1]                171/7                       159/23 161/6 162/2
   179/21                    fast-forward [1]             190/3 190/6 190/17
  Facebook.' [1]              171/7                       192/2 192/5 193/7
Case                          99/16
  F 9:18-cv-80176-BB Document 842     100/17
                                  Entered                 60/7 129/2
                                          on FLSD Docket 12/20/2021 Page 298 of 366
  Ferrier... [9]              100/21 100/23              financially [1]
   193/16 193/24              101/6 101/10                13/4
   194/5 194/24               101/13 101/17              find [9] 48/10
   194/25 195/3               101/20 104/3 105/2          48/17 72/16 118/23
   196/21 197/13              105/3 105/7 105/7           170/7 180/4 180/15
   199/7                      105/12 105/16               180/22 234/1
  Ferrier's [1]               105/25 107/11              finding [1] 174/19
   191/16                     109/2 110/18               fine [5] 5/13 73/1
  few [13] 10/8               110/24 111/9                128/13 146/20
   47/23 48/4 69/2            111/24 113/19               210/24
   150/3 152/23               114/2 115/2 115/5          finish [4] 60/21
   178/24 181/23              115/11 115/20               128/7 184/9 202/9
   184/6 194/7 204/6          119/4 120/8 123/22         finished [5] 32/21
   205/1 214/19               124/2 128/12                41/4 41/6 202/6
  fiancee [2] 97/2            129/20 129/21               202/10
   114/21                     131/18 134/18              fired [4] 142/24
  fight [7] 12/22             141/20 144/5 148/5          206/22 208/25
   12/24 14/16 19/16          148/7 153/11                214/20
   57/5 57/9 57/11            162/14 187/14              firm [9] 49/12
  fighting [2] 56/24          190/7 245/1 250/4           51/18 132/9 161/18
   163/23                     250/6                       172/3 196/15 222/3
  fights [4] 14/20           files [11] 11/18             242/15 245/21
   19/15 184/12               11/20 11/20 15/6           first [42] 5/3 6/1
   184/13                     15/7 18/13 18/15            7/14 12/14 12/16
  figure [2] 54/23            19/7 19/10 142/14           21/17 36/24 37/16
   54/24                      171/11                      38/20 68/20 73/15
  file [22] 15/4             filing [11] 88/20            80/1 89/8 89/12
   15/17 19/5 88/18           106/25 107/16               91/21 96/25 98/25
   88/25 89/2 100/22          107/21 108/1 108/5          101/6 105/6 110/24
   102/10 104/5 114/1         108/12 112/9 113/3          119/13 138/12
   114/20 115/13              113/8 153/14                143/1 159/1 167/12
   127/5 128/14              filings [1] 209/3            175/15 175/17
   135/18 141/10             fill [1] 221/17              179/5 179/17 183/1
   141/12 141/12             final [8] 36/14              185/8 185/8 186/18
   141/13 153/10              36/24 38/20 55/18           190/25 199/13
   162/23 252/25              76/25 117/20                203/14 212/13
  filed [65] 45/1             160/11 241/8                222/24 225/15
   47/4 53/16 53/18          finalizing [1]               227/18 241/15
   53/23 89/3 89/6            69/4                        252/20
   89/16 90/21 90/22         finally [1] 208/22          fishy [1] 179/24
   91/5 96/2 97/8            finance [1] 135/6           fit [1] 15/20
   97/11 97/16 99/5          financial [5]               five [8] 24/6
                              26/16 27/22 60/4            48/11 48/12 56/6
                              78/15
  F 9:18-cv-80176-BB Document 842
Case                              Entered on FLSD Docket forwarded    [3]
                                                         12/20/2021 Page     65/3
                                                                         299 of 366
  five... [4] 79/18          Forensics [1]                75/10 199/4
   81/9 243/20 244/4          140/25                     forwarding [1]
  fled [1] 153/12            forgave [6] 102/9            65/1
  flesh [1] 248/19            102/11 103/20              forwards [1]
  FLEXNER [1] 1/16            110/25 114/2 114/3          219/14
  flip [5] 120/17            forged [2] 28/10            fought [1] 164/14
   120/18 120/20              28/11                      found [8] 57/6
   120/22 120/23             forgeries [3]                59/18 87/18 96/24
  flippant [1] 154/1          228/5 230/22                151/25 152/2
  FLORIDA [19] 1/1            230/23                      183/20 229/15
   1/15 1/19 1/22            forgery [3] 228/12          foundation [21]
   1/25 95/8 106/20           228/19 232/9                148/15 162/11
   107/2 107/6 109/23        forgiven [1]                 163/1 166/18
   109/23 181/24              113/22                      175/21 198/6
   250/7 250/10              forgiving [3]                212/20 217/4 217/7
   250/15 255/3 255/7         96/10 96/11 121/10          219/22 227/13
   255/15 255/18             form [2] 27/5                227/20 227/23
  flsd.uscourts.gov           114/20                      231/13 232/14
   [2] 1/25 255/19           formality [1]                233/3 233/14 241/2
  focus [4] 14/3              127/11                      241/4 242/7 246/15
   35/2 107/8 188/18         formalize [2] 79/2          four [9] 31/2
  focused [1] 44/2            146/1                       31/15 31/18 38/10
  follow [5] 24/11           formally [1] 5/12            41/13 152/2 180/9
   47/19 89/13 98/24         formation [1]                222/24 243/20
   192/13                     10/22                      fourth [3] 61/2
  followed [1] 186/8         formed [5] 100/13            99/11 203/15
  following [5] 92/3          132/20 139/14              frame [1] 206/14
   130/19 140/24              149/19 183/9               frames [1] 162/7
   161/22 219/4              formerly [1] 221/1          frankly [3] 10/11
  follows [2] 89/9           forming [1] 149/18           12/19 251/19
   235/25                    formula [5] 11/21           fraud [7] 236/1
  font [1] 140/13             15/10 15/10 15/17           236/1 236/7 236/17
  food [1] 13/9               19/4                        239/15 239/17
  for,' [1] 47/14            formulas [1] 18/22           239/20
  for.' [1] 47/15            forth [3] 10/11             fraudulent [1]
  forbidding [1]              126/11 196/21               231/10
   84/14                     forthright [1]              free [1] 236/1
  foregoing [2]               73/23                      FREEDMAN [16] 1/12
   92/13 255/10              forum [4] 180/8              1/13 2/7 4/6 85/4
  foreign [3] 181/6           180/9 184/6 185/11          147/18 156/1
   181/20 199/24             forward [4] 86/5             156/16 163/5
  forensic [2] 17/8           171/7 203/18                192/20 196/9 200/3
                              218/24                      207/12 209/20
Case                          232/18
  F 9:18-cv-80176-BB Document 842      246/3
                                  Entered       254/2
                                          on FLSD         162/18 162/18
                                                  Docket 12/20/2021 Page 300 of 366
  FREEDMAN... [2]             255/12                      165/4 188/19
   238/12 252/19             future [1] 13/19             191/17 192/6 194/6
  Freedman's [2]             FYI,' [1] 64/19              202/12 226/10
                                                          231/11 244/17
   234/17 239/23             G                            247/19 250/3 251/9
  friend [7] 16/7            GAAR [1] 164/9
   16/8 52/3 113/24                                      gets [10] 20/9
                             Gables [1] 1/22              101/6 139/13
   152/23 173/21             gained [1] 205/18
   177/7                                                  139/13 139/21
                             gaming [1] 176/23            194/13 238/2 238/3
  friend's [1]               gave [5] 110/1
   100/18                                                 238/18 249/6
                              165/14 166/6 182/8         getting [4] 13/22
  friends [3] 71/8            229/13
   201/18 201/20                                          28/8 222/15 226/18
                             Gavin [13] 194/22           gigabytes [1]
  friendship [1]              234/25 235/13
   191/5                                                  203/1
                              235/20 235/22              GISCR [1] 240/22
  frigging [1]                236/11 236/11
   150/22                                                give [23] 5/14
                              236/14 238/9                13/24 27/22 29/4
  front [27] 12/8             238/23 239/6
   22/5 23/18 28/23                                       32/3 42/5 54/1
                              239/13 239/15               54/19 60/5 75/23
   34/7 36/1 37/15           general [2] 34/25
   37/24 38/1 46/17                                       76/25 126/22 127/1
                              164/10                      131/17 137/21
   46/18 47/18 53/6          generalize [1]
   68/17 107/2 121/9                                      155/16 207/1 212/1
                              58/5                        222/12 243/11
   142/7 143/7 169/9         genius [1] 69/21
   178/6 212/17                                           248/20 253/5
                             gentleman [2] 78/5           253/16
   216/11 221/13              190/7
   222/24 224/15                                         given [4] 12/13
                             Gentlemen [7] 8/20           60/25 211/5 232/16
   229/16 249/3               82/21 83/15 146/22
  full [7] 9/6 79/22                                     gives [1] 66/3
                              156/19 157/6               giving [4] 54/11
   117/20 125/14              209/25
   145/25 202/11                                          79/22 219/2 230/11
                             get [47] 5/13 8/8           Gizmodo [1] 76/16
   202/12                     42/25 43/5 43/16
  fund [3] 13/20                                         glad [1] 8/8
                              43/18 46/14 46/15          global [1] 203/3
   176/22 242/9               46/16 48/14 52/17
  fundamental [2]                                        globally [1] 35/16
                              54/5 64/3 64/19            gmail.com [1]
   40/1 196/16                65/3 69/22 72/6
  funded [2] 118/3                                        172/1
                              72/9 72/23 79/22           go [96] 8/11 10/22
   163/24                     84/20 85/22 93/5
  funding [3] 238/18                                      14/1 14/25 16/21
                              107/8 115/14                17/10 22/23 23/3
   238/18 238/19              116/10 117/4
  further [10] 7/3                                        23/10 29/16 32/12
                              119/20 128/1                33/11 34/9 37/22
   85/17 88/4 167/1           129/10 134/9
   206/16 232/6                                           38/4 38/9 38/9
                              150/24 162/17               38/24 43/25 47/12
                              6/25Entered
  G 9:18-cv-80176-BB Document 842
Case                                8/15on13/6
                                           FLSD Docket Gordon     Page 70/21
                                                       12/20/2021[1]   301 of 366
  go... [76] 49/21            14/3 14/22 16/25          got [51] 9/22
   55/16 55/24 57/14          23/8 24/12 37/7            26/14 26/14 26/17
   59/15 63/3 63/23           42/10 42/22 51/8           43/15 45/24 45/25
   67/22 68/13 72/1           51/21 54/2 54/19           46/2 47/3 53/3
   73/14 75/6 79/8            64/16 65/10 66/4           53/3 53/7 59/13
   82/21 84/9 85/9            68/19 72/16 82/25          65/8 67/4 82/13
   87/14 88/24 92/20          86/18 96/14 96/15          100/18 106/16
   92/20 94/6 94/21           112/14 117/4               115/2 115/5 115/5
   97/5 97/23 99/18           121/11 121/15              115/11 115/12
   100/2 101/1 102/17         126/17 126/21              118/15 118/24
   103/2 106/21               128/1 129/15 134/9         121/18 122/3
   108/19 109/4 111/4         137/13 138/14              123/21 127/10
   113/1 114/23               138/16 146/21              127/22 129/8
   115/22 116/4               147/3 147/6 147/7          129/21 134/19
   118/12 120/19              152/15 154/13              142/12 142/13
   128/5 128/9 132/17         164/23 170/3 170/6         143/7 143/9 183/13
   134/11 136/6 140/1         170/11 176/25              185/3 186/21 192/7
   140/3 146/5 150/11         185/7 188/17 191/5         193/1 193/25
   150/17 153/6               193/8 193/22               194/25 195/2 198/5
   154/23 158/13              194/24 207/7               208/22 223/17
   164/25 166/9               208/22 209/25              234/1 240/25
   169/23 171/7               211/20 211/21              244/17
   173/17 174/12              237/13 237/15             government [2]
   177/18 181/2 185/8         240/1 240/7 240/9          35/14 168/17
   189/1 190/12               242/23 244/17             GOVERNMENT'S [1]
   190/13 190/22              247/2 249/8                2/9
   191/8 193/13              gold [1] 153/9             grab [2] 183/22
   196/19 210/14             Goldstein [1]               210/18
   211/5 211/8 211/18         216/24                    grabbing [1]
   226/22 245/5 250/9        gone [4] 38/18              210/25
   252/14                     46/11 145/24              grand [1] 31/22
  God [1] 60/12               146/13                    grant [1] 85/12
  goes [19] 63/13            Gonzalez [1] 4/21          graphic [3] 186/10
   65/7 65/14 88/2           good [22] 4/6 4/8           186/17 186/23
   146/2 161/4 172/18         4/17 4/18 5/1 8/3         grateful [1]
   182/5 215/3 215/5          8/5 8/12 34/18             161/21
   215/20 219/15              42/8 51/13 55/6           great [6] 18/9
   226/16 227/10              83/23 86/4 86/16           19/13 55/8 191/4
   227/14 239/10              86/17 137/21               193/7 193/16
   239/16 243/8               146/20 156/16             Greg [2] 168/1
   253/11                     186/19 193/2               169/15
  going [68] 6/21             209/21                    Greyfog [3] 117/23
                             good.' [1] 69/17            118/2 118/2
Case                          18/13
  G 9:18-cv-80176-BB Document 842     18/14
                                  Entered      18/21
                                          on FLSD         162/17 162/22
                                                  Docket 12/20/2021 Page 302 of 366
  grilling [1] 240/2           18/21 18/25 19/2           163/8 163/24 164/8
  grounds [11] 200/5           19/8 20/1 20/15            164/13 165/10
   213/16 214/18               20/21 21/4 26/8            165/17 169/6 170/2
   214/25 223/12               26/10 26/16 26/25          170/5 170/21
   224/2 224/4 224/12          27/22 28/2 29/7            173/22 179/6
   227/6 228/23                35/8 37/6 38/17            179/21 181/23
   248/14                      40/8 41/21 42/2            182/13 185/7 194/7
  group [4] 114/1              42/14 42/14 42/16          195/23 197/2 199/8
   144/20 184/10               46/10 46/11 46/19          202/4 202/15
   221/1                       46/19 47/6 47/7            202/18 204/20
  groups [1] 102/11            47/12 51/4 51/9            206/15 208/14
  GST [8] 163/17               51/11 51/11 53/10          208/17 212/8 217/1
   163/17 163/23               53/16 53/22 55/5           233/2 242/19
   163/24 164/1                55/7 56/8 57/3             242/21 251/17
   164/13 164/13               57/7 57/23 59/2            253/14 255/8
   208/13                      59/5 59/12 60/2           hadn't [4] 123/5
  guarantees [1]               60/3 60/4 60/13            127/18 145/14
   252/1                       60/23 61/19 62/3           170/6
  guess [8] 14/3               62/14 62/19 66/14         half [9] 41/6 64/4
   75/10 149/22                67/23 69/11 70/12          97/1 102/7 138/24
   163/20 165/18               70/24 71/22 74/16          139/8 139/13
   174/14 192/11               76/21 76/22 79/7           139/21 139/22
   230/10                      80/23 80/24 81/24         halfway [1] 174/24
  guy [3] 181/6                82/7 82/11 82/12          hand [6] 86/6
   181/7 182/6                 82/13 84/6 84/22           141/7 184/21
  guys [7] 67/18               85/21 99/16 100/23         184/25 186/9
   69/12 72/6 182/7            109/17 110/8               255/14
   182/10 182/20               111/15 114/11             handed [5] 7/22
   182/23                      114/16 116/13              29/2 171/17 244/25
                               118/9 119/22 123/2         245/7
  H                            124/22 124/24             handle [2] 206/11
  hacked [12] 10/9             125/23 127/15              206/17
   10/15 10/20 28/3            127/17 127/17             handled [4] 207/2
   28/5 28/6 28/7              127/18 128/19              207/22 208/2 209/3
   28/9 29/3 48/23             128/23 128/25             handwritten [4]
   51/11 227/11                129/11 142/24              233/23 234/7 234/8
  had [173] 5/17               143/22 145/5               234/9
   5/25 7/7 8/6 10/8           145/24 148/10             happen [2] 39/17
   10/9 11/18 13/4             149/18 151/12              47/13
   14/12 14/19 15/1            153/12 155/10             happened [16] 41/3
   15/2 15/8 15/9              157/13 159/20              46/21 47/10 47/10
   15/16 15/16 15/16           160/14 161/4               47/14 74/13 134/9
   17/7 17/24 18/3             161/12 162/2               137/22 144/8 144/9
Case                          224/21
  H 9:18-cv-80176-BB Document 842      224/24
                                  Entered                 121/13 141/22
                                          on FLSD Docket 12/20/2021 Page 303 of 366
  happened... [6]             228/13 231/12               141/25 142/25
   168/8 180/11               231/13 231/17               143/20 144/3 163/2
   194/23 218/3 218/5         236/5 238/21                180/19 200/3
   250/3                      241/16 242/10               221/23 250/24
  happening [1]               242/24 245/1                251/3 251/20
   221/11                     246/15 251/3               hearsay [65] 149/9
  happens [7] 114/4          hasn't [2] 46/11             167/7 172/14
   124/9 146/3 226/4          244/25                      172/17 175/9 200/5
   237/22 238/15             hate [1] 67/11               212/6 212/11
   238/16                    have [319]                   213/16 213/24
  hard [4] 163/25            haven't [9] 48/11            213/25 214/5
   211/17 222/13              48/12 48/18 141/12          214/18 214/25
   253/2                      155/1 155/10 178/6          215/13 215/14
  hardly [1] 177/4            198/22 202/6                216/3 216/15
  Hardy [2] 199/3            having [15] 12/22            216/16 217/2
   200/15                     42/17 43/23 55/6            217/23 219/1 219/3
  has [83] 5/22 5/23          56/10 64/22 89/10           219/10 219/23
   13/14 19/12 19/19          125/2 125/4 125/25          223/12 224/2 224/4
   20/11 20/12 22/25          125/25 163/2                224/4 224/6 224/12
   39/2 40/15 44/21           180/18 200/2                224/17 226/3
   50/11 51/1 51/2            222/12                      226/10 226/13
   51/25 52/2 52/5           he [397]                     226/19 227/5 227/6
   52/11 53/4 55/24          He'll [1] 4/23               227/20 228/23
   56/20 57/14 63/25         he's [15] 49/11              229/11 232/21
   64/1 64/7 66/5             141/5 152/2 170/7           232/22 232/24
   71/3 73/13 74/5            181/11 190/7                233/22 234/21
   79/13 79/15 81/6           218/13 219/18               234/24 235/2 235/5
   84/17 85/5 103/9           233/21 233/24               235/11 235/14
   103/18 104/22              237/12 239/4 239/5          240/23 241/16
   116/24 122/20              239/17 251/12               241/19 242/2
   123/3 123/7 123/12        head [2] 166/1               242/18 243/22
   126/23 127/11              250/8                       248/14 248/16
   137/3 137/5 140/15        headed [1] 209/2             250/16 251/6 251/8
   141/7 144/18 145/7        heads [1] 65/16              251/11 251/11
   145/19 145/23             healthy [1] 8/9              252/18
   172/16 175/21             hear [4] 139/1              heavily [1] 249/9
   183/8 183/11 197/2         139/1 177/4 197/21         held [7] 11/12
   199/19 199/20             heard [7] 20/6               11/15 24/16 27/19
   205/19 211/7               116/12 170/6                28/21 117/20
   212/20 218/4 221/7         201/21 201/23               123/11
   221/12 222/3 222/8         220/10 237/23              help [11] 17/19
   224/12 224/20             hearing [16] 89/10           76/2 80/3 89/5
                              120/24 121/3                149/22 153/16
  H 9:18-cv-80176-BB Documenthereunto
Case                          842 Entered[1]              151/12 152/5
                                          on FLSD Docket 12/20/2021 Page 304153/9
                                                                             of 366
  help... [5] 153/17          255/14                      153/10 153/12
   166/5 180/15 206/9        hernandez [6] 1/23           153/14 172/17
   206/11                     1/25 255/5 255/17           173/22 177/13
  helped [4] 18/1             255/17 255/19               179/8 179/21
   57/18 57/21 180/8         hesitates [1]                180/15 180/15
  helpful [1] 7/6             121/5                       181/6 181/20 182/5
  helps [1] 38/4             hesitation [1]               190/6 193/9 193/17
  Hence [1] 137/22            121/7                       196/22 203/12
  her [13] 48/11             Hey [1] 152/15               237/14 238/3
   143/7 159/12              Hi [1] 18/6                  238/22 239/5 239/8
   171/16 215/19             hide [1] 79/8                239/8 243/3 249/20
   215/19 217/5 217/5        high [2] 35/2                249/23 250/3
   217/9 217/9 218/14         187/7                      him' [1] 70/25
   241/3 241/9               high-leverage [1]           him,' [1] 62/1
  Herald [1] 252/17           35/2                       himself [12] 19/13
  here [57] 4/22             higher [1] 180/20            19/14 19/19 20/8
   4/25 8/9 13/9             highlight [15]               64/1 64/7 212/14
   22/22 23/8 26/16           93/15 99/11 106/15          226/6 236/6 236/17
   29/9 31/23 31/25           138/11 149/4 158/1          237/12 251/25
   32/9 39/13 39/16           169/23 173/13              hints [2] 78/23
   45/19 48/14 51/4           174/25 176/16               79/5
   51/20 62/2 77/8            181/11 182/18              his [85] 13/18
   79/5 83/5 83/24            196/24 197/7                15/7 15/8 16/8
   85/6 90/19 92/9            199/12                      18/21 19/3 24/25
   95/7 103/7 106/10         highlighted [2]              42/5 42/22 43/7
   106/20 110/17              150/9 176/19                43/8 47/3 49/12
   112/5 112/9 116/16        him [78] 9/18                51/23 52/3 52/3
   117/25 120/18              11/19 15/11 17/19           52/9 52/18 52/22
   131/8 144/13               17/22 19/14 19/15           52/22 53/16 54/14
   156/20 159/5               20/12 20/12 43/17           58/25 59/21 60/22
   168/18 170/4               45/13 45/18 45/25           60/23 64/2 67/3
   171/23 183/7               49/10 49/11 51/9            67/13 69/23 73/20
   184/11 185/8               51/11 52/4 53/22            74/16 76/11 76/20
   189/16 194/9 196/9         54/1 54/10 54/11            78/6 79/3 84/18
   203/14 205/15              54/19 54/23 55/7            85/1 97/2 114/12
   209/22 210/3 218/3         57/21 60/23 63/21           114/14 114/14
   218/23 221/25              64/2 64/3 65/9              130/17 138/15
   224/17 234/1               67/13 68/10 69/10           139/13 139/21
  here,' [1] 60/12            73/23 73/24 78/8            139/23 141/7 152/2
  hereby [1] 255/7            79/11 79/17 80/4            167/25 175/13
  hereunder [1]               80/16 148/20                175/17 175/20
   137/6                      149/16 149/17               179/22 179/25
                              150/1 150/25 151/5          181/5 181/19 182/7
                              85/9Entered
  H 9:18-cv-80176-BB Document 842
Case                                85/16    85/25
                                          on FLSD         228/11 228/16
                                                  Docket 12/20/2021 Page 305 of 366
  his... [27] 183/8            91/12 91/15 139/17         228/22 229/2 229/8
   183/21 202/9                146/19 147/21              229/10 231/7 232/5
   206/19 208/4                149/7 154/25               232/6 232/6 232/20
   212/13 212/14               155/12 155/14              232/25 233/13
   218/10 228/8                155/20 155/22              233/20 233/23
   228/18 229/14               156/2 156/9 156/11         234/12 234/20
   232/23 236/5                156/13 157/1 157/2         234/24 235/2
   236/24 237/4                158/4 164/20               235/10 235/11
   238/18 239/7                164/23 166/16              235/19 235/21
   239/12 242/8 243/5          167/5 167/7 172/12         235/25 236/2 236/4
   249/5 249/12                172/14 174/15              236/16 236/24
   249/21 250/5 251/1          175/6 175/8 175/12         237/5 238/6 238/14
   251/5 252/12                175/15 175/16              239/22 240/14
  history.' [1]                177/22 178/18              240/20 240/24
   78/15                       178/20 184/15              241/5 241/6 241/15
  hobby [3] 56/21              188/5 188/7 188/10         241/22 242/7
   57/10 208/19                199/15 199/25              242/14 243/2
  hold [8] 11/10               200/6 201/7 204/12         243/13 243/19
   18/10 125/19 128/7          209/22 210/23              243/24 244/11
   155/24 222/13               211/8 212/12               244/15 244/20
   225/12 245/16               212/22 213/2 213/4         245/6 245/9 246/4
  holding [6] 13/13            213/8 213/18               246/20 247/13
   38/14 220/11                213/23 214/11              247/23 248/4 248/7
   220/13 223/16               214/16 214/18              249/1 249/4 249/16
   241/18                      215/11 215/17              250/2 250/5 251/7
  holdings [2] 243/9           216/1 216/10               251/21 252/11
   245/25                      216/13 216/21              252/16 252/24
  holds [4] 14/7               217/3 217/18               253/1 253/6 253/11
   24/10 24/17 243/9           217/18 217/24              253/20 253/21
  home [6] 10/10               218/2 218/4 218/25        HONORABLE [1] 1/10
   60/14 66/20 66/20           219/20 219/22             hope [1] 191/21
   152/2 159/7                 220/21 220/25             hoping [1] 69/5
  honest [2] 14/14             221/7 221/11              Hornsby [1] 159/10
   27/6                        222/14 223/11             hotmail.com [1]
  honor [196] 4/6              223/13 223/24              191/2
   4/8 4/10 4/12 4/14          224/1 224/11              Hotwire [8] 32/6
   4/18 6/7 6/12 6/16          224/12 224/17              34/9 34/25 35/18
   7/5 7/11 7/20 7/24          225/10 225/14              38/11 50/11 130/14
   7/25 8/12 8/17 9/2          225/16 225/22              209/2
   83/2 83/10 83/11            225/24 226/3 226/4        hotwirepe.com [3]
   83/17 83/20 84/3            226/11 227/8               86/23 171/24 173/1
   84/7 84/11 85/3             227/18 227/21             hour [8] 6/22 6/22
                               227/25 228/7               6/23 6/25 60/17
Case                          63/16
  H 9:18-cv-80176-BB Document 842     63/24
                                  Entered      64/21
                                          on FLSD         96/14 96/15
                                                  Docket 12/20/2021       96/19
                                                                    Page 306 of 366
  hour... [3] 61/4            65/22 66/22 67/10  98/18 99/14 104/9
   82/24 83/24                67/24 68/5 68/7    105/16 106/16
  hours [1] 60/2              68/22 69/1 69/21   107/1 110/19
  house [4] 70/21             75/2 75/14 75/23   110/19 111/13
   76/12 76/17 179/16         76/18 77/15 78/2   112/1 112/12
  how [43] 6/20 7/2           78/12              112/14 112/19
   9/14 14/21 15/9           husband's [4] 16/7  121/11 121/15
   16/22 17/21 18/20          16/9 24/23 74/6    124/21 125/7
                                                 129/19 129/23
   18/22 19/3 19/22          I                   136/23 139/1
   23/24 25/6 25/8           I' [1] 58/17
   35/3 35/11 44/7                               139/10 139/13
                             I'd [8] 91/4        140/25 143/15
   46/14 46/14 46/16          114/21 120/20
   48/8 48/14 53/8                               146/19 147/3 147/6
                              129/23 147/6       150/25 154/13
   53/11 54/22 65/7           147/16 187/24
   71/24 73/7 73/8                               154/22 163/2
                              243/24             164/21 169/20
   126/18 149/22             I'll [22] 64/2
   160/24 179/20                                 177/24 180/18
                              83/4 83/24 128/11  180/18 184/5
   193/19 212/19              128/13 138/19
   221/20 225/6 234/7                            186/14 186/20
                              146/20 149/10      189/23 190/21
   236/8 238/9 245/4          156/20 163/6
   251/16 253/10                                 194/17 195/5
                              180/20 192/4 193/9 195/17 197/20
  However [1] 5/5             198/7 200/7 209/22 197/21 200/2 200/2
  HR [1] 34/17                210/9 212/23
  HTC [1] 130/17                                 206/7 207/1 207/2
                              224/14 247/22      207/7 209/1 210/24
  huge [1] 12/22              252/19 254/2
  hugely [1] 51/14                               210/24 211/19
                             I'm [135] 9/8       211/20 213/13
  huh [13] 34/10              12/19 13/10 14/3
   44/3 56/17 65/19                              217/25 218/19
                              17/2 17/9 21/4     218/21 220/6
   66/11 68/18 69/19          24/11 24/14 24/25
   69/25 76/8 101/14                             220/22 221/23
                              26/6 27/2 27/5     221/25 222/12
   185/5 194/1 206/2          28/3 30/19 30/20
  husband [50] 14/12                             222/15 229/10
                              35/10 38/3 43/2    229/24 230/1
   16/24 17/12 17/17          43/24 44/2 44/12
   19/12 20/24 45/5                              232/18 234/2
                              44/19 48/22 49/20  234/17 235/25
   45/20 46/4 46/8            50/15 51/12 54/2
   47/3 49/5 51/1                                236/1 237/18
                              55/2 57/5 59/15    239/15 239/15
   51/23 52/8 52/16           59/17 61/7 62/17
   52/17 53/14 53/16                             239/20 244/17
                              63/23 64/16 66/1   247/18 248/7
   53/21 53/25 54/5           77/18 78/25 79/18 I've [11] 17/23
   54/10 54/18 56/2           81/13 84/22 86/18
   60/17 61/25 62/3                              57/25 66/21 123/21
                              89/10 89/10 89/18  156/9 159/12 169/6
   62/14 62/25 63/10          90/8 90/9 95/16    171/2 177/9 178/16
Case                          214/1
  I 9:18-cv-80176-BB Document 842     216/16
                                  Entered       232/8
                                          on FLSD         105/8 105/18
                                                  Docket 12/20/2021 Page 307 of 366
  I've... [1] 195/15          233/15 243/1                105/22 106/1
  ID [3] 32/18 44/11          246/15                      107/17 107/22
   44/14                     improved [3]                 111/21 113/4
  idea [10] 13/4              125/22 125/22               115/17 119/4
   65/22 65/24 66/4           180/8                       134/18 136/7
   67/21 80/1 160/14         inability [1]                136/12 136/14
   160/20 160/22              19/19                       136/25
   161/1                     inadmissible [1]            information [38]
  ideas [1] 88/7              252/17                      28/21 40/21 41/18
  identification [10]        inauthentic [1]              41/18 44/11 44/14
    12/6 21/6 30/9            47/21                       44/19 44/20 45/2
   49/24 55/20 64/12         include [1] 137/13           45/6 45/13 45/20
   68/14 74/19 77/20         included [3] 18/15           46/5 46/14 60/6
   80/11                      105/14 160/2                60/25 61/4 61/9
  identified [2]             including [4]                66/17 67/18 69/13
   38/21 245/1                127/19 204/7 204/9          70/2 74/12 75/2
  identify [2]                223/18                      76/18 81/5 82/19
   227/23 242/19             incorporating [1]            140/18 143/13
  ignored [1] 65/20           79/25                       182/4 205/13
  illness [1] 43/8           incorrect [8] 37/1           205/18 205/18
  immune [1] 252/4            46/7 70/11 100/15           206/16 208/14
  immutable [1]               102/8 139/23                219/16 222/3 222/6
   196/6                      196/17 208/8               initial [1] 226/12
  impeach [1] 155/12         incorrect.' [1]             initially [2]
  impeachment [3]             38/19                       19/17 55/18
   147/20 156/11             indebted [2] 132/9          initials [1] 87/9
   156/14                     132/13                     initiate [2] 97/8
  import [1] 232/12          independent [2]              101/7
  important [1]               36/8 210/8                 initiation [2]
   220/24                    indication [1]               97/11 101/8
  importantly [1]             216/18                     inject [1] 84/18
   8/8                       indirect [1]                innovation [1]
  impossible [2]              163/16                      79/24
   6/20 230/20               individual [2]              instance [1] 163/8
  imprecise [1]               177/2 253/25               instead [2] 114/18
   30/19                     individuals [3]              119/20
  impression [1]              204/7 220/1 238/16         instruction [2]
   55/6                      Info [31] 1/4                51/12 84/24
  imprimatur [2]              20/15 20/21 20/25          integrity [3] 51/3
   228/19 232/8               21/3 26/15 26/25            51/16 222/4
  improper [8]                27/19 44/4 87/21           Integrys [1] 108/4
   156/13 213/24              90/7 94/10 95/17           Integyrs [3]
                              97/13 99/5 101/11           113/16 113/17
                              198/8
  I 9:18-cv-80176-BB Document 842
Case                              Entered on FLSD Docket involved    [19]
                                                         12/20/2021 Page 308 of 366
  Integyrs... [1]            interview [10]               20/25 21/2 25/21
   208/14                     165/24 167/22               25/25 31/7 52/20
  integyrs.com [1]            168/6 168/20 169/5          52/23 58/3 64/21
   113/14                     169/17 169/19               64/23 73/15 206/23
  integys.com [1]             244/2 249/4 249/7           226/17 236/12
   108/3                     interviewee [1]              237/10 237/22
  intellectual [27]           168/3                       242/25 246/11
   20/15 21/9 22/9           interviewer [2]              246/17
   22/16 22/17 26/7           167/25 169/15              involvement [14]
   46/4 46/15 47/4           interviews [7]               18/3 18/6 67/19
   82/5 103/21 104/5          165/14 165/18               67/23 69/13 70/10
   104/20 111/1               165/18 165/22               70/17 72/11 72/16
   117/20 117/23              243/21 243/25               72/24 73/3 177/14
   117/25 118/1               244/1                       214/8 226/9
   119/15 119/16             intestate [4]               involvement.' [1]
   125/18 125/21              122/20 122/23               67/8
   145/19 241/23              122/25 123/7               involves [1] 85/6
   242/17 242/22             introduce [2]               IP [24] 24/10
   243/9                      231/8 253/9                 24/16 24/17 25/7
  Intelligence [1]           introduced [1]               26/3 26/14 26/21
   130/15                     250/19                      26/25 27/19 28/20
  intend [1] 253/8           introducing [2]              43/21 78/20 103/13
  intending [1] 56/8          234/16 242/23               103/18 103/23
  intent [1] 252/6           introduction [1]             103/24 103/25
  interconnected [1]          236/9                       115/4 223/18
   35/16                     invalid [1] 198/18           240/21 241/25
  interest [3] 66/5          invent [1] 223/1             243/9 245/20
   132/15 165/4              invented [1]                 245/25
  interested [2]              228/21                     IRA [50] 1/3 4/3
   55/11 151/1               inventing [2]                4/16 41/21 52/20
  interesting [2]             182/14 182/16               52/23 53/7 53/9
   179/22 250/14             invention [5] 75/3           53/10 53/14 53/19
  interim [1] 165/6           77/12 77/14 196/16          53/22 53/25 54/6
  International [4]           222/22                      54/9 54/9 54/18
   13/14 15/12 15/13         invention,' [1]              55/6 55/13 56/7
   19/1                       77/10                       56/8 58/11 58/12
  internationally [1]        investigation [4]            58/14 85/1 86/23
    32/17                     206/10 207/23               90/6 114/7 140/12
  Internet [1] 78/14          208/3 208/13                140/13 177/11
  interpret [3]              investigations [3]           177/21 178/4 179/1
   19/14 20/4 73/5            206/11 206/18               179/4 180/25 181/5
  interruption [1]            207/3                       182/3 182/5 183/7
                             involve [1] 60/9             183/15 184/18
Case                          94/12
  I 9:18-cv-80176-BB Document 842     95/3
                                  Entered    97/16
                                          on FLSD         219/10 219/18
                                                  Docket 12/20/2021 Page 309 of 366
  IRA... [8] 185/6             98/10 98/13 98/13          220/2 224/6 224/17
   212/18 217/22               99/20 101/17 104/2         224/22 225/11
   218/2 218/6 218/6           105/6 105/7 105/7          226/13 226/19
   218/12 218/15               105/12 105/16              227/4 227/5 227/5
  Ira's [2] 181/18             105/23 109/13              227/20 228/3 228/4
   182/22                      111/14 120/5               228/17 229/2 229/3
  IRS [1] 168/18               120/13 121/24              229/5 229/11
  is [845]                     122/2 134/19               229/11 229/17
  is' [1] 60/13                136/22 136/22              229/23 230/11
  isn't [24] 38/6              138/5 139/11               230/20 231/5 232/1
   46/5 57/10 59/1             139/23 140/10              232/11 232/15
   60/24 95/24 100/14          140/22 141/25              233/5 233/8 234/6
   106/13 109/12               144/22 147/19              234/7 234/8 234/21
   109/19 116/14               147/23 149/2               235/5 235/12
   121/6 131/5 134/25          154/11 156/2               235/14 235/23
   140/7 161/8 162/3           156/10 157/13              235/24 236/7
   198/1 198/3 198/13          158/18 163/10              236/24 237/2 237/6
   198/19 198/21               164/2 166/15 167/9         237/7 237/8 237/9
   201/2 227/11                167/16 167/22              237/17 240/7 240/8
  issue [16] 6/2               168/25 169/19              240/8 241/17
   192/22 221/7                171/23 172/1               241/19 241/19
   222/25 223/6                172/17 173/3 175/9         242/16 242/17
   228/10 228/17               175/12 175/20              243/1 245/8 245/8
   230/8 232/5 232/7           178/10 185/3               246/6 246/12
   232/15 234/9 235/3          185/11 186/21              248/22 249/1
   238/10 251/13               190/11 191/1 191/1         249/17 249/18
   252/25                      193/11 193/21              250/9 250/12
  issues [16] 56/23            195/14 198/15              250/14 250/16
   85/6 165/9 165/10           198/16 198/17              250/24 250/25
   194/7 219/15 220/3          198/23 199/18              251/10 251/11
   221/5 221/9 221/13          201/17 203/10              251/22
   223/6 235/3 237/6           203/14 203/24             Italia [1] 214/2
   237/15 248/6                205/18 206/7 212/9        italicized [1]
   253/18                      212/18 213/25              79/9
  it [757]                     214/1 214/5 214/5         items [1] 253/24
  it's [193] 5/9               214/5 215/2 215/4         its [26] 22/6 34/6
   6/20 6/23 7/13 8/5          215/14 215/14              51/1 79/24 79/24
   11/15 13/24 19/21           216/16 216/18              84/16 85/11 95/23
   21/12 22/21 22/22           216/19 216/21              103/19 108/6
   34/17 39/14 51/21           216/23 216/23              109/18 127/19
   67/2 80/21 80/21            217/2 217/2 217/20         137/14 172/18
   81/8 84/9 88/3              217/23 217/25              187/14 215/22
                               218/12 219/10              220/4 220/6 222/8
  I 9:18-cv-80176-BB Documentjoin
Case                               [2] on
                              842 Entered 150/23
                                            FLSD Docket June         88/22
                                                               [6] Page
                                                        12/20/2021      310 of 366
  its... [7] 227/14    210/12                            208/17 216/2 216/8
   231/20 233/8 236/9 joined [1] 161/5                   217/22 226/24
   240/11 243/8 243/8 joint [13] 2/23                   jurisdiction [1]
  itself [4] 138/18    3/4 3/6 3/7 3/9                   252/5
   229/17 251/5 251/5 3/9 237/10 247/7                  jurors [1] 6/5
                       247/8 247/9 247/9                jury [58] 1/11
  J                    247/9 247/9                       5/11 7/4 8/1 8/2
  jaded [1] 28/3      Jonathan [6] 228/7                 8/3 82/23 83/9
  Jaime [2] 206/23     229/13 229/17                     83/12 83/13 84/1
   215/4               231/8 233/4 233/21                84/8 85/18 85/19
  Jamie [17] 116/10 JOSEPH [2] 1/14                      85/21 90/20 93/6
   116/11 119/9        185/20                            96/15 98/10 98/17
   122/10 142/23      journalist [2]                     98/23 111/14 115/9
   142/24 208/25       250/20 252/4                      116/12 118/13
   212/6 213/9 213/12 journalistic [3]                   123/3 140/15
   213/12 214/5 214/7 250/7 250/11                       152/16 155/4
   214/17 214/20       250/17                            155/25 156/21
   214/23 215/3       judge [19] 1/10                    156/25 157/3 157/4
  January [5] 195/18 8/23 90/20 93/6                     158/12 160/11
   199/11 230/12       116/21 120/12                     161/23 172/21
   230/13 241/19       210/17 210/24                     173/11 173/18
  JE10 [1] 247/15      211/6 218/19                      175/25 176/20
  JE11 [1] 247/15      233/12 234/18                     189/21 193/11
  JE114 [1] 247/14     235/7 235/16 245/2                195/14 199/14
  JE24 [1] 247/15      249/5 249/14                      200/11 204/18
  JE3 [1] 247/15       250/22 251/20                     208/11 210/11
  JE9 [1] 247/14      judgment [21]                      220/4 221/13
  JiJi [1] 179/18      45/24 46/2 46/3                   221/14 222/24
  Jimmy [6] 241/17     46/11 47/7 82/5                   229/16 232/12
   242/1 243/2 243/20 82/7 82/8 82/12                    237/12 248/9
   245/7 246/15        95/23 96/8 96/10                 jury's [1] 188/25
  job [1] 42/8         111/1 114/20                     just [156] 5/14
  jobs [1] 13/2        117/12 117/21                     5/15 5/22 6/7 7/14
  Joe [1] 4/15         119/14 125/7 126/3                7/16 7/17 11/25
  John [17] 187/18     153/12 208/22                     12/1 13/11 14/10
   189/2 206/3 206/10 judgments [2]                      14/15 16/20 19/24
   206/17 206/22       96/17 126/17                      20/5 26/6 27/12
   206/23 207/2       July [10] 88/17                    36/17 36/20 43/3
   207/22 208/2        88/21 88/22 89/3                  44/12 46/20 47/19
   208/15 208/15       89/5 89/16 89/20                  50/15 52/10 52/13
   208/21 208/23       99/6 100/21 213/7                 53/13 53/15 54/1
   208/25 209/9       jump [2] 96/7                      54/19 55/5 55/9
   209/16              143/13                            57/16 57/25 58/12
Case                          222/13
  J 9:18-cv-80176-BB Document 842      224/14
                                  Entered                 191/18 192/4
                                          on FLSD Docket 12/20/2021 Page 311 of 366
  just... [121] 59/5          225/10 225/19       193/10 193/18
   60/11 64/24 65/7           226/24 229/6        193/20
   71/18 73/7 77/19           230/12 231/9 232/2 kids [1] 13/10
   84/7 84/9 84/19            232/15 233/3 233/5 kind [1] 249/8
   91/2 95/7 96/14            236/19 237/6 242/6 KLEIMAN [128] 1/3
   98/14 98/16 98/20          244/19 245/7        1/4 4/3 4/16 11/5
   99/14 100/16               246/21 247/19       11/6 11/9 11/10
   102/14 103/3               248/8 248/9 250/12 11/10 15/21 15/22
   104/10 108/11              251/10 252/12       15/24 16/7 16/24
   110/16 110/23              253/5 253/24        21/2 23/24 41/20
                                                  41/21 41/22 43/14
   123/17 125/17             K                    44/23 51/23 52/17
   125/18 125/23             K's [9] 46/15 47/3 53/15 54/6 60/18
   128/5 129/17               96/21 113/6 127/16 60/22 63/5 68/6
   129/21 135/25              128/19 128/25
   137/9 143/23                                   74/7 84/12 86/23
                              137/7 145/13        87/19 89/21 90/6
   144/22 145/5              K-N-O-W-S [1] 70/7 90/7 95/18 96/25
   145/18 146/1 147/3        KASS [2] 1/21 4/20 113/24 114/8
   147/6 147/11              Katherine [3]
   148/23 151/1                                   114/19 126/12
                              153/24 158/14       133/9 133/14
   153/21 154/18              159/9
   155/24 157/10                                  133/16 133/20
                             keep [8] 37/7        133/25 134/4 134/5
   162/8 166/3 166/17         75/18 96/11 98/20
   166/18 169/5                                   135/16 135/22
                              118/10 143/25       135/25 136/7
   171/21 173/13              146/21 176/25
   174/3 174/21                                   136/20 136/22
                             keeping [1] 62/15    136/25 137/1 137/1
   175/19 178/10             Kenna [3] 142/7
   180/4 180/23 181/3                             137/3 137/7 137/23
                              142/10 143/2        138/1 138/6 139/12
   182/18 183/22             kept [4] 62/11
   190/6 191/9 193/6                              141/6 141/17
                              62/19 202/16        141/18 142/3 144/6
   199/6 199/7 199/9          204/21
   200/3 201/24                                   146/7 147/4 147/8
                             key [16] 11/15       149/3 149/15 152/5
   201/24 202/7               11/17 11/17 11/17
   202/11 203/23                                  152/25 157/24
                              11/19 11/19 15/2    160/15 160/22
   203/24 204/3               15/2 15/3 15/3
   204/19 205/1 206/7                             161/2 161/7 161/10
                              15/4 18/10 18/12    162/1 164/16
   207/2 207/21               18/13 18/15 141/9
   209/20 209/23                                  166/22 166/23
                             keys [21] 11/10      167/2 170/5 173/20
   210/17 210/24              11/12 11/14 11/16
   211/4 211/8 214/6                              175/1 176/22
                              11/23 12/5 14/7     177/11 177/21
   214/19 217/3               15/1 15/2 15/11
   218/12 220/15                                  178/4 179/1 179/4
                              15/15 15/16 15/18   181/20 184/9
   220/22 222/12              18/23 18/25 19/2    184/18 186/13
                              33/10
  K 9:18-cv-80176-BB Document 842
Case                                  33/18
                                  Entered      33/25
                                          on FLSD         77/7 77/8
                                                  Docket 12/20/2021 Page77/13
                                                                         312 of 366
  KLEIMAN... [28]              34/8 35/23 36/5            78/18 79/12 79/13
   187/10 187/21               36/6 36/10 36/11           79/14 80/5 80/10
   188/20 194/7 195/1          36/13 36/14 36/14          82/11 82/12 86/19
   195/7 195/11                36/15 36/16 36/23          94/18 96/14 98/12
   195/12 196/2                36/24 36/25 37/2           98/16 100/12
   200/23 201/19               37/16 38/7 38/19           100/12 122/23
   201/20 203/7 209/8          39/21 39/23 40/19          123/3 128/7 135/9
   212/10 212/18               40/19 41/3 41/4            140/15 140/16
   217/22 218/3 218/6          41/18 41/24 42/24          143/25 146/9 147/3
   218/12 218/15               44/7 44/7 44/8             147/6 150/23 152/5
   221/19 230/15               44/12 44/16 44/16          152/19 153/11
   231/4 235/4 237/8           44/21 44/22 44/25          154/10 154/11
   242/17 249/12               45/5 45/6 45/8             157/17 168/14
  Kleiman's [6]                45/15 45/19 45/22          173/10 188/21
   123/4 137/9 140/9           45/23 45/24 46/1           192/23 195/14
   140/15 141/4 172/9          46/2 46/3 46/10            203/13 203/20
  knew [12] 19/23              46/10 46/17 46/23          209/16 209/20
   19/24 28/6 28/24            46/25 47/5 47/6            215/4 218/9 222/14
   62/1 70/9 70/11             47/6 47/10 47/10           227/11 228/13
   74/8 82/11 82/12            47/16 47/17 48/4           231/12 238/2 240/2
   123/1 182/3                 48/6 48/8 48/14            243/24 244/5 247/3
  knocking [2] 70/13           48/17 48/18 49/11          250/5 250/12
   70/20                       49/17 49/18 49/21          251/16 253/2
  know [246] 7/6               50/6 51/19 52/10          know' [1] 69/20
   7/17 10/8 10/8              53/8 53/20 53/24          knowing [1] 202/20
   10/17 10/21 10/23           54/12 55/3 57/22          knowledge [5] 47/1
   11/18 13/6 13/10            59/5 59/7 59/25            47/2 184/7 185/10
   13/19 13/23 14/14           60/12 61/25 62/5           227/23
   14/15 14/16 16/3            62/6 62/9 62/14           known [11] 76/23
   17/14 17/21 18/1            62/17 62/18 62/20          136/16 173/22
   18/2 18/2 19/7              62/23 62/24 62/25          185/11 195/13
   19/10 19/12 20/21           63/6 64/8 64/24            195/16 195/19
   20/23 20/24 21/1            64/25 66/2 66/5            195/19 195/19
   21/2 23/16 23/16            67/6 67/7 67/12            195/24 195/24
   23/20 24/1 24/24            68/1 68/3 68/5            knows [3] 148/16
   25/5 25/21 25/22            68/8 68/9 68/11            226/9 250/13
   27/7 27/12 27/21            68/11 69/14 70/5          knows,' [1] 70/7
   27/23 28/3 28/7             71/2 71/2 71/7            Kobza [3] 240/16
   28/16 28/16 28/17           72/8 72/19 72/20           241/8 244/18
   28/22 29/2 29/3             73/11 75/13 75/25         Ks [1] 44/7
   29/9 29/12 29/13            76/9 76/11 76/15          KYLE [2] 1/13 4/8
   29/15 32/11 33/8            76/20 76/20 77/3
                               77/4 77/5 77/6
                              51/18
  L 9:18-cv-80176-BB Document 842
Case                                  102/10
                                  Entered                 253/17 Page 313 of 366
                                          on FLSD Docket 12/20/2021
  labor [1] 102/23           121/19 142/7              leave [2] 191/13
  lack [2] 85/11             161/18 242/15              192/10
   194/9                    laws [2] 92/2              led [1] 203/11
  Ladies [7] 8/20            92/14                     ledger [1] 196/6
   82/21 83/14 146/22       lawsuit [38] 45/1          Lee [1] 216/24
   156/19 157/5              45/5 45/9 88/18           left [9] 5/21 65/8
   209/25                    88/20 89/6 89/16           69/2 91/23 110/25
  LAGOS [3] 1/14             89/24 90/2 90/18           114/14 121/18
   4/14 8/18                 90/19 91/22 97/9           184/25 186/6
  laid [6] 175/21            97/22 97/24 98/2          left-hand [1]
   212/20 217/5 217/7        98/6 99/1 99/20            184/25
   242/7 246/16              99/21 100/6 100/17        legal [11] 13/20
  large [10] 63/7            101/7 101/19               106/11 106/12
   121/7 121/10              101/24 102/2 103/2         107/1 112/10
   194/12 203/7              105/3 114/19               125/24 125/25
   203/13 209/13             115/17 148/5 148/7         211/25 212/1 219/6
   209/13 222/20             153/10 153/11              221/18
   238/25                    153/13 171/11             Legally [1] 162/22
  largest [1] 202/19         187/14 230/17             Leon [1] 1/22
  last [22] 5/25 7/7        lawsuits [3] 96/2          less [1] 139/22
   7/11 9/7 32/14            102/13 104/4              let [40] 5/3 5/3
   32/16 40/4 47/19         lawyer [12] 8/19            7/16 8/20 10/22
   77/24 78/18 88/13         49/9 49/11 130/12          24/8 24/9 26/3
   140/1 155/13 158/1        161/10 161/24              32/3 34/9 42/7
   189/20 226/5              169/7 169/17               49/21 52/10 60/11
   226/16 233/13             187/18 189/7 219/5         66/3 68/13 72/20
   235/20 235/25             251/1                      73/14 86/4 86/19
   236/19 245/12            lawyer's [1]                93/3 98/11 118/23
  later [26] 5/12            169/12                     145/18 152/19
   24/6 57/6 59/19          lawyers [5] 112/23          168/13 175/18
   63/14 69/2 69/16          130/11 170/22              192/23 197/23
   82/16 84/16 97/1          189/8 250/6                201/9 202/7 202/8
   100/13 104/6             lay [2] 166/18              209/20 210/15
   134/10 141/21             216/16                     229/5 236/19 244/5
   146/3 150/3 165/12       lead [1] 103/8              245/5 247/2 247/19
   179/3 180/7 183/3        learn [1] 59/4             let's [86] 8/1
   185/12 188/17            learned [2] 210/6           14/1 15/21 22/23
   199/4 203/18 205/2        210/7                      29/16 29/16 31/9
   235/24                   learning [1] 88/7           38/3 38/4 38/9
  lavaliers [3] 7/8         least [11] 23/21            38/24 52/13 61/22
   7/9 7/21                  34/24 42/22 47/20          67/22 72/1 72/10
  law [7] 49/12              60/13 70/23 71/4           72/20 72/24 79/8
                             196/3 234/9 252/8          82/21 83/12 85/13
  L 9:18-cv-80176-BB Documentliaised
Case                                   [1]
                              842 Entered      37/19
                                          on FLSD         31/15 Page 314 of 366
                                                  Docket 12/20/2021
  let's... [64]             Liberty [3] 180/7         line [27] 70/23
   87/14 88/24 92/20         184/5 185/20              116/24 125/14
   92/20 94/6 96/1          LICATA [3] 1/18            126/11 126/11
   97/5 98/23 99/18          4/15 8/17                 127/21 149/5 150/6
   100/2 101/1 102/17       license [1] 240/21         150/9 150/15
   103/2 103/22             lie [1] 195/17             150/21 152/11
   104/17 105/5             life [5] 58/18             152/17 152/20
   106/19 106/22             58/25 59/8 60/24          155/17 166/12
   108/19 109/2 109/4        114/12                    166/13 166/21
   111/4 113/1 115/16       life's [1] 13/6            167/1 169/2 169/14
   115/22 116/4 117/9       lifetime [1]               169/24 170/2 185/7
   118/12 118/20             241/21                    189/20 236/19
   121/13 126/7 128/5       like [51] 6/5 6/8          243/11
   128/7 132/2 132/5         16/5 21/19 49/7          lines [6] 154/14
   134/11 135/15             53/5 58/5 61/21           154/24 180/5
   135/24 136/6              63/15 63/24 69/22         180/24 207/8 209/8
   137/19 139/3              72/3 73/11 73/12         link [2] 75/2
   139/25 140/3 148/7        74/14 80/21 80/22         185/21
   150/17 151/2              91/4 91/8 94/10          linked [1] 118/2
   155/16 156/19             102/2 120/13             liquidated [13]
   158/13 169/23             126/19 134/24             103/9 103/12 104/6
   171/7 181/14              147/6 147/16              104/25 105/6
   187/13 190/12             150/25 151/5              105/24 107/11
   190/12 192/11             155/23 156/5 160/5        111/6 111/18 115/6
   193/6 199/14              163/17 176/25             115/12 118/22
   205/25 215/10             178/16 179/5              124/2
   218/24 227/17             179/23 180/1 181/7       liquidation [1]
   230/12 230/12             182/8 194/13 198/5        221/3
  letter [21] 50/3           198/16 208/1             list [18] 5/24
   50/5 51/5 51/7            211/23 217/16             5/25 6/3 47/13
   51/20 89/8 89/12          220/13 222/16             66/9 70/7 88/2
   89/19 97/10 212/17        230/4 245/9 248/25        108/1 108/2 113/6
   212/18 214/17             252/16                    113/8 113/14
   216/1 219/2 219/12       limine [3] 84/14           130/19 202/20
   219/18 221/25             85/11 85/13               211/5 211/6 245/4
   222/2 226/23 227/3       limit [1] 78/20            245/6
   227/4                    limited [13] 23/4         listed [14] 87/2
  letter.' [1] 51/8          23/11 31/19 34/4          90/11 105/17
  letting [1] 152/5          38/15 38/22 48/20         105/18 107/16
  Level [1] 130/9            49/16 50/19 50/23         107/19 113/4
  leverage [2] 35/2          222/8 228/20              113/25 120/14
   35/15                     241/18                    120/24 122/2
                            Limited.' [1]              142/14 168/9
  L 9:18-cv-80176-BB Documentlogo
Case                               [12] on180/1
                              842 Entered               188/25 196/1
                                           FLSD Docket 12/20/2021 Page 315 of 366
  listed... [1]               180/16 183/9               200/14 204/3
   244/19                     183/17 183/22              204/19 204/25
  lists [2] 131/11            184/2 184/2 185/6          220/22 221/25
   131/15                     185/9 186/4 186/16         222/15 223/7
  literal [1] 19/22           186/18                     232/18 234/17
  litigation [12]            logos [1] 180/10           looks [8] 16/5
   88/25 90/25 93/3          London [1] 9/11             21/19 56/6 61/21
   94/9 95/7 106/20          long [8] 6/20 9/14          63/15 72/3 178/6
   107/9 111/4 170/25         23/24 60/2 191/5           217/16
   197/25 198/4               193/8 206/7 242/17        loosely [4] 17/2
   205/25                    longer [5] 5/4              17/4 51/25 52/3
  little [16] 5/4             50/23 184/3 219/18        loss [1] 151/2
   7/12 12/1 42/7             222/7                     lost [2] 98/16
   97/7 99/24 105/1          look [53] 20/12             177/7
   110/16 121/19              23/17 24/14 29/16         lot [31] 13/2 14/7
   126/10 150/1               32/3 51/13 61/22           16/13 26/17 27/4
   150/17 163/4 170/7         64/3 68/23 72/10           28/1 37/3 39/16
   195/20 232/3               74/23 77/24 79/8           39/17 45/13 46/8
  live [2] 8/22               91/4 96/1 96/2             52/4 59/17 65/3
   20/12                      102/19 103/22              66/17 70/1 70/13
  lived [3] 71/22             104/17 105/5 111/1         74/12 76/11 76/21
   200/21 200/24              121/13 129/15              76/22 76/25 147/4
  living [1] 70/21            130/3 131/25 132/2         203/4 215/18 216/6
  Liz [1] 6/4                 135/15 135/24              230/18 238/3 240/1
  LLC [18] 1/4 26/15          136/23 141/14              243/25 246/9
   26/25 27/20 44/21          145/18 148/7              lot.' [1] 76/9
   90/7 95/17 97/14           154/15 155/24             lots [5] 10/11
   101/11 105/18              156/5 161/23               27/4 27/5 184/12
   105/22 106/1               177/15 182/8               187/8
   107/17 107/22              187/13 187/24             Louis [5] 41/24
   111/21 136/7               188/1 196/5 196/7          43/14 43/14 52/16
   136/25 140/25              196/8 201/9 205/25         54/6
  LLC' [1] 44/5               207/11 213/14             loved [1] 181/22
  LLP [2] 1/12 1/20           221/25 222/1 234/5        lovely [1] 39/17
  loan [2] 216/2              236/19 244/4              low [1] 6/22
   216/8                     looked [7] 97/7            lower [1] 164/24
  located [1] 107/22          97/12 102/14              luckily [1] 194/22
  locked [1] 78/21            129/16 131/23             lulls [1] 150/1
  lodged [1] 155/3            199/7 201/24              lunch [8] 6/25
  lodgement [1] 89/7         looking [21] 12/19          82/24 83/22 83/24
  log [1] 150/5               20/10 91/21 95/16          83/25 84/2 84/6
  logical [1] 85/7            101/4 102/14 119/3         85/21
                              155/20 157/12             Lynn [21] 87/25
  L 9:18-cv-80176-BB Documentmake
Case                               [23] on5/2
                              842 Entered  FLSD13/6     193/24 194/5
                                                Docket 12/20/2021 Page 316 of 366
  Lynn... [20] 90/10 13/20 23/5 43/15                    194/24 194/25
   105/14 105/17      44/15 53/13 83/22                  197/13 199/7
   105/19 105/20      84/17 84/19 100/16                marked [11] 12/6
   105/22 106/14      110/17 128/11                      21/6 30/9 49/24
   107/19 108/9       130/22 130/24                      50/1 55/20 64/12
   109/13 110/1       146/2 146/9 147/11                 68/14 74/19 77/20
   110/11 110/21      154/18 167/1                       80/11
   112/12 112/17      194/23 211/21                     market,' [1] 40/13
   112/20 127/17      247/19                            markferrier [1]
   129/10 142/21     makes [2] 83/21                     191/2
   142/22             214/22                            marks [2] 79/15
  Lynn's [2] 21/5    making [9] 43/3                     79/16
   44/17              90/3 179/22 179/23                married [5] 9/12
                      237/12 239/8 240/6                 9/14 9/15 9/22
  M                   251/14 252/20                      9/24
  ma'am [12] 38/5    man [4] 116/12                     master's [1] 79/3
   40/17 45/7 46/1    148/13 181/20                     match [1] 196/11
   46/3 59/20 60/18   183/13                            Mate [1] 150/21
   62/4 63/21 64/14  manage [1] 153/8                   materials [4]
   68/4 71/13        manipulation [2]                    24/20 137/14
  MacGregor [2]       228/12 228/19                      250/11 250/18
   61/15 235/12      many [23] 10/19                    Matonis [1] 235/13
  machine [2] 209/15 14/19 14/19 14/20                  matter [19] 120/14
   255/8              17/24 20/1 20/9                    120/24 123/12
  Macquarie [1]       30/14 30/14 30/22                  123/13 143/6 143/6
   181/23             30/23 38/17 44/7                   143/9 144/22 146/8
  made [20] 28/10     47/8 47/8 73/24                    146/10 146/12
   37/20 37/20 45/12  73/24 94/3 99/16                   159/16 212/23
   47/23 48/19 66/8   173/23 176/9 177/9                 216/20 218/1
   73/18 89/24 96/25  225/6                              221/10 228/4
   117/11 119/13     March [8] 75/7                      229/12 231/15
   157/15 157/17      83/18 154/14                      matters [6] 17/5
   176/9 202/19 206/1 154/24 156/2                       17/13 126/18
   222/23 228/9 252/6 159/19 185/17                      128/14 253/7
  magazine [2] 78/5   196/10                             253/23
   79/11             Mark [25] 148/11                   Matthews [12]
  magistrate [1]      148/13 149/1                       61/15 72/2 72/13
   120/13             149/14 149/20                      72/21 72/23 80/14
  magnificent [1]     152/3 153/6 159/20                 212/15 216/15
   181/22             159/23 160/7 161/6                 223/12 226/1
  main [2] 146/1      190/3 190/6 190/16                 234/25 238/17
   189/16             191/16 192/2 192/5                may [32] 7/12 9/2
  major [1] 56/10     193/7 193/16                       12/17 30/19 60/21
Case                          10/22
  M 9:18-cv-80176-BB Document 842     12/24
                                  Entered      13/17
                                          on FLSD         180/8 182/8
                                                  Docket 12/20/2021       183/4
                                                                    Page 317 of 366
  may... [27] 66/9             13/24 13/24 14/19          183/21 185/6
   78/19 80/7 85/7             17/22 18/5 18/8            186/20 192/6 192/6
   86/12 86/13 147/24          20/3 20/10 20/11           192/23 193/24
   164/20 171/8                20/12 20/13 20/13          197/23 201/9 202/7
   171/13 172/25               21/13 22/5 22/11           206/5 207/1 208/16
   177/11 177/13               24/11 26/3 27/22           208/21 209/20
   186/4 188/12                28/14 28/17 28/23          211/23 212/1
   200/12 210/12               29/4 29/10 29/13           212/17 216/11
   214/21 220/11               30/16 32/3 33/6            216/25 218/8
   228/7 228/10 235/1          34/7 36/1 37/15            221/20 222/12
   235/14 235/23               37/24 37/25 38/1           222/14 229/6
   236/7 238/8 252/24          42/7 46/18 46/18           236/19 243/11
  May 2010 [1] 186/4           46/21 47/16 47/18          244/5 245/5 245/7
  May 20th [1]                 48/3 48/25 49/21           245/16 247/19
   172/25                      51/5 51/5 51/19            247/23 248/20
  May 25th [1]                 52/5 52/8 52/10            253/16
   228/10                      52/15 52/25 53/6          mean [31] 14/18
  May 2nd [1] 235/1            56/1 57/16 58/1            16/13 16/18 16/20
  May 3rd [1] 238/8            58/4 58/6 58/7             42/12 45/16 52/7
  May 4th [1] 235/14           59/6 60/5 60/11            64/4 64/4 65/24
  May of [4] 171/8             64/2 64/3 64/6             67/25 72/25 73/10
   171/13 177/11               65/1 67/13 68/7            73/12 122/25 130/7
   177/13                      71/14 71/15 71/17          130/8 144/1 168/14
  maybe [10] 5/21              71/19 72/20 72/21          172/7 175/16 187/2
   7/16 17/25 112/23           72/24 72/25 73/14          214/19 214/21
   179/24 182/9                76/2 77/1 77/6             229/20 236/22
   182/19 182/22               82/10 82/17 82/19          240/5 240/9 240/10
   185/17 230/10               86/4 86/19 90/23           250/14 250/15
  McCaughan [1]                93/3 93/16 94/1           mean.' [1] 64/5
   161/17                      99/10 103/15              meaning [10] 45/25
  MCGOVERN [13] 1/21           106/14 112/19              56/14 62/8 62/21
   4/19 5/17 5/22              113/21 114/11              71/3 106/12 109/7
   5/25 84/21 85/15            117/5 118/23 121/9         129/9 151/15 172/5
   155/16 207/10               123/1 128/12              means [11] 16/19
   218/20 243/4                130/17 130/21              21/9 33/18 35/23
   247/12 250/13               131/17 142/17              39/23 40/19 62/23
  McGovern's [1]               145/18 149/23              72/17 122/23
   221/22                      154/6 156/5 161/5          160/19 160/25
  McKenzie [2]                 164/14 168/13             meant [8] 43/18
   245/10 245/21               171/15 172/3               63/24 64/8 71/15
  me [164] 5/3 5/3             174/12 176/25              72/8 72/19 133/18
   8/20 10/11 10/12            177/7 179/9 179/13         252/14
                               179/22 179/25             meantime [1]
  M 9:18-cv-80176-BB Documentmethodology
Case                                         [1] Docket mine
                              842 Entered on FLSD              [14]Page10/12
                                                        12/20/2021      318 of 366
  meantime... [1]             193/21                     66/13 68/5 88/10
   134/11                    methods [1] 150/4           133/18 147/9
  media [2] 76/21            Miami [8] 1/15              176/11 187/2 187/4
   243/22                     1/19 1/24 1/25             187/10 197/2 199/8
  meet [5] 5/14 9/16          252/16 255/15              209/14 223/1
   15/21 73/20 252/7          255/18 255/18             mined [26] 18/25
  meeting [8] 9/19           mic [1] 163/4               62/24 63/1 63/7
   42/13 42/14 42/17         Michael [2] 199/3           63/21 66/21 68/8
   42/20 123/11               200/15                     81/2 133/15 134/5
   124/25 166/6              Michele [1] 171/13          138/7 189/16
  meetings [2]               michele.m7 [1]              195/15 195/18
   165/16 165/17              172/1                      196/12 196/13
  meets [1] 239/1            microphone [2]              199/23 199/24
  member [2] 93/14            89/11 200/4                200/16 202/1
   105/14                    microphones [1]             202/23 203/7
  Members [2] 8/3             7/7                        204/21 205/7
   85/20                     middle [2] 133/6            205/13 209/8
  memory [2] 179/5            172/9                     mined.' [1] 63/19
   179/13                    might [20] 7/12            minimize [1]
  mention [1] 157/23          28/17 29/1 33/7            192/11
  mentioned [10]              46/18 48/18 48/22         minimum [1] 75/14
   48/23 67/3 94/10           53/24 54/17 54/17         mining [32] 25/13
   139/11 149/16              58/7 76/25 83/22           25/19 25/25 57/9
   152/7 166/23 172/9         127/4 162/1 192/15         63/11 66/15 66/19
   237/9 255/9                209/21 234/12              66/20 136/16 187/7
  mentions [2] 77/12          248/7 248/11               187/13 189/24
   187/21                    Miller [1] 163/16           189/25 190/4 194/7
  merely [3] 230/5           million [19] 88/14          194/17 194/20
   250/16 252/14              99/24 100/17 102/7         195/1 195/6 195/11
  message [6] 65/8            102/15 104/4               195/13 195/16
   67/4 149/20 173/18         109/19 113/20              195/19 195/20
   229/21 232/10              119/14 125/7               196/2 203/12
  message.' [1] 67/3          132/14 138/24              203/12 204/10
  messages [4] 28/8           139/8 139/13               205/16 206/1
   228/18 229/19              162/17 162/25              222/22 237/10
   230/24                     203/1 208/19              minute [6] 82/22
  MESTRE [1] 1/20             209/16                     129/15 156/20
  met [5] 9/18 17/22         millions [3] 45/21          156/22 165/5
   165/13 168/12              162/9 194/16               210/17
   179/18                    mind [6] 16/5              minutes [4] 83/3
  methodologies [1]           145/6 164/24               83/5 156/20 214/19
   88/8                       186/20 226/17             misinterpretation
                              239/24                     [1] 237/3
Case                          120/19
  M 9:18-cv-80176-BB Document 842      194/14
                                  Entered                 225/18 227/17
                                          on FLSD Docket 12/20/2021 Page 319 of 366
  misrepresentation          months [10] 24/6             253/24
   [1] 139/24                 60/7 89/21 97/1            moved [6] 194/6
  Misrepresents [1]           97/19 99/6 113/23           195/1 195/6 195/10
   139/16                     150/3 171/7 182/13          195/11 251/1
  missed [1] 132/6           more [32] 6/23              moving [6] 154/16
  Misstates [3]               7/12 14/20 17/8             170/11 233/1
   104/8 104/10 208/4         17/14 55/9 55/9             234/19 240/16
  mistakenly [1]              57/21 60/14 60/15           240/18
   217/19                     61/3 74/9 96/1             MR [5] 2/7 4/19
  mistakes [1] 37/20          98/23 103/2 103/23          150/21 170/12
  misunderstood [1]           110/16 120/13               234/15
   151/8                      126/10 132/2 140/3         Mr. [80] 4/16 4/25
  mitigating [1]              143/13 150/1                8/18 16/24 19/12
   88/4                       150/25 153/13               30/13 41/20 60/1
  MJF [3] 25/13               158/13 162/17               61/3 67/21 73/16
   25/19 25/25                169/10 207/1 209/5          73/20 74/16 75/1
  mobile [2] 130/17           217/16 252/2                75/9 75/13 76/14
   130/18                    Morgan [11] 24/8             84/12 84/12 85/4
  modeling [2] 78/24          24/17 26/7 26/14            120/7 123/17
   79/25                      31/19 34/4 38/14            126/12 126/16
  modeling/cost-benef         43/21 46/13 49/15           128/15 130/14
  it [1] 79/25                50/23                       130/16 130/21
  modified [1] 51/10         morning [20] 4/6             133/16 146/7
  moment [8] 99/19            4/8 4/10 4/12 4/17          147/18 150/2
   125/7 164/20               4/18 5/1 5/7 5/12           151/11 156/1
   174/13 199/6 204/3         8/3 8/12 210/2              156/16 159/6 163/5
   204/19 222/12              210/10 211/7                166/23 170/4 170/5
  Monday [2] 72/11            243/17 253/5 253/7          192/20 195/3
   73/2                       253/13 253/23               195/23 196/9
  money [28] 13/3             254/3                       196/21 200/3
   14/7 14/12 45/13          most [3] 8/8                 207/12 209/20
   46/1 53/12 54/22           145/10 145/13               212/2 212/7 219/2
   55/1 55/9 55/9            mostly [2] 16/3              219/13 219/17
   55/10 59/17 102/3          160/2                       221/20 222/2 223/2
   110/20 113/21             motion [5] 84/14             230/15 234/17
   115/7 115/13 121/8         85/11 85/13 250/4           235/13 237/19
   121/10 162/18              250/6                       238/12 239/23
   163/10 179/22             move [14] 106/17             241/14 241/18
   179/23 179/25              106/23 154/18               242/17 242/18
   182/7 187/8 238/3          154/19 163/4                243/12 243/22
   240/1                      211/10 213/1                246/5 246/8 249/10
  month [3] 120/19            215/10 217/15               249/11 249/19
                              218/24 225/14               249/21 251/1
                              75/1Entered
  M 9:18-cv-80176-BB Document 842
Case                                75/9on75/13         101/23 102/18
                                           FLSD Docket 12/20/2021 Page 320 of 366
  Mr.... [5] 251/14           76/14 249/19               103/1 104/16
   251/23 252/3 252/8        Mr. O'Mahoney [1]           106/15 107/6
   252/19                     170/4                      108/17 108/24
  Mr. Andresen [1]           Mr. Rivero [1]              109/4 109/22 110/1
   237/19                     4/25                       110/4 110/13 111/3
  Mr. Antonopoulos           Mr. Rivero's [1]            113/1 114/23 116/5
   [1] 195/23                 84/12                      117/8 118/11
  Mr. Brenner [9]            Mr. Sommer [3]              119/23 124/10
   19/12 30/13 60/1           219/13 219/17              126/7 128/6 129/4
   61/3 67/21 212/2           222/2                      129/25 130/2
   219/2 221/20 223/2        Mr. Stephen [1]             131/20 132/3 132/6
  Mr. Craig [1]               8/18                       132/23 133/4
   130/14                    Mr. Sullivan [4]            134/12 134/21
  Mr. Dave [1]                249/11 249/21              135/2 135/17 136/4
   242/17                     251/1 251/14               137/11 137/17
  Mr. Ferrier [4]            Mr. Sullivan's [4]          138/11 140/2
   150/2 151/11 195/3         249/10 251/23              140/21 141/24
   196/21                     252/3 252/8                142/21 146/5
  Mr. Freedman [12]          Mr. Wilson [1]              146/17 148/22
   85/4 147/18 156/1          212/7                      150/6 150/8 150/15
   156/16 163/5              Mr. Wright [7]              150/18 152/11
   192/20 196/9 200/3         120/7 123/17               153/20 155/16
   207/12 209/20              126/16 128/15              157/9 158/1 158/9
   238/12 252/19              130/16 130/21              158/25 161/14
  Mr. Freedman's [2]          159/6                      164/3 166/2 166/9
   234/17 239/23             Ms [13] 5/24 85/15          167/12 168/21
  Mr. Ira [1] 4/16            100/1 107/13 119/6         169/9 169/21 171/4
  Mr. J [1] 241/18            132/16 157/20              171/20 173/13
  Mr. Kleiman [9]             159/14 181/2               173/18 174/2
   16/24 41/20 84/12          185/23 194/3 241/8         174/11 174/18
   126/12 133/16              247/12                     174/21 174/25
   146/7 166/23 170/5        Ms. [168] 5/11              175/24 176/12
   230/15                     5/17 5/22 6/17             176/16 177/17
  Mr. Matonis [1]             8/13 8/17 8/18 9/6         178/8 178/12
   235/13                     9/9 10/2 12/8              179/10 181/3
  Mr. Nguyen [5]              41/20 47/19 50/1           181/11 182/18
   241/14 242/18              61/16 67/20 68/17          184/20 184/24
   243/22 246/5 246/8         73/14 84/21 87/5           186/5 187/15
  Mr. Nguyen's [1]            87/15 87/25 88/23          188/22 189/21
   243/12                     91/1 91/9 92/6             190/10 190/22
  Mr. O'Hagan [8]             92/17 93/15 94/5           191/8 191/14 192/1
   73/16 73/20 74/16          95/11 96/4 97/4            192/10 192/22
                              97/23 98/25 100/25         193/3 193/12
Case                          101/23
  M 9:18-cv-80176-BB Document 842      102/18
                                  Entered                 201/5 201/14
                                          on FLSD Docket 12/20/2021 Page 321 of 366
  Ms.... [34] 196/19           103/1 104/16               203/21 203/22
   196/24 197/7                106/15 107/6               205/22 207/18
   197/18 198/24               108/17 108/24              209/18
   199/12 201/5                109/4 109/22 110/4        Ms. Watts [26]
   201/14 203/21               110/13 111/3 113/1         5/11 8/18 9/6 9/9
   203/22 205/1                114/23 116/5 117/8         12/8 41/20 47/19
   205/22 207/10               118/11 119/23              50/1 61/16 67/20
   207/18 209/18               124/10 126/7 128/6         68/17 73/14 189/21
   212/14 215/17               129/4 129/25 130/2         205/1 212/14 218/3
   216/7 218/3 218/8           131/20 132/3 132/6         218/8 219/5 219/14
   218/20 219/5                132/23 133/4               219/14 220/12
   219/14 219/14               134/12 134/21              220/15 220/16
   220/12 220/15               135/2 135/17 136/4         222/2 223/14 226/6
   220/16 221/22               137/11 137/17             Ms. Watts' [1]
   222/2 223/14 226/6          138/11 140/2               215/17
   240/16 243/4                140/21 141/24             much [15] 41/8
   250/13                      146/5 146/17               43/17 43/20 49/6
  Ms. Kobza [1]                148/22 150/6 150/8         51/7 53/8 53/11
   240/16                      150/15 150/18              54/22 57/6 59/19
  Ms. Lynn [3] 87/25           152/11 153/20              60/16 74/12 74/14
   110/1 142/21                157/9 158/1 158/9          79/6 253/22
  Ms. McGovern [8]             158/25 161/14             multiple [3] 173/5
   5/17 5/22 84/21             164/3 166/2 166/9          187/23 216/22
   155/16 207/10               167/12 168/21             must [4] 8/23
   218/20 243/4                169/9 169/21 171/4         16/15 61/1 231/10
   250/13                      171/20 173/13             my [114] 5/19 6/21
  Ms. McGovern's [1]           174/2 174/11               6/23 13/6 13/10
   221/22                      174/18 174/21              14/9 16/17 17/11
  Ms. Nguyen [2]               174/25 175/24              17/12 17/25 18/9
   10/2 216/7                  176/12 176/16              19/12 21/19 26/17
  Ms. Ramona [2]               177/17 178/8               27/22 27/22 27/24
   6/17 8/13                   178/12 179/10              30/19 33/6 34/2
  Ms. Samantha [1]             181/3 181/11               37/15 37/24 42/12
   8/17                        182/18 184/20              46/8 46/19 46/20
  Ms. Seven [1]                184/24 186/5               47/11 48/9 48/9
   173/18                      187/15 188/22              48/10 51/13 51/22
  Ms. Vela [122]               190/10 190/22              52/5 52/5 52/11
   87/5 87/15 88/23            191/8 191/14 192/1         52/12 59/23 59/23
   91/1 91/9 92/6              192/10 192/22              60/10 60/12 60/17
   92/17 93/15 94/5            193/3 193/12               60/21 60/25 61/1
   95/11 96/4 97/4             196/19 196/24              61/2 63/24 64/16
   97/23 98/25 100/25          197/7 197/18               66/20 68/7 68/7
                               198/24 199/12              70/2 70/20 71/22
  M 9:18-cv-80176-BB Documentname
Case                               [24] on9/6
                              842 Entered  FLSD9/7      54/18 170/19
                                                Docket 12/20/2021 Page 322 of 366
  my... [61] 71/23     11/5 26/11 34/18                 negotiated [1]
   78/24 79/5 86/10    48/6 49/12 86/9                   53/1
   90/9 91/11 94/3     86/10 94/3 99/16                 negotiating [5]
   99/16 105/20        99/16 103/16 106/4                53/20 53/21 170/13
   107/24 124/25       111/24 160/4                      170/14 170/18
   125/3 126/9 127/18  167/25 169/12                    negotiation [2]
   129/3 130/16        172/9 174/6 175/13                54/20 54/22
   149/21 151/5 151/7  175/17 175/18                    negotiations [6]
   151/15 151/18       176/6                             52/21 52/23 52/25
   152/23 153/4       named [5] 11/2                     55/2 55/4 218/5
   153/25 154/2        90/24 148/11                     neither [5] 141/17
   160/14 162/22       171/13 177/2                      142/23 186/10
   163/23 166/1 172/3 namely [1] 235/4                   186/17 186/23
   172/7 173/3 173/4  names [2] 29/8                    network [1] 187/6
   173/7 173/20        238/17                           never [47] 11/6
   174/14 176/22      national [1] 39/8                  11/8 20/5 39/11
   176/22 179/16      nChain [13] 74/9                   41/4 52/10 52/11
   179/18 184/12       74/11 77/17 241/18                63/12 64/23 66/21
   187/7 190/20 194/9  241/21 241/25                     68/7 93/14 95/8
   196/16 197/15       242/1 242/3 243/3                 107/2 108/22
   199/4 202/25 203/8  245/23 246/1 246/8                109/17 109/18
   206/23 208/23       246/22                            109/18 110/7 110/8
   208/24 209/17      near [1] 41/10                     112/15 114/6
   210/18 210/25      nearly [1] 109/19                  124/19 125/1
   213/5 223/17 245/7 necessary [1] 85/8                 125/22 128/23
   250/8 255/11       need [28] 7/4                      136/17 139/11
   255/14              54/18 58/10 64/2                  145/6 168/8 169/5
  MYOB [1] 129/3       83/8 84/17 85/17                  170/22 180/10
  myself [6] 90/22     98/18 107/20                      183/20 187/4
   94/12 105/19        120/25 126/17                     194/23 197/9
   118/15 169/5 209/5  126/18 141/11                     208/21 212/8
                       146/22 156/25                     228/13 231/12
  N                    191/22 192/4                      233/21 233/24
  Nakamoto [19]        198/15 210/21                     241/2 242/24 251/1
   64/10 70/12 71/1    217/16 236/1                      251/3
   71/11 71/20 72/14   243/14 247/25                    new [19] 60/6 60/6
   205/10 236/6 237/8 248/6 248/8 251/8                  101/16 107/22
   238/19 238/21       253/3 254/1                       120/3 121/19
   238/22 238/24      needs [3] 72/6                     130/10 135/15
   239/2 239/4 239/6   238/19 239/11                     139/14 142/6
   239/9 239/13 240/3 nefarious [1]                      146/19 153/24
  Nakamoto.' [1]       13/21                             158/15 160/12
   71/25              negotiate [2]                      162/4 180/6 184/5
  N 9:18-cv-80176-BB Documentnine
Case                               [1] on
                              842 Entered 96/25          141/18 142/17
                                            FLSD Docket 12/20/2021 Page 323 of 366
  new... [2] 185/20 no [198] 1/2 2/9                     142/19 145/2 145/5
   190/15             3/2 11/6 11/8                      145/15 150/4
  new.' [1] 66/9      11/12 11/24 12/5                   150/17 150/17
  news [4] 248/15     13/4 14/14 15/23                   151/15 152/18
   250/25 250/25      16/10 17/2 17/15                   153/8 153/9 154/16
   252/16             17/20 18/2 18/3                    157/15 158/6
  next [55] 31/9      18/6 18/8 22/3                     160/24 161/3 162/7
   32/21 34/9 39/24   24/3 27/17 28/14                   162/16 163/16
   58/23 63/3 66/25   30/18 32/10 32/11                  164/2 165/15
   70/4 70/23 75/10   32/20 32/20 35/9                   165/23 166/1 167/3
   79/9 82/25 83/2    35/13 42/21 43/10                  169/5 169/7 170/23
   83/16 83/20 85/23  46/6 50/22 52/12                   171/9 171/17 177/1
   97/23 99/18 100/5  57/11 57/11 59/23                  177/9 178/20 184/3
   100/5 102/17       62/7 62/10 62/20                   186/14 186/17
   103/22 104/5 105/1 63/12 64/23 65/3                   187/8 187/22 188/7
   107/13 113/1 113/3 65/24 65/24 66/18                  189/6 195/2 195/16
   114/19 115/13      67/21 67/23 68/7                   195/20 196/4
   116/4 116/7 132/17 73/3 74/2 76/15                    196/12 196/17
   134/11 137/17      77/16 78/15 80/15                  198/2 198/12
   146/5 159/3 170/7  81/12 81/12 88/1                   198/17 199/20
   173/11 178/12      89/17 90/4 90/17                   204/14 205/21
   178/14 179/11      91/8 91/15 92/19                   207/6 207/16
   181/14 182/7       94/3 99/8 100/23                   207/24 207/25
   185/23 190/22      102/16 104/13                      208/18 209/11
   192/1 192/12 194/2 104/22 108/8                       210/24 211/16
   196/24 197/6 202/9 108/23 109/13                      214/22 219/18
   202/22 203/6       109/21 110/21                      219/22 222/7 225/4
   240/14 243/19      110/25 112/12                      225/16 225/22
  Nguyen [18] 10/2    113/10 113/13                      230/10 231/13
   216/2 216/7 226/24 113/21 114/11                      231/13 236/17
   227/3 241/14       114/16 114/21                      237/10 237/14
   241/17 242/1       115/15 117/1                       238/6 239/25 241/1
   242/18 243/2 243/6 117/15 118/2 118/6                 241/20 242/7
   243/20 243/22      119/14 121/7 121/8                 242/18 242/20
   245/7 245/12 246/5 122/8 122/12 123/1                 244/8 250/1 250/4
   246/8 246/15       123/9 125/12                       250/14
  Nguyen's [1]        125/15 125/16                     nobody's [1] 241/3
   243/12             127/17 127/20                     nominated [1]
  nice [2] 84/6       128/19 128/21                      114/13
   254/2              129/2 131/16                      non [1] 76/5
  night [3] 5/25      133/21 134/1 134/7                non-existent [1]
   13/3 60/16         137/9 139/23 140/7                 76/5
                      140/17 141/9                      none [2] 67/22
Case                          128/14
  N 9:18-cv-80176-BB Document 842      128/15
                                  Entered                 159/20 161/23
                                          on FLSD Docket 12/20/2021 Page 324 of 366
  none... [1] 224/14          131/18 141/20               161/24 165/10
  Normally [1]                141/21 141/25               192/15 212/17
   146/24                     226/2 232/22 255/9          222/20 228/17
  North [2] 1/24              255/15                      248/20 250/8
   255/18                    now [75] 7/22               numbered [1] 22/24
  not [406]                   12/20 19/1 30/16           numbers [2] 134/19
  not-known [2]               38/24 42/17 43/13           192/20
                              46/21 47/7 47/16
   195/13 195/24
                              50/20 55/10 57/17
                                                         O
  note [3] 122/19                                        O'HAGAN [17] 2/5
   146/11 233/23              63/13 67/1 67/9
                              68/22 69/1 69/3             6/19 73/16 73/20
  notebook [3] 213/5                                      74/16 75/1 75/9
   234/1 234/4                71/4 75/13 78/12
                              83/22 84/16 90/2            75/13 76/14 76/24
  noted [8] 44/4                                          77/14 83/18 224/3
   133/9 133/21 134/2         90/20 91/5 95/8
                              104/3 109/25                224/23 237/23
   134/7 134/8 167/9                                      249/19 249/19
   229/5                      110/18 113/19
                              117/5 120/14               O'Mahoney [4]
  notes [21] 11/21                                        168/1 169/15 170/4
   15/7 15/8 18/14            120/24 123/7
                              124/15 124/25               170/13
   18/16 18/18 18/20                                     oath [2] 68/5 86/6
   18/22 18/24 18/25          127/12 128/18
                              142/7 143/15               Oaths [1] 130/25
   19/2 19/3 19/3                                        object [12] 147/18
   117/17 117/18              143/22 144/5 145/3
                              145/25 146/13               156/13 166/14
   119/15 210/18                                          200/5 213/2 214/18
   210/25 234/8 234/9         146/20 149/22
                              150/15 152/24               219/1 227/8 233/25
   255/11                                                 234/3 248/13 251/6
  nothing [16] 18/14          155/20 158/12
                              160/6 183/7 184/12         objected [17]
   19/2 38/1 38/1                                         212/6 213/3 223/12
   38/3 65/2 85/17            188/25 193/4
                              199/10 202/3 203/4          224/1 224/4 224/11
   104/22 116/13                                          226/2 227/12
   146/2 161/4 183/11         203/11 204/18
                              204/25 208/7 213/1          227/19 232/20
   212/16 222/21                                          233/20 233/22
   241/16 254/2               225/15 239/11
                              239/14 240/4 245/5          235/1 235/5 235/21
  notice [1] 252/6                                        241/4 241/16
  noticed [1] 44/10           248/8 248/17
                              251/22 252/20              objection [78]
  notification [1]                                        91/14 91/15 93/7
   214/2                     now' [1] 70/23
                             now.' [1] 66/6               104/8 104/9 111/25
  notified [1]                                            112/1 138/17
   144/18                    number [24] 4/2
                              40/5 84/13 94/2             139/16 147/11
  noting [1] 133/14                                       147/14 148/15
  novel [1] 40/24             94/2 94/10 97/13
                              98/11 101/10 105/7          149/9 149/10
  November [14] 1/5                                       154/20 158/6
   65/5 69/2 69/3             122/16 139/10
                              153/15 159/12               162/11 163/1 163/6
                              123/12
  O 9:18-cv-80176-BB Document 842
Case                              Entered on FLSD Docket offering    [2]32540/12
                                                         12/20/2021 Page    of 366
  objection... [59]          obtaining [1] 34/6          232/21
   167/7 167/9 172/14        obviously [3] 9/21         office [68] 10/10
   172/19 175/22              249/8 251/7                48/21 48/22 49/2
   178/20 184/15             occasions [1] 48/4          51/2 51/17 54/15
   188/7 198/6 200/7         occur [1] 146/7             56/11 56/14 57/3
   201/8 204/14              occurred [1] 27/16          60/16 130/16
   207/16 208/4              occurs [1] 97/19            144/18 162/6
   212/24 213/8              October [11] 100/6          162/10 162/15
   213/16 213/19              120/14 120/24              162/21 163/13
   213/24 214/12              121/24 130/16              163/18 163/23
   215/7 215/12               142/9 209/1 214/3          163/25 164/7
   215/23 216/3               214/17 242/15              164/16 165/8
   216/15 217/6               246/18                     165/14 165/16
   217/12 218/16             October 12th [1]            165/17 165/21
   219/3 223/8 223/21         214/3                      167/22 167/25
   223/25 224/7              October 2013 [1]            168/7 168/7 168/12
   224/13 225/16              130/16                     168/15 168/19
   225/22 226/20             October 23rd [1]            169/6 170/21
   227/6 227/14               214/17                     170/22 197/14
   227/21 228/15             October 30th [1]            197/15 197/17
   228/16 229/7               142/9                      198/1 198/5 198/13
   229/11 231/22             October of [1]              198/20 199/3
   233/2 233/17 235/8         242/15                     199/11 200/15
   235/17 240/12             off [16] 37/5 53/3          201/1 201/25 206/9
   240/21 241/11              69/2 78/12 92/1            206/11 206/17
   242/4 242/11 244/8         105/6 106/17 150/2         207/3 207/23 208/3
   244/8 245/3 246/25         160/25 166/1               208/16 208/18
   247/7                      171/18 174/14              208/20 209/9
  objections [13]             179/4 184/8 247/23         219/16 220/10
   5/3 5/6 5/19 6/9           250/8                      221/4 222/5 222/6
   84/13 155/2 155/4         offer [14] 39/4             222/9 222/10
   211/24 212/1               39/7 91/13 149/7           224/14
   212/11 215/1               158/5 167/6 172/12        Office.' [2] 56/11
   219/11 235/11              175/6 178/18 188/6         56/24
  obligation [1]              199/25 204/12             officer [4] 7/17
   138/6                      250/12 252/6               34/14 85/18 93/18
  obtain [2] 96/16           offered [15] 2/9           offices [1] 51/1
   104/20                     3/2 42/2 53/9             official [1]
  obtained [10]               53/10 54/23 54/24          101/15
   24/20 25/7 25/8            214/20 214/23             offset [2] 163/8
   25/10 26/25 28/20          216/19 229/11              163/9
   46/4 82/4 96/8             230/21 231/20             often [1] 37/20
                              233/8 244/1               oh [12] 7/8 54/16
Case                          134/11
  O 9:18-cv-80176-BB Document 842      140/20
                                  Entered                 111/11 114/11
                                          on FLSD Docket 12/20/2021 Page 326 of 366
  oh... [10] 79/16            141/6 144/10                114/16 115/3 117/2
   81/13 145/3 156/6          145/16 145/18               117/3 117/6 117/7
   193/12 199/14              147/9 150/5 154/7           117/11 123/1
   210/24 213/23              154/22 157/19               129/16 129/17
   234/6 240/19               168/21 169/21               129/21 134/25
  okay [150] 7/1 8/1          171/8 174/1 174/18          140/3 145/2 149/14
   9/16 9/21 10/1             177/1 181/1 186/15          150/9 153/4 154/16
   10/18 10/22 11/2           187/14 188/22               155/5 155/8 155/8
   11/7 12/13 12/15           189/5 191/25                158/13 164/18
   12/16 12/24 13/12          192/21 193/1 193/3          164/20 165/24
   14/1 14/12 14/21           193/14 201/14               168/13 169/6
   14/24 15/21 16/7           203/18 205/20               169/10 170/23
   17/3 18/15 19/18           206/1 207/14 208/1          172/3 172/7 173/3
   21/13 21/23 22/6           209/7 211/17                174/12 174/15
   23/2 23/17 24/10           211/22 211/22               184/19 185/7
   24/12 24/13 25/6           212/4 219/21                185/16 185/17
   26/11 29/16 29/21          230/15 230/17               185/18 185/19
   31/1 32/3 32/6             244/24 246/24               185/21 186/2 186/3
   32/22 33/9 35/20           249/1 253/6 253/16          186/9 186/14
   36/8 36/17 37/18          old [3] 78/15                186/18 187/24
   38/3 38/21 39/12           184/2 184/2                 189/8 190/21
   39/18 39/24 40/15         on.' [1] 65/10               193/21 195/22
   40/22 42/19 43/7          once [3] 8/5 27/19           196/22 198/17
   44/9 47/21 48/8            28/20                       202/18 206/16
   49/21 50/21 52/13         one [129] 5/22 7/5           209/13 210/17
   52/20 53/14 53/20          7/11 10/20 12/10            222/12 222/25
   55/15 57/14 59/4           12/13 15/3 17/9             225/7 225/19 226/4
   61/23 61/24 62/6           25/13 29/16 30/3            226/9 231/9 232/11
   62/8 63/13 64/17           31/24 32/1 32/3             233/13 235/10
   64/18 66/25 67/22          34/9 34/11 35/1             239/10 243/3
   68/17 68/21 69/14          36/6 36/13 36/24            243/20 252/25
   70/2 70/6 71/17            36/24 39/2 40/4             253/25
   72/10 73/20 74/5           40/8 44/13 44/17           one's [1] 195/15
   76/1 76/13 77/22           44/18 44/22 49/20          one-hour [1] 83/24
   77/24 80/23 82/24          57/2 57/21 57/25           one-page [4] 12/10
   86/2 89/20 90/5            58/4 58/11 61/3             61/11 74/21 252/25
   96/17 110/12               61/11 61/22 68/9           ones [5] 29/2 56/5
   111/15 112/23              71/9 71/18 73/25            195/24 245/2
   114/13 114/18              74/21 80/6 83/24            247/23
   120/22 123/6               84/7 84/10 93/3            online [1] 40/12
   123/10 124/21              98/23 100/2 100/5          only [28] 13/8
   128/2 131/17               100/23 101/6 102/2          18/15 27/24 44/24
                              103/1 109/19                51/15 57/6 57/16
                              96/13
  O 9:18-cv-80176-BB Document 842
Case                                  115/14
                                  Entered       116/2
                                          on FLSD         159/12 163/8
                                                  Docket 12/20/2021 Page 327169/6
                                                                             of 366
  only... [21] 59/18          116/25 117/1 117/5          172/8 173/4 178/17
   65/24 91/7 131/4           117/11 117/15               178/17 180/9 183/3
   131/11 133/23              118/17 118/23               184/6 186/22
   134/3 161/6 164/4          119/3 119/13                196/13 205/25
   185/6 186/18               119/14 119/19               206/24 209/4 238/1
   195/13 195/24              120/8 121/4 128/11          238/16 239/18
   198/25 201/1               142/25 146/9                239/19 248/5 252/2
   211/16 225/15              176/22 211/9                252/17 253/18
   230/22 231/2               238/21 249/5               others [5] 14/8
   249/10 251/21             ordered [2] 129/13           78/12 189/14 205/1
  open [1] 11/17              154/2                       244/7
  opened [3] 163/14          orders [5] 123/17           otherwise [3]
   165/8 179/25               143/10 146/9                224/3 250/15 251/4
  opening [6] 11/20           146/11 146/14              our [55] 4/21 5/4
   35/17 147/17              organization [2]             5/20 6/8 10/9 10/9
   183/21 222/13              118/3 137/9                 26/10 28/2 28/6
   222/25                    orient [1] 148/8             29/3 29/4 37/3
  opens [2] 85/5             orientate [1]                37/4 37/19 37/19
   173/6                      74/23                       37/22 37/22 48/24
  operates [2] 35/3          original [4] 96/11           48/24 48/25 49/9
   35/11                      135/10 187/7 199/5          58/9 58/18 59/8
  operating [1]              originally [2]               59/19 66/17 70/13
   141/1                      54/5 145/25                 72/9 76/12 76/17
  opinion [1] 216/16         origins [1] 79/24            82/24 83/24 85/3
  opponent [1]               other [65] 7/17              94/8 118/17 156/16
   251/13                     13/20 16/20 30/15           160/6 170/22
  opportunities [2]           39/8 42/15 42/16            208/22 211/23
   35/16 35/17                55/16 56/5 68/9             212/10 213/8
  opportunity [13]            76/14 76/16 77/14           213/23 216/15
   6/8 75/24 93/6             78/2 81/5 81/6              217/6 219/3 219/11
   155/10 155/16              100/23 101/19               221/13 222/3 222/5
   222/16 237/1               102/2 105/15                224/13 230/13
   248/19 249/22              106/14 109/14               236/16 237/24
   251/17 252/7               111/4 111/11                240/21
   252/25 253/15              111/19 114/12              out [58] 4/23 7/2
  opposed [2] 237/18          118/7 118/19                7/22 14/10 27/3
   249/20                     118/20 119/2                27/6 28/24 41/24
  opposing [3]                120/20 122/12               43/14 56/24 57/6
   153/21 157/10              122/19 123/6                59/18 66/18 67/14
   164/4                      134/15 134/24               71/24 72/16 82/13
  order [27] 4/1              137/14 142/17               100/1 100/3 103/1
   59/16 76/18 84/14          144/17 150/4                103/3 106/22 114/7
                              153/15 154/4                114/18 118/14
  O 9:18-cv-80176-BB Documentoverbreadth
Case                                         [1] Docket P
                              842 Entered on FLSD       12/20/2021 Page 328 of 366
  out... [33] 132/16          222/18                    p.m [12] 83/19
   137/6 158/25              overcome [1] 251/2          83/19 84/1 84/4
   159/15 170/7              overruled [31]              84/4 85/19 156/21
   174/19 176/23              104/12 112/3               156/23 156/23
   181/3 182/10               138/19 139/18              157/4 210/11 254/4
   182/19 182/23              148/17 149/10             P101 [2] 213/22
   186/5 191/9 191/10         163/6 166/19 167/9         213/23
   192/12 192/22              172/19 175/22             P104 [1] 244/13
   194/3 235/6 236/5          198/7 200/7 208/6         P105 [1] 121/15
   236/13 236/13              213/19 214/12             P122 [2] 201/5
   236/25 237/7               215/7 215/23               201/10
   237/22 238/3 238/5         217/12 218/16             P127 [1] 209/19
   238/15 238/19              223/8 223/21 224/7        P140 [1] 248/2
   238/21 238/22              226/20 227/15             P149 [2] 187/15
   239/9 240/8 248/19         231/22 233/17              188/6
  out.' [1] 73/4              241/11 242/4              P164 [1] 86/19
  outed [7] 70/14             242/11 246/25             P167 [3] 177/17
   71/9 71/10 71/18          overseas [5] 80/25          177/25 178/18
   71/20 72/15 79/7           87/18 194/6 197/2         P169 [3] 215/25
  outside [5] 70/21           197/10                     216/1 216/5
   76/17 189/16 249/6        overturned [2]             P172 [2] 166/2
   252/5                      163/25 249/6               167/6
  outweighed [1]             owe [3] 110/20             P183 [1] 216/13
   240/11                     113/21 115/6              P189 [2] 198/24
  over [38] 30/14            owed [4] 45/13              199/25
   31/5 53/15 99/24           109/18 113/21             P200 [2] 171/20
   104/4 110/8 110/9          114/3                      172/12
   113/20 124/22             owes [2] 113/20            P218 [1] 201/8
   127/5 127/15               115/12                    P291 [2] 247/8
   128/14 128/25             own [4] 144/13              247/14
   129/21 131/6 131/9         175/20 179/22             P305 [4] 203/21
   131/11 140/3               236/16                     204/12 247/8
   144/10 144/13             owned [2] 46/5              247/14
   144/23 150/4               144/17                    P306 [2] 244/13
   158/13 160/15             owner [2] 136/15            248/2
   160/23 164/7               144/4                     P33 [2] 247/10
   164/14 168/18             owners [1] 195/19           247/15
   169/10 177/4              ownership [5] 90/8         P332 [1] 225/15
   183/13 189/14              103/13 103/25             P349 [2] 247/10
   194/12 201/8 203/2         125/24 143/21              247/15
   208/13 238/24             owns [4] 22/16             P355 [2] 244/13
   245/12                     181/8 181/12               248/2
                              181/21
  P 9:18-cv-80176-BB DocumentP51
Case                              Entered228/24
                              842 [2]                     22/24 23/3
                                          on FLSD Docket 12/20/2021 Page 23/10
                                                                         329 of 366
  P356 [2] 247/10             231/22                      23/18 23/22 24/14
   247/15                    P510 [1] 247/4               30/24 32/4 32/12
  P361 [2] 247/10            P511 [1] 247/4               32/21 32/21 32/21
   247/16                    P512 [1] 247/4               33/11 37/7 37/7
  P362 [2] 244/13            P52 [2] 247/9                38/4 38/9 38/24
   248/3                      247/15                      41/10 43/25 55/24
  P367 [1] 244/16            P53 [2] 247/9                57/14 61/11 64/14
  P377 [2] 244/13             247/15                      65/4 68/20 73/9
   248/3                     P57 [2] 247/9                74/21 75/6 77/22
  P380 [2] 244/14             247/15                      77/25 88/24 91/7
   248/3                     P62 [1] 212/25               91/21 92/7 92/18
  P385 [2] 244/14            P637 [3] 164/4               94/6 94/21 95/11
   248/3                      244/22 248/3                97/5 97/23 99/1
  P392 [2] 247/10            P709 [4] 100/25              99/18 99/20 101/1
   247/16                     114/23 118/11               101/24 104/17
  P400 [2] 244/22             119/23                      104/17 106/8
   248/3                     P710 [9] 88/24               107/14 109/4
  P405 [2] 247/10             94/5 97/4 98/13             110/17 111/4 113/1
   247/16                     111/3 118/20                113/3 114/24 116/4
  P406 [2] 247/10             129/25 131/20               116/7 117/8 118/12
   247/16                     134/13                      118/15 118/21
  P407 [2] 247/10            P733 [1] 184/25              119/5 119/13
   247/16                    P748 [4] 91/2                119/24 128/6
  P408 [2] 247/10             91/13 92/20 106/20          129/25 131/21
   247/16                    P75 [2] 247/7                132/3 132/4 132/17
  P410 [2] 247/11             247/14                      134/13 134/21
   247/16                    P76 [1] 213/5                135/2 135/18
  P43 [2] 215/10             P78 [2] 247/8                137/18 140/1 140/2
   215/11                     247/14                      140/3 140/22 146/5
  P438 [1] 248/24            P91 [2] 247/8                154/14 155/17
  P439 [2] 174/2              247/14                      156/7 157/20
   175/6                     P92 [2] 247/8                158/10 159/1 159/3
  P441 [2] 244/13             247/14                      159/5 159/15
   248/2                     P94 [2] 247/8                161/14 165/7 166/9
  P459 [2] 148/22             247/14                      167/13 168/22
   149/7                     P96 [2] 247/8                168/24 168/25
  P460 [1] 247/3              247/14                      169/10 169/10
  P464 [5] 153/21            P97 [2] 247/8                169/23 174/11
   157/10 158/5               247/14                      174/14 174/21
   190/10 192/18             package [1] 32/6             175/15 175/17
  P492 [1] 247/4             page [146] 2/3               175/24 176/13
  P509 [1] 141/25             12/10 21/13 22/11           178/6 178/12
                              22/12 22/23 22/24           178/14 179/5
Case                          92/21
  P 9:18-cv-80176-BB Document 842     92/22
                                  Entered      93/13
                                          on FLSD         27/10 106/14
                                                  Docket 12/20/2021 Page 330 of 366
  page... [28]                95/13 95/16 100/2           117/17 117/19
   179/11 181/13              102/17 102/20               120/25 145/25
   181/14 185/23              102/22 103/2                148/14 221/9
   186/6 190/12               103/22 103/24              partly [1] 47/20
   190/12 190/13              106/11 106/21              partner [42] 16/9
   190/22 192/12              108/19 109/6 110/5          16/19 16/21 17/4
   192/23 193/4 194/2         132/8 132/17                51/24 51/25 52/2
   201/15 207/8               132/19 133/5 135/5          52/4 52/5 52/7
   208/12 212/13              135/10 137/10               52/7 52/9 149/21
   216/18 225/7               157/23 159/15               151/5 151/15
   225/15 225/19              159/19 160/12               151/16 151/18
   226/24 227/9 241/8         189/15 199/13               151/19 152/8
   241/8 243/11 245/8         199/23 200/16               152/23 153/2 153/5
   252/25                     203/6 203/9 203/10          160/15 160/22
  pages [4] 1/8               222/1                       161/1 161/7 161/11
   225/6 225/9 255/12        paragraphs [7]               161/25 162/5
  paid [5] 25/16              79/18 132/4 136/2           173/21 176/22
   25/20 103/10               137/19 137/21               177/8 179/1 182/6
   103/12 133/1               203/15 203/16               182/24 183/5
  Paige [16] 61/23           paralegal [1] 4/21           183/10 184/8
   64/22 64/23 65/4          part [31] 5/10               187/10 218/10
   69/1 141/1 141/3           19/1 20/22 26/24            245/7 249/12
   141/15 141/18              35/8 35/12 37/10           partner.' [1]
   201/18 201/21              38/13 41/14 42/22           52/11
   201/23 202/3 226/6         58/1 59/3 69/23            partners [9] 16/18
   226/15 226/15              74/5 101/8 138/10           35/15 147/9 170/18
  PALM [1] 1/2                138/14 165/6                182/11 182/20
  panel [2] 164/9             165/13 187/7 214/5          182/24 238/2
   164/10                     224/25 227/9                239/12
  paper [10] 16/22            227/10 238/5               partnership [13]
   17/1 39/20 40/3            238/18 238/19               151/20 153/4 183/1
   180/13 180/22              238/23 239/17               183/3 187/2 187/2
   198/18 198/18              246/6 246/12                187/4 220/1 221/18
   202/25 226/7              participant [2]              223/1 223/6 238/10
  paper.' [1] 76/6            227/21 228/18               239/19
  papers [4] 16/14           participate [1]             parts [1] 198/9
   57/19 75/21 76/1           73/16                      party [13] 20/4
  paperwork [1] 22/4         particular [5]               23/4 23/11 67/12
  paragraph [45]              30/17 36/21 36/22           107/16 108/1 113/3
   24/14 31/9 32/14           49/20 212/23                113/8 147/22
   44/2 46/16 58/10          Particulars [1]              147/23 175/9
   63/3 79/9 92/18            102/19                      223/20 251/13
                             parties [9] 27/8            pass [1] 123/12
  P 9:18-cv-80176-BB DocumentPDF
Case                              Entered92/6
                              842 [1]                     173/14 177/15
                                          on FLSD Docket 12/20/2021 Page 331 of 366
  passed [6] 41/21           PE [2] 34/9 34/19            194/21 206/24
   52/16 145/17              penalty [2] 92/2             238/25
   200/24 223/18              92/13                      perjury [2] 92/2
   236/6                     people [38] 7/13             92/13
  passes [3] 52/22            26/2 31/22 34/14           Perling [1] 185/20
   151/21 151/23              37/19 41/5 42/14           permanent [1] 9/9
  passing [2] 43/8            68/2 72/15 78/3            permission [1]
   113/24                     94/3 99/17 105/15           155/3
  past [5] 74/13              143/25 153/15              permit [2] 210/6
   123/18 173/10              161/7 172/3 173/4           233/9
   173/14 173/20              173/5 176/8 180/9          person [23] 8/25
  Patrick [31] 61/23          184/6 184/11                15/23 78/8 114/12
   62/1 63/17 63/21           185/11 186/22               121/5 122/6 124/7
   64/22 64/23 65/4           189/13 193/22               124/13 124/22
   66/22 66/25 67/10          194/8 201/2 202/20          126/2 142/16
   67/17 69/1 69/11           203/4 216/6 220/14          151/14 163/16
   69/16 70/4 70/7            226/9 232/16 238/1          169/6 171/17 172/2
   71/6 141/1 141/3           239/18 239/19               176/10 180/7
   141/15 141/18             per [1] 203/3                187/24 189/23
   201/18 201/21             perceive [1] 19/21           189/25 242/10
   201/23 202/3 205/4        perceives [1]                242/20
   205/10 226/6 226/9         19/22                      personal [6] 1/3
   226/14 226/15             percent [15] 33/16           10/9 90/6 114/8
  Patrick.' [1] 64/9          34/6 35/21 95/18            114/13 159/6
  Paul [1] 176/10             95/18 124/23 125/2         personally [5]
  Pause [15] 23/7             139/14 143/22               49/11 49/19 80/24
   86/3 155/19 155/21         144/3 144/4 163/18          94/13 95/4
   156/8 164/19 165/2         170/11 195/18              phone [4] 51/4
   174/17 192/25              195/21                      130/17 177/4 249/7
   207/15 210/20             percentage [1]              photocopies [1]
   211/2 225/13               33/12                       29/1
   236/21 252/10             perfect [6] 6/11            photograph [1]
  pay [14] 53/13              83/4 156/6 156/6            14/4
   55/12 98/7 99/22           156/6 253/6                phrasing [2] 208/8
   100/7 102/5 103/18        perfectly [3] 27/6           208/9
   121/11 133/8               28/16 222/23               physical [1]
   137/23 183/12             perhaps [9] 38/18            211/12
   194/20 194/24              60/14 60/15 61/2           physically [1]
   196/1                      61/3 65/25 219/18           42/19
  payment [1] 196/4           221/23 222/23              pick [6] 20/1 20/2
  Payne [2] 153/9            period [10] 66/13            20/2 68/19 150/2
   153/9                      160/15 160/23               230/12
                              173/12 173/14              piece [5] 39/20
  P 9:18-cv-80176-BB DocumentPlaintiffs'
Case                          842 Entered on FLSD        207/10 207/17
                                             [94]Docket 12/20/2021 Page 332 of 366
  piece... [4] 40/3           2/9 2/10 2/10 2/11         207/21
   79/21 198/18               2/11 2/12 2/12            played [8] 83/19
   198/18                     2/13 2/13 2/14             148/1 155/1 155/4
  pieces [1] 170/12           2/14 2/15 2/15             207/19 212/7 217/5
  PKI [1] 141/9               2/16 2/16 2/17             217/10
  place [9] 8/24 9/9          2/18 2/18 2/19            Pleadings [1]
   26/14 27/13 55/3           2/19 2/20 2/20             102/19
   165/24 168/6               2/21 2/21 2/22            pleasant [6] 8/6
   221/21 236/13              2/22 2/23 2/24             55/19 83/25 84/2
  placed [1] 86/6             2/24 2/25 3/2 3/3          85/21 210/9
  places [1] 76/16            3/3 3/4 3/5 3/5           please [109] 4/4
  PLAINTIFF [46]              3/7 3/8 3/8 3/10           8/4 9/6 10/3 21/13
   1/12 2/3 90/11             3/10 3/11 3/11             23/3 23/10 83/15
   90/14 90/23 94/9           3/12 3/12 3/13             85/21 85/24 86/8
   97/12 97/17 98/7           3/13 3/14 3/14 4/5         86/13 87/5 88/23
   99/4 99/6 99/8             5/9 7/15 8/10              91/1 91/2 92/7
   99/14 99/22 100/7          83/16 83/20 91/17          92/17 92/20 94/5
   101/13 102/5               149/12 158/8               96/5 97/4 97/24
   102/22 103/13              167/11 172/20              99/18 100/3 100/25
   109/8 109/11               175/23 178/22              104/16 106/22
   115/20 116/1               188/9 192/17               108/17 108/18
   117/12 117/19              192/24 200/9               108/25 109/22
   117/20 118/9 119/5         204/16 212/6               110/4 110/13 111/3
   119/8 119/8 121/5          213/21 214/14              111/14 112/24
   122/5 122/16               215/9 215/24               112/25 114/23
   122/18 124/4 124/8         217/14 217/21              115/9 116/4 118/11
   124/13 132/10              218/18 223/9               118/13 119/23
   132/14 142/15              223/23 224/9               120/7 126/7 131/20
   157/1 158/4 244/21         225/21 226/21              132/17 133/4
   247/20 248/1 248/2         227/19 228/25              134/12 135/17
  Plaintiffs [30]             228/25 229/3 229/3         137/19 139/3
   1/5 4/7 4/9 4/11           231/24 233/10              140/21 141/24
   4/13 4/15 4/15             233/18 239/16              146/18 148/22
   4/16 7/14 8/13             239/21 241/13              149/4 150/15
   83/10 83/17 85/23          242/13 247/1 252/6         152/12 152/21
   86/1 91/12 96/20          plan [1] 65/9               153/20 156/7 157/7
   138/24 139/8              platform [4] 39/3           157/9 158/9 159/1
   139/10 147/7 167/5         39/25 129/10               159/14 160/11
   188/5 204/12               129/12                     161/14 164/3 166/2
   222/23 240/4              platforms [1] 37/9          167/13 168/22
   243/10 248/11             platforms.' [1]             169/22 171/20
   251/2 252/3 253/20         34/21                      171/21 172/22
                             play [5] 6/18 7/2           173/14 173/19
  P 9:18-cv-80176-BB Documentportion
Case                                   [1]
                              842 Entered      176/19
                                          on FLSD         236/7 236/23
                                                  Docket 12/20/2021 Page 333240/7
                                                                             of 366
  please... [29]             portions [3] 155/6           250/23
   174/2 174/22               249/10 251/10              preparation [1]
   176/20 177/17             position [4] 51/22           74/17
   178/13 181/2               85/3 229/14 230/13         prepare [1] 242/21
   184/25 187/15             positions [1]               prepared [5] 125/7
   189/21 190/10              237/18                      216/19 229/25
   190/23 192/14             possession [1]               242/21 253/19
   192/21 193/3               243/5                      preparing [1]
   197/18 198/24             possible [2] 28/9            253/2
   198/25 199/12              154/11                     present [9] 42/20
   200/10 201/5 202/8        possibly [2]                 82/23 84/1 121/1
   203/21 203/25              131/25 203/20               156/21 169/17
   205/23 207/10             posting [1] 76/21            210/11 232/24
   207/17 209/18             posts [5] 174/8              255/7
   210/5 248/21               175/20 176/9               press [4] 238/22
  plus [3] 17/24              176/11 176/12               238/23 238/25
   138/23 139/5              potential [2] 35/3           239/23
  point [26] 14/12            41/8                       pressed [1] 207/21
   22/11 30/12 30/14         potentially [1]             pressing [1] 84/16
   30/20 43/24 50/22          237/14                     pretend [1] 165/19
   52/20 52/22 53/15         PR [1] 114/13               pretty [4] 13/22
   53/16 69/5 80/23          practically [1]              42/8 51/7 238/1
   91/12 119/12 152/7         76/5                       preventing [1]
   152/10 153/3 158/4        pre [3] 103/9                33/2
   165/7 166/19 167/5         114/10 205/25              previous [3] 53/15
   207/22 218/6              pre-agreed [1]               54/4 186/6
   225/14 245/8               103/9                      price [1] 137/6
  points [1] 30/15           pre-documents [1]           primarily [3]
  police [17] 153/14          114/10                      20/10 160/4 227/20
   153/16 153/18             pre-litigation [1]          primary [1] 35/2
   153/24 154/8               205/25                     printed [1] 183/17
   158/15 159/10             precisely [1]               prior [3] 61/20
   159/15 159/16              231/14                      61/22 251/17
   159/17 160/13             Preemptive [1]              private [10] 15/11
   160/19 161/6 162/4         130/14                      15/15 18/23 18/25
   190/7 190/15              prejudice [3]                19/2 191/17 192/4
   190/16                     232/8 237/14                193/10 193/18
  police.nsw.gov.au           240/12                      193/20
   [1] 158/16                prejudicial [15]            probably [4] 20/9
  Ponce [1] 1/22              213/4 213/25 219/1          49/19 59/23 151/22
  pools [1] 195/19            219/4 219/10 220/2         probative [5]
  Port [1] 181/23             220/4 235/21                220/5 236/17
                              235/24 236/2 236/7          237/14 237/16
Case                          234/10
  P 9:18-cv-80176-BB Document 842      234/13
                                  Entered                 117/20 117/23
                                          on FLSD Docket 12/20/2021 Page 334 of 366
  probative... [1]            246/7 246/12                117/25 118/1
   252/2                     productive [1]               119/16 119/16
  problem [5] 27/3            5/17                        125/18 125/21
   65/14 67/2 187/8          products [2] 39/7            145/19 241/24
   249/17                     118/4                       242/17 242/22
  problem.' [1] 67/1         profile [1] 76/2             243/10
  problems [2] 10/9          profitable [2]              proponent [1]
   20/9                       191/5 193/8                 212/2
  proceed [4] 6/6            program [3] 228/3           proposed [1]
   7/23 210/15 212/2          230/23 230/24               250/20
  proceeding [7] 5/4         programs [1] 34/20          protect [1] 76/18
   54/15 82/11 85/12         project [9] 62/3            protocols [2]
   221/8 221/16               62/4 62/6 62/14             40/23 40/25
   224/15                     62/18 202/4 202/15         provably [2]
  proceedings [26]            202/18 204/20               183/12 196/17
   23/7 82/4 86/3            projects [1] 133/1          prove [4] 196/18
   155/19 155/21             promote [1] 13/20            231/2 239/15
   156/8 164/19 165/2        prompt [2] 8/6               239/20
   167/20 174/17              210/2                      provide [9] 6/3
   192/25 201/22             prong [1] 251/16             7/9 40/20 41/17
   207/15 210/20             pronouncing [1]              103/23 147/21
   211/2 219/25 221/3         40/4                        161/21 239/3
   221/24 222/10             proof [7] 78/13              252/23
   222/19 224/16              113/19 232/21              provided [5]
   225/13 236/21              235/1 235/3 235/24          102/23 104/11
   252/10 254/4 255/8         239/4                       222/3 222/4 252/24
  process [9] 69/4           proofing [1]                provision [1]
   194/7 194/17               158/20                      130/25
   194/23 195/1 195/7        proper [3] 45/3             pseudonymous [1]
   195/11 196/2               212/20 214/24               78/9
   236/13                    properly [1] 232/7          public [14] 19/6
  processes [1]              properties [4]               19/8 19/11 102/11
   195/10                     181/12 181/21               113/25 163/20
  procure [1] 252/3           181/22 182/3                182/4 184/7 185/10
  produce [2] 40/11          properties.' [1]             195/15 196/5 196/7
   243/5                      181/8                       196/14 240/2
  produced [11]              property [29]               publicly [4]
   29/21 170/24 172/5         20/15 21/9 22/10            195/24 196/15
   197/20 197/24              22/16 22/17 26/7            205/14 239/9
   198/20 234/7 234/7         46/4 46/15 47/4            publish [11] 91/18
   241/6 245/12 246/9         82/5 100/8 103/21           98/9 98/19 111/14
  production [4]              104/5 104/20                115/9 118/13
                              107/24 111/1                172/21 175/14
Case                          236/9
  P 9:18-cv-80176-BB Document 842     240/8
                                  Entered      240/24
                                          on FLSD         51/16 54/16
                                                  Docket 12/20/2021       70/14
                                                                    Page 335 of 366
  publish... [3]             purposes [4] 13/21           76/17 84/14 217/22
   188/12 199/14              15/9 199/5 216/19           222/4
   200/10                    pushed [1] 73/19            quick [2] 7/5
  published [5]              pushing [1] 163/25           209/23
   111/12 175/13             put [26] 6/24 13/9          quickly [3] 6/7
   193/11 202/25              58/18 58/25 59/2            99/3 158/13
   205/13                     59/8 59/12 59/16           quite [12] 10/8
  pull [3] 155/23             59/18 60/23 86/18           10/10 11/16 27/2
   211/18 220/6               106/16 107/6                45/9 51/21 77/18
  pulled [1] 37/1             108/24 112/24               131/25 186/19
  purchase [5] 25/19          126/10 143/2 147/8          245/8 246/7 251/18
   25/25 137/5 170/14         163/18 164/4               quotation [2]
   196/4                      181/13 196/13               79/15 79/16
  purchased [9] 26/1          206/13 209/18              quote [4] 73/2
   26/1 26/2 32/6             228/18 249/2                78/12 79/13 186/20
   80/23 81/3 196/4          Putting [1] 28/19           quotes [3] 78/8
                                                          78/23 79/5
   196/9 196/10              Q                           quoting [1] 79/10
  purchaser [6]              quash [3] 250/4
   136/10 137/4 137/5         250/6 251/2                R
   138/2 138/5 138/6         question [44]               raise [2] 86/5
  purchases [2]               16/17 17/11 17/12           248/8
   25/22 196/11               17/16 18/9 27/24           raised [2] 221/6
  purchasing [1]              29/5 29/11 29/14            221/9
   137/7                      30/19 34/2 47/17           raises [2] 222/3
  purely [1] 56/21            54/3 58/8 60/20             238/18
  purported [3]               60/21 69/10 70/2           RAMONA [27] 2/4
   177/5 228/19               82/10 85/4 85/6             6/17 8/13 8/21 9/8
   230/15                     85/13 124/12                18/6 32/1 151/16
  purportedly [1]             125/11 139/2 139/3          187/19 189/9
   230/24                     155/8 156/10                189/14 203/19
  purporting [1]              156/12 163/3                204/7 213/3 213/7
   22/9                       180/19 182/22               213/12 215/5
  purports [4] 10/1           192/10 197/21               215/11 215/13
   21/17 21/21 252/13         197/23 202/6 202/9          215/15 216/5
  purpose [20] 15/20          202/11 207/1                216/14 216/22
   146/1 147/19               238/13 245/16               217/21 218/7
   147/22 219/7 220/4         245/19 245/22               218/12 223/11
   224/2 228/11 230/5         246/21                     ran [9] 62/8 62/8
   230/5 230/11              questioned [1]               62/21 62/24 63/1
   231/21 231/23              251/17                      202/16 202/23
   232/11 232/12             questions [10]               204/20 204/21
   233/15 234/15              8/19 8/25 51/2             ranches [1] 181/23
                              45/8Entered
  R 9:18-cv-80176-BB Document 842
Case                                70/1on FLSD Docket 12/20/2021
                                                        228/1 243/3
                                                                  Page 336 of 366
  rapt [1] 164/12            really [41] 5/15           receipt [2] 19/5
  rate [2] 132/15             10/8 10/17 10/20           163/10
   203/2                      13/4 13/17 14/15          receive [2] 245/22
  rather [1] 132/9            16/25 20/8 20/20           246/22
  rcjbr.org [1]               20/22 25/4 27/14          received [33] 19/7
   191/2                      27/21 28/3 28/15           91/17 127/17
  re [1] 155/14               28/16 33/8 34/17           149/12 158/8
  re-read [1] 155/14          36/2 36/11 39/22           167/11 172/20
  reach [1] 114/7             44/8 47/10 49/18           175/23 178/22
  reached [1] 43/14           53/2 54/22 63/24           188/9 200/9 204/16
  reaching [2] 41/24          64/1 73/18 74/3            213/21 214/14
   114/18                     74/9 77/17 79/2            215/9 215/24
  read [41] 6/21              97/10 170/18 177/4         217/11 217/14
   8/14 8/21 9/5 20/5         200/2 212/16 224/3         218/18 223/9
   39/12 39/13 58/23          239/16                     223/23 224/9
   67/2 72/20 72/20          reason [24] 10/19           225/21 226/21
   72/24 73/7 73/7            27/17 27/24 28/1           227/16 231/24
   73/8 73/25 74/8            32/10 32/19 33/5           233/10 233/18
   74/14 77/19 78/18          33/24 34/3 35/25           241/13 242/13
   152/16 155/14              37/13 41/2 43/9            247/1 247/16 252/9
   156/9 156/10               80/13 80/15 95/21         receiving [1]
   156/12 160/11              106/4 140/7 145/5          36/23
   161/23 173/11              145/6 219/4 231/9         recess [9] 82/22
   173/17 175/16              244/24 250/5               83/6 83/24 83/25
   176/19 189/20             reasonably [1]              84/4 156/17 156/20
   203/23 227/10              191/21                     156/22 156/23
   245/3 245/5 245/6         rebates [1] 162/9          recognition [1]
   245/8 246/21              recall [43] 12/20           69/22
   247/23 247/24              12/21 12/21 12/22         recognize [20] 5/2
  read-in [1] 227/10          16/5 20/17 20/18           21/11 29/19 29/20
  readers [1] 11/25           20/19 22/21 24/2           36/20 50/6 91/6
  reading [5] 6/17            30/11 30/16 30/18          134/15 153/23
   8/16 8/25 12/20            41/22 42/17 42/22          164/6 164/9 174/5
   99/14                      43/22 43/23 54/14          177/20 187/17
  reads [1] 235/25            56/4 56/5 58/6             187/20 199/2 199/4
  ready [8] 7/23 8/8          73/25 80/15 82/3           204/2 234/13
   8/13 84/6 85/22            88/18 93/4 93/10           245/16
   152/19 210/3               112/16 140/16             recognized [1]
   210/22                     140/24 141/3               32/17
  real [3] 28/3               148/25 164/17             recollection [10]
   221/14 232/13              165/24 177/6               6/23 31/5 31/10
  realize [3] 44/20           177/16 177/23              34/11 36/8 50/18
                              179/2 179/8 215/14         50/21 63/10 80/6
                              210/16
  R 9:18-cv-80176-BB Document 842
Case                                   221/25
                                  Entered on FLSD Docket Regards
                                                         12/20/2021 [1]   190/1
                                                                    Page 337 of 366
  recollection... [1]         225/4                      registered [1]
    166/5                    references [2]               143/23
  record [28] 4/4             141/9 149/3                registrar [37]
   9/7 36/17 86/9            referencing [3]              119/20 120/8
   147/12 167/22              143/17 184/9                120/12 121/4 121/8
   168/20 196/6               211/19                      121/22 122/18
   196/14 216/21             referred [2]                 123/16 123/21
   217/2 217/4 217/4          217/19 237/9                124/1 124/7 125/5
   217/8 219/18              referring [12]               126/2 126/15
   219/19 219/23              44/5 62/9 65/22             126/21 128/11
   220/25 238/7               75/22 151/7 184/5           128/13 129/13
   239/25 240/21              186/13 186/14               131/8 131/9 131/17
   242/2 243/7 243/21         220/17 220/18               141/22 141/25
   245/4 247/6 247/19         236/20 239/23               142/7 142/8 142/10
   247/24                    refers [1] 76/10             142/10 143/1 143/2
  recording [2] 7/6          refiled [2] 100/24           143/12 143/12
   166/7                      101/21                      143/23 144/3
  records [17] 25/3          refresh [7] 50/18            145/16 145/18
   28/22 29/5 33/6            50/21 63/10 80/6            146/8 146/14
   34/7 36/1 37/15            166/5 199/6 209/23         registrar's [3]
   37/22 37/24 46/17         refreshes [1] 31/9           120/25 124/12
   46/20 46/22 47/7          refund [1] 163/12            125/11
   47/18 47/24 242/7         refunds [3] 162/15          regular [1] 216/17
   246/6                      162/16 164/7               regularly [1]
  Redact [1] 232/10          regard [23] 5/2              238/1
  redacted [2]                126/22 210/15              regulations [1]
   248/12 249/9               212/25 214/22               144/11
  redaction [1]               220/7 223/4 223/5          regulatory [1]
   250/22                     236/8 238/9 240/13          216/19
  redactions [1]              242/11 243/11              Reinhart [2] 249/5
   249/2                      244/9 245/10 246/3          251/20
  reduce [2] 40/24            246/25 247/3 247/3         Reinhart's [2]
   163/9                      251/12 251/13               249/15 250/22
  refer [3] 40/6              251/19 252/21              rejected [8] 166/7
   162/1 184/10              regarding [15]               166/24 169/8
  reference [9]               67/24 75/2 81/5             170/21 170/22
   47/23 63/5 140/18          84/24 214/2 215/12          171/2 197/16 198/1
   141/12 166/21              216/2 217/22 221/9         rejecting [3]
   190/5 214/9 249/9          221/18 226/14               170/25 198/13
   251/19                     234/25 235/13               198/20
  referenced [6]              241/18 242/22              relate [2] 5/7
   48/3 48/15 149/17         Regardless [1]               223/6
                              34/2                       related [11] 17/5
  R 9:18-cv-80176-BB Documentremain
Case                          842 Entered   86/5Docket report
                                      [2]on FLSD                  Page 5/14
                                                       12/20/2021[9]   338 of 366
  related... [10]             249/10                     31/1 36/14 36/21
   18/11 18/12 18/13         remained [2] 9/24           36/22 153/14 190/8
   203/15 220/7               103/21                     216/23 217/11
   224/13 224/16             remaining [3] 6/9          reported [1] 255/8
   238/10 243/12              138/7 251/21              reporter [8] 1/23
   249/14                    remember [56]               65/8 67/5 67/15
  relates [1] 183/7           16/16 18/9 20/20           69/12 79/17 198/8
  relating [3] 17/13          24/1 29/7 29/8             255/5
   32/7 35/12                 30/7 30/22 36/20          reporters [8]
  relation [4] 125/6          36/22 36/22 42/13          65/16 69/6 70/13
   126/17 126/23              42/16 49/12 53/18          70/20 71/23 76/12
   165/9                      53/18 54/17 55/5           76/14 76/14
  relationship [12]           55/12 55/16 56/9          reporters,' [1]
   9/22 49/18 74/6            58/1 58/4 58/13            76/13
   84/15 84/25 85/7           64/11 79/3 81/9           reporting [1]
   85/11 149/17 167/2         81/10 82/1 82/1            153/17
   193/8 219/9 235/4          82/2 88/22 89/5           reports [7] 29/22
  release [3] 69/6            119/22 128/1 128/4         36/9 36/15 36/17
   191/23 232/21              129/23 131/6               36/23 216/24
  releasing [3]               131/19 148/21              216/25
   67/18 69/13 70/1           154/11 157/18             represent [7] 24/4
  relevance [23]              160/4 162/20               49/14 49/15 50/23
   93/7 167/8 200/5           164/17 166/6               51/12 90/5 222/7
   213/4 213/17               171/14 171/16             representation [1]
   213/24 214/18              177/2 190/18 206/4         209/6
   214/25 216/3 220/7         206/8 209/1 210/5         representative [18]
   220/20 221/8               215/18 246/20               1/3 22/3 80/21
   223/13 224/17             remembered [1]              90/6 93/18 94/17
   227/7 235/2 235/12         57/25                      95/5 106/11 106/12
   235/21 237/20             remind [2] 8/20             107/1 107/3 112/10
   237/21 240/11              201/24                     112/13 112/15
   240/23 241/16             remotely [1] 42/21          112/17 112/18
  relevant [14]              removed [1] 78/13           114/8 114/14
   85/12 215/2 221/21        remuneration [2]           represented [6]
   223/7 224/16               42/22 42/24                49/17 49/18 49/19
   226/19 235/3 236/8        reopened [1]                94/18 208/16
   238/9 239/21               165/12                     208/21
   241/19 242/16             reorient [2] 162/8         representing [6]
   243/23 251/10              190/6                      50/19 108/8 108/10
  relief [3] 98/3            rephrase [2] 26/3           109/13 137/2
   99/19 102/4                197/23                     142/17
  rely [1] 232/23            replace [1] 5/25           represents [1]
                             replied [1] 182/5           160/24
                              212/5
  R 9:18-cv-80176-BB Document 842
Case                                  213/9
                                  Entered      216/13
                                          on FLSD         139/13 Page 339 of 366
                                                  Docket 12/20/2021
  request [2] 84/24          217/18 218/25             returned [1] 11/19
   120/25                    219/6 228/12              reverted [1] 88/14
  requires [2]               228/17 242/14             review [5] 155/10
   239/18 239/19             243/19 246/7               155/17 158/21
  research [34] 1/4          246/10 248/14              164/10 253/8
   18/21 19/4 26/15          250/16                    reviewed [1] 5/20
   26/25 27/20 33/20        respond [14] 85/5          reviews [1] 165/11
   34/20 37/9 44/5           126/9 166/22 170/5        Rica [1] 176/24
   44/11 44/21 57/13         170/17 181/21             rich [6] 181/6
   66/17 69/5 90/7           182/24 183/10              181/7 181/8 181/12
   94/11 95/17 97/14         183/14 184/1 185/7         181/20 181/21
   100/9 101/11 105/9        217/4 228/7 231/7         rid [1] 107/8
   105/18 105/22            responding [4]             Ridges [2] 206/5
   107/17 107/22             65/15 69/10 233/25         206/6
   111/21 134/19             234/3                     ridiculous [1]
   136/7 136/15             responds [4] 66/22          13/24
   136/18 137/14             123/21 125/5              ridiculously [1]
   210/8 222/21              183/15                     187/7
  research,' [1]            response [21] 85/6         right [231] 4/17
   56/21                     85/7 124/12 125/11         4/23 5/16 6/3 6/25
  researching [1]            152/16 152/18              7/3 7/21 8/15 10/6
   33/2                      171/9 181/15               18/24 21/25 23/12
  reserve [1] 7/14           181/16 181/19              24/6 25/15 26/15
  reset [3] 52/14            182/22 187/22              26/21 30/2 30/4
   194/13 194/22             189/6 191/9 191/16         32/24 37/23 39/1
  reside [1] 9/11            193/24 194/5 215/6         39/15 40/4 41/12
  residence [1] 9/10         215/16 235/15              42/5 42/19 50/16
  resident [1]               252/25                     51/15 54/7 55/1
   124/21                   responsible [1]             56/12 56/18 56/21
  resides [2] 242/1          60/4                       57/17 57/19 57/24
   252/4                    rest [3] 66/3               57/25 58/18 58/25
  resignation [1]            103/4 225/18               62/1 63/14 64/19
   214/16                   restate [1] 139/3           64/22 67/15 73/21
  resolution [1]            restroom [1] 4/23           77/7 77/10 79/15
   123/12                   result [2] 82/3             79/22 81/13 81/13
  resources [2]              82/3                       81/16 81/18 81/23
   39/15 41/5               resume [1] 23/8             82/14 82/20 83/4
  respect [23] 84/25        retained [2] 29/24          83/7 83/12 83/14
   132/10 132/14             117/24                     84/2 84/5 84/16
   143/10 146/8             retaining [1] 36/9          85/1 85/14 85/20
   146/10 147/12            return [7] 54/1             85/22 86/5 89/2
   154/25 170/14             67/13 69/11 103/13         90/18 90/20 96/1
                             103/18 103/24              96/23 99/7 99/24
                              184/21
  R 9:18-cv-80176-BB Document 842
Case                                   185/9
                                  Entered on FLSD Docket RMR
                                                         12/20/2021 255/17
                                                               [1] Page 340 of 366
  right... [156]              185/16 186/9              Robert [2] 61/15
   100/14 101/4               186/24 187/3 189/3         235/12
   102/24 103/10              189/5 189/7 190/8         ROCHE [3] 1/12
   103/14 103/16              191/23 192/6 192/7         1/13 4/8
   104/15 105/12              192/9 193/19              role [4] 34/17
   106/3 108/14               196/18 201/9 202/1         206/15 206/19
   109/12 110/9               203/16 204/4 205/2         218/14
   111/13 115/16              209/24 210/15             romantic [1]
   115/18 116/17              211/1 212/24               151/16
   117/2 117/5 117/13         213/22 214/12             Room [1] 1/24
   118/25 120/12              215/2 216/12              RPR [1] 255/17
   120/17 120/19              217/12 217/17             rubber [1] 115/14
   121/6 121/13 122/2         218/24 220/9              rubber-stamp [1]
   122/3 122/6 122/16         221/23 223/25              115/14
   123/4 125/24               224/10 225/8              rule [5] 40/23
   126/11 126/19              225/23 226/22              93/6 219/23 250/16
   126/24 127/2 127/6         227/2 227/17               253/17
   128/18 129/9 130/7         227/25 228/24             rule-based [1]
   130/9 130/11 133/2         229/5 229/9 230/7          40/23
   134/19 136/16              231/11 232/18             ruled [1] 163/22
   136/18 136/21              233/1 233/16 234/5        rules [3] 13/7
   137/10 137/15              234/19 235/9               147/21 164/12
   137/24 138/3               235/19 240/4              ruling [6] 85/15
   138/16 138/21              241/14 244/7               163/20 163/21
   141/7 143/10               244/12 244/21              249/9 249/15
   143/13 144/11              247/2 247/5 247/18         250/22
   144/14 144/16              248/5 248/8 249/24        run [3] 60/1 61/2
   144/19 145/8               252/19                     203/2
   145/23 148/8              right' [1] 38/19           running [9] 59/24
   150/12 151/8              right-hand [3]              66/8 182/13 182/14
   151/15 151/16              141/7 184/21 186/9         194/12 194/18
   152/9 152/24 154/5        rights [7] 22/17            195/4 202/24
   155/23 156/4               80/25 81/20 118/10         202/25
                              125/25 145/25
   156/19 156/22
                              164/11
                                                        S
   156/24 157/3 157/5                                   S-T-E-V-E-N [1]
   159/25 164/3              rings [1] 67/22
                             rise [1] 135/12             86/11
   165/19 166/12                                        said [123] 10/19
   167/15 167/16             risk [2] 79/25
                              88/4                       13/5 13/17 13/18
   168/15 170/10                                         13/22 13/23 14/17
   172/4 172/18              risk.' [1] 78/24
                             RIVERO [4] 1/20             15/7 15/18 16/20
   174/16 179/14                                         17/22 20/3 20/4
   179/18 180/5               1/20 4/23 4/25
                             Rivero's [1] 84/12          21/4 22/4 26/16
  S 9:18-cv-80176-BB Documentsake
Case                               [1] on
                              842 Entered 120/13         236/5 236/13
                                            FLSD Docket 12/20/2021 Page 341237/8
                                                                            of 366
  said... [107]              sale [1] 212/9              237/22 238/4
   27/15 27/21 28/2          sales [1] 163/17            238/19 238/21
   28/16 33/19 33/25         SAMANTHA [3] 1/18           238/22 238/24
   35/23 37/2 37/14           4/15 8/17                  239/2 239/4 239/5
   38/17 38/18 38/23         same [60] 8/22              239/9 239/12
   42/5 43/2 47/6             23/20 23/21 40/17          239/15 239/16
   50/13 51/7 51/8            51/7 60/14 73/8            239/17 239/18
   51/10 51/12 51/20          90/2 92/19 105/23          239/20 240/3
   52/2 52/10 52/11           110/17 110/23              249/12
   53/7 53/11 53/20           111/9 114/13 115/8        Satoshi's [2]
   54/23 54/24 55/12          116/12 118/7 119/3         174/5 176/2
   55/13 56/5 58/5            121/5 124/7 124/13        Saturday [1] 5/18
   59/6 59/11 63/19           124/18 125/3              savings [4] 58/18
   63/25 64/11 68/10          125/25 128/24              58/25 59/8 60/24
   71/24 73/12 77/16          130/25 134/18             saw [14] 27/15
   78/8 80/9 81/9             141/15 141/18              95/7 110/23 115/5
   82/10 92/5 97/10           151/13 162/3 162/5         119/19 140/12
   107/21 114/16              163/10 165/7 185/3         140/17 143/21
   114/21 116/15              185/12 186/9               147/17 159/25
   121/7 121/9 121/10         192/23 193/4               179/19 180/13
   122/10 122/12              194/10 203/19              204/2 236/11
   128/18 128/19              208/12 222/10             say [142] 6/7 11/9
   128/24 128/25              222/11 222/19              11/10 18/3 18/4
   129/2 130/7 141/5          226/24 228/16              18/5 18/8 19/24
   143/22 146/7 148/7         228/17 229/7 231/6         21/20 21/25 25/8
   150/23 151/8               231/6 232/1 232/4          28/14 35/1 35/9
   157/15 158/21              232/5 233/2 233/5          36/2 37/14 37/23
   160/2 160/6 160/20         233/14 233/16              39/18 47/9 47/13
   167/4 173/3 177/9          234/8 245/13               52/5 58/6 60/12
   177/9 178/16              sanctions [2]               64/3 65/1 67/25
   179/24 180/14              249/5 249/9                72/8 72/10 72/17
   181/5 181/7 185/10        Sara [1] 4/21               73/12 76/13 80/23
   186/17 187/2              satisfaction [1]            81/5 87/24 88/13
   187/13 190/20              117/21                     98/20 102/4 103/7
   196/5 197/15 198/9        satisfies [1]               103/24 105/16
   199/9 203/17               251/16                     105/21 105/22
   204/19 205/7              satisfy [1] 239/12          108/5 108/10
   205/12 207/24             Satoshi [36] 64/10          108/11 109/6 118/5
   207/25 208/8 208/8         70/12 70/18 71/1           120/20 122/18
   208/18 208/20              71/10 71/20 71/24          123/8 123/17
   214/22 220/17              72/14 73/16 73/25          123/24 124/14
   230/11 234/3 241/2         76/23 79/7 175/16          124/20 124/21
                              205/10 234/20              125/12 125/14
Case                          62/18
  S 9:18-cv-80176-BB Document 842     68/4
                                  Entered    78/25
                                          on FLSD         101/17 102/22
                                                  Docket 12/20/2021 Page 342 of 366
  say... [85] 126/12 92/1 100/17 100/17 105/12 106/1 106/2
   126/19 127/1 127/5 107/5 110/19       108/12 108/14
   127/8 127/8 128/12 110/19 115/6       108/15 111/2
   128/13 132/8       115/12 116/13      112/20 116/1
   132/11 132/13      124/7 128/22 144/4 116/16 117/18
   132/19 132/25      162/5 179/5 179/8  120/7 122/5 122/8
   133/8 133/13 135/5 182/6 183/2 194/24 123/16 123/21
   135/10 136/2       198/16 199/8       124/1 126/15
   139/12 140/10      201/25 205/12      126/21 127/4
   143/1 143/3 143/12 206/14 208/7       127/21 128/11
   143/15 144/10      209/11 230/18      128/13 136/24
   145/7 145/10       237/3 239/14 246/9 137/25 138/1
   145/16 145/21     says [179] 6/1      138/22 139/19
   146/1 149/16       19/21 21/8 21/22   139/19 142/15
   149/21 150/25      22/11 22/16 24/16  142/19 143/2 143/9
   151/5 151/12       25/6 25/10 26/16   143/11 143/12
   151/15 154/22      31/1 31/10 31/14   145/9 145/16
   159/19 167/3       31/23 31/25 32/2   145/18 146/8
   168/14 170/2       32/6 32/9 32/16    150/21 151/2
   170/10 170/23      32/16 33/1 33/4    152/14 154/3
   173/6 173/10       33/16 33/18 33/20  158/18 161/20
   182/10 182/16      33/23 34/2 34/19   167/3 167/19
   182/19 182/23      35/10 35/14 35/21  167/21 167/24
   184/23 185/12      37/8 38/12 39/10   168/8 168/24 169/2
   186/9 189/25       39/16 39/20 39/21  169/14 170/4
   191/16 191/21      39/24 40/22 41/17  170/10 170/13
   192/4 193/9 193/17 51/4 59/8 60/11    175/15 179/8
   194/5 194/6 195/1  62/8 62/11 62/21   179/20 181/5 182/5
   195/10 195/22      63/3 63/16 63/16   185/6 190/2 191/4
   196/1 196/10       63/18 63/19 64/4   193/7 193/16
   196/22 200/16      64/9 65/16 65/20   193/24 194/25
   202/4 203/6 205/4  66/5 66/8 67/1     195/6 195/11
   205/7 209/14       67/2 67/13 67/17   199/22 202/15
   220/10 223/2       69/4 69/16 69/20   202/22 222/2
   229/13 230/12      70/6 70/7 70/8     226/12 229/18
   230/15 230/18      70/23 70/23 71/4   230/13 233/21
   231/1 232/10 239/1 71/8 72/10 72/20   239/1 239/5 243/7
   239/9 242/6 244/24 73/2 75/21 76/5    245/11 245/13
   251/7              76/9 77/9 77/11    245/25 246/21
  saying [39] 13/10   78/8 78/18 78/23   249/21
   15/14 17/2 45/12   79/5 79/12 81/22  SCADA [1] 118/4
   50/15 51/9 53/3    87/17 87/21 94/15 scalability.' [1]
                      97/16 99/14 100/6  41/1
  S 9:18-cv-80176-BB Documentsecond-to-last-sent
Case                                                      228/13 231/12
                              842 Entered on FLSD Docket 12/20/2021 Page 343 of 366
  scalable [1] 40/12         ence [1] 88/13               233/21 233/24
  scaler [1] 195/3           seconds [1] 217/16           237/25 238/17
  scaling [3] 194/12         secret [6] 62/15             241/2 242/19
   194/15 194/19              62/19 195/16                242/24
  schedule [1] 85/22          195/20 202/16              sees [1] 204/18
  scheme [1] 241/23           204/21                     segue [1] 145/5
  SCHILLER [1] 1/16          secret.' [1] 62/11          sell [5] 40/1 53/8
  scientific [1]             secretary [10]               53/12 137/3 148/14
   34/20                      29/4 29/6 29/8             send [12] 51/8
  screen [11] 10/5            37/23 46/19 47/11           75/22 87/17 89/12
   86/18 90/15 91/5           48/4 48/6 48/9              157/13 191/17
   98/17 130/18               48/15                       192/4 193/9 193/17
   130/21 133/6              secrets [1] 173/23           193/20 196/22
   190/19 211/15             section [7] 6/1              201/3
   249/2                      98/4 99/19 102/4           sending [4] 51/20
  scribbled [3]               102/19 146/19               172/2 181/18 186/8
   180/4 180/15               211/7                      sends [3] 154/2
   180/23                    secure [1] 40/13             212/13 212/14
  scroll [4] 35/20           securities,' [1]            sense [4] 16/18
   91/9 124/10 126/7          40/2                        44/15 83/21 83/22
  scrolling [1]              security [4] 7/17           sent [22] 5/24
   130/20                     40/25 85/18 141/6           20/7 20/8 37/5
  seal [3] 116/20            see [275]                    51/5 56/8 58/12
   116/20 198/15             seek [1] 154/19              58/14 61/19 80/14
  sealed [1] 171/3           seeking [13] 102/3           80/16 89/9 114/10
  seals [1] 198/17            102/14 104/4                153/25 170/21
  search [1] 48/18            104/19 115/4                172/7 184/19
  seat [5] 7/18 8/11          153/16 153/17               186/16 228/2
   84/9 86/12 210/14          155/12 162/9                229/25 230/24
  seated [4] 8/4              162/20 219/7                238/8
   83/15 85/21 157/7          243/10 251/9               sentence [16]
  second [26] 7/15           seeks [2] 35/15              32/16 73/5 78/18
   21/20 25/19 32/3           250/22                      88/13 128/24
   37/16 57/14 77/24         seemed [1] 215/18            138/12 158/2
   88/13 99/20 101/24        seems [1] 71/4               160/12 173/11
   101/24 105/3 119/5        seen [28] 20/6               196/25 197/6
   120/22 132/13              20/7 98/19 101/3            199/13 202/22
   150/9 164/18               123/3 140/15 147/4          235/25 237/8 237/9
   174/15 194/16              155/1 155/7 173/2          sentiment [3] 55/8
   199/13 203/2               178/6 178/10                55/15 55/18
   203/14 208/8 222/1         178/16 178/24              separate [10] 31/2
   234/21 235/10              201/17 204/18               44/13 141/10 202/2
                              212/8 218/4 220/12          203/8 203/9 203/9
Case                          93/14
  S 9:18-cv-80176-BB Document 842     93/16
                                  Entered      95/9
                                          on FLSD         150/23 214/24
                                                  Docket 12/20/2021 Page 344 of 366
  separate... [3]             95/17 95/22 109/18          228/20 231/11
   203/10 221/4               125/1 143/15                248/17
   237/11                     143/18 144/5 144/7         shouldn't [1]
  September [6]               153/3 183/4 220/19          236/3
   23/18 23/24 27/18         shareholder's [1]           show [22] 10/3
   80/14 119/20 252/8         123/11                      91/2 107/13 112/19
  series [3] 132/25          shares [31] 13/13            112/23 121/25
   226/5 231/21               35/21 42/2 42/10            141/21 147/16
  serious [2] 51/2            42/23 42/25 43/15           148/23 166/3 178/8
   222/3                      43/18 52/17 53/3            178/12 179/25
  services [5] 25/14          53/4 53/12 54/2             183/21 185/16
   25/19 100/8 102/23         54/4 54/7 54/11             185/23 198/25
   219/6                      54/19 54/21 54/25           203/24 215/5 230/5
  set [14] 14/19              59/13 124/23 125/2          230/23 230/23
   14/21 44/16 88/3           125/2 125/4 137/6          showed [2] 5/10
   88/3 88/7 88/10            137/7 138/2 138/15          130/16
   137/6 164/11 170/5         144/6 144/13 212/9         showing [2] 144/5
   183/1 194/21              she [23] 5/22                218/19
   237/11 255/14              14/17 110/3 129/11         shown [5] 10/14
  setting [5] 57/4            143/6 143/9 154/6           203/23 228/2
   151/13 208/19              161/20 171/15               229/19 241/9
   236/25 239/8               189/10 215/13              shows [1] 147/13
  settlement [4]              215/17 216/23              sibling [1] 85/11
   135/6 144/23               216/24 216/25              siblings [1] 84/15
   145/17 146/7               218/9 218/14 226/7         sic [1] 207/23
  seven [3] 30/17             227/10 227/11              side [10] 57/18
   171/14 173/18              241/1 241/2 241/9           106/18 141/8
  several [10] 15/5          she's [4] 218/9              181/13 184/21
   15/5 16/16 36/15           218/10 223/15               184/25 186/6 186/9
   42/14 44/10 50/13          241/2                       192/12 192/12
   60/1 75/23 223/18         shit [1] 186/21             sidebar [1] 248/18
  Seychelles [1]             shoes [4] 110/19            sides [2] 7/21
   88/14                      110/21 110/22               7/23
  Shah [1] 4/20               218/13                     sign [8] 26/11
  Shall [1] 30/8             short [3] 44/14              116/21 119/19
  sham [1] 208/20             61/18 194/21                125/6 126/24
  share [3] 34/6             shorthand [2]                129/11 141/10
   40/20 179/5                255/5 255/8                 241/10
  share,' [1] 39/22          shortly [4] 180/14          signatory [3] 22/2
  shared [2] 154/7            184/18 185/14               25/24 26/4
   173/23                     186/8                      signature [37]
  shareholder [14]           should [9] 5/25              21/17 21/18 21/19
                              6/25 69/11 91/5             21/20 23/22 28/11
  S 9:18-cv-80176-BB Documentsimply
Case                          842 Entered   6/8 Docket so
                                      [5]on FLSD           [338] Page 345 of 366
                                                       12/20/2021
  signature... [31]          19/19 228/20              social [1] 76/21
   28/11 38/7 92/9           232/10 246/12             software [18]
   94/24 106/7 112/7        since [8] 5/6 6/4           41/14 80/24 81/18
   115/23 116/1 116/7        9/24 140/24 161/2          81/24 82/5 103/25
   116/20 116/20             173/23 252/4 252/7         104/2 104/20
   116/24 119/5 124/3       sincerely [1]               104/23 132/25
   124/3 140/5 140/9         130/13                     136/18 137/14
   140/10 140/16            single [9] 155/8            148/18 170/3 195/3
   140/18 140/18             155/9 170/25               195/3 195/4 195/10
   141/4 141/7 141/10        195/15 195/17             software' [1]
   141/11 141/11             195/22 197/24              81/22
   141/16 141/19             198/19 229/20             software.' [1]
   142/2 241/3 241/4        singular [1]                32/18
  signatures [3]             232/12                    sold [5] 81/13
   21/15 23/21 141/14       sir [4] 60/20               81/15 81/24 82/16
  signed [19] 27/8           86/12 87/10 89/11          176/23
   38/5 94/23 95/4          sit [2] 45/19              sole [8] 103/13
   116/25 117/1 117/3        48/14                      103/25 122/19
   117/6 119/8 119/8        sitting [2] 29/9            123/6 124/14
   119/11 135/16             90/19                      143/15 143/18
   135/25 145/8             situation [1]               144/7
   216/23 240/25             249/19                    solemn [1] 130/24
   240/25 241/7 241/8       six [3] 60/7 104/6         solemnly [1]
  significance [1]           105/2                      130/13
   8/24                     sixth [1] 22/24            solicitor [2]
  significant [1]           skills [1] 242/21           130/10 130/14
   102/3                    Skype [8] 16/3             solution [3] 34/21
  significantly [1]          16/3 55/5 148/25           37/9 40/12
   40/24                     149/2 149/20 150/5        some [66] 13/18
  signing [6] 21/23          159/21                     13/25 16/1 27/5
   22/6 116/16 124/8        sleep [1] 60/16             27/15 30/14 42/3
   124/13 144/6             slices [10] 11/15           42/18 47/25 48/24
  signs [6] 69/6             11/17 11/19 11/20          48/24 48/25 50/22
   95/5 117/4 121/5          15/2 15/3 18/10            51/9 52/20 52/22
   126/3 146/14              18/12 18/13 18/15          53/12 55/5 55/6
  silent [1] 182/8          slow [1] 11/25              55/16 60/8 65/25
  similar [2] 29/20         smart [2] 160/8             69/5 76/14 77/14
   36/10                     160/20                     78/9 79/6 88/7
  simplicity [1]            SN [3] 64/9 64/10           103/23 106/4
   120/13                    205/10                     126/17 126/22
  simplify [1]              sniffing [1] 70/13          143/9 145/11
   176/11                   sniffing.' [1]              148/10 152/7
                             69/6                       159/25 160/4 165/7
  S 9:18-cv-80176-BB Documentsometimes
Case                                      [7]
                              842 Entered on              13/25 16/1
                                             FLSD Docket 12/20/2021 Page 19/25
                                                                         346 of 366
  some... [27] 165/8          19/20 19/21 37/20           73/18 192/22 218/7
   165/11 165/11              60/7 154/2 218/13           226/17 228/12
   165/11 181/8               218/13                      232/9 236/11 240/2
   181/12 181/21             somewhat [1]                 249/12
   184/10 196/21              134/25                     sorts [1] 76/17
   198/9 205/25 206/9        somewhere [3] 6/21          sought [2] 164/8
   206/10 206/21              79/13 184/3                 250/19
   206/24 218/6 219/8        Sommer [8] 49/8             sound [2] 51/21
   225/9 228/12 231/9         169/12 169/15               154/1
   232/9 237/18               187/18 189/7               sounds [1] 69/17
   237/23 237/25              219/13 219/17              source [20] 24/19
   251/19 252/23              222/2                       31/2 33/12 33/16
   253/3                     son [1] 53/4                 33/17 33/20 34/6
  somebody [3] 73/13         sorry [63] 24/14             35/21 37/8 39/18
   116/8 240/24               46/24 57/5 59/15            39/21 39/24 40/17
  somehow [3] 221/15          61/7 63/23 70/25            40/20 40/22 41/14
   221/16 240/25              81/13 84/22 88/22           41/17 78/19 148/14
  someone [13] 8/15           89/10 89/18 98/9            192/5
   16/20 28/9 49/3            98/18 98/21 104/9          sources [3] 25/11
   64/7 148/11 166/23         105/16 111/13               25/11 25/13
   171/13 194/21              112/1 112/5 112/19         South [12] 1/15
   217/1 229/15 237/3         112/21 115/8                101/16 107/23
   242/24                     118/14 118/19               120/3 121/19
  something [40]              125/17 129/19               130/10 142/6
   13/19 17/23 17/23          129/23 131/7 132/4          153/24 158/15
   19/24 19/24 25/16          136/4 136/23 139/1          160/12 162/4
   29/20 36/10 37/4           147/4 152/23                190/15
   37/5 37/21 37/25           154/17 154/22              Southeast [1] 1/18
   38/14 44/12 45/8           156/2 164/21               SOUTHERN [3] 1/1
   45/21 46/25 49/7           166/13 169/20               255/3 255/6
   56/7 58/2 58/7             177/16 177/24              speak [4] 15/24
   63/25 64/6 65/10           180/18 180/20               89/11 180/20 210/6
   67/7 68/11 77/1            186/20 188/10              speaks [2] 138/17
   82/13 98/19 128/22         189/23 190/12               242/9
   149/22 179/24              193/12 197/20              specializing [1]
   180/1 181/7 183/10         197/21 199/15               33/1
   194/11 196/15              200/2 203/23               specific [5] 17/14
   222/16 237/3 240/9         206/16 207/1                55/12 58/7 68/1
  something.' [1]             207/10 209/1                242/23
   17/24                      213/13 217/25              specifically [2]
  sometime [3] 9/21           229/24 234/2                74/6 149/17
   52/16 148/21              sort [16] 5/8               speculate [5]
                              11/19 11/21 13/18           63/24 64/6 67/11
                              203/12
  S 9:18-cv-80176-BB Document 842
Case                                   209/23
                                  Entered                 158/20 159/2
                                          on FLSD Docket 12/20/2021 Page 347159/9
                                                                             of 366
  speculate... [2]            211/4 211/10                159/15 159/16
   71/15 73/13               started [16] 9/20            160/17 160/19
  spell [2] 9/7 86/9          15/9 41/8 43/11             181/19 190/15
  spend [1] 13/11             43/12 53/2 53/19            202/9 203/9 203/10
  spent [4] 13/8              55/18 66/5 76/12            209/7 222/18
   163/10 187/1 187/9         79/2 118/3 179/20           222/25 231/9 235/6
  spewing [1] 14/10           194/23 218/8                236/2 237/12
  split [1] 16/22             230/13                      237/13 240/5 240/6
  spoke [3] 54/9             starting [5] 4/5            statements [17]
   63/11 73/24                79/24 211/9 212/16          90/21 90/22 161/15
  spoken [2] 114/21           227/12                      197/13 197/14
   251/1                     starts [4] 14/4              197/15 206/1 244/1
  spreadsheet [1]             58/10 179/4 238/5           249/11 249/11
   229/25                    stat [5] 127/10              250/24 251/8
  SQ [1] 88/14                127/22 129/8                251/15 251/24
  ss [1] 255/2                129/21 131/7                252/1 252/7 252/12
  stable [1] 39/25           state [10] 4/4 6/8          states [15] 1/1
  stack [1] 228/6             9/6 86/8 115/23             1/10 90/19 92/2
  staff [5] 39/15             130/10 211/23               92/14 144/11 151/9
   48/25 60/15 172/8          224/14 226/17               173/20 200/24
   211/7                      239/24                      209/8 220/1 228/24
  stage [4] 34/19            stated [5] 85/10             237/18 255/1 255/6
   53/7 182/14 196/12         103/8 145/25               Station [1] 159/10
  stake [1] 139/14            164/11 212/8               statistical [1]
  stamp [5] 89/2             statement [68]               88/4
   101/15 105/1               35/5 45/2 45/6             statute [5] 250/7
   115/14 125/24              45/9 45/20 45/23            250/10 250/13
  stand [5] 8/16              46/10 47/4 47/6             250/15 250/17
   8/18 127/5 128/13          53/17 53/22 56/12          statutory [14]
   201/8                      89/7 89/8 89/13             127/24 129/1 129/5
  stand-over [1]              89/17 89/19 93/2            129/11 129/17
   201/8                      93/4 93/22 97/8             129/22 130/5 131/4
  standard [1] 51/21          97/11 99/4 101/3            131/10 131/10
  standing [5] 86/5           101/20 106/19               131/12 131/13
   95/8 110/19 110/21         107/7 108/18                131/15 214/6
   110/22                     108/21 108/25              stay [4] 5/5 117/5
  stands [1] 246/11           109/23 110/5                150/17 200/3
  start [15] 6/16             110/14 112/15              steal [1] 96/20
   15/8 64/16 69/6            113/11 115/2               Stefan [14] 61/15
   83/22 92/1 133/15          123/22 124/4 129/5          72/2 72/13 72/21
   146/19 184/8               143/10 147/12               72/23 73/11 80/14
   191/17 203/9               154/4 154/7 155/13          212/14 216/14
                              157/14 158/18               223/12 226/1
                              72/23
  S 9:18-cv-80176-BB Document 842
Case                                  123/13
                                  Entered       128/5
                                          on FLSD Docket subsidiaries     [1]
                                                         12/20/2021 Page 348 of 366
  Stefan... [3]               226/10 226/18               222/8
   226/13 234/25             straight.' [1]              substantial [1]
   238/17                     72/9                        13/14
  stenographic [1]           strange [3] 18/5            successful [1]
   255/11                     18/8 28/8                   179/20
  step [3] 86/5 93/3         Street [2] 1/18             successor [1]
   168/13                     130/9                       238/24
  STEPHEN [6] 1/14           stressful [1] 60/2          succinctly [1]
   1/17 4/12 4/14            strike [3] 16/11             19/20
   8/18 130/9                 114/6 147/5                such [4] 72/15
  stepped [1] 4/23           strong [1] 78/9              128/21 176/23
  stepping [1]               structure [2] 90/8           218/14
   218/12                     242/3                      sudden [1] 135/11
  steps [1] 96/16            structure.' [1]             suddenly [2]
  Steven [14] 31/24           31/11                       220/19 221/12
   86/10 87/10 94/9          struggles [3]               sued [5] 93/25
   94/17 97/12 99/4           19/13 20/8 20/10            114/9 153/9 153/12
   99/8 101/10 105/8         stuff [12] 11/22             224/15
   111/21 115/17              48/24 65/20 65/23          sufficient [2]
   119/4 134/18               76/5 150/22 192/6           246/24 252/1
  still [12] 6/2              192/7 195/10               suggest [2] 232/6
   59/21 59/21 67/23          208/20 220/13               252/23
   71/20 144/16 145/1         246/9                      suggested [1]
   148/10 152/3              subject [9] 5/12             249/2
   177/13 186/13              87/1 221/3 221/10          suing [3] 90/10
   251/13                     235/22 249/18               90/14 90/16
  stop [4] 182/9              249/24 251/4               suit [1] 94/1
   209/22 222/14              251/15                     Suite [3] 1/15
   248/18                    submission [2]               1/18 1/22
  stopped [1] 203/12          164/9 219/15               Sullivan [9] 177/3
  story [16] 28/25           submit [4] 129/14            177/6 248/12 249/7
   72/7 72/9 72/23            129/14 144/4 185/9          249/11 249/21
   79/21 178/11              submitted [16]               251/1 251/14
   178/17 179/19              48/20 49/1 51/1             251/14
   180/3 181/19 185/4         51/17 51/18 91/22          Sullivan's [4]
   218/7 226/10               93/2 93/4 93/21             249/10 251/23
   226/18 238/15              95/15 129/17 131/4          252/3 252/8
   240/25                     131/6 143/20               sum [1] 117/12
  story' [2] 79/17            146/13 160/12              summarize [1] 42/7
   79/19                     submitting [1]              summary [1] 137/21
  straight [9] 14/19          93/10                      sunk [1] 197/3
   14/21 29/4 72/7           subpoena [2] 250/4          super [3] 181/7
                              252/4                       181/12 181/21
                              146/2
  S 9:18-cv-80176-BB Document 842
Case                                  147/1
                                  Entered      149/5
                                          on FLSD         35/2 57/4
                                                  Docket 12/20/2021 Page103/13
                                                                         349 of 366
  supercomputer [7]           154/18 156/18               103/19 129/3
                              183/20 188/2
   66/9 66/15 66/16
                              194/23 202/13
                                                         T
   66/18 66/19 194/18                                    Tab [4] 29/16
   209/14                     211/6 218/21
                              229/10 247/19               49/21 61/11 68/13
  supercomputers [3]                                     table [3] 13/10
   66/12 66/23 202/19         248/8
                             surprised [1]                174/12 210/13
  support [2] 37/9                                       tabloid [1] 74/15
   187/6                      48/24
                             Surrey [1] 9/11             take [47] 5/4 6/21
  supported [1]                                           8/16 8/18 74/23
   251/25                    suspect [1] 7/11
                             sustained [14]               82/21 82/25 83/8
  supportive [1]                                          83/22 83/24 85/9
   230/16                     84/13 93/8 147/14
                              156/15 162/12               93/3 96/1 96/4
  suppose [3] 16/19                                       102/19 103/22
   43/17 54/16                184/16 212/24
                              214/24 217/20               105/5 121/13
  supposed [15] 20/1                                      124/22 130/3 131/6
   42/18 43/1 43/16           228/15 228/23
                              235/8 235/17                131/11 135/15
   53/9 57/1 57/4                                         135/24 136/23
   58/2 59/2 59/11            240/13
                             swear [2] 92/12              140/2 142/2 145/6
   59/13 59/18 74/9                                       146/17 146/20
   74/10 77/17                112/5
                             swearing [1]                 146/24 147/7
  supposedly [3]                                          154/15 156/5
   46/21 135/16               186/20
                             swore [7] 93/13              156/16 156/20
   135/25                                                 160/25 161/23
  Supreme [5] 101/16          95/8 107/2 109/17
                              110/7 112/15                168/13 169/21
   120/2 121/19 142/6                                     171/4 192/21
   163/21                     124/18
                             sworn [20] 86/7              205/22 205/25
  sure [58] 13/7                                          207/11 210/21
   14/17 17/9 18/3            90/21 90/22 91/4
                              93/2 93/4 93/10             213/14
   21/4 23/2 23/5                                        taken [10] 20/11
   23/23 24/7 24/25           93/22 94/23 95/15
                              106/19 107/6                20/12 83/18 127/9
   25/1 26/6 27/2                                         127/15 127/18
   27/6 36/19 38/3            108/18 108/21
                              108/24 109/23               128/25 129/7 159/9
   43/3 43/15 43/24                                       208/25
   44/12 44/20 47/22          110/5 110/14
                              112/14 113/11              takes [1] 60/7
   49/20 50/15 52/13                                     taking [4] 55/3
   52/21 53/13 58/12         Sydney [1] 130/10
                             system [9] 32/7              129/9 129/21
   59/17 66/1 69/15                                       165/24
   69/22 77/6 77/8            32/18 104/1 104/2
                              104/23 118/1               talk [11] 15/21
   77/18 84/17 84/19                                      47/20 52/13 68/2
   96/19 98/21 100/16         194/18 195/4 228/1
                             systematic [1]               72/11 73/2 79/23
   106/16 110/17                                          150/1 188/17
   139/10 140/25              241/23
                             systems [6] 33/2             194/17 249/23
                              170/21
  T 9:18-cv-80176-BB Document 842
Case                                   170/22
                                  Entered on FLSD Docket tell   [24]Page12/24
                                                         12/20/2021      350 of 366
  talk.' [1] 71/5             187/7 194/8 197/14          18/10 28/18 41/6
  talked [5] 25/13            197/15 197/16               46/19 46/20 51/6
   81/2 82/7 151/1            198/5 199/3 206/9           51/23 52/8 59/23
   214/7                      206/11 206/17               70/6 72/24 72/25
  talking [42] 43/19          207/3 207/22 208/2          114/7 123/1 144/3
   44/18 47/20 53/19          208/16 208/17               166/24 166/25
   54/5 58/17 61/19           208/20 208/24               184/14 192/6 192/6
   67/1 67/4 67/15            209/3 209/9 219/24          193/24 208/11
   67/20 70/16 70/17          221/4 221/8 221/16          221/20
   71/6 71/10 77/2            222/9 222/19               telling [17] 13/24
   78/24 84/23 101/19         224/14                      20/5 28/18 29/10
   122/16 128/3              tax.' [1] 55/12              29/13 46/21 58/1
   128/22 144/16             taxable [1] 163/22           58/4 60/23 63/20
   144/20 145/1 145/2        taxation [22]                71/17 72/13 143/23
   151/11 159/23              163/13 163/17               162/4 171/16 177/6
   169/4 177/2 179/20         164/7 164/15 165/7          238/1
   182/9 194/17 195/3         165/14 165/21              tells [1] 131/17
   195/5 204/9 206/15         167/22 168/6               ten [2] 160/25
   206/20 206/25              168/15 168/19               203/2
   214/5 227/5 235/23         198/1 198/13               tend [1] 85/10
  talks [5] 20/11             198/20 199/11              tender [1] 245/4
   20/13 45/1 71/17           200/15 201/1               tendered [1] 211/6
   164/16                     201/25 219/16              tens [2] 45/21
  tasked [1] 11/18            220/10 222/6                162/9
  tax [69] 48/21              222/10                     tenth [1] 37/17
   48/22 49/1 51/2           team [2] 7/15               term [3] 51/25
   51/17 53/13 54/15          239/18                      52/2 106/17
   56/11 56/11 56/14         technical [2]               termination [3]
   56/24 57/3 60/16           24/19 106/17                219/6 219/9 220/7
   144/18 162/6 162/9        technically [16]            terminology [1]
   162/10 162/14              14/3 90/4 97/2              45/3
   162/15 162/16              101/8 101/22 102/8         terms [5] 16/10
   162/16 162/19              102/10 103/20               117/11 119/13
   162/20 162/21              105/20 112/12               135/24 137/6
   163/8 163/8 163/13         113/25 114/3               terribly [1]
   163/17 163/18              115/21 142/17               164/24
   163/18 163/23              153/3 165/19               test [2] 194/15
   163/25 164/7              technological [1]            194/19
   164/12 165/9               34/20                      tested [1] 202/25
   165/10 165/16             technology [6]              testified [12]
   165/17 167/25              22/17 22/20 22/21           141/1 141/3 175/19
   168/12 169/6               22/25 23/1 40/13            216/23 218/2 218/9
                             telephone [1] 16/1           218/14 226/6
Case                          174/19
  T 9:18-cv-80176-BB Document 842      203/4
                                  Entered                 106/17 106/20
                                          on FLSD Docket 12/20/2021 Page 351 of 366
  testified... [4]            218/20 252/2       107/20 107/24
   231/18 236/14             thank [41] 7/19     111/2 112/21 115/3
   241/9 242/25               7/20 8/5 9/4 9/6   116/12 116/15
  testifies [2]               10/4 12/2 12/3     118/20 118/22
   215/13 220/15              38/24 43/20 82/20  120/17 120/20
  testify [3] 84/25           84/3 85/25 86/8    122/5 122/9 122/16
   227/11 227/24              90/13 91/19 92/24  123/7 123/24 124/2
  testifying [7]              103/5 111/15       124/4 124/20
   6/14 8/24 109/25           118/25 128/15      130/10 132/10
   187/1 187/10 243/3         147/25 150/19      133/18 135/9
   249/20                     156/4 161/20       135/21 136/20
  testimony [45] 5/7          164/24 165/1 171/5 137/4 137/5 137/22
   5/9 6/17 6/19 8/14         173/15 174/18      137/25 138/2
   8/22 8/23 16/11            175/2 188/11       138/22 138/23
   28/13 49/2 59/20           188/13 201/13      138/24 139/5 140/5
   59/22 67/23 68/6           203/24 210/2 211/3 141/5 141/9 142/15
   68/7 71/21 71/22           212/4 238/14       143/11 144/7
   84/19 104/8 104/10         244/11 253/21      144/20 145/9
   104/24 131/8 140/8        Thanks [1] 207/14   145/24 146/20
   140/25 144/2 156/9        Thanksgiving [4]    147/12 160/24
   183/6 183/6 184/11         178/11 179/16      165/15 165/18
   203/14 205/15              179/17 185/3       165/19 167/3 169/4
   208/4 212/7 217/19        that [1247]         171/10 177/1 184/6
   218/4 220/12 228/8        that's [151] 5/13   184/11 185/2
   228/20 229/14              7/17 8/15 13/23    187/12 190/2 190/5
   232/23 236/12              14/9 23/12 25/15   193/19 193/21
   243/12 248/13              26/16 27/3 41/12   195/5 197/16 199/9
   251/5 251/17               51/4 51/21 52/24   201/4 202/2 203/8
  testing [1] 194/12          54/8 57/25 78/25   203/17 204/22
  Testnet [10] 190/5          82/18 85/8 89/7    207/5 207/25
   194/11 194/13              89/20 90/15 91/22  208/23 212/15
   194/20 195/13              92/9 93/24 98/7    215/19 215/19
   195/25 195/25              98/8 99/9 99/22    219/21 220/2 220/4
   202/24 205/13              99/22 99/25 100/7  220/4 220/20
   205/17                     100/7 100/11 101/8 221/19 222/17
  text [5] 130/2              101/9 101/21 102/5 223/16 226/12
   133/21 149/2 160/3         102/5 102/11       227/1 228/10
   173/20                     102/16 102/23      228/21 231/1 231/2
  than [13] 5/4 6/23          102/24 103/14      232/22 236/14
   7/13 55/16 57/21           103/15 103/15      238/19 241/25
   120/20 139/22              104/13 104/19      243/5 246/24 250/5
   153/13 162/17              104/24 105/13      250/12
                              106/3 106/6 106/7 that.' [1] 53/5
                              88/2Entered
  T 9:18-cv-80176-BB Document 842
Case                                89/13    94/23
                                          on FLSD         19/8 21/15
                                                  Docket 12/20/2021 Page 21/15
                                                                         352 of 366
  theft [1] 238/11    95/22 96/24 100/21                  21/15 22/25 25/3
  their [13] 6/6      100/22 102/11                       25/19 27/4 27/4
   51/2 60/24 60/24   103/12 114/2 123/8                  29/17 31/22 32/4
   72/7 85/23 96/11   124/1 124/1 126/2                   36/15 41/8 41/9
   118/10 219/13      126/11 126/15                       41/9 41/10 41/16
   222/24 226/10      127/4 127/6 127/8                   41/20 42/13 42/15
   226/18 231/14      128/5 128/8 133/8                   44/7 44/10 44/11
  them [46] 5/11      133/13 133/13                       44/24 45/15 45/17
   5/21 19/8 19/9     135/10 144/10                       45/18 47/8 47/8
   26/18 26/19 27/5   145/7 145/10                        49/22 51/9 51/16
   36/23 37/1 37/4    145/16 146/1 146/8                  52/15 53/22 55/22
   37/6 45/25 47/12   148/21 151/5                        59/5 59/7 59/17
   48/8 60/7 66/6     151/23 152/2                        60/13 62/9 62/24
   75/18 109/15       152/15 158/21                       68/11 68/12 70/20
   110/25 122/2 127/5 161/5 166/22                        74/12 75/6 78/15
   127/17 129/15      167/19 170/10                       84/12 85/5 86/20
   129/23 154/2 154/4 170/17 179/20                       88/1 89/7 90/23
   155/1 161/5 165/14 179/24 183/3                        91/14 96/10 99/9
   165/18 175/18      183/15 184/1                        99/9 101/19 103/4
   181/22 194/10      185/18 186/2                        103/7 105/19
   211/18 211/20      186/15 189/20                       111/15 112/16
   217/11 227/22      191/25 193/24                       116/9 118/24 119/6
   227/24 228/13      196/22 197/6                        120/19 121/8 122/3
   228/14 231/11      198/10 202/11                       122/8 122/12
   231/12 232/7       203/6 207/5 207/17                  122/13 124/22
   241/24 245/5       208/25 209/2 209/3                  124/24 127/21
   247/24             209/4 212/2 212/14                  128/21 132/5
  then [129] 5/20     217/17 218/6 218/8                  132/11 141/10
   5/20 6/4 6/18 6/24 218/24 219/14                       144/11 144/23
   9/21 9/24 12/22    228/2 229/18 230/8                  145/6 150/11 155/2
   15/3 15/11 15/18   232/15 237/1                        157/15 158/2 160/4
   17/16 19/8 21/20   243/14 244/7 244/8                  161/17 162/14
   24/4 25/6 25/19    244/12 248/5                        162/20 164/25
   26/14 29/5 32/6    250/21 252/22                       166/24 174/14
   33/20 35/14 35/20  253/4 253/16                        176/10 180/9
   37/5 37/22 37/24  theory [4] 237/24                    183/13 187/4
   39/24 44/17 52/20  238/10 239/16                       188/19 188/23
   54/6 58/23 60/12   240/4                               193/12 194/9
   64/9 66/5 67/17   there [146] 7/3                      194/11 194/21
   68/19 71/4 71/8    7/18 8/15 10/11                     195/20 196/12
   72/24 76/5 76/24   10/23 10/25 11/20                   198/3 198/12
   81/22 87/18 87/21  13/7 13/23 14/7                     198/15 198/19
                      15/5 15/5 15/7                      202/16 202/23
Case                          126/16
  T 9:18-cv-80176-BB Document 842      126/24
                                  Entered                 231/10 231/10
                                          on FLSD Docket 12/20/2021 Page 353 of 366
  there... [21]       128/14 165/9                        231/11 231/13
   204/20 204/21      189/13 190/20                       232/13 232/22
   207/21 208/2       198/13 201/21                       239/16 241/24
   208/13 208/18      212/1 218/10 222/7                  242/23 243/22
   218/5 219/8 221/9  222/15 222/18                       246/4 246/8
   221/15 232/4       228/11 229/25                      they're [22] 48/6
   237/25 241/20      230/2 230/14                        78/19 123/18 128/4
   242/7 242/20       230/19 231/2 231/8                  162/16 195/24
   243/25 246/7 248/5 231/10 231/15                       196/8 220/3 220/3
   248/7 252/21       232/1 233/16 237/4                  226/17 230/15
   253/18             238/17 243/21                       230/20 230/22
  there's [44] 13/10 they [94] 5/10                       230/22 231/8 232/7
   44/10 44/11 44/24  11/12 11/17 15/2                    232/13 232/21
   60/12 70/1 84/23   16/11 16/12 16/14                   232/23 236/23
   85/17 100/20 105/1 16/14 16/15 16/15                   242/16 243/22
   112/21 116/19      16/16 16/17 16/19                  they've [1] 240/19
   118/17 123/11      17/5 17/7 19/7                     thing [39] 7/5
   124/1 125/14       25/3 26/21 26/23                    7/11 13/18 14/9
   126/10 159/6       26/24 28/24 29/2                    18/5 18/8 40/17
   163/20 166/21      37/21 39/16 42/17                   42/5 47/19 48/23
   167/16 195/16      44/12 44/13 46/16                   57/16 79/15 84/7
   212/15 216/18      49/2 49/14 50/22                    84/10 100/5 104/5
   219/22 221/24      53/8 54/16 58/1                     110/23 114/19
   225/1 228/6 231/2  60/5 62/15 62/19                    115/13 118/7
   232/6 233/23       65/25 65/25 66/14                   128/21 143/1 162/5
   236/17 237/10      67/7 70/16 70/17                    163/24 164/2 170/7
   237/23 238/6       74/11 76/15 76/15                   178/6 182/7 183/2
   239/25 240/1 241/1 76/16 78/13 113/21                  189/16 202/2
   242/18 249/17      113/21 120/17                       208/18 226/18
   250/4 250/10 253/3 120/18 120/19                       231/6 231/6 233/5
   254/2              128/19 130/12                       240/25 242/23
  there,' [2] 62/8    140/17 140/17                       249/13
   62/21              153/7 162/7 162/16                 things [33] 7/2
  thereby [1] 35/16   164/13 165/10                       13/22 14/17 19/20
  therefore [2]       165/23 166/6                        19/21 20/3 25/4
   28/11 227/12       168/18 196/12                       29/1 46/8 46/21
  these [43] 11/16    197/14 198/23                       47/25 58/5 70/1
   11/19 15/5 15/7    201/20 217/1                        73/24 75/23 76/21
   22/23 25/22 26/2   217/10 217/11                       80/7 88/3 100/5
   29/1 29/1 29/2     219/7 221/3 221/16                  123/22 149/14
   31/18 37/19 65/1   226/8 226/10 228/5                  153/6 159/13
   76/13 81/8 96/20   230/4 230/15                        180/25 190/21
                      230/23 231/6                        194/10 195/2 209/4
                              236/11
  T 9:18-cv-80176-BB Document 842
Case                                   240/5
                                  Entered on FLSD Docket thousandth
                                                         12/20/2021 Page[1]
                                                                         354 of 366
  things... [5]               240/15 240/19               203/3
   215/18 230/16              245/7 247/22               thread [1] 192/13
   230/19 237/19              248/17 250/14              three [20] 25/10
   250/23                    thinks [2] 19/23             25/11 58/23 60/2
  things.' [1] 13/8           19/23                       60/14 72/22 88/2
  think [104] 5/13           third [10] 14/4              89/20 97/19 99/6
   6/22 10/13 11/21           26/14 61/1 175/9            100/13 100/19
   16/3 16/13 16/14           189/15 199/23               117/17 135/25
   16/14 16/15 17/7           200/16 203/4                144/23 145/17
   17/8 20/9 20/24            203/15 203/15               155/9 171/10 180/9
   21/4 21/20 22/1           this [537]                   243/20
   22/3 28/9 32/20           this' [1] 65/2              threshold [1]
   34/24 36/12 41/7          those [58] 5/22              249/17
   42/2 42/8 42/15            5/24 6/1 18/18             through [53] 1/8
   42/15 43/6 43/12           18/20 18/22 18/24           27/17 46/9 47/12
   44/13 44/14 44/17          18/25 19/2 19/2             54/6 55/16 73/20
   48/17 52/3 52/4            19/10 26/1 31/21            76/25 82/25 91/9
   52/6 53/2 53/7             31/21 38/13 41/13           96/15 131/10
   54/12 55/5 58/2            46/22 52/25 53/25           131/12 131/25
   59/5 65/14 65/15           54/11 55/4 72/25            136/6 145/24 146/9
   66/19 67/2 68/1            73/8 87/9 96/4              146/11 146/14
   69/2 69/20 70/25           96/9 96/16 126/18           147/7 154/14
   71/18 74/13 76/16          128/4 128/4 129/16          154/24 155/18
   76/22 77/7 79/2            141/14 155/4 155/5          162/15 170/11
   80/3 80/9 83/2             159/25 162/20               170/21 174/8
   84/23 85/4 85/8            162/23 162/24               178/25 180/5
   106/20 126/16              163/12 165/13               180/24 185/7 189/1
   126/21 128/3 132/1         165/21 194/12               207/7 211/18
   132/6 165/6 177/13         195/22 196/8                211/20 211/20
   179/13 179/17              197/15 198/1 218/7          212/11 213/9
   180/4 180/11               219/10 223/6                214/23 215/15
   180/23 185/6               224/16 226/17               219/6 221/2 223/18
   185/14 185/19              228/6 228/20                223/19 226/15
   186/3 192/19               236/22 243/25               231/11 231/12
   215/19 220/11              244/9 244/19 245/3          240/2 241/5 242/24
   220/17 220/24             though [8] 7/12              246/15 250/11
   221/22 221/23              14/19 42/4 56/6             252/13
   224/20 225/1               94/3 209/15 210/25         thrown [2] 238/3
   225/12 227/1 228/6         220/24                      240/1
   228/8 230/22              thought [8] 14/12           throws [1] 239/13
   230/22 231/17              14/14 14/15 151/9          tied [1] 220/20
   233/13 236/10              151/11 179/24              time [76] 5/18 6/6
                              182/9 186/19                10/23 14/11 19/14
Case                          104/24
  T 9:18-cv-80176-BB Document 842      109/25
                                  Entered                 184/14 189/12
                                          on FLSD Docket 12/20/2021 Page 355 of 366
  time... [71] 19/15          116/13 123/17               203/7 218/15
   26/17 41/20 42/16          127/1 131/8 140/8          took [9] 27/12
   43/9 45/16 50/22           144/2 161/20 183/6          96/16 128/18
   59/23 59/24 60/1           184/11 187/1                129/12 131/9 168/6
   60/14 61/1 61/3            203/14 205/15               221/21 236/13
   61/10 64/4 66/12           217/10 220/16               238/24
   66/21 70/12 70/19          248/10                     top [32] 61/14
   78/20 82/17 83/23         together [18] 15/3           63/13 64/19 66/8
   84/22 98/19 98/23          16/12 16/14 16/15           66/9 68/23 72/1
   103/2 107/24               16/16 16/24 17/5            75/6 89/2 91/23
   109/13 114/7 124/9         17/7 17/13 19/16            94/14 94/24 98/2
   127/16 146/20              56/23 57/18 65/25           98/6 101/15 104/25
   146/23 156/16              149/18 149/19               121/18 136/23
   158/13 161/20              216/22 239/17               166/1 167/15
   162/3 162/7 162/14         241/24                      167/16 169/14
   162/20 163/2 165/4        together.' [1]               185/21 188/18
   165/7 179/17               52/6                        188/23 188/23
   180/11 180/18             toilet [2] 16/21             196/19 202/20
   188/5 189/14 200/3         16/25                       204/6 226/4 226/16
   203/8 206/7 206/14        told [41] 17/22              250/8
   207/4 207/22 208/2         48/3 51/11 51/19           top.' [1] 51/22
   208/15 209/21              51/22 52/15 53/22          topic [1] 12/23
   214/23 222/13              57/16 59/6 63/21           total [9] 24/16
   222/24 223/17              68/7 71/18 74/10            31/22 98/8 99/23
   230/20 232/2               74/14 77/19 82/17           102/6 102/13
   236/14 237/25              82/19 93/24 95/21           132/11 181/22
   238/23 238/25              114/10 114/15               181/25
   243/3 246/10 248/9         121/25 129/20              totally [1] 132/6
   252/20                     131/8 131/9 141/22         touch [2] 13/24
  times [10] 30/23            161/7 161/10 171/2          65/7
   37/3 40/24 41/1            179/13 179/22              touched [2] 84/13
   47/23 159/12               180/14 181/20               197/9
   161/12 177/10              186/21 190/3 201/2         tough [2] 163/2
   178/24 187/23              203/11 209/9 218/7          200/2
  title [3] 87/8              234/10 249/20              Towards [1] 209/2
   87/12 94/14               tomorrow [5] 210/9          trackable [1]
  titled [2] 105/6            243/16 248/9 253/5          195/22
   211/7                      254/3                      trade [1] 40/1
  to.' [1] 58/10             tone [1] 8/25               trade.' [1] 35/17
  today [24] 6/4             tonight [1] 253/1           trades [1] 39/4
   6/15 45/19 47/25          too [10] 34/12              trading [2] 39/7
   48/3 48/14 57/17           52/7 63/7 66/15             39/25
                              122/14 134/25              Trading' [1] 80/25
                              237/24
  T 9:18-cv-80176-BB Document 842
Case                                   238/4
                                  Entered       238/5
                                          on FLSD Docket truth
                                                         12/20/2021 Page 19/10
                                                                 [15]    356 of 366
  traditional [1]             239/11                      20/5 28/18 28/18
   40/2                      travel [1] 143/6             70/10 134/25
  trail [4] 68/19            tremendous [1]               184/14 216/20
   68/23 71/19 78/6           45/25                       218/1 228/3 229/12
  transaction [8]            trial [5] 1/9                230/21 231/15
   40/23 40/24 41/1           221/11 222/17               231/20 233/8
   163/19 164/1               252/3 253/3                truthful [3] 93/21
   191/22 191/24             tried [2] 48/18              153/18 168/19
   203/3                      194/21                     try [11] 11/9
  transactions [5]           triple [1] 80/1              17/12 48/17 61/3
   87/13 87/14 130/22        troll [1] 76/25              96/20 154/1 180/20
   194/16 203/1              trouble [4] 64/1             193/14 193/22
  transcribed [1]             64/7 78/13 89/10            225/18 226/10
   165/21                    trouble.' [1]               trying [20] 12/25
  transcript [21]             65/17                       40/11 52/13 52/17
   1/9 121/14 122/5          troubles [2] 19/14           54/1 61/2 79/8
   128/8 142/5 167/19         20/1                        80/2 124/20 148/14
   168/25 169/8              true [12] 48/1               155/23 166/17
   169/10 169/19              56/25 57/10 92/3            171/15 195/17
   170/20 171/1 171/2         92/13 130/25 131/5          206/7 220/6 231/1
   211/16 211/20              162/3 201/4 223/3           232/7 232/23
   227/10 251/24              230/22 255/10               250/12
   252/14 255/10             trump [1] 250/15            Tulip [5] 11/7
   255/11 255/12             trust [28] 8/6               13/12 22/3 80/20
  transcripts [3]             10/22 10/23 13/5            80/25
   198/1 198/13               13/7 13/13 14/7            turn [5] 21/13
   198/21                     14/13 18/11 18/12           30/24 32/4 137/17
  transfer [15]               18/14 22/4 24/8             142/22
   95/23 96/11 115/14         26/19 27/18 46/14          turnover [1]
   117/19 119/15              49/10 80/18 80/20           162/17
   119/16 121/8               81/15 81/25 84/5           Turns [1] 174/19
   125/24 138/2               85/21 94/12 189/13         two [44] 9/14 13/2
   138/15 138/16              194/6 197/10                21/15 27/8 31/22
   145/24 170/3               199/24                      59/20 60/10 60/15
   241/23 241/24             trust.' [1] 15/20            60/18 60/22 61/20
  transferred [5]            trusted [1] 62/1             61/22 63/14 64/14
   125/21 134/7              trustee [5] 11/2             69/16 77/1 77/9
   145/11 145/13              11/5 11/6 13/12             77/22 81/5 81/6
   145/20                     90/9                        81/8 96/4 96/9
  transfers [2]              trusts [5] 11/7              102/13 104/4
   96/12 139/21               80/25 81/5 81/7             117/15 123/22
  transition [4]              215/12                      129/14 131/18
                             trustworthiness [2]          141/21 143/7
                               252/1 252/15
                              249/22
  T 9:18-cv-80176-BB Document 842
Case                              Entered on FLSD Docket unfortunately
                                                         12/20/2021 Page 357[6]
                                                                             of 366
  two... [13] 171/10 under [18] 6/23                      22/23 126/12
   185/7 192/11       51/12 57/7 68/5                     143/25 144/22
   194/10 203/18      86/6 90/10 92/1                     145/17 191/7
   205/2 214/25 220/1 92/2 92/13 99/16                   Unger [3] 153/24
   220/14 232/16      102/10 108/12                       158/14 159/9
   243/20 253/7       108/15 124/24                      unilateral [1]
   253/23             132/15 163/23                       187/5
  two-page [2] 64/14 175/13 251/22                       UNITED [11] 1/1
   77/22             underdeveloped [1]                   1/10 90/19 92/2
  type [2] 120/12     181/24                              92/14 144/11
   130/12            understand [38]                      200/24 209/8 220/1
  typed [3] 23/21     12/25 13/1 13/16                    254/5 255/6
   140/11 186/23      13/17 14/10 14/15                  universe [1] 76/25
  typo [2] 100/20     14/18 21/8 35/7                    universe.' [1]
   135/9              35/10 37/4 37/21                    33/21
                      39/10 39/22 41/16                  unless [3] 27/14
  U                   43/3 54/19 60/8                     128/22 147/19
  U.S [13] 1/24 58/3 63/5 63/23 64/10                    unlike [1] 181/24
   62/15 62/19 63/1   66/12 74/5 76/9                    unlock [3] 11/23
   122/19 123/6       76/24 82/16 100/16                  12/5 15/4
   199/24 200/17      183/6 184/12                       unredacted [1]
   202/1 202/4 202/15 191/21 212/19                       249/10
   204/20             219/2 236/23 237/5                 unrelated [2]
  U.S.' [1] 62/4      237/17 240/23                       203/16 221/16
  Uh [13] 34/10 44/3 249/8 251/12                        unsigned [1] 117/7
   56/17 65/19 66/11 understanding [8]                   unspecified [1]
   68/18 69/19 69/25  14/6 14/9 15/16                     242/16
   76/8 101/14 185/5  42/9 42/12 43/14                   until [6] 100/13
   194/1 206/2        70/16 84/23                         152/1 173/14
  Uh-huh [13] 34/10 understood [3]                        200/24 219/17
   44/3 56/17 65/19   54/4 63/20 82/13                    253/14
   66/11 68/18 69/19 undertaken [1]                      unusual [1] 182/9
   69/25 76/8 101/14  37/9                               up [123] 10/23
   185/5 194/1 206/2 unduly [8] 213/4                     16/21 16/22 20/2
  ultimately [5]      213/25 235/21                       20/2 37/1 44/16
   9/22 43/8 75/9     235/24 236/2 236/7                  47/19 57/4 57/23
   221/2 223/19       240/7 250/23                        63/13 64/16 65/16
  unable [1] 251/2   unexpected [1]                       66/22 66/25 68/19
  unarguably [1]      135/12                              77/18 80/2 83/8
   77/10             unfair [1] 240/12                    84/20 85/9 86/20
  unaware [1] 90/5   unfairly [5] 219/1                   88/3 88/3 88/7
  unclear [1] 75/14   219/4 219/10 220/2                  88/10 88/23 89/2
  uncontroverted [1]  237/14                              89/13 91/1 91/23
  U 9:18-cv-80176-BB Documentupdated
Case                                   [1]
                              842 Entered      78/14
                                          on FLSD         19/16 33/12
                                                  Docket 12/20/2021       41/14
                                                                    Page 358 of 366
  up... [92] 94/5            upon [2] 73/19               48/9 48/9 51/25
   97/4 98/20 98/23           137/6                       52/2 66/12 66/14
   98/25 100/25              us [71] 13/4 16/22           66/16 66/17 94/3
   101/15 104/16              24/8 24/9 32/3              96/20 103/25
   106/19 106/23              34/9 37/21 43/13            104/20 114/1 118/1
   108/17 109/22              60/15 66/3 68/13            141/10 147/22
   111/3 112/14               73/19 78/20 82/25           156/11 173/3 173/4
   118/11 118/24              83/24 87/5 92/6             173/5 176/23 184/3
   119/23 121/15              92/17 95/11 101/23          217/1 217/10 227/1
   121/25 122/3               102/18 107/13               240/7 240/9
   122/15 129/4               110/4 111/15               using [11] 13/19
   129/25 131/20              112/23 117/8 119/6          25/16 25/20 34/5
   133/4 134/12               124/10 128/6 129/4          35/8 39/18 39/21
   137/11 140/21              132/3 133/5 134/21          40/17 41/17 184/10
   141/21 141/24              135/2 135/17                231/8
   142/22 142/25              137/11 137/21              usual [1] 7/13
   148/22 150/2 150/8         140/2 148/8 150/6          Utz [9] 49/13
   151/13 153/13              150/8 150/15                49/14 49/15 50/3
   153/20 155/23              150/23 152/11               50/18 50/22 50/25
   155/24 157/9               152/19 156/16               51/15 161/18
   161/14 163/4               157/20 158/9 159/1         Uyen [4] 171/18
   163/14 163/16              159/14 161/21               216/2 226/23 227/3
                              162/8 167/12
   164/4 164/11 165/8
                              168/21 169/9
                                                         V
   166/2 170/5 171/20                                    valid [3] 28/17
   173/6 173/11               170/25 172/6
                              174/11 175/24               198/16 198/23
   173/13 174/2                                          valuates [1] 243/8
   177/17 179/10              176/12 185/23
                              186/10 186/17              valuation [7] 31/1
   179/24 181/14                                          36/12 36/13 41/10
   181/23 183/1 184/2         186/23 190/6
                              201/14 209/21               242/15 242/22
   184/25 185/21                                          245/20
   186/8 187/15               210/15 220/25
                              245/3 245/12               valuations [7]
   190/10 191/8 192/1                                     30/3 31/6 144/19
   193/4 193/6 194/22        USA [1] 87/18
                             use [19] 16/22               216/16 216/24
   196/10 196/11                                          217/1 217/11
   197/18 198/24              17/2 17/4 20/15
                              35/12 45/2 66/19           value [11] 41/13
   201/5 203/1 203/21                                     135/12 163/7 187/8
   208/19 208/22              66/20 66/20 147/18
                              162/18 163/9                191/22 205/19
   209/2 209/9 209/18                                     208/18 220/5
   211/18 220/6               166/14 175/18
                              246/14 246/16               236/17 237/14
   220/16 221/17                                          237/16
   222/13 239/8               248/11 248/13
                              253/11                     Values [4] 29/22
   248/17 249/2                                           36/9 36/18 216/25
                             used [31] 13/21
                              150/15
  V 9:18-cv-80176-BB Document 842
Case                                   150/18
                                  Entered on FLSD Docket verified    [1]359 of 366
                                                         12/20/2021 Page
  valuing [2] 31/2            152/11 153/20              130/18
   242/16                     157/9 157/20 158/1        version [5] 178/10
  varied [2] 135/11           158/9 158/25               185/2 185/12
   189/14                     159/14 161/14              202/24 205/17
  variety [1] 161/12          164/3 166/2 166/9         versions [1]
  various [10] 28/20          167/12 168/21              186/15
   31/6 96/15 154/4           169/9 169/21 171/4        versus [2] 94/10
   163/14 164/7 174/8         171/20 173/13              94/12
   178/25 199/7 228/2         174/2 174/11              very [62] 13/4
  VAT [1] 163/17              174/18 174/21              14/11 17/4 18/5
  Vaughn [1] 185/20           174/25 175/24              18/8 28/3 28/8
  vault [1] 40/13             176/12 176/16              28/8 36/10 36/10
  Vel [3] 4/6 155/24          177/17 178/8               41/7 41/9 41/10
   180/19                     178/12 179/10              41/11 47/19 49/6
  Vela [131] 87/5             181/2 181/3 181/11         50/21 51/25 51/25
   87/15 88/23 91/1           182/18 184/20              52/2 52/2 55/6
   91/9 92/6 92/17            184/24 185/23              55/11 55/13 55/13
   93/15 94/5 95/11           186/5 187/15               55/13 55/19 55/19
   96/4 97/4 97/23            188/22 190/10              58/7 60/2 60/16
   98/25 100/1 100/25         190/22 191/8               61/18 65/4 68/1
   101/23 102/18              191/14 192/1               70/11 70/19 70/19
   103/1 104/16               192/10 192/22              70/22 74/14 77/24
   106/15 107/6               193/3 193/12 194/3         79/4 98/2 98/6
   107/13 108/17              196/19 196/24              163/25 163/25
   108/24 109/4               197/7 197/18               175/17 183/14
   109/22 110/4               198/24 199/12              191/21 194/21
   110/13 111/3 113/1         201/5 201/14               202/22 209/13
   114/23 116/5 117/8         203/21 203/22              209/13 209/23
   118/11 119/6               205/22 207/18              209/23 219/15
   119/23 124/10              209/18                     221/14 222/17
   126/7 128/6 129/4         vendor [6] 136/8            222/17 230/16
   129/25 130/2               136/20 136/24              240/2 242/22 243/9
   131/20 132/3 132/6         137/3 137/22 138/1        via [3] 2/4 2/6
   132/16 132/23             vendor's [2] 137/5          159/20
   133/4 134/12               138/7                     viable.' [1] 56/15
   134/21 135/2              venture [2] 118/2          video [14] 2/6
   135/17 136/4               139/14                     6/18 6/22 16/1
   137/11 137/17             verbal [12] 133/14          16/4 82/25 83/3
   138/11 140/2               133/19 133/23              83/18 83/19 147/19
   140/21 141/24              133/23 133/24              148/1 173/7 207/19
   146/5 146/17               134/1 134/3 134/4          210/16
   148/22 150/6 150/8         152/18 171/9              videos [2] 244/4
                              187/22 189/6               247/3
  V 9:18-cv-80176-BB Documentwallets
Case                                   [1]
                              842 Entered      40/15
                                          on FLSD         41/6 45/15
                                                  Docket 12/20/2021 Page 54/12
                                                                         360 of 366
  videotape [1]              want [51] 7/16               55/11 57/6 57/25
   212/8                      16/21 23/5 47/19            59/5 59/6 59/6
  videotaped [1]              53/11 54/21 55/3            59/19 66/15 67/11
   213/10                     55/10 55/12 60/11           67/12 68/11 68/12
  viewed [2] 130/18           67/13 70/14 71/8            140/18 151/25
   130/20                     71/24 76/23 79/7            153/17 169/17
  views [1] 73/3              79/21 79/23 98/19           169/19 171/17
  violation [1]               98/19 100/16 102/4          172/7 183/20
   164/12                     110/16 123/16               194/14 206/19
  virtual [1] 33/21           125/17 125/18               208/23 227/10
  virtue [1] 130/25           128/1 144/13                241/3 242/24
  vis [2] 47/4 47/4           147/11 154/1                246/18 249/24
  Vision [2] 174/6            154/18 171/7                252/11
   176/2                      182/10 182/19              waste [1] 6/6
  visiting [1]                182/23 188/18              watched [1] 173/6
   179/16                     189/1 193/22               water [2] 150/22
  voice [2] 8/25              202/20 211/4                151/5
   160/2                      211/24 225/17              WATTS [53] 2/4
  void [1] 221/17             231/10 244/4 245/3          5/11 6/17 8/13
  voting [1] 125/3            245/4 247/23 248/8          8/18 8/21 9/6 9/8
  vs [1] 1/6                  252/12 252/12               9/9 12/8 12/14
                              253/9                       32/1 41/20 47/19
  W                          wanted [21] 5/14             50/1 61/16 67/20
  W-A-T-T-S [1] 9/8           29/9 54/5 54/21             68/17 73/14 151/16
  W-R-I-G-H-T [2]             54/25 54/25 55/1            187/19 189/9
   86/11 143/1                55/9 55/9 55/10             189/21 203/19
  wait [2] 207/10             64/24 65/7 79/6             204/7 205/1 211/11
   253/14                     84/19 125/23                212/14 213/3 213/7
  waiting [2] 23/5            130/21 143/13               213/12 215/5
   59/21                      163/18 183/22               215/10 215/12
  Wales [11] 101/16           196/9 196/15                215/13 215/15
   107/23 120/3              Warren [12] 227/17           216/6 216/14
   121/19 130/10              227/21 228/8                217/22 218/3 218/8
   142/6 153/24               228/25 229/3                218/12 219/5
   158/15 160/13              229/13 229/18               219/14 219/14
   162/4 190/15               230/11 231/8 233/4          220/12 220/15
  walk [1] 96/15              233/21 244/9                220/16 222/2
  walks [1] 249/6            Warren's [1]                 223/12 223/14
  wallet [9] 40/10            230/11                      226/6 244/9
   40/16 40/16 41/4          was [544]                   Watts' [2] 215/17
   130/19 130/20             was.' [1] 72/12              216/22
   130/23 179/25             wasn't [36] 20/4            way [22] 5/8 36/3
   183/21                     20/22 25/21 30/15           36/6 48/10 60/11
Case                          143/9
  W 9:18-cv-80176-BB Document 842     146/13
                                  Entered       147/4
                                          on FLSD         159/13 168/13
                                                  Docket 12/20/2021 Page 361 of 366
  way... [17] 64/16           173/2 178/10                180/6 180/9 183/14
   68/9 68/22 73/5            178/24 201/17               184/24 185/11
   73/5 73/8 128/21           204/18 212/6 213/3          187/13 211/19
   153/5 164/11 183/2         221/6 223/12 224/1          212/22 215/2
   206/13 208/7               224/4 224/11                219/12 226/4 230/3
   209/11 222/15              227/12 227/19               231/17 232/3
   230/23 231/2 232/6         233/22 235/5                234/17 236/8 237/1
  ways [1] 193/23             235/20 241/4                237/16 237/21
  we [361]                    244/17 251/1                242/9 246/18
  we'd [5] 53/5              weather [1] 8/7              248/15
   146/24 149/7 150/4        web [1] 229/16              well-deserved [1]
   235/2                     website [1] 242/10           82/22
  we'll [21] 5/11            Wednesday [1]               well-known [1]
   6/18 8/9 13/19             121/24                      185/11
   58/9 82/24 84/15          week [2] 7/7 127/5          went [7] 5/20 29/3
   99/3 114/4 116/10         weekend [1] 8/7              53/15 157/12 221/2
   122/13 128/8 157/8        weeks [1] 135/25             222/19 223/19
   165/4 196/18              weight [4] 172/18           were [195] 5/2
   202/12 211/10              215/20 227/14               5/10 8/24 9/15
   211/10 232/25              243/8                       9/18 10/12 10/20
   234/18 235/7              Welcome [6] 83/7             11/14 11/15 11/20
  we're [37] 5/21             83/14 84/5 85/20            11/21 11/23 12/5
   13/6 23/5 54/4             156/24 157/5                13/12 13/22 15/1
   84/23 90/19 91/21         well [77] 4/16               15/2 15/5 16/17
   92/19 94/8 95/8            4/22 4/25 14/8              18/12 18/13 18/15
   102/13 115/3 117/4         14/22 16/19 17/16           18/20 18/22 19/3
   119/3 128/1 129/15         18/5 19/7 20/22             19/7 19/8 20/14
   134/9 145/2 145/3          25/23 34/7 35/23            21/23 22/1 23/13
   155/12 155/23              36/11 38/16 42/12           25/23 26/11 27/4
   156/22 188/17              43/17 45/11 46/8            27/4 27/5 28/2
   192/23 193/2 193/4         49/4 49/15 50/21            28/8 28/20 28/24
   193/8 200/14               51/19 52/10 57/1            29/3 29/9 29/24
   204/25 208/11              59/3 62/16 62/25            30/3 30/6 30/11
   210/3 222/11               67/1 70/6 70/23             30/20 31/7 31/18
   226/24 230/18              72/10 72/19 73/7            34/14 36/15 40/11
   233/12 250/12              77/5 77/16 79/8             42/12 42/15 43/4
   251/9                      80/24 82/10 82/22           43/13 43/19 45/16
  we've [33] 8/7              96/24 112/23                47/20 48/23 49/1
   19/16 44/5 97/19           113/25 115/16               49/2 51/9 51/16
   101/3 106/16               121/13 127/4                51/18 52/14 52/21
   127/21 129/8               136/22 143/7 150/5          52/25 53/8 53/14
   129/15 131/23              150/25 151/22               53/20 53/21 53/25
                              153/6 153/17                54/1 54/7 54/10
                              204/19
  W 9:18-cv-80176-BB Document 842
Case                                   205/16
                                  Entered                 76/13 79/3
                                          on FLSD Docket 12/20/2021 Page 82/7
                                                                         362 of 366
  were... [119]               210/16 214/25      82/10 86/19 89/6
   54/16 54/19 56/8           215/18 220/14      93/21 93/25 98/16
   56/23 57/12 58/2           220/15 221/3 221/9 98/19 105/3 117/4
   58/17 59/21 59/23          221/24 224/15      137/13 152/19
   59/24 60/22 62/15          228/2 230/24 238/2 162/14 162/20
   64/21 65/10 66/8           239/16 245/22      168/12 168/14
   66/12 66/14 69/12          246/22 248/10      184/5 187/1 192/23
   70/9 70/11 70/19           251/2              194/7 194/11
   70/22 71/23 73/15         weren't [3] 11/12   194/17 195/22
   73/23 74/10 74/11          170/17 182/14      196/7 196/8 196/14
   76/13 76/15 76/15         WEST [1] 1/2        203/9 203/11
   76/16 81/6 84/12          wet [1] 150/24      203/12 206/4 206/5
   84/13 90/15 93/21         WFT [2] 80/18       206/20 207/22
   93/22 95/8 99/19           82/16              208/2 209/20
   102/14 104/19             WFT.' [1] 81/14     209/23 220/17
   108/10 109/16             what [263]          228/21 232/9
   109/17 109/18             what's [9] 28/4     237/17 238/2 239/3
   112/15 121/25              86/18 88/24 173/17 240/8 246/16
   124/18 133/1 137/7         221/11 230/4       246/20 249/22
   137/13 140/24              234/15 237/19      252/8 253/8 253/8
   142/8 144/3 144/4          240/25            when.' [1] 70/2
   147/9 148/20              whatever [9] 14/10 where [59] 9/9
   149/18 150/9               22/6 24/9 26/2     15/16 22/11 33/11
   151/11 153/16              43/8 127/9 129/7   33/25 42/18 43/13
   153/18 155/2               144/19 146/3       52/14 52/17 53/7
   157/12 157/15             WhatsApp [2] 160/5 69/14 76/15 85/6
   160/4 162/4 162/5          160/5              96/14 99/19 102/9
   162/8 163/23              when [97] 5/12      104/19 112/15
   163/25 165/6               9/16 9/18 11/9     112/20 127/21
   165/11 166/24              14/6 16/17 17/22   128/24 136/24
   168/19 170/3 170/4         19/20 19/21 20/1   140/12 143/20
   170/13 170/18              20/11 20/13 21/8   147/3 147/6 150/18
   171/13 171/16              24/1 26/1 26/1     152/14 167/24
   177/11 177/14              26/6 27/17 28/5    168/8 169/14
   179/16 180/9               40/19 41/7 41/17   179/13 183/7 187/5
   181/22 182/10              42/13 49/21 53/14  192/6 192/6 193/24
   182/20 182/23              53/18 53/19 53/20  194/5 194/21
   183/16 186/10              54/9 54/16 55/12   194/25 195/2 195/4
   186/16 186/17              55/13 55/18 57/18  198/4 199/6 199/22
   194/12 194/24              58/5 59/4 59/15    199/22 202/18
   194/24 195/2               60/8 63/25 65/20   204/19 226/8
   196/12 199/6 204/3         66/22 69/11 69/21  236/16 237/8 237/9
                              70/21 71/17 76/11  237/25 238/5 239/7
Case                          229/19
  W 9:18-cv-80176-BB Document 842      231/15
                                  Entered                 121/9 124/7
                                          on FLSD Docket 12/20/2021       124/12
                                                                    Page 363 of 366
  where... [4]                232/12 236/13      146/24 173/10
   239/11 241/25              237/12 242/22      184/12 197/16
   243/14 249/19              245/13 248/15      202/11 208/11
  WHEREOF [1] 255/14          249/5 249/17       208/23 212/1
  whether [28] 5/9            251/22 251/24      229/17 230/1 234/5
   28/7 28/14 30/11           252/13             236/14 250/12
   31/10 36/23 41/3          while [6] 148/10   wife [20] 6/18
   43/7 45/11 49/18           149/22 164/23      14/16 14/17 90/9
   53/21 53/22 57/9           192/22 245/22      105/20 107/24
   58/14 63/10 69/12          246/22             124/25 124/25
   72/14 75/14 80/4          whitepaper [5]      125/3 151/7 184/12
   80/10 116/10               17/17 18/1 80/4    184/14 187/19
   125/11 203/13              80/7 80/9          189/9 189/11 199/5
   207/2 214/22              who [44] 4/20 4/21 203/19 204/7
   214/24 214/24              6/17 29/2 29/4     212/14 223/15
   227/11                     29/6 29/13 37/3   WII [1] 80/25
  which [82] 5/18             42/17 48/5 49/8   will [73] 6/14
   5/24 8/13 13/13            52/5 60/5 62/23    6/16 6/24 8/13
   13/14 28/20 30/3           64/7 65/8 70/9     8/18 8/19 8/21
   31/14 34/4 34/9            70/11 78/19 105/14 11/9 14/17 17/12
   41/7 41/14 44/17           110/21 112/12      32/16 33/20 37/7
   44/18 45/9 46/15           112/17 114/21      37/8 37/14 39/4
   47/20 49/20 53/15          126/2 126/10       39/7 39/25 40/22
   57/14 57/23 61/22          126/23 136/6       45/2 55/16 64/14
   61/22 75/9 81/11           158/14 161/17      67/2 68/16 70/6
   81/12 91/5 92/18           180/8 180/10       71/8 78/13 78/18
   97/2 99/23 102/6           181/20 189/2 217/7 83/2 83/21 85/23
   103/9 105/25 108/8         219/13 228/1       92/18 110/4 112/23
   111/4 115/3 121/16         231/12 238/23      117/19 121/8 123/1
   125/7 125/18               241/8 242/20       123/4 123/13
   128/23 129/8               242/24 250/20      137/23 138/2 138/6
   133/21 136/14              251/3              141/10 150/16
   150/16 153/11             whoever [1] 43/18   158/5 167/10
   160/7 160/20              whole [12] 45/13    175/22 184/1
   162/17 163/20              68/23 79/15 109/8  191/17 193/17
   164/9 181/14 182/8         156/7 163/24       208/21 209/14
   183/2 186/18 201/6         212/16 226/18      213/1 214/13 215/7
   201/8 203/1 206/6          236/5 236/12       215/23 217/13
   212/5 214/6 214/25         237/22 254/1       218/16 222/14
   216/24 216/25             why [27] 6/3 13/11 224/7 225/14
   217/9 219/7 222/3          15/9 18/10 18/21   225/18 227/15
   224/2 226/6 226/17         20/9 41/24 42/1    231/22 231/23
                              54/18 59/12 82/18  233/9 233/17
  W 9:18-cv-80176-BB Documentwithout
Case                                   [9]
                              842 Entered      40/25
                                          on FLSD         16/24 17/5
                                                  Docket 12/20/2021 Page 17/13
                                                                         364 of 366
  will... [6] 241/11          123/1 198/15                42/3 42/3 42/10
   242/4 244/2 244/10         206/16 225/17               42/18 43/1 43/2
   253/11 253/25              232/8 244/8 245/3           43/4 43/9 56/20
  willing [3] 5/5             247/7                       57/24 59/13 64/16
   71/5 72/17                witness [38] 8/16            66/1 73/20 74/11
  Wilson [22] 116/8           8/18 8/23 19/5              78/24 78/25 79/5
   116/10 116/11              83/16 83/21 85/23           79/6 79/21 79/23
   119/9 122/10 126/4         148/16 148/23               85/22 176/22 181/6
   126/9 142/23               153/21 157/10               236/1 253/2
   142/24 211/10              157/14 158/20              work.' [1] 78/9
   212/6 212/7 213/9          159/1 159/5 159/6          worked [7] 34/12
   213/12 213/12              161/15 164/4 166/3          50/13 60/2 60/16
   214/5 214/17               171/21 174/3                180/10 206/3 246/5
   214/20 214/23              174/22 178/13              working [19] 13/2
   215/3 215/4 244/9          198/25 203/25               13/3 56/23 57/1
  Wilson's [1] 214/7          209/19 211/9                57/2 57/7 61/4
  win [1] 196/23              212/11 212/19               78/19 79/1 79/4
  wiped [5] 76/9              214/22 228/1 229/9          149/21 161/1
   76/11 76/18 76/20          231/12 231/17               179/13 179/21
   76/24                      232/9 236/9 241/5           181/20 196/14
  wiping [1] 194/23           255/14                      208/23 245/23
  Wired [4] 76/16            witnesses [3] 6/14           246/22
   78/5 78/8 79/10            178/25 231/11              works [3] 151/2
  withdraw [7] 5/19          won't [1] 209/14             196/23 211/8
   212/23 232/25             wonderful [1]               world [8] 34/21
   234/18 235/7               181/24                      35/3 35/11 37/8
   235/16 244/3              wondering [1]                196/7 202/19 203/4
  withdrawal [1]              183/16                      239/5
   247/20                    word [8] 14/4               world-class [2]
  withdrawing [5]             16/23 17/2 17/4             34/21 37/8
   233/12 244/12              17/25 165/20 179/8         worst [1] 177/7
   244/13 244/22              184/10                     worth [4] 53/12
   248/2                     wording [2] 39/13            54/22 205/20
  withdrawn [3]               207/5                       208/21
   100/24 145/6              words [16] 39/17            worthless [2]
   240/19                     58/23 72/25 73/8            205/16 205/18
  withdrew [2] 5/21           155/9 173/9 174/19         would [104] 5/5
   234/22                     180/13 180/22               6/5 6/8 11/17 15/3
  within [8] 66/9             182/19 184/8 198/5          15/4 15/5 15/10
   113/23 129/16              226/7 236/22                18/5 18/8 18/9
   210/7 217/21 237/6         236/24 237/4                18/10 19/8 19/24
   237/7 251/11              work [34] 8/8 13/6           21/25 22/3 35/1
                              16/10 16/12 16/18           37/5 37/6 37/21
Case                          106/19
  W 9:18-cv-80176-BB Document 842      108/18
                                  Entered                 215/19 218/23
                                          on FLSD Docket 12/20/2021 Page 365 of 366
  would... [84]               110/5 129/5 154/23          224/5 237/17
   37/22 37/23 42/25          159/16 175/1               wrong [11] 7/12
   46/20 47/12 47/24          175/25 181/14               14/9 37/2 37/23
   48/14 48/17 48/24          181/16 191/9                56/1 100/19 123/7
   49/6 49/6 52/3             201/15 214/10               141/5 146/2 198/5
   52/4 52/6 53/4             215/5 217/19                216/11
   60/5 63/6 64/11            218/13 219/19              wrongdoing [2]
   67/11 67/16 69/22          225/5 225/11                219/8 221/15
   73/11 73/11 75/23          230/16 230/21              wrote [22] 12/17
   80/19 81/12 82/17          240/6 241/4 244/1           14/6 16/14 16/15
   82/18 83/23 85/3           248/13 249/11               16/16 17/7 59/1
   85/4 87/15 89/8            250/23                      59/9 61/6 61/8
   89/11 91/8 91/13          Wright.docx [3]              62/17 63/25 64/7
   93/6 103/8 103/24          87/1 87/3 158/20            65/25 71/13 79/3
   114/3 126/19              write [30] 10/20             80/17 81/8 161/24
   131/25 151/19              17/17 33/8 33/19            175/13 248/12
   154/7 154/8 154/10         33/25 35/24 38/17           250/21
                              39/23 40/20 56/10
   155/23 156/5 160/8
                              57/21 58/17 62/5
                                                         X
   160/21 161/21                                         Xero [2]      129/3
   164/24 167/6               62/16 62/17 66/25
                              70/4 71/2 71/7              129/10
   172/12 172/19
   176/25 177/9               71/12 71/15 71/16          Y
   177/15 178/18              77/5 77/7 81/11            Yeah [1] 98/15
   179/5 180/15               82/18 106/10 112/9         year [5] 120/19
   185/19 187/6               189/15 202/3                120/19 235/23
   195/23 203/2              writes [14] 19/20            235/24 240/8
   203/13 204/12              61/25 62/3 64/2            years [32] 12/19
   207/5 208/1 209/5          65/4 65/13 65/13            19/16 20/11 20/12
   209/17 210/2               69/1 69/16 75/13            30/14 30/17 30/18
   211/23 213/19              75/15 76/24 78/12           31/6 48/11 48/12
   223/2 230/16 232/6         150/21                      56/6 59/20 60/10
   245/9 248/25              writing [19] 12/20           60/18 60/22 61/20
   250/23 251/7               12/21 56/5 60/22            61/22 63/14 64/3
   252/22 253/13              67/17 68/22 69/20           79/1 81/9 100/13
   253/24                     73/16 75/13 76/22           100/19 160/25
  wouldn't [4] 64/7           77/14 77/16 77/17           170/18 171/10
   149/16 206/13              77/18 78/5 79/17            171/10 173/22
   209/16                     82/1 134/2 141/7            183/8 203/18 205/2
  wound [1] 123/13           written [17] 15/8            222/24
  WRIGHT [507]                17/23 18/21 18/21          yes [421]
  Wright's [31] 6/18          37/12 40/3 41/16           yesterday [1]
   19/5 25/1 28/11            51/20 52/6 62/2             131/5
                              73/13 82/18 173/17
Case                          189/2
  Y 9:18-cv-80176-BB Document 842     198/20
                                  Entered       199/3
                                          on FLSD Docket 12/20/2021 Page 366 of 366
  yet [3] 43/4 69/4           200/14 201/18
   154/21                     204/6 204/25
  you [1373]                 yvette [6] 1/23
  you'll [3] 140/24           1/25 255/5 255/17
   141/3 228/1                255/17 255/19
  you're [46] 20/3           Z
   26/6 30/16 68/23          ZACK [2] 1/17 4/12
   77/6 81/13 81/13          ZALMAN [2] 1/21
   96/19 98/6 100/16          4/20
   100/17 102/2              zoom [20] 92/22
   106/25 107/5               92/23 95/13 98/3
   109/25 111/13              100/1 103/1 103/3
   121/22 126/21              118/14 130/2 132/5
   128/3 128/15               132/16 137/19
   128/21 128/22              158/25 181/3
   142/7 143/22 152/3         181/16 184/20
   152/5 152/19 154/3         188/22 191/10
   165/17 183/2 196/1         201/15 203/22
   198/16 206/13
   206/14 206/25
   208/7 209/11
   209/12 210/5 210/7
   211/21 212/2
   236/19 244/12
   252/20 253/2
  you've [20] 104/3
   113/19 115/2 115/5
   115/5 115/11
   121/18 122/3
   127/10 129/20
   142/12 143/2 143/7
   145/13 160/22
   198/19 211/5
   237/25 238/17
   253/14
  you.' [1] 77/1
  your [422]
  yours [1] 67/7
  yourself [15]
   58/18 70/9 74/23
   158/14 177/21
   179/1 184/9 187/17
